Case 2:02-cv-14102-DMM Document 52 Entered on FLSD Docket 07/24/2003 Page 1 of 115
1 £

l OTHE UNITED STATES PiSTRICT court 1 APPEAPANCES :
fob THE SOUTHER GLSTRLOT OF FLOP LTDA
2 2 FOR PLAINTIFF: THAW, PITTMAN, LEE
~ Aiedi roRER, BOOTY E
3 TAGE NOL: 2-14 doen 3 CONTHLA b. GpeEb) Eo UodtPE
Lori Leer, UW
1 { Namath, be pee?
r C
SD MAJEP Or BoAT CUMPANT, 1 J
7 La riotida corporal lon, ,
6 , 6 FOR AMH: FREDERICK OT. ELBPECHT, ESUUTPE
blarunitt, i 7 PP. OOTEVEN HERB, ESQUIRE
7 i 2079 Pingliny Boulevard
Vo. 1 g Sarasota, Florida 34237
8
5 LMEPLOANM MAPSUIE HoLG@rysc, LNT. ' 5
3 (a Delaware Corporations, , y Pub BLAZER: RPUOLE 4 WILT IN LG H
} GLENN APNGLD, ROQUIPE T
19 be fendant. ) 19 LO-Kk Bagh ieer ce ttent FAy E
ll ek / ll benvavoba, Plots to%l w
’ ¢
12 Deel T Leth ok i PY DAL Le

Aton PREGENT: LouN le ChAET, Fl ke; he 4h.

13 SUSAN BLAM TLL Oran, hooyu

bret: Mareh 4, fun i beeen eee _&kaR Neg MABB:
5 Cae TREE Q i

hee
am whe WA

16 TiMe: eer alm. ha es 4% pom PN DES
I 0
PLAUK: Soto Hurth Highway ALA 9
iB feru Pesach, Floracda LB tp
4 .
i 15 fares t Baeamination by Mr Ribs he
at ,
0 Popkin he Tr tty Pep Bieta Mob ite 2) toe Beaminaton py tr fend
‘] 2] Ste. Re ama tiert ate to Me papect
a ty to ang, ek
etar bpd. LL hela. ho that on on Me
« Oy
as wid roy 2)
' sO ad
—t aio at
ae 1 i -
z
5 +
- noha
; %
, ’ bobo 1 i J t Pant Betas 1 rt
{ }
+ it y + me : 1
‘ fart roe > veda af + + '
m bo tan Go bn pot vo La thee r, bested dant ob banat ty . oye win honed
1 +
Looe fokaton . va tae : sborobabet bo tabeat a . che or lane ma
4 Voor fast. bib. om Patan. betes re beter dant po hitat the hobiang hates
) 3
chant bo rabeab tl Pathfinder tao. bape Peeteadant oF babe t Mr ba tame tae
14 ' tor Map Ne hoy , Mi faut Mopar ' t
I] ie toe dant hitat tl patton der Ler. teaped lI nlest + habat ot Perntiuad ' men
, ‘
| Pertodyk ob det " ! iat ‘ fee 1 tad tad boob attend Yer 1
12
13 het fant betabst tho beth) [a Placer hebrtat tl hacer tact
{ va
t ton dant hob ot : Povcttr It Hover Bo otal , Placer te 1
'L
ly font ob ohubat i 1 roytet apa btest to , hot Pore a at ia oy
Ve ,
1% feet wtey 1 1 ! iv L , '
1 tw
! ' ' 1 u be 1 '
1
1
: te 4
14 ‘
Case 2:02-cv-14102-DMM Document 52 Entered on FLSD Docket 07/24/2003 Page 2 of 115
5 6

What is your occupation?
A President, chief evecutive officer of
Mavericr. Boat Company.
2

WHEREUE CU,
GO. SeotT DEAL,

having beet forot duly sworn, ay hereinafter certified,

fade MELES as pee

Tee hitied ns folluwe:

DIFROT ReaMT HAL Lo
BY MR. ELBPECHT:
Q Can you state your name, please?
A My name is Douglas Scott Deal.
|nd your address,
A 1503 West Camino Del Rio, Vero Beach.
ll Q Mr. Deal, have you ever given a deposition

T mun the manufacturing operation,

ind how long have you had that position? ‘
A I started the company in 1985 in

production. [ think we incorporated in Decenber of

1984.

wD A

LO COO Hom On ee ou RD

What type of company is Maverick?
A It's a€ “orp, if that's your quest tun.
Q — And what do they manufacture?
A They manufacture beats.
What type of boats does Maverict.
manufacture?
A Tan yo be more specific? re yon tailing

he
QW Ie re AO OO

~
>
D
>
mS
D
v
mee pe

3 A tes.

14 Q So you're familiar with the general
15 preradure?

16 4 tes,

v7 Q I'm going to te asking some mest Lons
18 about issues involving this Litigation, if you don't 18 about prands?

13 understand any of the questions I ask, let me know 3 Q Types of boats.

AY and 11) te glad to renhirase them for jou. Slay? 2 A Fiberglass fishing bats.

él 0 Uprhuh. 4] ) ds that how voy deserite a8?

Dol hela te Sate ho alone pat if 5 ifs cans,

Hon eS
Ke

4

Qyochecho fo Cerbally ib ior cum peasun yun id or Zi Qo Ere there various Cys ob Diced Gers

“4 ee tp pee rt cops . bee 1 ., whee Move pt dl Fo at
etna read, Sb. ees fae WV a &atel £ “HSE MAer ln Mella ules!
L wet éu r oa aT tS USL CTA,

‘ wie Tis GAS, Say 0980S ata é J stata]
4 rer 5 Mahia

j What af The oe vad Pu RSCEoe 4 4 = Pa are Panp tat) mite a sts,
Soong de te Mery started) camifacturing Plats teats i, Da
f, SU thats teat ps abet that po Bsiqneed bo TE,

Toofecqssd inthe flats, : os Phere an halite cb ashes wit!

a A and what are thats: Hoo Maverick?

1 A Flats are qeerally chal bow water tn 4 A There ary, ps,

[Qian water where teple thanima, li A) What are those companies?

Qo Ape Phere certain gecqruphie areas thal ll AT have a management repay nats ie
1 Taha beats ale mate pr tities iy ued? PP Maraqemear

is TRS. 3 ye DL

LI 0 Where ape these? Vy Nhe,
15 Ao Veutheastern Cnited Wates treats ant ly, 1h oo What elo?

fy, And whab te ad tay heat: Jt Pood npe pee aby Tbs ob tas
I BoM tay heat deaimibar tata itterat Poooabebe Weave ae otperg sry Pop
eke thivadhiten ft palace ebah ae Pea the het ey Me mepe  coup ate!
Tho ptr omre pe thy the neat, et ae pe

“rd ogh ' oto

Ina tedh thy bo kobimed t ope de ban . Doth he

bebe routet, fier ad! - tye
- - 1 tae thes ”
. u wld 4 Oo

. = . ri te wo

Case 2:02-cv-14102-DMM Document 52 Entered on FLSD Docket 07/24/2003 Page3 of 115
3 10

A flats boats. l Q Cid you nave general boating experience
2 Q  Eeclusively? 2 prior to starting Maverick?

3 A Exclusively. 3 Bo Yes.

4 Q Yan you tell me about your back ground in 4 Q Can you describe that for me?

5 the boating industry? Did you have any prior 5 AT qrew upon a lake with a boat that rar,
§ experience before you started Maverick? 6 poor

7 A In manufacturing, no. ] Q Where did you grow up?

8 Q Did you work in the boating industry? 8 A Winter Park,

3 A No. g Q Was Maverick the first company to mate a
10 Q Can you tell me about your educational 10 flats teats?
11 background? Yl A tb.
12 A Certainly, I graduated from Princeton 12 Q Who else was making flats boats back in
13 University in 1982 with a degree in history. 3 1984, 85 when Maverick started?
14 Q And any further formal education after 14 A Hewes, Action Craft T think was in
is that? 5 ousiness then. And there was a compariy called
16 A [went in the training program for Yeroz, 16 Golphin, which is still a brand that is built. 1
17 Corporation, sales training. Worked for them 7 think that's about ib.
18 until -- I left Yeroz, which I'm going to say was In IP Q end was Hewes already in exiskence prior
13 4 -- "84, 185, a5 a men marketing evecutive, 19 ty starting Maverick?
cl And thats when To regan the beat business. 20 A tes,
“ Soya dent hates aty formal teallny 1p 2] 0 Cun ya ter] te how that came boat, hoa
beat atta sc anythetey Ob tat fate? Jf eves te Up Ger lep par ot ERTL:
25 SOG 24 & did an asceh Gurchase of Hewes ly es
a4 ¢ Peon ne “4 o Was a at ec astro
= 2 ON ch bay can?

: Looe (Tan ag rrig of 3 Farrar pegs

2 hal ars Ine o- whet LILerentlates 4 03, re yon Tami ilar with that ceger.!
Sofas tht a thats teat? ut :

! Doped cane they fut in my

tie bay feats ei Tere a [itt

HOLDS atte wider, ald y Ih a bey teat f (ot shae.s an this broctwire fy peter that
yatta ate ota f bal. bal Toque, Thee teter om benji desqaniltey aid
0 Van you esplain what yal mean by thal? ® falling boats in PAL. oines then, the Beller tate
"4 & [man this chair and there's anns around 4 has become synonymous with Heit. Vier pile
bhooatoapd dtm dann dt. Up Dhaba beard scr ct Wo fiainperatt, abd this year ds ea Ue
L]ooand fowas sithingeon it, that's haa [wend be on HE coteepton "hay poats! rietted fe Hep,
Prob. Ethivay Tittle cos pit apa, hom sty [2 Petter, fas been tied eer sie. Fred pote
iS upper deck, 13 Phy yar aqyree with This otters in
i J Te vad Any Whe tury fed fhe Tirst tay L}oo thts Renter Pretared
I tegh? 5 BoP think t's clear tut) pe ple hee opted
lt Athy [eth Beer teat, ay Chey opbiched that feah tags
i Uae yapecep beard fo petiet | "
a Perot tha
! i ‘ ' ' weal :
” beet meEM re
' " rr - y ! 4 !
- - o ‘
Posen a at fp aver hiandtar a. u <i rab Ar
. he . . -
Case 2:02-cv-14102-DMM Document 52 Entered on FLSD Docket 07/24/2003 Page 4 of 115

OO to or ae a Ro

rm pe
hr OF

he Re
ae a

cn

ro pe
1 ooh

mo
wo

~,

2h)

were used In similar applications made out of wood,
they probably more resembled the bay boat. I'm sure
There is svamples that predate that.

Q Can you cite any manutacturer?

A te

Q Can you cite any manufacturer that was
making bay boats prior to Kenner?

Prior to the Kenner brand?

ies.

I think the fish & ski barge predated the
Fenner. But I'm not representing myself as an
wspert on the Texas, Oklahoma Kenner family and
their history in the bay boat history business.

Q What is the fish & ski barge?

A I telieve just based on my understanding
of the antidotal evidence that that 1s the boat that
the first Fenner family member built, but it wasn't
a Kenner, it was 4 Fist and ski harqe. But |

could -- and that's just bazed on what I've heard.
MP. COOPER: To think you should restrict
Your teat mens '% what pou bnew of your ch
‘fe bie,
WIRES: Ube,
Ei eete

oe <> o>

wy ner wpe tap ene oe

DE GOLD! GY TOpY ANY Aste

thee aero sete peak cba hee wk ee tla
re vale Shan! Val ai3o 4 fahG Une. wa tata

ae TAGet gh erad Sat

‘te arth
Mone nt ies NOP aps
etme the tay TaPhtin be med the Gaerek Les
Well, we bulid oevoral dittercnt maels of
tatht inden Gay beats. And we build different mee.
PAwerdeh tlits beats, aiehoae ditterent in
Thete awn tight, Se that would be impussibie,
G0 What's a medeloof a flats boat that you
ill:
Mire HS,

Wun vaeattare the Mim ape HES with the
Sri yer pied
une ne Maye ty )o feet daa Maa
: Het tiper geht a: u Pi 1
Poh pales 4 i
tae
Mpdtte loeb t bay geal
r rt. . '
" t ty it y t L
‘ sat ma WON joabr) mM fe
pte Fige-t ’ adn
_ roar rer a ees

3

OO 2 om or fe Gar IND oF

mee
AO

Spee pe
we CAD IMD PR OD

po oe
am oF

kenner's bay boat design?

A tb. .

) Mow, you indicated that Maverick makes a
flats teat and a bay boat, and you nave spoken in
general terms anout the difference berween the two
boats. Can you tell me what specific different

features there are that differ between the Maverick

pay boat and the Maverick flats boat?
B Maverick -- well --
) When [ say Maverick, I'm including Hewes.
Can we have that understanding since it's 4
Maverick?
THE WITNESS: Do you understand my
problem, what should 1 de?
ME, COOPER: He asted you whan other
companies were involved under that trademarh.

Rup Tm mas
THE Wei oos

Just for clarif: ivak ion,
Patnfinder is the brand under which we build
bay oaks, Oo knowing that, do you want ts

CURD pn quest jon?

no RADSS gate Thgn Sighs hese
Ro SreGliy seaing i Chinn tia's fais,
aU UE te patatlneser’
2 fy otha MY AVE TG be ae
ihe Bay Peat is the Manet aa dy
alee ia tay feat qc epard te ag tliat feat
hoooMs
Ts there denerg) yy tte dech space rt
!
tery beat as cadttared toa tats feat?
oo
. vey
Mas Pte te qeneral [y More gana) pepqht

1 bey fel it 4 wed tec g deaths tag?

Wi Wat hy qinvale?
: regap and
ry , wa | eed yl ral
, hroat
: : 2 vet
1 4
“, !
re
‘ '

part of

1
Case 2:02-cv-14102-DMM Document 52 Entered on FLSD Docket 07/24/2003

A [ don't bnow. No, I don't believe so.

Q — Would you say that 4 bay boat is more
versatile than a flats boat?

A Yes.

G Is the sitting position of an operator of
a bay boat different than a flats boat?

A ies.

Q How does it differ?

_ 4 Flats boats ~- going back to the statement
earlier, a bay boat again you generally stand up
when you drive or lean against a post, Flats boats
ya generally sit on the deck when you drive
Generally speaking.

Q When did Maverick first decide to develop
d ba'/ boat?

A When the decision was made -- I'm not
siact ly sure of the exact date the decision was
Tak.

0 tht feces) the exact date, but can

patil) me abet year it wis when Maverick first
POSE Gn het wie
weedy E Want Oy say in

WY part We

Te
reer > my
" af . ‘3 iy me ~ t
Sind tal feats Pach in Tea at taat tine?
Site, Therowere any, maby Pay feat

ah peak fee Be the tals of the pad 2
that yor on think of?
A Right oth the top ot my head?
Tea,
Then was benber, Glue Wave, Guil Coast.

Med there

ae oT matty babies that were tut hdina
bay Teen, WY ue ecanth JG you want?
dk hat | new bew many vou bnew Un yaar
tome think qhogh Ti. There wis fyeni
meta ig deta. Arpad, ;
t Peet fet I hay od
bo kiahd iilja shite
1 coe ate gy bogs fier
titagheamsy That og
my Weter Bor nent
- The by Pah te Cle ae
- aoe we ier yt oh ig [oe

I

am wr ee OL) Pt

wa oD 5

Page 5 of 115
ig

A fean, decided to do that.
early "38 vow that T think about it.
Q Wren did you first -- Maverick First
consider developing a bay boat, when was it first

generated?

A Been considering if for years prior to
that.

Q When did you first start thinking about
cuilding a bay boat?

A When I -- { had been trying ta se}] flats
boats in Tevas with mized success for flva years
prioc to oullding the bay boat.

Q And why were you not successful or did 70
have mixed successes in trying to sell the flats
boats In Texas?

A I think part of if was price sensitivity
co that market. tnd part of it was applicatioti
ISSUES.

Q Can ja ‘escrie wan you Mean by

afplicab lon issues

i would say

BOT,
iat,

: The, CY?

Bo OThs

Z Sua rngtli not bow woe arate 4 1ST
“ets vs L Te 4 zc -

qt aba cn

Q y Ly Lea

. Toe veel

onda cad! Yowas Gack it TG
mid G's that yg tire Titi, ated! that,

tied W'S?
Ao Wat Lda E think, at ireeall, J
sald that Potad been considering that market tor a
wile gd tried ho penat aap estctinq
thas teats promt Lines te mid sneress. And |
GLEE ears ot rote dutte thre:

Pe pega prior taamubina te

pate qt owtth

sy Rah TEE ar

ly Tighe tesbebtodet ietatie tastes
Case 2:02-cv-14102-DMM Document 52 Entered on FLSD Docket 07/24/2003 Page 6 of 115
22

ro
Dw ow SD On eS OW) RD Fe

ro
—

Tob

tee

QM abe La Te

To

little bit longer than it should have to leam that
lesson.
Q Can you tell me what years we are talking
about?
MR. COOPER: I think the record shows fils
testimony was late 1997 or early 1998. And ail

of us can subtract three to five years fron
that.
MR. ELBRECHT: If you have an objection --
MR. COOPER: My objection, it's asked and
answered,

MR. ELBPECHT: Shay.
BY MR. ELBRECHT:

Q Can you tell me what years it was that you
first started Lo consider ceveloping the bay boat
then?

A '97 plus three, that would be "94.
Somewhere between, you bnew, "92, "94. Again, you
knw, this is to the best of my recollection. This
isnot a cubject that fovas or ated to talk about
I'm duct. doing thet test fo vah of these dates,

ad the Piva, that

\ shee a las
pod Cryin ROLLE, qd

mat

fom sea wngt tat ‘oor

ptadyven iy yuan mind bet
bel pment Yo fea feat?
Ro The two things are dined of selt-

eeplinatery. Tf tis start date falls in the time
verted that to cutd [owas starting, then yes. Tf tb
timeframe that te otarbad is cubsbd that inet am,
The ae pwd ben,

i) bed vou consult with Mr. Ellig about the
besehoagmenit ol the bay beaks un that time ram?

MER ‘ie

Hp ds Vy ' Alt owatt

Me got go ert ot the pa tes
be tie bes Ly

thst pop ras ne gs roMr ibis {»
rr any thaw! roid dwar tongs:
fed ovabatat od sb df eb ot -

oy

Zi

ro

2 ee On

pee
Po Oo ww

Spe
SO SO

me

within the company?

4 to, not really.
Q Just thinking about it in your cam mind?
A

A Uh-nuh.
Q tes?
A fes.

9 Whe designed beats for Maverich back in

We did all of cur tooling work and design
work In-house back then. And I was very actively
involved in the design work of the boats at thar
point in tine. T did rst of the basic design work
myself,

) Did you have anyone else that you worked
wlth in doing this design work within the company?

A The engines ering and tooling departments.
And you're talking abeat the period -- what dats are
you Talking abour?

9 Inthe mid 30's,
Roo dn the mid 90's we had a toad ing
thet and |

ajir fre rete Tragh fog] 77

partment aod [oeald brony ob
WALD nS ua bret

Te hit: Anat Gem teeny tale that
Subtotal ly tatscahe i eat hgiterted tradi,
QO en sill hve thet orddinal shedches and
wane that ne: Marke:

home We Ay ce wwe don't,
mye jay posed thage?
hoe drawiter we prekivd
ite ithe prateathty wan

eth ot ap thee atti.

Peo (rete Cb te] i bia,
Case 2:02-cv-14102-DMM Document 52 Entered on FLSD Docket 07/24/2003 Page 7 of 115

1
2
4
3
6
7
8
J

10
ui

14
be

13

25
Eehibit No. 8? |
A tes. 2
Q And what is Eviibit No. 8? 3
A That is the initial sketch that [ drew of |
the 22 Pathfinder. 3
Q And you were indicating you have something 6
where you can -- there's a photograph of that? 7
MS. GREER: There's a photograph of this, 8
ur discussion was it's framed. Perember, we 3
didn't want to take it out. 10
BY MR. ELBRECHT: Y
Q Do you know -- T can't make cut on this iz
copy what we were given if there's a date anywhere B
on this envelope. 14
4] believe we loured at this yesterday ang li
you cannot read a date on the postmark. 16
) Was there any partioslar reason this Y

drawing was made on an envelge? ]
Bo Because that's what was on the coffee 5
eit fey fie coh 2h

000 To aeren't trgi ty document the date on “]

Cah oe anh Money te en fahie 1
ite eh Zé
* 1, te af Lenin. af
Oona inatis yar dwing =
earlier in ihe Gepusitol, wes Tsey usind a Larde
LaF isi Si ys’
. Cap MRE Pe y ro_45 a ‘Feger prs !
feed, is that shat yah ‘
{ f,
ahi id ir feet, ,
A Free beard coftouatice between either
the chine dine ua he wate? Lite ald the quale < i
rails of the boat, |e
Qo An ers there ang ce any at the bay boul l]
Metta tapers that pap ment i set. ali we, dtdany 4 I!
hele desdyns hast Me bet pies Pear? if
Nos better pe Ptoog Plats font: id
iit, iP othins ae 1 More |
opie able if
hs 4 ' ry
i wot bs '
1 | ’ '
ot soo! “s * me 1 fey
Thy we theirs !
Loot at uF A > trot feantle ls
4 i, 12.225 - r ‘fr 1 -

A Correct.
Q Were there any particular design features

that you were incorporating into this drawing?

A This was purely styling a3 opposed to
desiqn. Honest ly,

0 How did this wag differ from the flats
boats that Maverick was making at the time?

2 Well, the boat represented in the drawing
differed trom ute flats boar in that it had a deeper
free board. It had 4 more aggressive styling, It
had a larger console relative to the sice of the
teat. aid equivalent siz8 to the flats pody would
have had. It includes a low-profile gunwale mounted
ralling. [t had the product name and size of the
both ivaced into the qull side, weich 15 something
that we have not done on any of cur flats boats.

15 there any nate written on this drawing?
2h feah, ih says Pathfinder 2707,

So you had decided on a name at that time?
Ro Varreet,

00 ep ther farticutar features

T was Erving ty =

Totwpenee be Crh ge pe prt ore ny

A) ap) creb Defect te bews os roman y
M1. fb ina Se fe a ad

pters} tnep a mk

54 Doar ital

eo Bore oder’

bore color ated aie Mefe by dden taut, for
tah ob a Gelber bom,
Sho Whab doa sty
A Style Line bs a tine That stat ot tts
teat for style pret
:! i Pah itin ae baat ib a test
ati u reef?
iu fits can tes dass Bon uk,
hey
PLS gy tyes Tbe dadites Sto
ih tbe thf pote thts ditternn sy i
tag
ptr tot 4 i
etd edt
Be 1 '
a

26
Case 2:02-cv-14102-DMM Document 52 Entered on FLSD Docket 07/24/2003

OO ~1 oO On te te) BD

A

2 to, not at that tine.

Q Had you -- were you making offshore boats
at this time?

A ho,

Q — When did you start making offshore boats?

A Two years ago. Has it been two years? It
hasn't been two ia It's been a year and two
months, 1 guess. Less than two months.

Q fou vo 1 indicated in tnis drawing ycu
were including a low-profile railing; is that
correct?

A That's in the drawing, jes.

Q And that's located on the side of the

A The Julieals, 465.
Q Were there any -- of the other bay boat
manifarturers that vou mentioned earlier, were any

of them using this lowprotile railing in any of

thete designs?
A tes, Fh was

of the fay beats,

Theat hth ing aah

Jo Wag the Solent Tei (hlt bal

Seowaty Una Was uhbuue OUR ify Cal) Goal Unban was

fall; comen Lacoughout most

Suylé of ine Wal is unique,

Lape Ra rec ve the pat en ow teat le
MIC TPS ores UL TES eG wer Gy, amas
we
a ie} i
Thayy Tle Wey ow lb lee ded)
nt : Feet,
2 Tan Pat oe ey det teahites That

teat mote aeothebic or better
Le boa, The tearhet?

other thatthe ones that he's

ru believe made thin
iehing tan "he

MR. COUPER:
ranks tent tel
MEL Rukh:

ment tone any.

THE WETMESS: fomean, Pocust drew

smethityy Yhap teouqnr ib iifead and | thougnt
the market woutd Hine antidet alle. 2 theught

hrink tels

it wall ee an hire palap.
Ww Sk

1 wy rh nh Lila,
reap

11 .
Bey eat rel

ls o ] r pte te
tee DoUettet, tece pet as dg

Td Ga teas ete tea te
‘f oir " 7s trae

tee il?. toe : ' 72

2g

CO PN oe

so

G How?
A The way the concept of the style lines

yayo avor cyto yw

as differcnt than any one I had sean.
Aside tram the style lines, was there

se that was unique about this drayic "Se T

suess, compat to the other bay boats that were
already on the market?

A Yes,

Q What was that?

A In general in my opinion the bay boats
that were on the market were very unattractive
boats. They were unattractive and ugly. And tnat
made it unique and different than everything that
was built.

Q What aspects of the existing bay pears did
you feel were ugly that were not included in this
drawing?

A The shape, the styling, the -- i mean, few
do yon co the evecution of the whole Csi of most
OP the toats did not work for te cotte
Ten, eg that cali Paton) answer pus hn

oo iet rey) Phere,

Tieragr yite the:

Deoevrprcisen conte ts

Yo PO abl ber te bot ihe ues lo bach,
THE WITH: What d yo wand ae
MP. OOMPRR: Apaver She esti iba

cub. EP think rh weuld move thongs abut it the

Pest i teow ibe cap bel hat Ges ar

talking deat, the testiners fs bind tp oad
topteal ot the ng, tab twos iter i dy
Poi the teat that ony
“po 1 wy Cine t r Med
teay! ged let hw lar ce ,
to
1 1 ‘ 1
aly '
boo. roe “hy 8
: ? wp ee 7 ~
. , L

Page 8 of 115
Case 2:02-cv-14102-DMM Document 52 Entered on FLSD Docket 07/24/2003 Page 9 of 115
33 34

l form, that's if you have an objection, afd 1 THE WITNESS: What do 1 do?

? we'll just move on. 2 MR. COOPER: I think it would move things
3 MR. COOPER: And we'll object to the fom 3 along it Mr, Ellprecht could ask the question

4 of the question as being unclear and calling 4 again in 4 norecompound format,

5 for really an answer that cannot be provided 5 Br MB. ELERECHT:

6 for the reasons that I stated in the little 6 Q Can you tell us what about this drawing

7 speech where I made my objection. 7 that you believe mace it mere aesthetic than the

8 MR. ELBRECHT: I mean, you understand that 8 axisting bay boats that were already on the market?
J speaking objections are not appropriate and | 9 A think -- let me go back and look at the

10 would appreciate it if you didn't do it in the
i future.

drawing again. The styling of the boat.
Q And what about the styling?

ph po eee
we tal PD Re

1? MR, COOPER: end [ understand we are rere A Tome if loored like it had the potential
13 on a tight schedule for this weel. and we are 1f properly evecuted to produce an attractive boat
14 intending to ask questions and 1 would like you 14 that was uniike anything else on the marker.
15 ty procesd on that basis, as well. Thank you. 1 G Can you identify any specific features
16 MR. ELBRECHT: I nave the right to. 16 that you believe make this drawing more aesthetic
17 FOMP. PRRPRCHT: 17 than the bay teats that were already on the arte?
15 Q After all this, do you want us to read it lé A Not really, no.
139° back, T don't bnew if Dcan state 1h again? 1% ) You mentioned that after this drawing that
24 ho fas, 200 Mir. FUL] mane some drewingo after you spake with
A] Ceeipon, de teak rt bat 2b ham?
A cf eA lig aed Pd,
é] gy iy Mae ome deaalnge?
a4 a At mrmatiky Mr. Billy
2 5 2 Dhow tans Iawings thier. fibt cabs:
% v
£ £ said WAS :
5 : yo UME. bait a
1 Dooaiteinyptocyowta purple to Ferra tay
4 Co faygt?
t, F. A Te,
] ho Toft se Pa yine venti taey were , Bo Med Chet hal happtrad?
Roo thratoat. They were chap drawings Pim sure, r Ao Tetiwe tad fo tabs dt fra the tard
4 (0 What was the neat step in the process of YOY etivelgue concept abd taddds- piysh ally tah,
[othe devdegment ot the Pathtipder? I) oye know a beat sort of a coneept,
li Qo The nest stepowar Pe this tack of the } 3 Ad when did you de that?
I) oniver Qe drwing fo reaiiatity tpt taetter l eo Tn early TYR, [belies
[L$ with Paul and discuss Hie Gest aay to trimy ibs j Att ahere did vou fad in?
Myo praet te reality, 1 AM ar fa tory in ret plane,
15 Qo And when did gon be tat 5 eoepd as thts a pptaive ptm beg thy
lh So Pweldhes be he vil nas bal oe
Li qhew the ebohoot Pe fers : at if --
JP oon ttre the, subi - Soh sob kuer ite boy Dat
i el, wo
' : , whey ' :
: ' va Yay i

Case 2:02-cv-14102-DMM Document 52 Entered on FLSD Docket 07/24/2003 Page 10 of 115

ho pe
me DA OO PD

ro
fo

pepe
ON On & Ww

~~

13

rn

VJ How dick yOu modity the exist ing flats

2 We changed aspects of the bottom, the
steer Line, added the style line, Changed fiw the
toth was designed to assemble and then changed
aspects of the transom.

Q How was that physically dere? What do you
do to the evisting hull? I mean, how do you change
it? That is a compound question, but if you
understand it.

B How do you change the hull? You cut and
you either remove or add to the null thereby
changing the physical dimensions.

0 How do you add to it, what materials do
pA se?

A Again, T didn't physically do the work. I
have a nidimentary understanding of play building.
We acded fiterglass to raise the free board. We
renGiied a pal otf the bottan which was using a
qrinder [ weuld assume.

G0 Which flats boat was i

fdoin this pruess

uv Pu
- toe
: as
ote
hay ghity i
Spee ed feat nh dna fan SY Vea
Prespee Potade the path genic tc and then Pau

sinep oe teat aeuid bas hy yiend ‘hat tim
foul would retine the dann g
(ie ou shED) have the tat
nae?
SL dat teliew

Lil dr wil] yet

0 its yell sti] have the ir Wits traf rail
vide?

Voth

gfe you Rhea adit boapfetes pty Pham

Sot,

AMM whet thotatey aa take ba!

yb tisder fait)

a

at

~JooN on we wa 2 FO

> aD

. > oe se
2 SR Ue A BD

to start with an existing null than if is to hire an
cutside enabled architect, Paying for a céc shop to
cub and plug. And then thereby the decision of the
architect and build your mold from that. Which is
what we did in the vase of the 21 Maverich,

Q — What was done then once you had that
lnltial prototype developed?

A Initial plug?

Q i'm sorry.

A Plug was built and we made a mold off
that plug.

Q Then what did you do with the mold?

A We retoved the mold from the plug and then
we built a full in the mold.

Q Is that original mold still arourd?

A 1 don't believe so, no.

N by ¢ plug that the a

ey

Ad Was tee:

Heat about the

hth.
What did youdo then one jou tud tte
treet fill tuilty

i". pte tele .

tell,

, ed vere, ehpre .

Z ad were there any daeinys wok tf re
eal.
hen

a oy

- Ves whe poet a aR ye te see

| FOS RSE TENE SEP ORCS Soa qa. Une

fons bal Cunt
m jell, wr Gobi the deck gab ren we fe

ronid tom the ea aay.

Wf Mien what was the nest hep

b Thetis seule bard parts [em ‘Tr
reopeet ie metd and then pat Chem faqether. We
wld alas have to talld stall parts, fae
wnole edby

(0 Viteti wis Hie as

Hkdibeg the

ably completed Dor the

tiroh farntindger?
Mo Toyah bcc the tiret ope ge gprs
sop four eat

‘Lot dubyep that vow,

iow Vat
. ' vee ‘ oh,
rod es OT tf hriiepout 4 Lt
oh, : , ‘ :
ay tt epoca’ fod
..
. nm
soe va
oes
melia
r yo ytd ,
- mom . .
at at - t

a
Case 2:02-cv-14102-DMM Document 52 Entered on FLSD Docket 07/24/2003 Page 11 of 115

SO SO On 4) RO Fe

—
cm ws

il

generally we change our aodel year after July 4th,

Q So the 2004 model year would begin in
July -- after duiy 4th of 2003?

A eS.

Q And you mentioned dealer meetings.
Maverick have annual dealer meetings?

A fes.

Q What time.of the year is that generally
held?

A July.
change.

Q And de you Trew
was held in 1395

Loes

Coincides with the model year

vere the dealer meeting
in uly f for Maverick?

A poy. I believe it was at the Indian River
Plantation in Stuart. Fabrly sure, but I'm not
gositive.

What is the purpose of a dealer mest ing?

A [t's an entertainment function for our
‘halers. relationship event which we showeas? our
pth Sfulalse try to hee a ghd lame with our
fees, worklog lat iononips, afd the ceed cleg
Moore tae cede ypat.

tree

e LE UNE CUD D Den DY WReT a Tune!
il i

poryhl bye tore. frre Cer
has

: te eh bee tbe | Vg gape

COED ica ecribe TL a hayypersay
pee el . } te ne | se
osaitre Lek gf Mbes tae kebl sy bea auld the

beh ditterent 2?

A Frem the protile Vey wi] Pe fairly
the transom the: banne
havea tinged in the gach oot thy tat, Mee Yo
sd dae a step,

br mt ae

hil

eumilar. from

Joh i ce the possi you male these x
Utterent fall
Athy : ret noep the Tecas tarts bead ite
She cone pisity afd the neg h tial il be '
bran the hav beat mate ai ey beaut kred
bes tune erat tarke
fh boushe
\

4]

ro

KP OD Sm Ee RO

mo
a

eo
—

Ke

0

a
us

~

42

A to the dealers, yes.

Q Was there any frechures or Literature that
was peace ak that time regarding --

AT don'n bnow the answer to thar,

Q = [didn't finish the question --
regarding the Pathfinder?
T den't Enow the answer to that.
who would know?
Well, T would know. [would pe the most
likely person to know, I just can't remember whether
we were able to get both boats and proeties to the
‘Raler esting at Lie same time. Tenerally those
two things are more than hat we can tandle,

Q Was there only one Pathfinder made at thar
tine for that dealer mest ing?
A [ oelieve so. There was one unit. One
running prototype that we built.

Q End fiat * type of 4 twill was that, was rat
a ¥-hull?

A es,

aus o-

at the dealer

Qo Whats Une teacticn

Spel abet at the vest she tavirds

talititaber!
i mv we Then fad to qo throudh ss ae td
ba staal, i Ma aM bedts, get Chatiout in the

Held, i ude and dealers run them Ween]
1

Manel Ww] hte

cay bbe, i'm ta Ean about tistinp qui des acd
trteachal ort feeder and dee gtar tay
bial.

Sadat dp that type phi!

Potties Hye oe Pte teddy '
i ut

Ly:
' , Wook
' L
Case 2:02-cv-14102-DMM Document 52 Entered on FLSD Docket 07/24/2003 Page 12 of 115

SO OO a ae Ws BO

10

course of discovery, sasn't 1t? ‘fou have the
answers, So I don't need to quess.

Q look at what we have marted as Exhibit tb.

19, Can you read that’

A Yeah, I can read it, but it
give me a headache doing it.

Q What is this e-hibit that we've marked as
Fvhibit No. 10?

A This looks like a punch of numbers, hull
numbers and invoice amounts.

Q Let me ask you, the first column where It
Says purchase order nurber, vhat does that
cepresent?

A Weill, I believe, ana it I can ask -- this
was prepared oy us, by fam cr somebody in the
office, because I didn't prepare this document, so

5 going to

T will point out some things, It says at the top

purchase order number, buh below it nas hull 1.0.

nUMATS. oo that's ctiicusly tot accurate, 1 bata

what it should say is null identiticak ion numer
ihotead) Of Qurehac oC utter,
yo? patad Deatiieatics

Tf ia if Cutler boa UNCES

har 1 Tanuig urer
Maedecn hull:

ctor a rier heat

Z aN) af ar. rs

Lola, Tybally :

yo afb bes dee o7

* Pegon preg Chat awe eet hem aller ys
et thet il he oc epater Pat URES) ie dd
iret Tr qn,

AP don't think <= Poden't brow,
Q fa there a dist wit the cade tor tte

dealers dh we wanted te dent ity ate tis feglers
Wa . r 5 ?
Wo Ape the tus custady or that List?
His on ts edhuber adh the Thies,
Pod the inteiee ate pep recent ic akg
. “he (he that we ub thee. |
a t
ee 4 at wey
ot. wt
i ao Det

45

oo

_ —
OF UT ae ua BOR

4
GO es

19

identification numbers Start with 4/?
A OWI is car HIN,
9 — And the next column is customer number?
A fes,
0 And dees that refer to deylers?
A ‘es, I think so, yes.
Q And there are different codes?
A Different codes.
3 gach dealer fas is own ode?
A fs,
Q And then the rest of them are pretty
pl y. Order date, | quess that's the
that the dealer would order the boat from
k?

~ toh necessarily.

% Okay. What is order date?

A Order date can -- Tomean, ali] sever get
there asking questions, so I'll tell vou tow it
works, He tate orders at the dealer meting for
seheduled prduction, so they tuy a far ct
piodeerion octets frauly these tay oder goats for
hat eeeger se toet Mae ated hah all) hor up

os , ° wpe pe vdeo len
a Mat orks. Arba ey th elie 5

CORT ICON SIS, Soret tes une!
ee als fe. IST Sus the Toe

DNL fave jog beth thal ¢
Prem the AW) D0. pumbers,

Wo Cae qubesplarn what an (he bulb 1.f,
mimbers destgndbes ptoas a fangeb halloor V-hav:

Ao bra dad) LQ. tor 20 Vetta seated theo:

Qo be ay brag howe many Peaghe Buses

ued 1S 148, tow matey bab lider

Moe id fe fet pected Paste gine ‘

. adiraon ; ‘ rey t
daddies ae RTE Wott.

49
Case 2:02-cv-14102-DMM Document 52 Entered on FLSD Docket 07/24/2003 Page 13 of 115
‘

Mm ro

GP OO sm OU ee

me ee
wa Ds

i

A In very -- we are primarily exclusive to
dealers. In very rare instarices, 1f someone Like 4
Jimmy Buffet or someone with a high-profile, we
would do an accomedat ing sale and let them have
special attention through che factory.

9 What would be -- were there -- after 19%,
did Maverick con ne to produce the Pathfinder 22
Ys?

A {ES

Q And did they make a
"99 model year?

nT think -- yeah, we make model year
changes every year, which 1s appropriate for --

Q Were there changes made from the ‘93 model
eat to the '99 model year for the Pathfinder 2200

f?

mode! in 1999 for the

Sits

A There were changes made, but as I recall,
they tid not directly tie in with the model year.
Can yi sph a dal, you're referring te,

nem CT des done?

a Sure Wate Canteally futld is a can ot
i ae Ou P Lo. Maly feat ate we se i
; samy 1 OGRE, LW) Ann Wore,

' at ee,

© tat
Led

She) aay ahal

ve the ae
. Be le

: oe og

“ Qo Gal Ie
Tm Phat

at as really ghartt to peple vit etl they wee
Treipategh cbingoan the diprot. Wlete pa

Shoah Tie in the mirror ated Lhe
soot todd wing that straigat ade,
fed same cap latnts Prom customers whose per ept it
vas That Mieir " fowas Tish g utdenaay that
idiot diplicite. ndwe fimally ralined the
LepLeR was Note was a twist in the unger section

brea gerpet

the fend on tie fen
Oo wy other prademi with the deol,
atria tecce Doren sie oy Th was
mofiggh repay ww ived an fob
po al PSE Ee bata, bwanth ts
tr hated : t oy
t 1 ‘ oh
rot apt
fo : 1 {o- 1 ! t
Pita Sitltoe ahs ‘
pace te

49

Oe ad [Do rt

design. 2nd then sometime after the Miami Soar
Show, which is in February of '99, it became
apparent that the damand for this product was far
qgeater than we fea anticipated and that we needed
ty fui ld additional
to satisfy it.

capacity and tocling te be able
alsa, we had becote aware of some
problems in the tooling that were inherent in the
way we went about cutlding this that we hadn't
anticipated that required us to re -- basically
rebuild a plug to straighten it out and do some
other things. 36 the deelsion was made rather than
make ten new sets of tooling with problems, to
redesign the boat, make it right, and then bui!d our
nea set of tooling, 2nd that hapgened in the
winter, spring of '99.
2 When you celer bo Loving in a
industry, wah are jou referring 10?
A Byetything reiated to ecrverting the
felgn ty an cetual produchive curt of The operation

iS cfoidered touliy. Ab Tew dnomy dean tt

1 -
Lal.

Bone Cr g hae

Seg re Ghee le ier ey

oot 4 MD feu a
Pho chen lee a thor Loastlar Jana crane
' ron
4 NANT Sat ny Wa?
mn i ~ yh I
° “had desl feeb utes
TT, . .

plata) ot tne inital
ae nearest ij.
Lubenh ott ab orl gitead | made
theorbpiicd flip fo becom: acamet cicaly

effeart was
Wo Was ph The

A thy
Qo Abed al tet poted tte EE: ay That Was
pebban Fits tat, whet de Listing
BATES fo y len, ter beh! “better
term,
Vo Vere st Smplanha hah yal
“

poelved or Myveric, recetyet Dram uctegers ot

eobr ghans that va tnt

5

1
Case 2:02-cv-14102-DMM Document 52 Entered on FLSD Docket 07/24/2003 Page 14 of 115
53 o4

Ts it somebody different now?
Yeah.

perception that the boat was listing. But wnat 1
think the person was perceiving the list to be was

Bho re
 & mM

|
2
5 iho was in charge pack then? 3 the Jack of summetry which gave him the lack of
4 A Honestly, I would have to check my qd  symetry in a crested state,
5 records. I could do that. it was probably John 5 Q Do you bnew how much the poat was off?
6 Sampson, but i'm not sure of that. 6 RN.
7 Q Is Mr. Sampson still with the company? 7 Q Co you know how many warranty complaints
8 A Yes, 8 you recelved regarding that?
g Q He's in a different position? 3 A Mo.
10 A Yes, he's in quality assurance. 10 Q Were there any other problems with the
i Q Who's in charge of the warranty department 11 original Maverich design that was marksted in 1998
12 new? 12 for the Pathfinder’
13 A Well, ultimately the head would te Paul 13 A From there -- as [ said, there were
14 Ellig. And, actually, back then 1f | think about it 14 manuiacturing issues, there were creobaness issu
15 Paul ELLig was in charye of warranties back in that i and symmetry issues. And the nuts ard colts of
16 time period, as well. 16 those I don't recall to be quite honest.
Vy Q Were the warranty claims, do you brow, v Q 1 just want to make sure i'm clear on
18) about the Leck of symmetry or b atent the listing 18 this. What ars you talking about when you say
19 probieans? 19 imatutacturing issues, 1s that something different
4 A [think they vier about the boal being 2) Than the symmetry?
Ploocrobed, th tad to be toes, | A Whe lett -- es, Uber were cue td |
af ie hes ie: A bet :
2 mr slate uf SMe ald at
fd ots 4
3 Ao louaeownah p zaidearlier, it was a oS
Loosatieg toni cy Teter oe
Z Yo ue yu reais ao you sit neva today uhat : S Rileer Erm vr asumetos
Soa aay aed {ne shee cetera)
1 way oe reofowith ts vay rh RTs F,
Stee bev eet oon the mit rtp area, the ove brs ° (0 Spe Mere ary Tet "ane taney Laces
ood dato recaib ss fo paember there were som hoothatwere nbd ine reyagd te the orogial Catht der
Poerephant thas Ein Dt tbe atd fat osecutes MG YT Uhesh was oe din Ley
Roeper, * AD deat tea, Tin sure ther: wer, fat
4 Wen oa gadat ped on the rub rai, wat 9 fdoutt pvuall wat they were,
19 da oil mi wh? 10 4 Whe weal d trea that?
I] 0 When tie teat ds dechad += whab we I] A dai SE.
Io deterped tog: bebat ad: ied, when the unger I Qo Biv ss stebe carder ahent Tiere
1} tech pes eT the tall and it's trimmed ind mip Pe etn an tiereas dd begat for the feat on gq ogmeutey
Uae ih Sat abode (resus as fot working fact: Todt That ed ont teed htop of yor
Woo ith ch AM, Pgs tae Liber tatensiy, Be agbtlity pecraeaty oe the bat) gets Rab Telerrisy
lo Soothe wat ath bid that ya hotel brah Inte ode buf Tan tl pitues jn uot tenticne |
Poo the teeta ap trecu diet a prem tain rn Joo popa ding tte nth gd the fet tpet ings
‘4 Srp play t |: . .
‘ ' Jae sot, ' : rind
' ask boats “ wt ant
! ae bye bony ° ' ‘
- . at ' , ' : +.
- te br tte ded toate ' Pert tag
- ‘ Teeter : my, Q
Case 2:02-cv-14102-DMM Document 52 Entered on FLSD Docket 07/24/2003 Page 15 of 115

0 CD Sm OF tt

37

Q What, if any, changes nese to be made to
accomodate that situation?

A [think T already discussed that,

MR. QUOPER: =I think he just coverad that.

Q Are you talking about those manufacturing
issues that you just mentioned, those were done to
allow you to make mors boats quickly?

A No, that's not what I said.

Q Then I'm not following yeu.

A fe can go back and read it again. I think
I said we had to go back and make a bunch of new
tooling, multiple molds,

Q And how many molds were made for the
Pathfinder?

A Of the 2299, T'm not positive about that,
cut ['m going to say -- I think we made ten sets of
comblete sets of tooling for that beat. But T conld
te off by two, it might be eight.

Q Would that te teats for the tunnel hull
and the V-hul]?

n That woud aa ge: for the Veh.

Yo Hwabeyh hottie coer) pee?

Sgt Sn Wh Ue seh ot Loving

Goo Plain ory lA Mat tor the

2d
al thot vas arsted
het Geshion,
mess 8 an bine titterent, we are taliin:

abeut tay Miter tary teristics,
ie. RUPEB Wis E't ad him
ap Mb Sie Ts
O Tor ten ered that thege were new mol ds
Hat viere Meds in the sitter aed spring ob "997
4 Ys

) ihren Pa Maverick shart utilising thos

Mopds #omanh tire beats?

Ao [tab the latter part ot the spring,
cabhecs dvttergar ft the spring ot 4D thine
that's alee rotheted iy the qd part of the
Pacer that ga hatecmedted Tountt reall
Trecpestpi fy bie Tobeljewe Gf 8s in thers,

(Pe peter pt ga ctecitic dennis!
Hhalopet toeynes hn tle de tebe with tt

Toews Mad
1 : ' ' :
roy :

ww PO Ro

sD Un

KO CO

To ee
me

38

‘ull was In much greater demand than the tunnel
null?
A That would be a fair statomenr,
J Were you selling the Pathtinder 225
just in Teas in 1999?
A Our initial -- well, no, that's not tme
@ where else did you sell ir?
A We sold than in Florida and we sold them
in Louisiana and ve sold them in Tezas.
Q What is the general geographical area
where ‘your dealers are located for Maverick?
a We have dealers from Cape Cod to EL)
seathern San Benito, Tezas,
Q These changes then that were made, ypu
enbioned that was in the Spring -- winter of ‘38,
coring ot 99?
A [think [ sald -- [think L said i was in
the winter and spring of '99,
Q Abd that would have teen during the middle
of the mde] ear?
A Coerent,
Wat thal Geugh for yer ore we

Tales 8 4 teal ducing te de bo wok) ear?

~ Vie -
Stk,
- a
nae sonal
°
r
2”
! iu :
' Nye There cre fa ae
Beat Show ftps ol
Theat ha abet ve bo toe initia] pp dae

Wi teats chek at to the loci marker. ond

that's atien Dreali ed that they dat just sal in

Teas, toy,

(oohah Pimst year Li the Mad aaa chai
8 teltuury,
Vo Ge wtdh or torte fl von donday at the.
tu Haat Shwe?
AC Gt Was eed the eitiah neds thts ee
Procure (boat fb the beats phos 7, !
mgt Soll ya abit 4
: Ped Ti teat tyes rt
{
he , t,
' wd
tate try e
vob -« —
Case 2:02-cv-14102-DMM Document 52 Entered on FLSD Docket 07/24/2003 Page 16 of 115

ON ote ROD

So o>

10

Miami Boat Show was the same boat tial nad teen sold
in 1996?

A tes.

Q And it was that identical Goat that was
displayed at the '99 Miami Boat Show; correct?

A [ believe that's what I sald, yes.

Q Now, at the time of the Miam Boat Show,
had you already started receiving some input and
complaints from customers and dealers regarding tte
problems you mentioned earlier?

A Yes, I think I've already said thar.

Q Do you know if there had been any warranty
claims made at the time of the Miami Boat Show?

A That would be speculation on my part.

9 Gyr the Mian Boat Snow was not the fir

time -- let me start over,

The 1999 Miami Boat Show is not the
Tiest time that the Pathfinder 22-foot VY was made
publbicg correct?

A 7 think that the
Teale eet

m- yhat T said
My 0d] foal,

before was

ip Ton ine which

PAN 77 ney q Homo Gia
foley : riye
ty Spe UL Tot pune,
Ochetaes or
ewe Neg ten

ee ots yet ee tee reeds rer Tels
as OT UNIS OS DUN USS Ton ERAN Do
emp in Spence phe
' mist rH 1 fa Cae OD Tne
4 1 Dlg tein
rae : De fe Oe 3 DRARIDIAn

Loqeelee Sry :
ere UN da Ent

thine it fa re bite hte
thls ehh, vod teed tpat t
hin

MPL ELEPRAT TS Te
MP, ODE RR: [hs
“ap i| ant.

MO CRP: OT Ss tached ter your atisser
ta the mm Pant, ithirot attated ta ars,

prahite (im aban

entire one iy

treat
yh a second pays

theta to the

MP. NNER: Pstad coppeacted,
. We faye bed having itiatd
tft
tL etd tape
ME, sgh
hi Tak fupity hae gy
‘i nal
Con Ee
- rote .
q v
{- :
4 1 7

61

ne OD OS

pop
me PO Re oD

14

for that.

4 [f we hook at Exnibit No. 1, have you seen

L think 30, 8S.

an this is an application fer a
registration with the United States Copyright office
for vassel full design?

MR. COOPER: I'm going to object to the
fom of tne question, Tt asks him to construe
the legal significance of a document. If vou
want to ask him his understanding of it in his
own words, that wuld be fine. He is a lay
witness and not a lawyer.

Bf MR. ELBRECHT:
) 0 What 15 jour understanding of what this
document is?

f think this is a -- lors ribs a
yessel -- the f form you fill out with the vessel
protect lon parpile and onpyrignt of fice.

7 baie Syl seen this before?

n eal, [thine f fave,

Msp Uist hor th earrton hs ‘
(len steal

Vee ese ee pte ne re
THE Te Tha sy ew har renen cn whe
wy
Se Mp, P.SeE°HT

4 Qarnatts tha beat trast oot

i my Qin wand sadan ts rf
i tele pordhy [thita tit! s tut
tld |

GV when Tis appbteat ion (ebeues gn phan
niger she where it's igh -- Uae, Was this
deoSqu tad public fefore the dati ft putliat toa
hoes, cuwhat dates Tf dndicutes etraary Th,

lary, Ug hdl pureed stabement-

Me CONPERS DN qedng to pied bo that
Beata bot the poaipbe ab rep vgn lait
ether tian iinet Hy one tna font
ithe Op De pt pein tae ce oT

Voie Ue on , :
\

'
y
we ‘1 1. t '
. r ry !

62
Case 2:02-cv-14102-DMM Document 52 Entered on FLSD Docket 07/24/2003 Page 17 of 115

ed ON On ae ue BOE

ee
ee OO OO

Reese
C7 oe ha

ms pe
Joh

Q Where the design was made publie on
February 15, 1999, that is not a correct statenent,
is it?

ME. COOPER: «I'm going to object to that
question as to thé legal conclusion what made
public is. Which has a specific meaning in
copyright iaw and the vessel cesign and
protection act, not necessarily the meaning to
the general public. He can answer it in tems
of his lay understanding, but certainly aot in
the sense binding as a legal admission.

MR. ELBRECHT:
back?

THE WITHESS: I remember the question.
thought [answered it once already. teat, I
think if was afi ineorrect answer,

HY MP, ETEPECHT:

q The Path MRE 729) Thay boat was made
the f

pablic tack in 1936 at list dealer meehing?
h 7] ‘ht
fooMnd dt fuet, Efowas cobb in baa?
a tre t,
2 OMEO W tos edo the wathtaacs 220,
fal teat Cota li desvy in gees
- Shag Don 3 “4
: bull ist
' (Tay boat
1 Te . roy Ve Yr ¥ t
LIM ye he ger te opp Ladn

Lotte wereatt trie,

Jo Sabajlaph ett b the o gptainl alates
mete, in Sark OY plait top coumibeted werk ot at
idital desta dor the gathtinder 00d “shuld bay
beat hepernyfbor :

Ao tea,

Dds thdh taney

A Well,
mT det paw eo be
fihe The work was
abet hilly ta

Lodosiiaw
regina! boctan,

Lining that the dite ce dt was ig
it tei} va eget ly phat

sopleted, pat Potrunk that ts

wy
. Tents tr i u oi i
eluing the @itral kobm we
ait
ha ' '
fal ,
Beg le : wer
- wade r oc =
- sof L »

Could you réad Lie quest isn

65

SPO as Cw RO Fe

ao

oh

is the correct numcéer, then I will agree to that.
Q = you Enow who completed this?

A ! believe Jim Lefiew did this paperwork.
Weat is Jim Letfew's position?

te i S ROW LOE president of ronufac Curing.

2
Q bd “that was he back in March of 2001?
A He was the new guy.

Q [think I've had that job. I
initials we usually use.

What were his job duties back when
he started as the new guy?

A Eis background is he was 4 deyresd
engineer and so anything where we felt his skills as
an engineer would be useful.

Q And Maverick brought a lawsuit against
Pmerican Marine Holdings, that's why we are here
toda?

A

ay oided the

Q Have you read the ermplaint in this
[vu
BQie Cun banit?

= 0 noe 7 < rr,
° vp ues rade
on
onnepynt ‘a
2] tinh we TAVE CARD Talent ameut ths
be se be teak] ©
Tar nts ye Doaltraviranale,
. pT the BEST on is?
“1 we Started coll ip] fat
Ip [a

Mo Cowen 1s
embleted work in LV,
MP, COOPER:

ar eR, eet Ht:

ys We was tinsh cold or vay
that's pot gccurafea, ba ite
Asked and anode od,

PAL Cath alisiver
fr yi eecopead the atel tninpoatt
ty Mahe kre Tm paying nde hay a hth
pepe Dogn't atderstund join quest.
POOR fection ts, ip Par the Patitindes
ak Delp bbs
Bethe appl aink ty
my
, “sy pete gy
"
‘
Case 2:02-cv-14102-DMM Document 52

eo
Re OO OO Os OO a RO

69

don't think
BY MR. ELBRECHT:

G Tell you wnat, I'1) come over there.

A What are we talking about?

Q  Paraqrach number seven, have you read

you want us to show it to him.

AL

I'm reading it a3 we speak, just give me
minute, I'm qoing to read the whole thing here
Qo  Ohay.

A ['ve read it.

Q Paragraph seven states that in early 1999
plaintiff completed work on an original design for
the Pathfinder 2200 V-huli bay poat.

Isn't it true that in 1998 Pathfinder
tad actually sold versions of the original sign ot
the Pathfinder 22 V-hull bay boat to the public?

MP, COOPER: Ohisch on the relevance. The
dooment. marked a5 Extibit to. 1, vessel full
ely 99, 15 not pled in the complaint and

in Wns apt % yn roaintercemplalnn W:

1 aiid [wet think that
pot the loa

i coal rhe .
4 Baas
4
i
ee ter ria r ~ eoore get crs
Node. at ATT od Toad 9

Me CUGERFS eho ceed break,
Whevonpchy fet ne rd
EQ MP. ELPPRCHT:

Mr. Deal, at seme point did you Mute a
ection that yer were qeiny fo reqister the hilt
1
{

slay . hu be pe led
eobyh top the fathtimer Seth Goat Veta!

A tes,
Apel when was tg,
Xo Ddon't patetber the cpeeitis date,
Wa Ml what at
Ween Tomiie tne sion so ate a tab
Me belshen thah it ali spa ho 4

: 1,
ot ;
rig moot ytd to '
i tabopepd as :
hee me,
Te peut 2 a
: - -
woe -

~P OO OI om ow BRO oP

A>

mo
- >

a
te uw) PD

ro Pe pe
~J om un

Entered on FLSD Docket 07/24/2003 Page 18 of 115

1

hWhereupon, yueshion bead back.)

le WITNESS: Yes, it is true.
. COOPER: I would lire to note for the
ove in Paragraph 27 of our reply to the
mauptercomtlaint p nlaintiff admits that DME 90419

aGenvaae ue

which is not pled and not relied upon by
plaintiff in this civil action is invalid
pecause the vessel hull design which is the
supject matter of said registration was made
public more than two years to the fi
application which matured into said
reqistration, closed quote.

In view of that judicial admission, [
can't imagine what purpose there is in
continuing this Line of interrogation, it is
established.

By MR, SLERSCHT:
0 — Paragraph seven is not a correct?
statement, 1s it, would you agree with that?
Both, [walda't entirely agree with thar.
9 Tn what aay is ern i
a Tord thy ipo,

iling of the

c bt
Saft We

tne Urge design, brought inns the M £
whew,
. “ta! Ven an othe Mased Tose
AoW ly VOTES Calling ths Math my
Phe bp est Tire phar org) qecidea se yreorer te
ed
wf
;
oy

I csin) be
RAED: What is Os Groh te
t

t
Mr Te
ME. UubER: My cdection pc t's

whl yous ated misleading,
BY ER. RLAEEPCHT:

QO The smeshbn is, when did gan pint bets
botegisher Vhe desiqn ler the Pathtinder du bey
Peat Yeh! ein?

‘ Y ye von .

Ao Welt, the tart hall pee Ir

poe te oy it bey
reff tir tha the Mohave the it

Popul! fod here, put it was peel IP

Pominy ot Mala Twoukd tank iogat cert pnd,

nh teat dale bor that oat ried
, soot Ley ‘
2 ond : 1
4
1, '
\ -
- ee 4 '
: nd.
core
- f
Case 2:02-cv-14102-DMM Document 52 Entered on FLSD Docket 07/24/2003 Page 19 of 115
33 14

the form of the cojection and that's all and
not to coach the witness ar to --

attempt to reyister the Pathfinder 2200 bay coat
V-hull design sometime a couple weeks prior to
Fepruary 27, 2001?

MR. COOPER: = T' LL have a continuing

Co Po Re

AT think that -- that's not what 1 said. objection on this line of questicning.
Q  Saain, when did yeu first decide ty 5 Mp, RURPECET: [wasn't finished talting.

MR. COOPER: Please continue.

MR. ELBRECHT: Not making speaking
apjections, not making statements to coach the
witness, make objections for the record.

register the Pathfinder 2200 bay boat V-hull design?
1 don't remenber.
MP. COOPER: I'm going to object to the

question. It is relating to two different

wD UD Not

AD oD 1

10 designs as one. I'm asking you please to WN That's the way it's supposed to be done and T'n
differentiate between the design which is the ul sure you know that,

le subject matter of registration 0049 and tne 12 MR. COOPER: I'll have a continuing
3 design which is the registration of 9956. 13 objection to your questions which fail to
14 We can arque later what the differences are but 14 differentiate between two different designs
u there are two different designs whlch are the 15 which are the subject of different copyriahr
16 subject to that question, and | think for your 16 registrations. On the grounds that that
7 questions to be meaningful jou nave to Vv question is misleading, Intends to slick 4
15 differentiate what we are talking about. lf muddy record that's not going to yet us

3 MR. eLeRRCHT: i'n yuing te ask jou once 19 anywhere. And | think you can note the
2 mor, he rules ac youl wel] familiar with 24} distinction a3 well as [ can,
“1 we Jechi io ate tet pemittad, 2] Me. ELEREHT: Cone we hae an

/ My ra 2 Pan Gabe Gly tet ataip uly wt lukas
a r, oan oy 2 HP. SOGPER: Um syoiny ts Toe
a  Togn Dae tS | 3 fit. Doenow che cules,

ace ney, ot a ee PMN SU TIS US fee
Bone, my o
: : SID TS, Wk nd fa RO Z

j ft meyer he Se hltuee ua Gay bea! ; hy
boar Re ;

: 2 gat preter, ; 2 otk

i iM deity ah mit Na edict ns bad f, 07'S pesstbhe you tude 1b epahot oe Une
Say dees Phab ss de thee daha nti Utul abba kcal ok Toneaney aig to register the Palhtinder 000 pay
Rooretresh yarorecodbectiai al atlas tecahen you A baat hal] design?

Yokel bed teat tempt Co teqigher the Paltinder 200 3 A Tes,

Ho hay teat hath peiqa’ i O00 What was your ce whl was The pate

II A fay they de fet, Iho pepisterii the Pabhitinder 2090 bay teat hl]
(pap see that tik ap Vi dectqh in alah ae

Ly tegt atic (VGA) was perry yi Be ODES: Din gait fee dqect to the

Hhoobet, thal! s what dt says there og the term. 1 pectin that Th eleits uty ate Phe tus
: | woe] That that woud Ge at att pee piers
1

Sepecamabely how dong bebo re Tat gitbeat ib twas
f 4 ws

bitty ur mad ls Septet Sob opabeun alter ths
. , 4 ty stove » , + e me
Peoohedidher the hub) dectan top tre Path

pete Jehu eal ga i Sy eed

Case 2:02-cv-14102-DMM Document 52 Entered on FLSD Docket 07/24/2003 Page 20 of 11

ho Re

JO Or te

Re
me OI. DR OA Oo

&

16

x

A Becaus
thing to do.

Q Why did you think it was an appropriate
thing to de?

MP. QOOPER: Satie cbjection as to the
advice of counsel.
BY MR. ELBRECHT:

Q You can answer the question if you can
answer outside instructions or advice or
communications that were given to you by your
atrormey.

A to, At sone point in time I became aware
of the act through I assume -- I'm going to make the
assumption through the NMA, National Marine or
something. And that awareness led me to telleve
that that was something that [I should look into and
should pursue on all of cur hulls that were
appropriate.

9 And which was the first hull that you
stheguiad to --

AD duntt reventer,

mL

é T thought it was an appropriate

Lhe FON NO ET UNE reg!

MP, COOPER: For the record, [think
Fats ay page cut oat a publication, seme set
do ttochure rather. That ois the pliotugrapn vi
Phe sueossive puges and [ think the record
challd retlect that,

Lik HT:
CO gab tee whete Etat came frome

A Th daoks [ike di hi egh of car proteins,

2 Cab jedan gd sabicit tes) tira:
‘ Peat thay
tah
ay ' tole
t te
' a tot reggie tt
Fe fefeet yt \ ran r
d Mowii ote
un

i

A I think I just answered that. { don't
rememcer which one. 1 think we nave done several,
it may or may not be the first one,

() Who in your organization participated in
the registration process?

A [ think we fave discussed that already,
and that was Jim Leffew. I think I’ve already
answered that.

Q Was there anybody else other than
Mr. Leffew that participated in the reqistrat inn
process?

A {es,

Q — Who else?

A We fad counsel.

Q Who else besides counsel?

A [think that's it.

9 ‘The first registration related th the
Pathfinder 2299 bay boat V-hull design was DV G04";
is that correct?

AT believe that, a5 we have discuss!
earlier, that's an lecumplete ducurent, ul ah loons
rye the then,

Q fad dy you have any (easen 00 di atte:

rated on OVE AS49 the

wate bre dts ith

Bo Teper hye those ares

‘ Ww, doar tall

(fees DE fav host cats:

hth

(Sh La thas feat that's dpa ai Soins

fla 7, 1s that the boat -- the original design that
vas Sold in Pesas in Eas?

& Cuil you be mere spect ie,

U Mas, ‘Cab atated earlier that va wildy

hitber at Coats tase on the original teil] aed

plug --

Roa a be are speed hid

sea Pinot pinistedd ce that yet hese
PY i eat tg tthe Ji ters 24
gh ahve tes

t ia |

: ' Le , :

" pC lefeuste aer
- . cour er er ns

a4

"5
Case 2:02-cv-14102-DMM Document 52 Entered on FLSD Docket 07/24/2003 Page 21 of 115

aD ON On oe Oe Roe:

Ko CO

A Yes.

Q Does this boat that's shown in Erhibit to

7 have those changes?

AY
Q Maybe you can explain; it's aot the
original one, it's not the one with changes?
A If that's a question, I'm not sure how to
ie

Q  I'mnot understanding your response.

AT know that.

% ‘Tou indicated there was a coat that you
nate from an original design that was sold in Texas
and that you then made some changes to that boat
design in 1999; is that correct?

oT telieve that's correct.
Q — And what were those changes that you made?

EL We have discussed those laboriously.

GQ That's -- ches this boat have those
changes that were made in 1999?

Ath.

VOD On Of tat oat?

lk,

Wot lefcb te UD UTA Deal Lo ohoeh Uh
Tere .,

2 Tratts OTe twat
“f ‘ie

an [PIS oh Tale wey, b ERLISe,

r top

Ley

yds the dhobey gh q i tte ren, aed Te
petinp a Neti th, ia thet the sah.
Potegraph that's chow in He Ata dnent DUH

ME OPER: Ter the re
witness is | adang at the
Pholeqaph on tie ever page of Aah

be ME, RLECECHY

von} peftect the
web ed oo the
Iki ke. Le,

So Pm just trying te tindeut it this is te
om,
Sit haasveryatmlar, TP Sscs buble th
Teorte t .
weds bee
t ‘ bear! : Shey {
btey fal the ek ore tea
boot fen Qydlial ial. |
eoletsah alpha the ris If
ris.
‘ Belt ew

81

ate
wn

we Gar GO Re

—n

—~1 oa

sO oO

l

—
mM

Q That's not a 22 Y?

A Nb.

0 What 13 it?

A That's a 227.

0 Do you Enow what year mode: that is?

A to.

Now, the changes that we have discussed
before laboriously, were those changes only made to
the 22 V or were ey made to the 22 T, a3 well?

A T don't knew the answer to that question,

Q Is this the same brochure, is that the
Sate catalog?

A It iooks like it probably came from the
Same Spot.

Mik, COOPER: May I see it,
MR. ELBRECHT: Sure.

Q Wiley bax to Bhinin th. 1. Is this
photograph and brochure that's attached to Exhibit
Ho. 1, Uf you compare that te this catalog --

Me. COOPER: ['m Join hey ach ud to hak:
the onlyinal catulyy marked ag at echitit su ae

hope complete coerdepohy chs efercins

Ko

please?

1
Med Tg ee eg

6
‘

of tho htactmpnt hich

ahi

byp |

fu Lsdled ate thes Sates boats, ited ales tts ag ue
YooTE GE s the sume feat and at cays ou tw
come you sad that's a tune Vs

A Pecie [oan Ton the Photeyniph

Milead ob thee se T knew dowas bar] out oy
Hitterat ter bang,

cubothar one we le
wetaey op fat bow oy

Fir boty yuo hare

Ih ad The Hh heats
Maal yon erred ty ffearn Da fe the aie pion
The tal?
Softy Peto gpean thal wa
a ‘ DYtih r
a
: Tea 4

42
Case 2:02-cv-14102-DMM Document 52

WO LD +I om Om te Ww OF

re
Co

re

t

mo pe
kad [IND

Q They would have done all your
advertisements and promoticnal material?

A tes,

MR, ARNOLD: here are they out of?
THE WITNESS: Fort Lauderdale.
BY MR, ELBRECHT:

% Do you know Lf the photograph and the
prechure that's incorporated into DVH 0049, whether
that boat has those changes that were made fron the
original design that we have discussed earlier in
this deposition?

A T would say ib does not.

Q And why do you say that?

A Because it was 4 photograph of the
original Fathfinder 22 with a tunnel in it.

Q This photograph 2209 V, that's a tunnel
Fall boat?

Tt appears to te.

) Why dees it say 2200 Vif it's 4 tunnel

aE don't brew.
fae :

‘i aly PSS og Ere
whey thee wee oe th eye wee be
Perle VEU Get ead TP Oe UIT SUIBE ttre

ro

Sd an tek

1 - .
o yr rey Dota ty i

tee tee Loe yp ek bp oe van

Terk ote halepis Dt the Peat too make Gf mire

bay dalae tesa of Che higher transut-eleval tet

regard by the tahtel,
ihe dune tid yas make?

We rajned the tech in the bach fecmide ct

Sod abet bletaive Patan

Qo Ap that was dn fie
MP pedis,

AOS madel year

Qo Weey Chis applical ten was made, This
btriubl tags tude in 0M], these changes had!
feel tabs ety right

in
r feooy + they '
! i 4 fo:
oY trot de
ae orbatd wets Led!
4,
‘ rey afew :

85

WOT he Ca RD

~1 SH

Mo

Entered on FLSD Docket 07/24/2003 Page 22 of 115

86
materials to see if trey are accurate?
a tipically people in the sales department.
9 Who in the sales department?
A Well, now or in the pask? Bh that coin

Q Teafi, at that point in tine.

A Make -- T might have done it, T might
have reviewed it, Skip Lyshon might have done it.

Q Are there ay differences batween the
Maverick 2200 V and the Maverick 2209 ? other than
the tunnel fall ard F-hull?

A You're talking about the nee

Q Tet m ask that again, Is thers any
ditterence between the Pathfinder Oh y} and the
Pathfinder 2200 T other than the shape of the tull?

OP:

Me, TOPE: Tinefrane, please.
Bi MP, SLEPECHT:
Q When this application was make in Fepmiory

Ob 2001, (NH O49, were there ony dit ferences
Chien the Futhfinder 200 7 ond the eathfinder

rrey fpr Phe top cel) rege bee le EY

“ora ee ir

| t.
cee weer arin pet zr
hes on Call, .

Q Apdoon his di hqraph here, the ther ore
We fave pierre to, youean'h tell by docking ab a
iether ry Bays yor?
Trane | ooould,

ATE ty?

muy can you?

1 r
M I

Case 2:02-cv-14102-DMM Document 52 Entered on FLSD Docket 07/24/2003 Page 23 of 115

I've got my own -- which descrikes the standard
features of the 2200 V, those apply to the 2200
Yehull boat?

A Yes. I would like to state, though, we
the list of standard features in this Exhibit No
are total’y illegible and I cannot. read then. i

; ‘ooking at ‘the specifications for the 2200
Vas it's indicated here on Page 1 of the DVH 0049
avhibit, does the length overall of 2110, dees that
apply to the 2200 V?

A I believe 30, i.

Q Does the beam of
apply to the 2200 V?
A I believe so.

Q tees the weight of approximately 1350
pounds apply to the 2200 9

A ss,

QO [nes
Lo 7?

eight foot six inches

the draft of 11 inches apply to the

Yo lees he Diek abacity of al qalions at,
Te he ipo
QoPéAL Ua Te Later oT ce
oe 5 wae
5 ‘ iy cdon
Weoa’e Talking apout ie

Tan eS heb are, rey at thy!
phot aqtaph whether or net th
Old in Teas in [ee

Ao Tt by that youmeun s+ du you mean the
fies that are onthe Pat ocptained in here; yes, |
od tat ad hel ie ol ttiase beats,
. te pb thar?

at was the baal that wa

1

A Becute, as} sald betore, it's a tunne!
Vol
wo Pid aap sel any tune) Bogts in Tesas tn
Jaa
btw heer Ta thal ilest be
1 I nef opt
" ‘ ! " ote oy
2c 4 s 4 } , + Thy Je
Sah Loe yete Line
pide
co. oa dal Tei leat dual those
vi

59

o

eo

eee aw RO

EDP 1c BH +I

ms pO

ee
ae CA Boo

he pee
cn

a> + om

Spee
sO

2 te

horsepawer apply to the 2200 V?

Rites.

% Are any of those different for the 220) T?
A tk,

0 [n you renew what adel

vext boat 53

depicted in the photographs that are shown in the

attacnment to BVH 00497
A Me

& Can you state that that is not a 1994
original version that was sold in Tevas?

A th,

) That was a bad question because
the negative.

it was in

Is that. possibly the 199° version
that was sold in Texas?
MR, COOPER: «i'm qoing to object to the
pam of the question on the grounds of the word
ssibly, possibly owers -~
MP, RLBPESHT:

£,
Uv
L

t

[fhe can rule in aur. Tf

tee mnows. Tf he deen ty then he can ay that
Me, CPEB: Te shiy
bd Pte be ep td pees
ao ths cave. of te
\ hy hut PR areoe Orbe 2 ry
eid
Taba
A 4 [Rats WG Se at,
: ar, eT bat
rot. at . Ve oar -
hitir lo, op peeregcahn?
. i

Wo HW, dee Thi four trat ls chwin bn cage
PG hase the chutes thet we diccunsd
earlier in this deposition dial were made ta the
lyital design that was sold in Pocgs in 1 Vine

Ko Doda) hie the ghar tot

met ion,

Vat yu tary ta Rsbipme tie

eter that yacwmitten Pom iby Greer tou

dupespeuy hah porep gph yg letter,
i Thee Gate cage dtd tape by wer
ph ibe Sb feocphp nap et sal
mbes Bont hat Merial
t 4 1 , , 4
: "va
t
‘ ' '
1 . "th
“| ”
' - _.
4 t
Case 2:02-cv-14102-DMM Document 52 Entered on FLSD Docket 07/24/2003 Page 24 of 115

&  ‘teah.

A Okay. I've read it.

Q Those responses that describe the changes
fat were made in the Maverich Pathfinder 2299
contain an accurate description of what those
changes made prior to its publication of the revised
boat on May 4, 1999?

A T believe so, yes.

MR. COOPER: Let me state for the record

we intend to serve a supplemental answer to the

interrogatory where this will be set forth

under cath,

MR. ELBRECHT: Okay. But for now that's
all we have got so we are working with that.
MR. COOPER: [ understand.

BY MR. ELBRECHT:

Q Tn regard ts the change in the sheer line,
can you tell me evactly what that change was?

A th.

Q Well, it indicates that you part icipated
the change; correct?

AAS The one Potts fet all qaratiote

in Une uttaby, 1 fartiecitats to varius earees Ir

A roe aye oe 1 2

AND Waal vine hag farticicstion in tee

noe
lee roe we - it ab -

yo HaS LB nye 2 r iine changed

a dak
ee
L HL.
Oo Qere thane guy angie in the sheer Line

Phatwere tampa at alt,
Ao Pbehinve ay pen
0 Ad what apyle wie hanged?
A The shear Line was crooked so in
sbralqiering they woud fave ta hanged around,
Jo Db jon tow tow deyres the angle in

the sheer Line was usage?

s Te
Qo Were there aty' dita tis Made ta
fernchrate this change that was made in the ohect
pee
2 otk
Do bvnas he heer Due dang,
‘ le
bad
nailer Sue ' int C2,

93

mob ee

change in the sheer Line?

A I think I gave Paul direction to do if,
that was my Limited participation.

Q tnd what direction did you give Paul? We
are talking ateut Paul Ellig?

A Correct.

Q What direction did you give him?

A 1s fix the sheer line.

9 Enything more than that?

A oth.

Q Tell him how to fle it?

A tb,

Q  énd what the problem with the steer Line
was?

ho tss,

Q — what did you tell hin?
We discussed the (act that a, there was 4
problem. -nd B, we weré getting customer and hater
feedback abeut the problem, which we have already
dismiss

im

Aah bhet feats te tis vate cia
eter Lite:

Mie. ChOpRE: upject en,

pectin Als

Ld
ya dies, citi lar --

BE. RLGREHE: Be
oval

Howe ted Mie fies path sa

mie athobjectien, tb tae [tte the

Mb; tic t
Me foot
read pet:
Do Weghother faahicty | vv rot
Teh gtes oh The eet 7
a r ity. =e
: ey
‘
rig .
f . tf
bes oan
afte
het
ore .
oh

34
Case 2:02-cv-14102-DMM Document 52 Entered on FLSD Docket 07/24/2003 Page 25 of 115

similar sheer lines, you said Blazer and Proline?

similar sheer lines?

charges were to the sheer line that were
publisned on May 4, 1999,
Bi MP. ELBRECHT:

0

A
9

Q
A

gi

he

He Ww BRO

fou mentioned some other companies lad

{es,
Were there other companies that had

co mH On

Now?
‘Yeah. 10
I believe there 15 one more, but I'm -- I 11

relieve there's maybe one more, maybe two more at 12

present.

thelr

> ae KD Tm cD

,
a

i didn't hear the last word. ld
Present. D
What are those companies? 16
Avenger and Bass Cat. 7
And you're referring to sheer lines on 18

bay teats? y

On the Specniic suiels that they hav fh

Jblashed irs. ‘|

the

t
i

Sheer [ine ac fet sade fe

Df a ate eet Gel doit) “tat
ne? 2)
Wa “al MAS Ly
44
2 ZR CT SIEeD LAIR WAS V5
In, wet this Toh Ut wasn't
ais Pitue
Vp ee id te ye a)) c
Mate [ina e fe bwin a. can yjantel f

behing ah the:

Line in GAY 4

i

Dean ted that tre -- pirat ot all, [i've 4

Hadi answered Pdon't pros shetber we chatued the My
Hane

pi teqn apts o

direstiy pram the internet ag su

fohat ot oan ape whether '

0

J

an onat,

Myaestioby Met, Do locking ah tus

The ar apy fh ph tadtaphe
riqht,

avtibig, his Ea priate ot}

. Hoyo. ft
elt ty

baa ltel |e
\

Ebel teber hs

oleh aatersnmber foe, Saget the st

ifhodrptos matting !
iv ' Moot

it : ,
ad m%

4

A tk,
Q Sing back to the photoqrachs in evhibie
0049, starting with the one on Page 1, does that
photograph nave tee sheer line that was changed as
referred to in interrogatory number five?

A (an you state your question again?

Q — Interrogatory number five we have went

A Tet me get them both in Lront of me at the
same time. Which exhibit?

Q That's Echibit to. 3, Page 3.

A Okay.

Q Th says there was a change to the sh
line. 2nd jou have already scribed to me --

A The changes that were made.

Bight. And looking af Paye } ot $644,
“PAS Chat frat that's depichsd in that phetogragh

fey Ufat hte ho the: cheer dite ue?

7 uF
a ih oyesnth
* ‘T,
mn Woe
TH is te 7 -
‘ LE Tah CAS SaSe VR a ici neat
ele at the ; Ae,
, tort a
Wes
met fs " ree
ie
(What veil ye teed ter Qe de te
betaine weet bed of tol Vie sheer pine fied feet
atid?
AL wai tess) o> Titled eed ota
1 eo thee 1 wea .
pMbd be te ee the boat Thawed ‘
ation
ih al we tpasd ta. 1 ceo ont
Por Atany abl hones
Wherpeg) pg ftper piv,
‘ ‘Wood tt a t . wa . cee
J reba, EMS wet Sou toe bh Pog s :
Werder bach) So cbedr atiicg BY
ae
all
oy ‘
:
Sty ' '
\
Case 2:02-cv-14102-DMM Document 52 Entered on FLSD Docket 07/24/2003 Page 26 of 115

a= GA) BO RO

AD OO SI om

On w= Go IO ro

eo
on

i}

101

® In looking at Page 3 of Dv 0049, can you
determine from looking at that photograph whether or
not the sheer line had been changed?

2 That's these pictures of the interior of
the boat?

Q Right.

2B Obviously not.

Q In looking at photograph number four, can
you tell?

A No, I can't tell.

Q In locking at the drawing that's attached
to Exhibit No. 5, dees that indicate whether or not
the sheer line had been changed?

A No.

Q Ts there anything about the sheer Line for
this Pathfinder that makes it unigue?

A Which Pathfinder?

() Pathfinder 2290 7,

MR. QOOPEP: Which sheer line, original or

mes ted?

be MP. ELEPRCHT:

The COT IeSL sheet i ite,

,
F
, C atl

v

Spey etiect arg
met ob?
pelt og tederetes Poo budreds thet
ted ctfact)

A To change the steer Lines.

Q 0 Pres the diye in the cheep Line affect
the perbomuties ot tee but in airy say?

Aan yan ash thal apn’

Supe, Tres thectditicgh ion that was muck
Po the cheer Line abtect fhe bere ahi ad the beat
in alts way?

A hee edificat btiwe tad to this cheer

ad ’ eat
pA Wag

\
rey
beet 4 !
perme ot rt
te
Cue
1 ‘He
: pret
- Tak 4 7

re pe
Be OP ODO Ow RO

re
Moe wo BO

w

Pee
wm AD OD es Oo

107

peen prought to market at that point.

Q And what's unique acout the style?

A T's tris, it's straight, it's well
tooled, it haS a very strong aesthetic appeal.
Strong protile, recranivatas from Cape Cod to south
Tevas a8 our brand.

Q So the fact that it's a true sheer Line,
dees that make it unigue in the industry?

A Ho. Tf think it's more often or not the
industry orefers straight te crooked,

0 00 you snow the amount and the change of
the sheer Line in incnes or fraction of inches?

A [ already answered, I don't.

Q Who would know that?

A Faul Ellig, if anyone.

Q Was any material added or reared ts the
sheer Line, 90 ou eiw?

BT think if you read interrcypahory number
five it's very explicit, if says matecial was added,
And Dtaink it says cright here, remival and adit ton

+ aye il
Ob taht.

“0 faye oth cate?
gor ou tha tod
J 4 foAn
a0 "y
rt

VSD) (2 SL Ste

“uy ue wt wind tr ns Tat wy a4 un 7” .
iMpea tT The periottans at high seed et te beat,

Q 0 [ees Phe designout the sheet dine da fay
peat abiest Upe pee dtahiet: ol bety teal?

A T thinl that "ye alpeahy Shafeet that thy:
bhTa at The sheer can abet the Gerd matt od
teat,

Are yap chiliming that the ime ot the
dieser Tine lahat ofketqn thal bop bet

Under your appli catiey filibe?

Oo ii back fa the sto titab geass ts
bea that aol Week G8 diedaas Od dns why
; : $a uo ! Pee Woh toys
ut boop yep tees rte ao
fo, Diy
my ret, :
‘ \

:
Case 2:02-cv-14102-DMM Document 52 Entered on FLSD Docket 07/24/2003 Page 27 of 115

LO OD SY MH On ae LO ID Pe

w= Uo To + CD

J

version, w2 quit building the old version.

% So when you went to register the boat, the
Pathfinder in February of 2001, was it your intent
to register the design that was in pruduct ion?

A tes

Q fou didn't want to register the design cf
the boat that you had abandoned; correct?

MR. COOPER: Objection. Your question
mischaractérizes his testimony.

MR. ELBRECHT: it's just a question.

BY MR. ELBRECHT:

9 Did you intend to register the boat design
that you had abandoned?

MR. COUPER: Cojecticn. That
mischaracterizes fs testimony.

MR. ARNOLD: Are you instructing him not
To answer?

MR. COOPER: I'm ashing yur as counsel ts
tram questions under Pule 26 that can be
ancwered and not try to wilcleed the witness,

Ub ORLERR AP: D's not mi taractericing

poe wey phos ett well tf
“4 1 Go. , .
he Ore: rte. en il

aed .
Le pe a
ee ryita pel
ee .
: os .
: hom [Pe atten TS CPar
1 oe ~ roy woe, oft, a -
ot Peles, food tape, Pos feitres,

potiatel beat apd we ar nl and wer
the tanted beat,
0 Pdidn't pean pot the ties pieture,
falling deat the other pitups, a wll,
SC ao be speedtit as te edt pip?
SVigh ate

Beek 1th othe pi tare. sta i

rake,

MR. CURR: fe are on Raput thy b2

Rehapit tes 1, tage
Mi Amd tis ds an @haciment tthe TS ads
Thal Sar Meats site tbed; oorrect!

SOTAM AD Cee

IQs
LU

Mp et

back, please?

Whereupon, questian read backs
THE WITHESS: = Yes.
BY MR. ELBRECHT:

Q And why did vou want to register the
design of a boat that you had stopped marking?

A Because | though. if would be a gocd idea.

Q Why did you think that?

A Because Lf was our product and [ wanted to
register all things that we made.

Q 1 Just want to make sure T understand
This time Line. fou puilt a boat in 1994 and you
sold it. Then you made some changes to it in 1999.
tou started making a new and improved version of
that boat. And then when you registered the coat in
February of 2001, a paca shal later, 0045, you
wanted to reqister the origin) design and not tne
new and Improved design?

oT wanted “ estes all -- sverfhing
that wemade. fou asked me ahah my intent was, Wy

MILA aS Lo foyotor every hing ae tad bait or

were | we +
rfl et rat isn Poa Ths tive
ror is 2

) 8: Woot Wet at

ANSWERS) tte al,

Ge are Sen bal Pape
So Dab all The second page Te set bs
mo They ate eben. aot 4,

MeUOPRE: ifs the st payed ts

cibat, first top hethe photgraphs, i's
Ihe eid pap the echibit, sommd pay
i “oa
Vm shen op haba tbs
od feebooDoset 1 ' rey
i) ald fedtdwer The Beet
Phat bates ety OE 1
oop ty
} ' cy de
" cn rat
1
" . .

106
Case 2:02-cv-14102-DMM Document 52 Entered on FLSD Docket 07/24/2003 Page 28 of 115

a OO Om a td DOD

mo ee
wo FO oR SO

199

from these photographs or
photographs.

Q In looking at photographs on Page 3 of 4,
can. you tell by icoking at those photograptis whether
that is the original 200 Pathfinder V that was scold
in Texas or the revised design?

A fou already asked me this and 1 already
answered that in the negative.

Q You cannot tell?

A tb.

Q And the same answer to Page 4?
A Sorrect.,
0

A

these copies of

fo can't’ tell?
I am unable to tell at this point.
Q Would you agree that persons bah are
outside the Maverick organization would have a
diffioult time telling?
MP. COOPER: Objection. Calls for
conclusions on a vast number of pecple.
fpyection to the tomoot the question,

Lire ch be ab be beter
LL hima question that's 1 Oi: tor tim

fates

- on we be)
7” i L
Tas LAS UY
: we wy SAM, 1
a te
The yan i thee oh choo remy

Phe beige thay

Jae ree a that abtestedd the sheer
Line affected the style lis

Whit ais ie a relercitey tod Whe
ya teterrity bin the at yle

ND tha what ( qust candy Ie om
thatoattected the sheer Tine affector the: style

. mp
a fe

lin

ioe . !
pepech ne way

line
! Cab vole “plain tt that?
\ ye
etl :
: . { Nailed,
by ble tn eon --
A rorthe crernyls
Lota toad 4
wood zoel: cy teal

118
boat it is, would you agree it is difficult for
people that don't work for ycur company to tell
which boat Lf 1s?

A From these photoyrarhs, absolutely.

MR. COOPER: Same chieeticn,

) Going back to No. 3, which is the
interrogatories, Exhibit No. 3, please, the next
change that you stated was made was a change to the
style Line; correct?

BR Ys Chat a question?

Yes,

A That's what's indicated in her, yas.

Q And were there changes made to the styl4
Line un the original boat that was sold in Texas
ts the cevised boat?

A ies.

ahah chanyes were made in Lhe line

L There was Comal and addition
material, sanding, tiling, grinding of agditi:
marer yal

9 that seterial ves caw ty tales thea

et tbe eds Vine?

Roo [is nt gare, Selwat and titers

iF SY Wo Tats Ms 4

v1

2 Terres .

TYWALS Was it co ces
Deapn't crete, Doiist reperper toy
W413
SMe sd hee I Meh nid cpa bed Tt dace

OTe gan knew whether there was at tutes

the site ot feng’ hood te st fe line in Poult
peed bear
A a ou ask Vat ali?
2 He tye dane fy tie hep ny
tele des, mitt vy bd “ne
chon ye { rete
D4 Peay laepe aia i ,
Vt
Ms i 4 ” i
s
. at
Case 2:02-cv-14102-DMM Document 52 Entered on FLSD Docket 07/24/2003 Page 29 of 115

Ly etm at

9 Is that all that was done, a crocked line
was straightened?
AT think what
MR. QOOPER:
a second?

I stated was pretty clear.
Man we go off the record for
sf f-thee res

(Whereupon, ord.

BY MR, ELGRECHT:

Is that what the change in the style Line
rooked Line was straightened?

T think T already said that there was a
design flaw in the style line which manifested
itself in the boat as a result of puor plug work,
stabilization of the plug. and it was evident in
rhe sheer, the style line and the chine.

9 So iS it avurate to say in order (0 maré
‘hese aes in the design, Patntinder straightened

Q
Was, aC
A

A I think in layman's
seneeat more understandah ls,
And do jou btead ahah degree: of
in thes

rerms That makes it

Change wr:

Tusk rey bed] Line?

r "GA
: vir 1
: r
Lat
cpr
"he Se Ginse Ua Un
1 itt r
fe ite:
. lhe may tt pee fog lt,
weoMine Oety few of the Tetris

0 year foeratians of the P-huld ated
vane hare pa deemed any ditietegs) in the
Si

ther ready bebed for at.

me TORRES Getty cpootp tee record hry
td,
MR OPLBERIS Sours
i . mont 1
Sr MEL Boe
loagikted! Be pet hy
mY , i : were ay a - :
! '
a ae 1 v t
uy
‘ " oe - = ft
.t Mi
~ mS urls ate

13

crn we Ga TK

ap Jo

eo ee
re Da

4

A fes.

Q — In looking at the protographs that are
attached to DMI 0049, starting with Fags Dof the
photoyraphs, does that photograph show the changed
style line?

A How many times are we going to do this?
fou have asked me six times. [ think I've answerea
this in the negative each time,

Q I'm asking specifically aocut the style
line, And if doesn't, that's fine.

A Tt doesn't.

Q It doesn't show the change in the style
Line?

A tb.

Q 3 that -- and that's cecause ints 4
tunner hull?

[t's 4 different boat.

Q What is the difference in the style lin
of the tunnel call and the feral

oD don't pnea

ou the pe a Up Ptercr es betyeen the “
lire Ve or tone

,

= i'm sus

fet wet cou <font
the dd julia Teh?

AoW erat b unth laser Ma!
pest,

‘i Whe aeiled baw teat:

Fat: Bliig slieuld: kia

Tat todiabed there were evita] be neve
heal | eto the Jha]

Fy pap in ag ip ior hy Tad
Perey

. heared i daptr bya
He

Dk th thy
. at. ‘
' ote :
1 ry
Case 2:02-cv-14102-DMM Document 52 Entered on FLSD Docket 07/24/2003 Page 30 of 115
WA

TD SH Oo ft Ww mh

Kor

LW

A NO.
Q By Pathfinder?
A to.

Q Is it sponsored by Pathfinder?
A tl. T mean, it's produced by our agency,
Q On your behalf?
Sure,

Q It's the Pathfinder products
specitications for 201?

A That's what If says, yes.
% Do you recoynize that photograph?

4 This looks just like the photograph jou
showed me earlier.

Q ‘The one that's attached to DVH 9049’

A This photoyraph?

MR. COOPER: I pélieve.

THE WITNESS: [think we discussed that
photeyraph as being fal ly illegible, cut it
apgears substantialiy sumllar 1f not the same
1 that would be my

ty Lhe! pol grapt.

ty BGhS ub TES Ga
SLRS) oD 5, 08 Lad Suc
r ao Oe pe Tey yal
"ne rire fT WAL ved
rr Men ory
Th ar ubstant ial chatepa tors
Topl ar t tfatts Thal teat iba, Uai i tt

Walp te tere wsaril; shawn or oitad tn the
ehert tern: te breduirs ter tat yar?
ho oyes, cold be an,

Mas, in docking thraaah the broehure
Ton the top ciqht cern¢r which
reten ds Loy Pond T. val in this brehare ar
pale thot Uiege tes bawelier Ube sect it

Mtels gp sect

hot Dads tine gechoenddifiot of the

4 } tye
st : pee byt yet
' .- ' ', si
:
4 t “+ :
4 teed
" : '
Pooh te
', :
= vpal r
LT ’ - Hy - -
t 7 a ."7 - mr

ne ba ND Re

4 a ed

_

wo a)

Coe
oN On Be KA

that right?

A Correct.

Q In leering at Bhibit th. 19, fur the 2501
model year dees that help you in Wentitying the
mde) year that that bear was manufactured?

A ND.

Q Why not?

A Because the photography that we use does
not necessarily represent the individual model ear,
fle do not shoot new photography every model year.

) — Tf there had been substantial changes to a
neat, would you include those photographs of the
boat that had those changes in the new model year
advertisements and promotional materials?

A (an you ask that question again?

0 Sure, You indicated that scmerimes you
don't use the cheteqraphs trom the current roel
year; 1S tha rigit?

B Corres

9) if ther Md heen ays Hist att pal Chafee
feu hie nach nage: noun wand jon M1! aa and
erebeptn ppt ee ere Bee oe te tt

SEL VS USC GTS Sata

2 fe

Z

L cds a

4 Bey a

Ober features, fansel ctr dard
Peds aR Ub hs

0) Awl what [im ir Sn ty ef ts mn even at
says stata feahures, dees that apply to beth tn
Funtiel full aed V-hul,

A Dwentd assume that the intent was!

ams dye tha gy | ealifes im te lat for
th motor opt pale pp hires,

Wooo amd tre bag ith fences betweot the

onda Dy oT gE fe The tye thetic can der
Pre tne] tard hy '?

. at pie Copa,

i Py : i

r ‘ yoy
t.
Case 2:02-cv-14102-DMM Document 52 Entered on FLSD Docket 07/24/2003 Page 31 of 115

tA he

>Date

es
fi re oO

me
ww

14

Q ind let me show you what we have marked a5
Exhibit No. 20 and ask if you can identify that.

A looks like the same photograph again.

Q and is that for te 2009 Pathfinder
product speci ficat Loris?

A J don't ‘now

Q Is there a way you can look at that to
determine what. date your company's specificaticns
were pul ished?

A I don't see 4 date on it.
a date on it.

Q Lock on the back page where there's the
copyright there, 1s there a date there?

A tes, it says 2QU. I'm sorry, 1 didn't
see the tate. Copyright 2009, Maverick Boat
Company. Which meant. this brochure was printed in
AON. Semetime in 2001),

9 So the front of the orocture, dees
atpear to fe the same pete --

un

A fs,

No, I don’t s

that

) eras in Luda

fy i da

‘ fp Dee pt . . ape
’ Doren Gih ie le he Gr soa hi UTe
os ate ree Oe ere bos nee
(Tp Tee 2d) Tis oc 2 at ces
: Spe

that qoug

OM Ue wh Ete ‘sin there, aat's

LTE

em th bes eo Toanh a
ath youl fave atskeped Gaese are the old versions

Poth beh?
A WELL, [fever menoided to what this wis,
fecui Dfedtetikeal oe ra Gites [have tie ides
this boat wis bill,
ME ¥ yee. [yt hy ond

Is
: vhs iT

wien

lect tt

nig i Mes

in laaking at this

bea,
Pr ML Leet:
pare paedispat the Jia V2
. Pb Dede ihe the pipsrouni tha
rey! i noleah tell
ta Wa hy
pis ila! Q moos
ol
1
' veel, 4 “ae ~ >
wolak ie Tas
. ee! .t t af we

Zl

moe Ca IK

yD ~~) TL

AS

Q Now, that picture of the Vhull, is that
boat that has the changes that we have discussed

the
that were made from the 1998 2200 Y-hull that was
sold in Texas and revised model?

x I teliave t this 1s an gld s

q picturs, 39 this
would be the original design.

tou Indicated that some of these changes
were made for aesthetic reasons, correct?

A 18s,

Q — Why would you not portray your new, more
aesthetically pleasing boat in your promotional
material?

1 Cost. of pnorogranny would be my quess.
Phetegraphy 1s very ezpensive. At least quality
chotoqvaphy ig very sepensivé. Unless there is a
18 Son thal we believe that the photography is no
laree aceptable, we are going te mun it as Lang as
We Tan.

9 >And these

af the materials that are

fis} 2 ‘eitates cel ity : fi nt ‘al tat; Pts: 3

“ TRO TSE PL bal

.
att 1 a

Pooley
ranted sy wing th

2 TRY Dor ne

Wes Wordlet w Ta:

l fight pa Pr gh ah ate.

tif aed,

0 be you noe LD Maser e has: ever shea the
Pyle estan ean preelienal op iver isnent?

Ro fey PokneW Thal we nave, peut | ini
wedge shot Cholagqrahs sibssuient to Mion My

WD aber fog seb tlood these feviadeds
fabowere Made tab tio ly Mig POU a apis!
haat photan iyo Hat wae ro eddestah in Hay
tla

Thy Hebe’ giana Goh dt owe chet

Pease phe gat, we wd hae ued fried

Payette ita Lat one my

nbn
'
: 4

12)
Case 2:02-cv-14102-DMM Document 52 Entered on FLSD Docket 07/24/2003 Page 32 of 115

Oo SR on ee Ww a

uo

125

photograchs specitically, is that the identical
style Line?

Bh iike 1 said, P don't know withouh having
both boats there to examine them in detail, [can't
tell from these pictures whether they are Wentical
or whether they are substantially simlar.

) Would you agree that to the general public

those style lines look the same?

MR. COOPER: Opjectlon. Asking him to
speculate what's in the mind of the general
public, he's not. competent to do that
aY MP. ELBPECHT:

0 tou can answer.
Cah you ask the questicn again?
fea, Ts the average person who loves at
these materials, do you think they'd te able to see
any difference between the
depicted in the 2200 T and 2290 7?
fp {thing it wuld te my clear to the
erage feroon these are: tioth rathfinders,

oo Eg there yay ditrercns petacen the octyl

A
6
Z

style Lines as they are

i al: i hal ah La EL
I ry, . t I
soe the choregratn,
The oa mt vps tact tran oda
Yo ea) Wa the SUE iing on both sidec

: it "eee Lng ths
r, L (s i rr, q
aE ng mo
orp
Go Other tas the Sogn iiterent sides al

ah
a beat, qe yor ses ay diner rep betwen the style
Pines that you Cah se Mah ie dedeted in your
preametional materials, fehubit te. 00, tor the 2290
Void tie 00 7.
Ads [atahea frhina ihe

thatourhier, jiven the

tert, aaawered
imitate ns we ae dealing

Geb, Ney
Tew, th ratios naterdal im this tt
bectttcadiy hates pers Pecribatey fe: features
obat hatdard tedhyres ob the Ue hand the oo
i irpect od
' tt re
. i! the.
vii : 1 oh ping
, : RL he

He Or ee a

>

MR

10

Enow when this boat was built -- T think 7 bnow when
that coat was ouilt -- I can't really give you an
opinion on that.

QO ker, fa say the st
TeSCrOe Yitat |
Evhibit th. 29)

A ror purposes of this discussicn I will
call the style line the colored portion of the hull;
which Ln the case of the 22 Y was the burgundy color
and in the case of the 22 tunnel it was a gray
color.

Q  Atd that's what's visible in these
protographs; correct?

A Correct. Partially, it's nck completely
visible recause of the angle of the onotograony.

(ton indicated that the style line is built
into the pall, as well?

BR Thais tailt into the hull.

Q Well, qiven all of what yar sald atout the
hot agratbs: atl [imttal tons, tat in LOKI at JOU

otutet ional material RMT) aly

al) a PA
itteregy s tet Pras we Pere. i. Lobe ee kote

le lina, can you

sty!
2 nn be
you're referring to relating ts

At ae Y vs
‘ i -
Yr
m ry
a rast'y

2 Ua tosamyo pact) disacee with
ata 's Hedbeuheds
tebe pead it. 7] Gee te mistals
tials that?
B We i, ubdeT He st

Wiehith fears [or tps

C2 te TID tebepenets a ctenped Cr insem
tor Mabha rainningtn tr tog the Vand a on tne
MoThytowas a mistie Ut has a caus Y Tie has
pty a Pes hou he tee cio li died in
Pe Crt

bor Than that teat ur toy
tig uy yee That ' cet 1 i

Loe

,

mont elled
tee - i

136

Case 2:02-cv-14102-DMM Document 52 Entered on FLSD Docket 07/24/2003 Page 33 of 115
129 WwW

re

185,
Q And the specifications regarding length,
the beam, the weight, the draft, fuel capacity and Caf you tell when that Coat was made?
fa.unum horsepower, ar those both the same for the A focan ceil by looking at this.
eo) T and the 2200 V? Q@ Wren was that?

A Yes. A [rt was made in 2000. You read the 1.0.

Q And can we agree that the boat that's
shown in your 2000 specifications, 19 and -- 2001

testify, but assume for the purposes of this
question that this 1s the case.

Due

we Car BO

wn

sd OOF ae OS BD

Oo 1
=
5
nS

Q What numbers in the hull number?

8

J specifications in No. 19 and the two specifications 5 E The last three digits.
1) shown in Evhibit No. 20 are the specifications that 19 Q Does it indicate what month in 2000 it was
I] are in the DVH 0049? ll mace?
2 A The running shot in DVH T veuld agree to le A tes, if dees.
13 Q I'm going to show you fot we favre natked 3 Q When was it -- what month in 2000 was it
ld as e¢ and ts which are two photograptis. ld made?
Ub MR. SOOPER: Co you fave oer copies? 15 A March.
16 ’ ELERECHT: I do not have copies, 16 § So that boat would have the changes that
W7 we Can mals onples, Vi yal has described that were mae and published in
18 BY MR. ELERECHT: le May of 19997
199 Tn denhing at -- for the pumeoses of this 14 ffs, T pelieve they would.
ab destin TY represent ty yea tnat the ht] 4) Q Bil of the changes --
JSS atc sanber cn whifer dh, 4 is the boat Z TALS oat would,
. GE TS aghLey fab to hati DL aii
24 pty the etien voit this Lt teat
al ede 4 - we're that Deiat 4 Mes Oa
£5 ‘ “OR lass yt £ 9h, Ca 7 a4,

7

1 " © ae + 7 to : cot

2 ' iffala . PO ad Ml gale

. L i " ne carl tenn ,

c u u ap OS s 4 one

poor So Tuy GEL eR

4 RY ; me Make to that :

, i Wd

A Mp bere Ur opty ta deect ta the r, fevers tte Ciqbh fost pine the techn

, Domop the peti pale achat bua te i Me RLMRRHTS Sure,

x ewer Mest witheat establishing a eoOGD MP. SLSR HT:

4 lodbdat ion that (his gaits hails LOSES ON ‘ Boa ter the parpase of tress pestions |!
1 this beat. Ard yur feprecentattions really VPP hah, we ame asumog that that ib. cunbes
1 eM ah aeeplable ceditse for that. EL peswlts tat bow, aye Daun tard that:
ie Het My Mathsting. tim aking : Sod obra
13 yea fo anam Top pate es Do the question = I Qo Son bala at & wats tee Wide
ut My OGY ERD eh ty nent witpens [hoeprey py qutker bi ithe fed, en:
my “yb to baethet cuts. Soto bia with itp yn abaw thar Ps doing eut
Ji nse |r shes, Poread it,
i ptinbatind ' wildoabl ft phot ow

“ t : $ ly nil 1
V4 i Bey ! ‘ my ot oy '

1 te 1 1 ,
‘ : Lo. ' , 1 I

Sona!

. : 1 t " +e, ' . 1 ',.

: . we .

Case 2:02-cv-14102-DMM Document 52

Ds es ROD

pee pe
aN Dt

wa ae

know, it's not a complete

here, then I would say hypothetically, yes.

Q  [s there anything in either cf these
photeqraphs that would indicate to you that ints net
a 2909 mdel ‘ar boat?

A yell, this chetograch would indicate thar
this is a 2900 year boat. This photograph doesn't
give me anything to indicate what year it is. fou
picture of the boat. Part
of the boat is cut off in the picture, the lianting
is bad. It's on a trailer that could be crooked or
straight, There's not really much there that gives
me an indivation of what year it is

9 So if this photograph, Evhibit No. 22, has
any of the changes thar were made to the '99 model
thal was sold, you can't see if in this protograph:

3 ['m just saying that [ can't tell from the
chokegrarh what model year beat that 1s.

9 And yaa can't tell from this photograph or
aft) ot theoe whether an ! of these ‘hangs that Wee

talks tothe opoiinal eign are present in this

. :
dadeee .
peep PG
BENT Bay Diet
. he ‘ py een tye
pt, che fat i mies rity
. t
hetegh, the ty yee ery
Me gfogs Phat we wet adieaaid) fp the
Meat ical,

eM EUPRRCHE
WooUMS pally ayes fhe
WED AS ot tea can yu tel] op cant
ny I fia yqpes wilt pa sbether It
me Lek Danae it te ge bite

felioti,  fOU sat
par tel?
Ps or

mest

perp Put pooteararn
fat os i dtaty om tt
r wre ha Ma
wdoals ya
Pwd dha : hone det Me Teh
' oh .
“at ' ‘
: '
, . 4
! rou '
{ -
- SY Polak lbh "le
. I sag ee 44>

133

Kar Ba Re

he

mre

me pe
te Ka Gr I

me ope
Cn ke

Entered on FLSD Docket 07/24/2003 Page 34 of 115

41 a
134

not going to turn an assumption into fact and
testify that this is anything.

Q This question is just based on your
cgservation of this photograph, exhibit tho. 22 on
itte

rp\ina 4 rhebanrs
sown. In lucking at this p photograph ot the

Pathfinder ‘hull, can you tell as president of the
compan; whether any of the changes that were made to
the original design are present in this photograph?

MP, COUPER: Ashed and answered. He also
testified with respect to the quality of the
pickograph which impedes his testimon'y,

Me. ELBPECHT: That's a speaking
apjection, that's coaching. And that's number
four.

BR. COOPER: I'm reciting what he sald.

NB ee fo are fet tapes is

“Wp. i:
MP. RLRPECHT:
MW. OCLPEP:

ghisn the
/

I $n [ need 6) tutes
Why do you Feep doing 11?
TOU quest lots af: IMGrer,

AEOWeY, fa Jon alr af wer,

pi teat That taller wits fer beats
TN, WIth ont ions rat fave been abba
py es customer 0 vate op dead tng fashion |
cat Peli abetbhor at's tue and puuik porta,
with oe f Wilh ait out ob the tires tagyye dha
distortion fhe te interest tnrakirg that fg
En based of This ote Phiotegr anh,

a oye gh egsboadres that ja can't se

itt i

aoe cote bh ee eb oe yt \ .f,
Beep ou Gs beret ais pomp aie?

mie fhe dey hateqed we bay

ith, phate ante
eo Phot amy tps hha
SUN EG RODE taht, ah
“,
.) ,
he 1 !
uk
t ve
' of tee :

Case 2:02-cv-14102-DMM Document 52 Entered on FLSD Docket 07/24/2003 Page 35 of 115

SSO te a

wor a

we

}y

going to take it anymore -- any further than that.

Q When you say that the sheer Line appears
to be trus, what are you referring to?

A Well, the sheer line 1s to me this Line
cigat here (indicating)

) When vou say it's true, it's straight?

A Tt appears to be strak igi. It's difficult
because of the wide angle of the lens. The camera
kindof gives you 2 fish eye version of the boat
which kind of distorts the lines. Which is why I'm
not confortaple with what I know about photography
after having done this for 12 years, the wide angie
lens that took that picture distorts the lines, And
by nature of photography, | am really hesitant to
mals any definitive determination,

@ what about the style line that's shown in
rhis 0 Cetaratt that males voy think that it is the
yevised style Line?

A Net aUFars Wile Lote tne revised style
i for the reasons that [just claled. The

eee poe toes ns . bp pee cage bee
reed Oe hone ag the ta pheno weak begetier
phe bat
The nye Pte ute One pertice thar
Voves} dp tinge <=
oeen
Fe ae
wy
ores r r ‘3 yrat
RULE TD 13 UTED,
ra vein, i! Year le} i!
a HY,

Cary ay
lp that's fecyise [ot
“K) Dre,
, Roya Py)
: sp bey :

hetut,

wes!
Tes,
We Goes the Boma ce what dees the Bmean?

breptest md, aps, Pinon fb the te tag

Dera denpdinme, pit be
pony

Borders Pothedoantty fpah opeteg

ed fa Ue seeped [etter pe the tpnabet ts

Gees this, bayer!

Pais eid be tae set aest tis sg
wot nd legisp teh on tt
my
rok ' '
. Jf
.
4 in wv ha,
! '
' ny eye
we gt fen

197
ist

On ws om on Ww BRD

ee ee
M9 D0 + oN ON ee Br tc

go = part of
Are

the ful?
you saying that

t th

and portion of the hull that's depic

‘lo, 22 appears
original design?
A [thi

to fe straight 45
no

style line

‘ted in hibit
“pused to the

nk maybe I can help you out here in

the Interest of time. There were symmetry issues.
And without having both sides of the boat at the

same time, [ can't coment on symetry.

So showing

me one side and then stiowing me another side will

nok get me there.

And I'm not going to get there.

5o we can do this for two more hours, but tm not

going to get there.

Q — Let me show you what we have marked as

avfibits Ub. 2] and 25

Again,

for

questions -- assume for purposes of
that the null identificarion nutker
A These are the same boat?
®  (epicted in @lois teat tle.

He. OES

1 Sat

Pr Date: Object ion

ier,

these

these quest ions

“hat |

id leat iting raat
pita in bn
iyi Be ghahia pietue in lo ot wah gana!
PAD Dev Gel dediyhg fs that rpght
That's what you're Saving. feat utes
MRL The asc ony net 1,
QO ASUMny for pages at this neat ton,
Wed ali thes ope tions, that the hall
ideM Ui deatin nlbers ate attached Ge the (oat
Weitere (ast toppesented, We hive pictured ofa
teat, The tral keshas which cuted be Up oe ad
pltare Toy teat op the revised dehy that is in
“pu that cerpbect?
we teetee Tn pimp td
its i bh mayen wy
i ele
at 1
4 ’ Lod
oo hry 4 t
: rsd

{AR

ave
Case 2:02-cv-14102-DMM Document 52 Entered on FLSD Docket 07/24/2003 Page 36 of
14]

2 Ow a

> aD

that what you're asking me or physically point than
out in the photographs?

Q Let me finish the qpestion first. I'm

taiking about orienges specifivaily referring to the
items you listed in response to interrgahory numer
five,

A Well, you have got a picture of the
starboard side of one boat and a port side of one
boat. So you'r batk to my criginal problem, you
can't have a discussion of symmetry when you show me
one half of one boat and you show me the pork side
of one boat and now ask me to coment on the
starboard side of another beet, y can't really do
thal.

2 yal can't, just answer the question
that way.

fin you see any difference in these
two pictures In the sheer Line ot the two boars?
or ope is the pork side anil one is the

ttard o
ASR Tran hat Fe you oi ky IM Toreties
Rte bala pale iat toil start on the
bles So -obn
Dn eee dee eye nec ope oe tae
Ta de PG TT Baty Lig ads

Dlr.
oo evtion hay open abate
phe ya ts al

Jomibal boa Te: these Hei t

uaa dread pes Maho ja t- lend abil
mas shown op tet chewy in the phil arg tte ; va bay
“ were taken, given these Timtbat ots tte

PS, catyoa debeatity tetas any
litterener in the sheer Ease as dis deatoted in

bee poet ara has

4 Ths beoat

ons ta bare prea a the
' 1

oman aetin ot the oheet, Oi op abt ter ot
" itt te dy hy vepet tion th a .
tea tt } ny] _ y .
Soulobte !
: Seda od
Sods yp
Hy
rim Was tt tens :
aa +
1a Te a _ i _.

KT oO On ee We OD

wa OD

10

Cot) tee a Pe

made from the '99 to
isn't it?

the -- the sriginal '99 model,

C

Ts this a question?
Q  feah.
A

atl i: fa rhapa ae
No, that's an cption, [t's there and you

asked me to coment on it.

Q 1 appreciate that.

A Both photographs are, you know, somewhat
distorted because of the wide angle of the lens. In
both cases you can see the center part of the
photograph is actually rounded because of the shape
of the lens.

Q That being said the question is, can you
identify or see any difference in the sheer Line as
depicted in these photographs?

MR. COOPER: I'm aoing to Object to the
form of Lhe question based on the svhibles that
you have presented. If they are t wt arcurats
depictions, T don't think you can ask him te
make that comparison. Tf the potigeaphs
dighurh Us inewyin, Pdos't think that's 4

hott bellow: that!
TY - one ~ Tl
men cating tim, I
}
et 7 . ne . . 1
- ne, 1 1 ut r 4 ur '
Ley no eee ep edd . moh!
Nard €o sae tha Thar WL ithtah hy
Qo and owith lesb, sia? YoSa ten,
So Mat Po haw Cf oa ctrala se, ey

He, a fie fver, wit
believe tote tral yah qe ver te
chokes Uist 1 fe mage todistopted both abowe ad
after dno deseonke direetien bra the conte:
perionet the beat, and that is either a tact or
Mat tea distertiah at the picture, Hai, white 3
isp Dcan't tel] jou. fat it's cortainky fat
Salqht ie brie,

WP Une Game baal ha te ab ber
ouatlar bat smilier --
Portatiy, tiers Gite dregs fonard on thos 3
beast that fou ce md at isp Meryocr abe

not 1 re 4
gpears be Ss ted

wei wee abe
wad aid

cheer atl it

Peat, Potepbeta very
|
|

wed
]
|

115
2

Case 2:02-cv-14102-DMM Document 52 Entered on FLSD Docket 07/24/2003 Page 37 of 115

SS te BO

wo oer

10

4s

side --
A Yes, [ think they are.
Q  -- toa layperson?
MR. COOPER:
question.
BY MR. ELBRECHT: 6

Opjection to the form of the

JI fe ws KO Fe

Q I'm talking about not necessarily a boat 7
cuilder or expert, out do you think the general 8
public would see the difterence? 3

MR. COOPER: ‘You can't asi: him quest ions 19
about what's in the mind of the general public. ll
MR. ELSRECHT: He filed an interrajatory 2
that talks about the unigue look of the 3
Pathfinder, how if locks in the water, so [ 14
theugnt he already brought that up. 1 think i 5
iS ah appropriate question, but your object ion 15
is noted, 17
THE WITHESS: What was your question? 13

ef Me. CLEPECHT: 9

¢

Q Dn yo belles: That Che changes phar ware 4)
fake LG The heer bine are atarenh ts the yueral é]
in! 2

1 ret f fia. Pree a4

SOA, Wa TAS etsy LS

Spel: eae l, AEE tne .

mo (1S ales fog 3
torre pe! ate Tet 4
vtroneterningt i ‘
dat ter b
Ser tan) omy traohy stral it eae,

hun oy man Thanys heat that, bat that 1 re
‘4

Qn Retbat Me. Shea onot hand parted t 8
Peehoy can putry circling ate il

AT think this alqle shows me, again T's: ]!
hr HL] wth ipbobeagaphy, Gut Uh abpeats So tr tna lt

At oetidt bets 1a tram ndagsry cpoekad, i
MR, COOERBS det the resort petit that 5
ellis hat preted a cal Shute a Mens Ih

he dn the md per lt Me ater nach, !

Mot eas canst ork bis ue berg os ”

4
f

look at it froma certain angle or do you need to
rake measurements or what needs to he done?
AT think taken froma correct angle and

loaking at both side by side --

0 What's the correct angic?
A I think the easiest angle is straight on.
Q — From the bow?

am

mn the bow.

Ppl think if photographs were taken of
the old original design and the revised design
head-on that those prishographis should be able to
shew the difference in the sheer lins?

A Ts it possible that they would, yes.
Would I recommend that as a way and would I use that
as 4 methodology to make that determination,
absolutely not.

Q “at you 366 any difference or identity any
difference, you know, to Eehibit Ho. 25 and Echibit
No, 22 of the style lines?

Ko

Ro tes,
Qo What othec chan ts ctarteacd apd cert?
f The. of ik 4 we tou ot

5 apace in Lath Dehih|

ooh, which you 3a. 4 refsrenced tre

at nent

hE Doge
weld be very

Wo do The pelea) version wal

carpet inp tlaty fab
eOrEeet ity thal, |

yen
cure ead
Lhe 4
Stralantenigg ot this care in tie
L The secomd version, the
weld not fave that init, I
Go When

Dbfital dest

3 tye te
second de: Vy
wld topes

yelp talking aboat destypy was the:

tothe stybe Line ecg jos: oy dirs:

Ie ora dind of spauedinas ta it!
A deb intent ioualby te,
Yoo in tae SutmitacDip iq prec eet

wirted tong toe cryfe Tine cred or ieee:

Bo Chath by tig DT Net
M4
, -- 1 sl
! 74 ’ o ‘
pe batteteb’ ube ot
‘ ” .
1 ld r '
: aon

180
Case 2:02-cv-14102-DMM Document 52 Entered on FLSD Docket 07/24/2003 Page 38 of 115

KD OO On oe tw BD

you said something that didn't really get me back to
the original question.

Q Let me start over. [I'm not trying to
confuse you. Would the problem that you have
identified that existed in the style Ine, would
that have been some kind of defect that would have
peen in the mold?

A That is my assumption.

Q And that mold would have ended up
producing a boat from what was originally intended
because it had this defect in it?

A The defect that was in the mold
undoubtedly came fron a detect in the plug, which 1s
what we have discussed nours ago about how that all
came about,

Q Ard that ended up producing a crooked
style }ine, 1f you will?

A Song other things, yes.

6 Ap in the ervised version tre style line
vis Ot al ghhened?

2 in tive revi) -- here is the -- 7 thin
we tae Dae we G dpeat les ak wna’ bathecea)

. . PO wp te ep re
aot, af RET we has

yop Pate
Drimaparns
cin Tyg!
my omit
hh
O fa tefertecth a as the disigh poe
Aes,
doy et the dowangs that were mde
Ip Doha rabringer Gave thas detect Ih yi
N hy,
a the he twice

heh, That's tet true, Bat pot

ribenl inal ly,

10 The inbent tothe bata was tu fave 4

y
. t tie ye
peo eg 7 hee
5 trot
af i ' a a! 2
tr
vor
,
m,
+ “4 nn
eb clita me
. ‘
aT hay a

149

SP OT ot a DO

> wun oD

design flaw was --

9 — Tt was crooked?

A -- repaired. I'm sure that was pach of

Q That's what ['m trying to fied cut. Ts
there anything else that was corrected but the sty
line thet was produced in a crooked manner?

A Tt was asymmetrical and crooked,

Q Was it designed to be asymmetrical?

A No, that's why we designated it as a
design flaw.

Q — ihat's the difference between a asian
flaw and a manufacturing flaw?

A Well, in my opinion a manufacturing flaw
is when in the course of manufacturing the
product -- a process variation makes if through ty
the customer wlio recelves a product that is
substandard, Mot because of the desiqn of the
product, but because of the evecution and the
mallfacturing of thet product.

Q  Awdwhal is that, lo that a tetuiactyc itd
I Lawl?

f

!

2

fen he teat az eatin as

VEISIC: VO Lad Stal yitened cut tr

t dw

° Whrene | the sf ling

Rabe wee Ped ite peel gt, We dnd a

mamber of tilegs atl ob whit ace on Lised te
ber regarory (amber Tive waren dpe Luded chaneyiny
the style Tine,

Q  Andother than stratghtening of the style
Tine, sas dt changed in dae ther way?

Oo dha other ways?

Ao Tha made fo fe Mere opti rican with
Theatyfe Eine onthe ther cide af the heath 2nd
ova abso malitied to ccptorm ta the few heer
Vite: Pah was Clateped,

Debi So Men on ean

159
Case 2:02-cv-14102-DMM Document 52 Entered on FLSD Docket 07/24/2003 Page 39 of 115

WO SI on ae Kw Ro Pe

he pe
ma oD

V2

pe oe
C7 oe le

—
1 oa

Q and in style, 1s that
reterring to?

A Ts that a quest ton?

Q When you say they had to adjust the style
line, what did they have to adiust to adjust the
sheer line?

4 My understanding, and I'm not the one who
did the work, but my understanding is the sheer line
had to be raised shere it was low, lowered where it
was high. So where it was low and the sheer line
was raised, then the style line would have to be
raised a5 well, Where it was high, the sheer line
was lowered, then the style line would be narrowed
in that area.

Q were there any other charges made to the
style line?

AT am not aware, Gut as

what you're

f said, I would
not be aware of thee intimate details of what went on
in the redesign.

0 The style line, wes it mn

Of the Doak tg the shorn of thi.

fram the bow
teat in he oriqtal

mv yh
fe
fe ite ‘ Mes Gano
roo :
a TOA i

eo altel he

ros moored wren the

Qo Was at kine ahs different ly in He revised

Aula
different he?
Jo Wad There

Sot betiaeen the

yal be tere clear when you say done

ale Thing» {tte rut about the

iqital sign and the reuses

Qo Whats that ptterent oboe? What

fitter nh oo dlory?

ty yg pep +: m . mY
Popa remaster, Cat i'm sure we chats
‘ pebop tape Ti cgre gee hanged
. Tobin
{ { 1 r
1 is pos Pope gt gy hit
. '
1 ed :
soe -
RNY ter Tovar
Wete ahem pa Thee TP
;
of - rot eT Th a

153

aD Som tn ee cn BO

pe
Co 2 oH On ee WO RO SE

me Re

—

oa
svt

fes. Actually wraps around the transom.
Does 1t do it in both designs?

T telleve so.

The style line proceeds from the bow of
the stern and then it jets up at af aliyle towards
the stern of the boat, is that deviation or jet up
as | refer to it, 1s that present in both the
original design and revised design?

A Yes, it is.

Ts the logo, is that a
Pathfinder?

A ies.

Q Is that present in the same onsition as in
relation to the style line on the old -- on the
orijinal design ard revised sin?

A Truthfully, the people that put

a cD oe

nD

-- it says

hose on

cur them on by hand, so TD suspect if jou too 200
"itfer nt Pathfinders they would all fave some
aif ferences

Q 0 Butoh neeeuuarily eengisten.?
A Soret,
QA fu Selle teeth ce hath cb Ube

mkishe Lippe re ppeen’
OS Lap COPPECT?

Mie ap te
Wy LE

mp ive

ling for gameses tf

ASSIA ee

SOTLNT Gt

PGS dallas,

Tia at toad: [ year

i

HETOUgt fot atwaysy are
chan. An olnes tte Rabe ctampead that ee
implement od happened pricr ta thas makel jar
change, Uheti my ancien eld hae tebe to

QO  Mayte Tm uncdegr about that. Hy
aiden standing Cram the pest ds Ht the olor
chaiwes were done Lidepetdesty ot this
eign that's described ig imerreapa ry

1

ters hale th
De WETO

revised
Te
‘aT Chahides Pall od if, Yoon Was
thal soshing thal habpened tedepetident ys

ROOM hates top cut were nef at atl
pelyted tthe bed ine,

PALE cei bog op dbeait

1 . roy wo pote a ey
v yet Oper poe p is hat
Pins,
* ws 4 :
: C 1 “tae
: a. to ws!
wees, .
1 .
, re te
Mite i! It ie i
Ure res le boot Petes. Wa ce
~ ‘ Th i0LR
Case 2:02-cv-14102-DMM Document 52 Entered on FLSD Docket 07/24/2003 Page 40 of 115
{57 15

oD

_

Q What changes, if any, were made to the
chine line from the original version that was sold
in 1998 and what vou have called the revise
version?

A Hot having done the work myseif, I'm very
limited in my ability to coment on it. But I will
reference interrogatory number five which says
changed the chine line, required sanding, drilling,
qrinding to repair, the change was both aesthetic

grinded?

The chine it sounds like,

Mat aces it mean when it says repair?
My opinion fo repalr a chine is to change

NN
v
h
tard to wabs it

ph
>

wD et

be nihicb ora: tank oth be Lb.
we eS ae Ue pu Wail Le LU Ue

tees chine line affect the performance of

Io uw te

the boat?
A ies.
Q Did the changes that were made of the

oma Do Se ww

wo oD
mo

10 and functional. 1) chine line affect the performance of the boat?
1 Q Do you know what meterlal was added or il A T'm sure they did,

iz raroved from the chine line? V2 Q bo you know in what way?

13 A I'm sure it's fiberglass and gelccat. off 13 A Hegefully positive,

14 and fiberglass and gelcoat on. id Q Well, what positive way?

My 2 Go you know what the nature of the change 15 A [can't answer that because I don't new
16 to the chine line was? 16 what. changes were made.

7 A th, li ) When it says ln the interregatory jou
lk ) Bo you now 1f there was a change in the 18 participated in the changes, what was jour

19 length of the chine Line? 19 parbieiear ion?
if A | halt that. Hut like I said, 1 already ot) A Tar ashed ite thal a cnuthe: of teurs aI.
S)ocand To dont brea the tiature of thé: change, it's A ‘That ait in elation to the sheer Ete, i
ee RP ult fob te tctent on the fate, LAD ky Gon gsuy a :
25 Oo UL fefefatat un the wrerrvatory hat 4 5
ato het was cath, Dilicp xaparivdiey te eral the similar |

& TEL iG tus Wea, Was cance, tiled or ootear og

“4 “fy

to hay Feit (8 tae ahd Doi him : Wh faker Sree nan bon!
Joe hora ian vo tare tne 2 Tote Sin .

: Chatyes meet ; 2 TRE

Po RSID Samant that ra are | Po Duo ti psd thal yo Mla oh tae

vadeh uly vi MAE Geghe. Galiuhs with the o> LTD Tne In LE pacihivery aie the

h MR, COOPER: jf chaewt to that question te hooqertomane ot tte featy na thy cornet:

: the oxtent jf cats for a layal cuteiusiot. i A Correct,

¥ The ge of carighta is amulter of daw. fe 4 Weuld it help ot in the wag tt handled

4 alisweted the inberrogalories, the 4 pouty water?

In Tiberraphoris were mowered by athurheys, 1 AoE think Poaloo said without pang gare at
i They gat tall the Guformal io URdh you need, Lo the taal chataes that were made ih wail d be

Li BY MRL SDRREPET: Po oinpasible bom ta cama on vkat tie etlewts

1 OE ahaa) Pie est pan’ Pio abbbe Qany Be iehe felted fo that (ited
i Ash ve ayer PEE TD aver

1 MP UGPERD de orth mover the quest ict: I | wep al the protaraghs tit ay

lh Hats cetise that vod tate adhe if because 1 In ttated MT att tas the ga te
: th ! mn Lord i ul 4 : ms u 1 { 4 i 7
: Set arse mabe The bw Sab ded

i

oh.
aie - 1 1

- tee | Ie ' ' --
- : + i :
a ad i.7 I- 7 ~ ‘ protaae . 7 ~ yt s wT 7
Case 2:02-cv-14102-DMM Document 52 Entered on FLSD Docket 07/24/2003 Page 41 of 115
{6 16!

photograpn. I can't even see it much less comment

On --

gentleman that did 9019?

A prrect.

Q bid you Jive any insteuctions to
Mr, Leffew relating to DYH 9056?

2 dente kplinua sr ea
a ten DL LEYE ouy 10.

MR, COOPER: We are referring to the
second page of photographs.
THE WITNESS: 2 of 5.
BY MR. ELBRECHT:
Q You can't tell whether the chine line has
been revised in this photograph or not?
A Correct.
10 ® And in going back to the previous page,
I] can you tell whether the chine line has been revised
12 in elther of those photographs?
R A No, I cannot.
lf Q Going to Page 3 of 5, can you tell whether
S the chine line nas veen aifected?
lf A Obviously not from the deck.
" ) And Page 4 of 5.
8 Bo Opnously not from the deck.
3 9 And 5 of 5,

Q I'm not asking about discussions you had
with counsel, your attorney, but did you or have any
discussions with anyone in Maverick about DVH 9056
prior fo its submissiw of the application?

Ro (ap you ash Chak question aqain?

9 Did you spear with anyone other than your
attorneys about this application OVW 5956?

A Beout the fach we are making an
appl ication?

O Yeah,

ho Yeah,

Whe aid you speak with’
A I'm sure T spoke to poth Jim ant possibly
Paul. Or they in turn spoke to me.

a OO oe a Ss
Go SU oF On ee GO BD FG

Ko) OD
sD ue

Roses
on On ee we IND

oO

eee
vo ao
Vw

ay ho bieashy not. # QO Whatodas the nature of those c= what did
J] Oat to RAE th.) ath is your 00% el fal Quy tare afaut

AQlicgant, Tab me eve thet ot ail, ate 2
Bo AGIA TALS at tat | uf is
at Thais Jin léhies BLL an oe
g afd i taikva udiwedrets ths x

fa “a
oreeeg with thin anlics a fe plasty ten cette -
TRS Lo alaipeney 256

; ; Qj atls tetereny dh them name tau as x vith en
: prepd eri s rer Balu io th 1. eth ns neo

mas Sg byte th Sn fetes they wer ame ed aot ote
5 Bo Surtees hone Ea ise:

YO, GEE Phebe gia Pelt dn Cite where | A) eur oun,

nap beam aire thal Spb aas net a valid ° dee tng) ah UU, call pul see The San des
Qoopeqistrab ton? 4 ota the stye Line that were mae to the byinal
I A fee, lie desir?
i Wo Ad when did you becwte aware ot that? Ht Ao wWeld, edalm, Dive get ten tence tte
| BR. COOPERS Ef you oun aaskwer that [oda that imap fait y on eae Ton a wry
[4 ection witha dishing the adden ot hore BY the baka et tatty gpeani tote
ht vaulted, oooumtetr alo Dba tose Pout oe ay at the
J Ro The Fount ewer that question, be PE Ee aD Were VDD on te rota venuety
Li (Wee hap gate gh The time that ya Inoieat The meyeamagbty isd Rat Docabist) an
Potion the Tobit f lade th that UR ltt aa Pt ae ab ow omaha tf tated

i tity
i i} ' i, ‘ my Dom

it ' reg! ‘ ty, ! os
Stik Lie yt toe
Thar yet nf
_ a wa US tee re os!
2 toe amr ae - - ,
Case 2:02-cv-14102-DMM Document 52 Entered on FLSD Docket 07/24/2003 Page 42 of 115

Wo OD oO te CD OD

the photographs attached to DVH 0056, see wiiere it
says two parenthesis style line modified?

A Uh-huh,

9 Who put that infoomatlon below these
phobograpns?

A T don't know,

Q And you see where there's little drawings
in the two photographs?

A Ub-fuh,

Q ‘The number two it looks Like is drawn
towards the rear or the stern of the boat?

A ft Jocks Lite it's on the chine actually.

Q Right.

A ut, again, I can't -- if you look at this
he whol aft section of the wat, the
in the

picture, th
whole color of the style line is washed out 1
copy.

Q What is that referring to when it says
style line mdified at stern side of the boat?
A feanth tell from this picture, Actually,
Loveanidouiy Do cuit tell fem this eohibit

_ yoDeb lle re 7
an ve a
“y
: KU teal tout
tT
tee hplete tava
p
Qo trowan high these tye phef yruphs

weuratedy show the feats chafeges Utah were: made Po
thie tyne?

A Again, bowili state petating on the

campeon that | toe not set the prot qraptoy Tm
abeanitartabbe making ais shabemtents of what the
i toanaphs Viemelves ean dtter im the way ot

Hoabiiity todiseent a ade that isnot vibe on

the Sbbet ed The thet aris

Pd ou ort an not : "
‘ '
t ate {
: nit
4 1 )
bey ' ut
1 ety i der, "
, r : .
u - : 3 230
te vf - a } ~ _
- - e router

165

1hh

think I testified earlier 1 don't

- ~ the ere'S a very high probabl! lity!
iinal cheteyraptis, so it would be

eto vastly iat i COU wld see in the

in

notiar caarn

I
believe “hat
wit h

ne ef Sd

t
ica hs | havi

Q Can you see any changes that were rank 19
the sheer line in the photographs that are. attached
as DVH 9056?

A The image quality of the sheer line
section of both rhotsarants, 9 or both copies of the
photographs in this eehibit are of such poor qualit,
T would not be able to do thar.

Q And you don't know -- again, vou haven't
seen the originals so jou den't know if that's
petter or not?

AT don't. What I said, | don't believe
Tye seen the originals. Assuming I taven't seen
the originals, it would be imassible for me ty
coment, on what T could discern frem them.

Pa jig boa why there's only hae

pholoyothe aitacted i this’

Poul e Ve ee ne pe bk be tly eg tl -o
SO Ea Ta nS Big. pela cao di

nad tae, four os tere chobayry.

Lp epe ep eb oe ie I
"a That your ienicwn i

line?

Ay sald a teange in a tila
he change in the Gathpunder 60 tains

‘ i thank 7 read; Pattie ho the ty
that Twas bet specifically aware tthe tak pes

Hob ete tebe bo thee il

ata

4h, whe ity
" ky w ne Peitpuiie brs
fife Cap tothe part oP the penn t

:y Spoons

Rebbe heh ofan alae
+
‘

eoefey aid a owt

Sh dn ee dy eee thy
A Vil wa ae ae tide foe
Case 2:02-cv-14102-DMM Document 52

de LO TD oR

Wo OO YHA in

t Peg
RP pe CS

oe

discussion, we'll usé the chine and the qunwale of

the boat.

Q What changes were made to the free board

from the revised design that differed from the
original design of the Pathfinder?

Entered on
165

107

r4

A The changes made in the free board would

be simply where the sheer was raised, the free

beard

was raised. where the sheer was lowered, the free

board was lowered,

Q And it indicates in the interrogatory

response that the reason for the change was
gesthetic, is that right, trat's Etibit ho. 7,
Mr. Deal?

A I don't know

You have it, is that what
it says? I agree with whar it says here, yes.

0 Hat was it about ib that changed that,

A / | back to my earlier statement that
action has a reackion so, ¢
mae he aspect of any oF the iheans we are

Hag ners witha havaitey implinatians dem

yh are later Toop tyes hes

edore ve n Ade in be
1 { ~ 7 (ent, soho at oy L
be tyes
ao! ides
‘veda she - nee
woty Rite (hat Tags
tremor ar gen relgpad ryt | Torch types
wet op the work dos or nt those
wiv) tially was feaied fo to: tae jaws tat

Bete lp ot Mean ard md

dad ada”

1

oer

therefore, you cannot

in Ue

the \ poe roa
fiefs Thereby req ated,

Apdaben you tal beat Mie suse Losue

hat aitected uth oor them, what ate jou referr.y
$.

A TN Lass Chal ge bed atuut, tir
erhyinal cligq tot bermp or perdy secured ehen the
oriqingd cesignwais first crouyil tomeld

yh Bo youre sayin) sate TD these stiles o-

bins whiat |

Ao Acthually, 7 think ste
Sajal ber to read dt tact,

ditent my ! vos
Mine that thew hang mS b
pie Ae ul weed :
te Seth to tha rr pir r
:
eootit nah tet
: Loeb’ - ; cal ,
a bh oa od t
Tek 4 ait oo -
ev har nat ysis - a7

cabd

FLSD Docket 07/24/2003 Page 43 of 115

Q

in the

0 ebe Wo RO eo

A

ao

B 0
A
10 make

a5
i Q

2 board went to what we talted ahout earlier

13 needed

So when the change was made that resulted
change to the tree beard, are you saying that

the free board became more aesthetic or that other
aspects sf the boat became more aesthetic?

T think in tetality this mage the entire

boat -- these changes made the boat more
aesthetically appealing.

How?

They all worked together in concert to
more symmetrical and better styled product.

3o the reason for the « chap | in the free
, tnah jou

y
to correct the asymmehry that was present in

14 the sheer Line?

15 A
16 0
] h
15
19
“ly

Lute
}

BPD prion be
wore other [sues
19 vpee hes

HE pesdqu

I. welt fir

Ts that 3 question?

165,

Mal YOU 33 1D again?

Me. COOPER: Let's take a breal.

Ale renpeoty ree taketh nd pre ee vd

tet batt
1

ead tea boo

epee meena, om,
THE wiltecg: Te

nat it inte, wnt Thy.

ety net Locuri moh
beomold haying been paelt Ther
Poarently with the paap that tos

[i ph TWEE Ms

Peppers | for improvement te te para!
that epee ahs egecnted abothis time, bat
Aodipet wri ives fp the cinale |
toes in eos Tey.
wl { iy Hyp abe Ot
Coda toys tye gr ct !
Daeother tity i
HE hog bated
4 L
yo
: ue
wot
J
. as wa “t

1
Case 2:02-cv-14102-DMM Document 52 Entered on FLSD Docket 07/24/2003 Page 44 of 115

62 COO SIO On ew RO

10

WIth eke Ga INL

“sy

A to.

Q This photograph, evhipit number 1 of 5, do
those views of those photographs depict changes that
were made in the free board?

Ato

MR. ARNOLD: Excuse me, you're looking at
the wrong page, Mr. Deal.
MR. ELBRECHT: No, that is 1 of 5.
BY MR. ELBPECHT:

Q Same question, 2 of 5, does that show
changes to the free onard?

A Don't snicw.

Q fou don't know?

A Don't know.

0 Can ful See
in these photographs?

Rot,

e& any chanyjes to the free board

9 Photegraph 3 of 5, can you see any changes
to the free board in these?

Ao Oboagly not.

Qo haf oy

~ co 4 i v

(the downy that hs bot!

eek) wen Me Clute Ula are

(URS ATES ato
rele Eesti, wl is
mobs! cag vuir
fete pen, fefeadant on bet '
cho edd
MES RUBRECHT: Let's de the came thing

With eqard to the style Line

Wed nay th, darters: dart Fofab.t dd
mond 1a
MRO RUMP TP: The same than with the
Sheer Lite,
Whebeupot, Gefen tint bo babert 4
saree Poy
MEO REARRCHTS Ard the some li tch
hy
* 1
t
a we, ' rel
ny uy at
fo ghiytestytietthg ‘
Liebe obo whal aa kta? -
Bil Cred Tee la neers he ree
- x 4 ae ' cc

13

eo pe
Do OA OO tea RO

mp
tao D2

14

aT be at

Jom

attached to 0056, can you see the changes to the
free board in either of those photayranhs?

A Well, again, we fe discussed adnauseam
the image quality a | ‘he nabuce of the photographs

b+ of wie land
are such that you would not

bé able to disvetn 4
difference cr see a rifle change. But do I
believe that the changes are represented in this
photograph, this fairly represents the redesigned
hoat, I would say yes.

Q Let me just show you, this is the same
copy, if you could circle on those phctoqraphs where
the changes would be to the free board?

MR. COOPER: Can we have this marked as 4
separate exhibit?

R. ELBPECHT: fas, he's
it, so we'll have it marked.
AT think [ already stated since ["m not the

one that did the work, Um not able ts indicate
secifically with qreat accuravy what ows done, |
rai owas dene, Pocen tell pon gereral by ath

cop le owe , “a
Pouph tely yc

5 $olng to Mark of.

ada Patter |

r ¥ \
Li dial fi re
; Wnt | rey
x Weep ee Via al
Beictaicr er rr woe +
tye LL . Me ten Oo

ta orep nee ree nee I

Mr Wake) Tih ne
where the change wld ne,
MES NCHA CHT: Are a Test yi

MeOCUUPEF: He, [imtrying tocqarite th
PD gai ae any ty
tet, that's WH oa }
bo titel in
be tates hat ean]
De Taki. ie fa
: vibe fy : i’?
1 ao
ro
wot ' -
ro. te Lr
t

7

4
a

Case 2:02-cv-14102-DMM Document 52 Entered on FLSD Docket 07/24/2003 Page 45 of 115

hore

Lo 00 a

19

will not be the limit of the effected chanaes. But
I believe that the free board changes were designed
to make the decking process of decking more
consistent and to make it easter for the guys
physically doing the decking to do the decking.

Q Did that make the production of the
building of the boat less expensive?

A Well, T think in a global sense anytime
you make something easier to do, it has an effect on
quality and on cost. So I would have to say yes.

Q Did it increase the speed at which you
cculd manufacture the teats?

A I'm sure to same margin, yes, but not to a

huge deqres.

Q ‘There's a reference in the biterrogatorles
the next change is to the flange, What is the
flange?

A Well, the flange that we are discuss
here 15 the full flange.

ing
Aid that is the part of

the ful] evterior to tne top side of fhe teat. part
of whieh Lo shopped off ond then add ated
yaa fitter ot Me prada ty

6 Welly fo Mee Dla oaeething ratte

spew the sec tre Tinsh ordi?

Lo Pohick pecretion of tre wan
“ a ie
AUS,
Toners

Roy the wef
we Wt fe fale,

io Prior te these haps Gels) Sky deat
bal utd the deel Byt t agether?

i res.

died they daa dn a mantis that aus
satistactory Pavan oui the president et She ong any

Ao thy
Qo Why tet?

A Becgise tiey cad Pit bet ber
Sh ed dtd tres ov habys Pathe pi any

PERSE

mo belp the bill and ek tit topethes

fetter?
4
\ tbe ot nt
. , ,
bh dpe ead
Sethe prabons say
a :
, 4 + '
an ‘
abt wast it vii
fet Fe y at : Tote tut
"ont nallit ld . . :

17]

OO re ow MD

ro
eo SD

2

Se

a
as | understand the change to be made includes the
part of ‘te lange which remains on the product and,
therefore, is visible to the custemer, In adiitien,
there are Fars | of the product that are stripped off

Sat part
bub Mate

(tia iS: aid
visible to

af eb
1 one fanje

bee als sith the finished product and is

Q Do you ‘now in what manner the flange
were changed?

Q Oo jou fnew what material was added o
removed from the lange?

A th.

Q What, if avjthing, fo the eranqe in
flange improved the aesthetics cf the twat?

AT think that we had some asymmetry and fit
issues assuctated with the mull, the deck joints at
the flange. and that the hull flange #as chan) we
eliminate these asymmetries. End alse changed
flange te fariiitete the decking pretcs of the
tial,

ms

the

wo days ce ie Liaise

‘AL and desk lit laqetres tet
‘ Tee cord ee

n ra, WALI LE Tre

(0 We de en Fale e

if That
pe Tad

for

DOLE De grape,
a haloes Ut wer
mek 1

A See ot Phe changes That thes mates tthe

Tange wou ecrsible In atyoot the photayr gis 5,

bby],

tee appdicahlen ot
0 aa

dheutoauon, dat

Toll pls mays

Weta tepho mon yp tes test eS
Mabe hth tangs
A pet, bowls bete ay abet
pmestpeb te the gable awit pope dt
Verh tay Poasah  e faeh that hes
ephedra ftp ag bobs fie aie Sete
eth tan eihtaan,
ate .
- t
te
vl 1 1 !
:
-
- e
por ate :
Case 2:02-cv-14102-DMM Document 52 Entered on FLSD Docket 07/24/2003 Page 46 of 115

Oo YM OTe CR BO Fe

po Re RS
Por Dw

an ee wo

ro
aa

18

afi answer and opinion on that hours ago.

Q If you did, I apolegqice. I don't believe
I asked that specific question.

A fou did. .

Q I'm just acing to ask yuu again, San ru
tell with certainty whether or not the photographs
that are attached to 0056 are of the revised design?

A [think that I already answered that
question and I'l] stick to my original answer.
Which if memory serves me correct, no. But there
are reasoris I can't answer in the affirmative, they
are to the image quality, especially in the areas [
would need to see to make that determination.
However, I think [ also stated relative to symmetry
of the style line and relative appearance of tre
truesness to the sheer line would lead me to believe
that thew wera,

Q Is the change of the flange an element of

AD

the design that you contend 13 protected in your
rai ration?
4 es
a i We ' Potala ar
Certatil?
:

Z By eer ONPSC) hal ral it iwky ‘
oa uM Jlay iets ths ; Te
nr . 5} :
ve rt pie mre
BRED op ats
i

In repr) te te tree board deena dea gu
contend Wut fathiinder is te only conpity that has
the same destaned free beard?

Ao te Etta. ieluded in our complaint se
tires Tdi cited whoa TEP se nt, ate
Blac have sade our bat,

Oo ather brane
vdded pthtit ber, ape there any ober oa
thit fev the ume ti nope

I
Bt dg
:

that Prouine,
these elatetits ot

panes Ch van conten

‘
ey. he w lid have fre pete ta ty
raha
| ' . ’
4 \ 1 :
“ whe
( “1 '
' 1
ny
. . tm , :
oy :
ejtlies Tre ber 7 fe!

isl

~D oO On ae GO BOO

ro ope
mm a Oo

eM Oo se OK MD

eee

Soe
wD ee ed

A Well, it's functional in that it helps
make the boat easier to pulld,
soray catchiny chatsctaristics that “nals the boar.
dryer under qeration. Provides rigiainy to the
bull ged cig ral which “h otovices 3 supetilt Fide li
rough water and greater fuel stability to the user.

Q Can you draw on this exhipit, we'll mabe
this No. 29, where the flange is depicted?

A Tt ques all the way arcund tre cat. fou
really want me to do that?

0 Just 30 we understand sv we are c
to what jou're referring to.

MR, OOOPRR: 29 or 9M)
Bi MR. ELEPECHT
Q) Are there any boats in the sachet that

similar flange as the revised version of the

TL proviges certain

& [don't nnow the angwer bo thet quest Wh.
Q Oy yar contend that the flange Lita ‘kes iy

that's unique to the pathfinder?

. i . Le
Cah dyat Hotes we tarde

‘ Dye to i Ba,

Qo Le yen bnew ot tne iengtt et the thpaes

aa chap toatl:

AT have te ibe
Jeschke ha
4 The ' nom HL te a 1 mand
bee Peyrh BG j
Wy uo colts 1!
i" i t ue 1
" mbt wal ' t ' 1
yh
- . if
4
+ . af .
. :
: . of
ue ! '
'
.

199

Le
Case 2:02-cv-14102-DMM Document 52 Entered on FLSD Docket 07/24/2003 Page 47 of 115

OO om On ae Ge BO Re

—
co A

Psy PN
Tr abe Gat fD

l

Toe KA.

A Tcan't remerber. That's pretty
self-evident by looking at the coat. I want to say
there's four.

9 Is that two on 4ach side?

A “orrect.

Q And is that number of strakes unique to
Pathfinder bay boats?

A to, I think that most boats on the
market -- I would say there are 2 large number ot
boats on the market that have strakes. Some have
four, some have two, very few have odd number

strakes

Q When you say uneven, do you mean each
strake has a different dimension?

A Ajaln, T think I've already told you, ['e
not ceally the strake king here. I don't know what
WIS changed afd what was uneven and what was made
mors uneven afd what was made more even, [ really
qon't

0 Ut yeas Fneas ae tran the Proline and

)aner akebber there ape aey Mier bey oat goes

te r eee an ote ¢
.
lhe
. vet , nee t.
bey FU OT i OE My TESS at
are
Nes ret
: ft
ley . .
Lontoae yt ness,
mpm en
i; rra otk Yr, pote
, wag a if ~
i - Vr, reoway tha
.
th ' :
ty Pelt tee crn ch peat oat the cheapest oN
Po Fhes the nae nest ot Une: stants up

the ger yt fapat the feat:
XD think in Che af aur predict, yea,

BAT can pa ted fie tia?
No db
oad is RU a tet pane
MR. UTR: thn oat Pal cold
4 ail LTA. yo hon Tet tay
oo trea ad lia lhe desbi bu
Spges Lip tedondr ty gyal iat ,
‘ih 1 i ts 1 t ! as
v ' ides i
v ’ \" we
ob in
a e north

185

Ror

A ee AD

Mr) oN

BR th, T don't bnew.

Q Oo the -- did the changes to the strakes
affect the running characteristies of the boat?

a. 155

ind do on brow bow?

A th,

9) Was the unevenness of the strakes in the
revised model intentional?

A tes,

Q Do any of the photograpris that we have
looted at and attached to the application 0049 show
the modifications to the strabes?

AT don't brow.

9 Oy the photographs that were atrached te,
956 show the modifications to the srraies?

A [ mean, they are effectively illeglole
wil Copan Uo to the shrakes, fou can " eiyen Tell chs
ramen of strakes of the boat much lecs oo ani thirg
about Met

au PESO Dns
ate
af)
rat 4 r
wep

(0 What Is yt?

A The lem la the o> what To describe as Up
tomar pest sectional the tui) betta.

WON bow as the pa file Tote stan
Mate tem the rah boi ho Suen vied
besiue

AIM ad pte y tate, Phat Ai hws
taped aa] mee} opoalb the ther tages
Ula were Teg!

wal th i tpi tiie pp {i

mited i ‘het ‘ah
th
by
t
1 . pods

186
Case 2:02-cv-14102-DMM Document 52 Entered on FLSD Docket 07/24/2003 Page 48 of 115

wr OO Sm On ee Ws

me
mo

eo
tn

eo
wa

\4

in the

159

test imony?

A In some cases, yes; in some cases 1t's not
correct ,

Q With regard to the prot of the stan,
that's not related in any way to any of the other
changes that were made?

A I'm not going to stipulate to that.
Because aS I said already, I'm not really familiar
with the changes that were made so, therefore, it
would be silly for me to comment on the reasons why
they were changed.

Q This interregatory that was provided to us
says in Section C, this change was dictated by the
other changes made to the hull.

A re would say that's what it means.

Q@ Oo you have any independent bnowledge as
to whether that's tre?

AT would assume it's tee because we put 0
interrogatories and it would be consistent
with our éfforts ty te truthtab,

uming rh iyt

PU WE Leta
hp ure ag

Qo Aye tee a

MoH La to thee
hall, there pear
“hast the tsi. as
Mo Tg ie te Die alte “Vifeatides Ul vial

ment oped before
A Thal we discus
Qo Other than

4 Hint,

( rps vopled Hi pil
ape there Ty Lhe wrist that hay
He sam prot te tthe aban

Ny other ft tes ahs
4 I'm tial akare ot ally vlher company tht

bitlds a boat other than te companies that we fos

disclissed ald oiitsetyes tat tas the sume stan,

J In deputy i The the apathy Tomo

ON On a= Go B&D FS

LO oD

I'm sure it's true.

Q But you don't knew how the changes --

4 put P don't knaw Une minutia of what was
done. T rhow it was done, T don't know the extenr
of whah changes wore made.

Q Would Paul Ellig know that?
3 tas. I telieve so,

Q [id the changes
stem, did that impravs the tunction of the teat at
1?

tg the profile of the

A | wuld say that they would have a
negligible effect on the fun

9 What tyoe of negligible effect world it
have on the funct lon?

A Well, straignten things obviously, cuts
cetter tnan crooked things. Bnd this is the firsr.
thing to oun the waves, so ib would propably have a
mOre consistent recovery from the impact.

(Was the change to the profile of Whe shat

fi
nction.

ores, a cre ukeel ste mab ing i Strait?
So That Pe my abdey Sanditey, ven.
haa lbs feated auld on Une
a wld
CAP Ua, TOTS av baler, YON
in rae te
WOO Rv abet One On Moatranhs rat are
Tatedt, Apcduyt 1
n nt Dob pettahe om r ‘
Cfeabed oneerns afeat the Ute fal ot!
vpdes that [lve been ono 6 the pat aragt
Thal were SUbmiLbed with tts lies Ne up fly,

Tey shew the area of the stom, they shaw She chan
Pp cheretore, they would te, jou biew, the tinge
wb. te ident, vat the Utege malety ha suet

ve ot 1 ine vant wes eye 4
Trat yg certalnly cum fb ogeecuny op that
Poy gh qmear tne at qi mt
ve ‘ heath
Poa
rsh isd i ' i °
yo Wha eat hs Horinent ol :
ogra oree tbe et
i Coot }
roibe Tha ovat doh
“L, .
Don oober tat
1 1 ' . Y
‘ t
oh. o
rt v
‘ t
ne .
t
woe o - kobe teal

%
Case 2:02-cv-14102-DMM Document 52 Entered on FLSD Docket 07/24/2003 Page 49 of 115

193

VEISIONS, I will tell you there's 50 different
versions, but I can't give you a global that's going
to explain this and every other thing in the world.
Ditierent 1s different, it's pretty
self-explanatory.

Q That's what I'm trying to find out.
That's all you can tell me today, that the stem is

different from other boats.

A [| think I am comfortable with tnat, js.

Q Do you know if anybody else with your
company could provide any more information as to how
the stem is different -- let me finish my
question -- as to how the stan is different from
other boats?

AL think that as T cecal] difference from
when Twas in School was the difference petween the
First sumbear and the second mmber and without
having two tubers, you cannot find a difference,
56 Vt wand be linwassible tor anyone to arcive at a
difference withtat sume our oho mere ive bASIS.
Kothat, hy ga
ell,

eaitehtore an tas Ga! iagh tytn?

2) MOSSEL e,

“ay cl

3

‘

1
ay
nit

q , it

)

hela the terpenes oat vin the user, £
had pertemar® ap lic ta. Whos the stam 1s ne
! Mote net has perbetiuhe:
implications

Qo Tt Ss didboted ia the inter quturies tu
the fang to the pretties of the stem was dictates)
Py ather tiagnges made) othe tall,

Ao Wit Dothonk De the ne that read that

tier ts you.

q ths step tates did tre hull di tat

Tita To the stag!
SwedE, Po thst tah ih Sawer ta qu tas
Poth hats (nthe heer ting Ee atte dt
fife qi gthe trey : hares 1 ow
poo ietep the td ot
i {
1 a . a
oo oS “1 i
" ror t ' 1 fre
. ety ;
‘ 1, 7 ‘ 7

a7 te CA IN

Se

194

of the boats of your competitors in the cay boat
market?

A They sell them and they are different than
OLS.
Q ay are these Ay EE ayn wh

. tee ! Git Uney “abe ren

A Some are rounder. Sone are probably
sharper, Some pecoably biunter, some are probably
crooked, some straight. Some fairly plumb, Some
are carly versus late entry,

Q What are you referring to?

A Some take the water carly, seme tals
water later.

Q [3 that a performance feature?

A Tk has an affect on performance, As.

Q Is the -- did the changes that were made
to the proflie of the stem in the revised design
atfect Hie funchlonality of the beat?

AT think we have already been down that
read and | already anewered that question.

9 TPE did P apeloqice,

Torink te ales wad ©

somal yprls,

ron
lk aed en : 7
Cpt ine, ¥ wr, ea!
i ia Toy feat EEL
2 — Posse} a?
ate GIN ba
: ee eile
ae
IG
ergs eo enue; 2 ~ .
Fass Tale wT ;
‘ - ‘
: fo pens yt
Ve ee tee et bese teed ote ae os
meet Aas ra a Lasdihin, la te ld bor h. saat

eM, bat Cp AMIS, Py LTR ot th tara
fad the ocgital futhtinder nih plgp was created
Terence ume ond Pai neas ues rer ited
e}etsd to adlrest is part of

Qo Sewacthe change tothe need that dha
mda
| pete Phe tin | yeh ill
vetey
. rt tht bry tim te .!
wa : tat a it
mat ta Oy
of y
oO t
i
‘ we mony
Case 2:02-cv-14102-DMM Document 52 Entered on FLSD Docket 07/24/2003 Page 50 of 115

aoe ar IND >

WO CO I DH ON

Pathfinder that jou

identical to ours except people who have copled us
which includes yourselves and Blazer.

Q when you say identical, T was using the
tem Sumi Lar

3 You said similar and [ said identical.

Q Right.

A But if you will give me a definition of
what similar keel means, then [ can answer it. Bit
simiiar is kind ot a -- that's a pretty broad tem.
I'm not sure what you're trying to ask me.

Q Oo you know what the dimensions of the
Foal ca the Mavericl are?

A hb.

4 Lo ‘yeu Row AE any other bay boats nave
reels uf the same lengu’
hth, I don't bic the answer to that.
Q Is there anahing -- any partiqular aspect.
of the reel on the revised edition of the Maverich
CuMtend 13 a nique 9 the

Merch Pathfinder?

‘te, I tain: tena)

rhe 45

ren tre

viet wed I: waa

hy gilt rd he
tren tis Tt
con woes
ue T

slate tog Viner

ae Petals ag uD

bet tal my te fal ant
reccbraigthen Th. And ahen gulps ‘an in dest
cele curs abd tary y aqles, vautre sed
AMEL; Sbrabfitetitep the Fike, 1: mite ders
CANOE,

Wo ya ena tat

aete Tak tp th ee |
No DE edontt Liaw the anes

Pelee eh any ateples

hes That, Do,

So Ap yo shatter Shah tive ity Seams: ta fee

les] tape

Bo], Turtaii atta ty shit you

fel tart Dethttyp tet gp botnet net,

° Sothah sa te im Tee Buh a

to ] t ‘ r wider
; 4
bas brie

i]

(J ite Ga PD

on

ese pt .
rt ee Wm Fe a eet

rm pe
a

is distinctive acd unique to our product and

unfortunately those who nave elected to copy our
product.

Q Were these features that you just
menticned in the Heel present in thé original
design?

A They are different in the original version
Chan the versicn that we are discussing today,

Q How ars trey different?

A TE you go back to the int errogatories, the
ree] was refalred, reshaped and thereby made
ditterent.

Q Well, it was straightened; is that

A Tt was cefalred, it was stratgntened and
faired.

Q and you mentioned a cumber of other
features that jou celieve made this isel unique.
And let me ask vou, are any of those features on th
originsl a: sign

Not eicy 1 / the Wa] rhs fare on Ves tid
feo .
ae
" were Sho ensy o

- cefapcad thar

eA wherein mye,
UG RON Ta

yt,
' ee
repaired
bya) ply
Pited fa the

Lite tie anys. 5 te the bey

fee af the preblemg with Hie or

Sani pal Peo ce these were rn

Tiyiial play, es, tat ei Paths came diss that
He di tested here an He ther Yninga,
SND te nee at wad Pang .
ropnghoersoq or the (athtinder Yi il
crepe Ue he tabher that Ghowat ot olged tote
rabid
homes Tad
’ Pot Was Cp eed
: pac hy rey t
: rile
+f 1
1 ry uy i a
' '

194
Case 2:02-cv-14102-DMM Document 52 Entered on FLSD Docket 07/24/2003 Page 51 of 115

2G 37

eve

[ chink that's a fair statement.
And it was designed to be te; correct?

ys

bo Re
mo -

you can be overly critical and be

Bo re
hm KD >

j T think that the original design -- the 3 Is there something in
4 intent of the design was to have every Line pertect 4 statement that was ivawcurate?
5 aid avery aspect to be true. But the feel was net 3 & {think the oily area of liprovetent tat
0 specifically ever drawn on any drawings and so, 6 we could come up with on a redesign program for this
7 therefore, it would be difficult for me to say thet 7 boat, the issues that. we discussed on the keel, then
8 we had a specific keel design that was drawn cut 1s 8 we might not have moved ahead and done anything with
3 a certain design parameter and that these parameters 9 the preduct..
10 were not achieved during the plug building process, 10 Q [t's indicated that the heel change gives
1] because that's not how we went about it. Ll the medel a distinctive draft. What is distinctive
2 Q When you said every line on the Guat was 12 avout rhe draft in the revised version of the
13 intended to be true, that would include the tel; 13 Pathfinder 7900?
14 correct? \4 A T'mnot -- well, I think the intent of
5 nm OuEE. 15 that statement when we wrot4 it was, and was
16 Q and the way the coat was built in the 16 consolidated into one concise statement, the intent
17 original version did not comply or met the standard 1] of that paragraph means the keel in the bottan of
[8 in the oryyinal design in lah ah 9 the Loueness 18 the boat, which is the Keel -- you never asled me to
19 oof the reel, is that accurate 19 define ahat a heel is.
20 S Tm sorry, DT asn't yi fy attentiy il) 9 TE fal want toy you coud do that,
“| Me REPRE ald yoa rad The ph ‘ll ‘ bit for Guns LM
a me SIR on a4
a tv, Popa i ocnine rs s
i n, COL LAL 4 boo varster nace mpc ieeg
Z re cee a Wid
: wr ths ny hoy 4 4
‘ UnRiy alt Tie are May / We SAD Abw Wether of nut tb
board let that ate athe te) (Mey pe fad fs tise 6 orimpnyp att was ditterent fram the cay beat wr
San wen Po theorbyinal fot; as that correct?
i S Well, aaddrapt aa at's used te you in 4 aE think thar ['ve stated that itomed a
solver og sory famber bie Aken oh ca ah aye the Yooposdi ve Ispact, and that was the intent of tee
Wome a distinehive frame gr vod ere using that Iota. Toun't mantity that tepect teeqdige [hae
totem aratowabdbe the orp op the bantinbe': {Loo net teaca hd it, teal [im comfortabbe te say tt teda
hoe opal stata Lo fete inp
\3 A [would say tt Bar a pesitive effet cp i : ats ti tacie bal tats
Po Then dat By tetanic etonp drat i SONNE pura ia tie Gat Gust |
Ho the bogk asic gs Tour irene wit neat any Hho think he bteen. den qed Dopt cn the tat
Yoo tectrdeal @alitications. Ih hte Te,
: , Wath theese hor be runnter dar and | Wie Tea fyb fy
| foams y airy tt 1 ' sy beat :
4 4 '
[Ne neg : ,
w, ' } "4
: my ' as _
Case 2:02-cv-14102-DMM Document 52 Entered on FLSD Docket 07/24/2003 Page 52 of 115

1 in the revised version change the static draft of 1 myself as to what's cette under the act.
2 the keel? 2 9 — Do you tnow of any reason why you courdn't
j AT would say 3 have stom a picture of the feel?
d Q Do the fotoneats that are attached to 4 A T don't have an opinion on that.
5 application 019 stow any changes that were made to 5 2 3 Maverick Shih: puclures Of keels In
6 the keel? & other applications?
? A i, 7 A T don't know,
8 Q Do the phctograchs that were attached to 3 9 — ['m not asking you to look anywhere,
§ application 0056 show changes that were mare ‘te rhe 3 & 1 don't nave an answer for that.
10 keel? 19 Q [think the draft that's listed in the
1] Bo th. 1 specifications is Ll inehes; 1s that right?
12 Q and is that just because the picture isn't 2 A Agaln, thé specifications speak for
13 clear or is it because it's not depicted at all? 4 themselves.
i A Because the pictures are of the top and 14 Q Do you kiow if any other bay boats have 1]
iS the Heel 18 on the cottom, 5 inch drafts?
16 Q Let me ask you. Are you claiming that the 16 A I think when I first read the Proline
17 design of the feel ts protected usec the Li Specifications they actually included precisely the
12 appl teation 9056? 16 sate specifi ications that we had for our teat. |
3 ME, CORRS Continuing bien. 19 think Blazer did the same thing.
24 Ro fee DP think all the laments of the keel hj OQ Ober Mal tials --
éloottal [ioe deus hay cope wehGh ae: 2 Ao Tey ces} our steng chest in dition oy
Loti deten, we at tla.
yO aby Sonya ea tare of the bee 2 oa ay
We a : Cay £6578
4 ~ Sow ld oss a DAD SaSt aa xt 4
e. Tar at Creer ha MTL ade wed et func
. wed y tes , 2 tS URS, ct
‘ trou oe 5 BOM Cu wa atal Separtment ot wala cave
poche: dots
: baat. ‘ Bota ow ald lave heen under the tring
© : lode hte bem ae 5 purbtent,
Pah d bed, hal MN i iby Diy Le G0 bo al Kai hear mich meney was spent 1
“ Cn thes alt fall within the pine te Aoofahe Those Tonya
tothe indy ratte 4 8 Thy
1) Ao Reept the ues thab dial) Wat's pair Wi Joo Were there acy new dravilgs made to kg qa
Ho fate ha Sa a Mesa. Ho those hatpad
l Bow, therets i thing, Lote og hh } SP kat .
bf int datt tram orbay fet, isthe ter toss 1 yo aw eas Ie dacuetibat at
if " rink that we by het nu, beet ay hath, oi net amis or oorpespet kts or
{eral dentoahapbeat throats ton Peocetathy croant ita, Tab oontains ening uh bo
in other than sara di ater. riba, is Intent no ‘ ph tpt
| fete ele whe pant Poy che otim bot hag Bowe te Teak
' ui i rind more t ' , 1] '
' ' ' phot Ge
. . ' yor '
t : A a
4 ! 7 oO + ~ soon Che ,
Case 2:02-cv-14102-DMM Document 52 Entered on FLSD Docket 07/24/2003 Page 53 of 115

me
Dos OO oe

ee OS

un

Q That indicates that it
May 4, 1999. Can you tell me the circumstances
under which that design was published cn May 4,
1993?

was published cn

& That must nave been when we went to martet
with the new design.

Q When you Say jeu went Lo market, what do
you mean?

A jie started Gliding coats and delivering
boats to customers who had the design change.

Q Had the design changes been depicted in
any Literature, photographs, drawings, that were
made public --

A [ think we have already discussed that,
havet'h we?

Q)  -> that were made prior to May 4, 1999?

Bo Tden't bw che
T would bt i

Calan gee Gs Fel

STR dm ORE eer fun :
wha Ft! wt felehat Them tt
if : 4
L oe + wee
a a ria “ Tok 7
mre TF "ETA +
Loo wed te
ro “el
mp ai!
A en
ith sna ' in ra
at the fepota in We Twabd pr bal. ay we
Gaigt tam the sith Wioagd part ot 4b, th that
pris, [tn Uh jnetesy by
Joie PAT Pere are aie wr
PAs toctetbe dd Tah Pats desdyp or revise
atanowis Subs publi Wey dba
RoW er Pa the het we prod Sd Lede p
} oh pore
j They front i vo it !
vy oad .
. ! Th .
wd : 4
her boot
aoe vy ‘ !
Te tye ate Poo tere -
- Se TP eg a . -

answer to that questicn.

acted beat

293

Sn te Ow RO

me

=>

GO RO Be

2}
What do you consider The prototype to be?

A To be a minning denonstratable proof of
concept probulype as opposed to something that's
there bo be wotred on and cuild other tears from a
CGE Tay call 4 Glug d LOLOL YR. It

ecomes 4 semantics issue at some point.

Q So you didn't require atiy testing of the
revised design to see how it performed at all?

A th,

) Just put it right cut to market?”

Yes,

Q  Uid Maverick advise its dealers that it
was making a revised design?

A Can you asi me that question ayain?

§ Did Maverick advise its dealers thar it
was making a revised design of the Pathfinder?

A Sure we did.

Q Did you do what in writing?

A T'm sure we didn't, that would net t
typleal of something we would de,

COTRSTE aly feat cory you wad H

boatlites,

plug. Ome {

ATS ah nn?

APS) aT! ping tach a andde hers.
G0 fon mentioned Proline copied the Maveris
nthe

Ro fathtinder.
Vo Tmsorryg. That
ehuli, Ts ib your:

rr dine

nhefihi dps

Vaded the oh
weowould fhe proline

Spr oanta che madd ot the Hyver; ch vn
Pathtindg
Ao dakota. Puen! tad a chatee fa
Otte Proline myself, co Deanth aver thee
Dtpinh that) Roy pei thar
be dhit ts totaal woos thie
; : eb iiny
: .
Lied cry on
ayrrd boa ' it hey 1
vile r ‘
© thi - See Mik
‘“ 7 y ~

Case 2:02-cv-14102-DMM Document 52 Entered on FLSD Docket 07/24/2003 Page 54 of 115

pe
Pea ce

mo
PO

process and everything, I think we can speak more
specifically about that.

Q What do you mean when you say go through
the whole digital process?

A We'll talk aocur that when we talk about
that.

Q  ['m asking you about it nuw. hat are you
referring to?

A We haven't done anything yet. 7 naven't
had access to your boat. When I get access to your
boat, then I will be able to speak more
int allectually to the specific changes.

Q I'm just crying to figure out when you 337
digital process --

ME, COOPER: That falls into
attorney/client privilege. I want to place you

on potice under Pyle J} we are going £9 ase t

sare for produckion an opportunity to Sxamite

a Provine 22. “and welll obvieusly work out tte

details of Nhat. tha we deat thts staye In

the anal @Aialoreecs ps still a matter that
Ls Sh etation, woth (6 det wd
a COA:
aL
Tes 2 TRS. ut
colnet
ay.
es : rout Mark this an fa 1!

fe Gad what we Pave tathesd as Exhupit
they id, onew you what Towant you ha Tock at
This lo the photegraph ot the bay bauh Lor the
reli tH 1a my

ER. COOPER:

Pee pee rd will te

Apo There pape peferenges

hearas towhat nels

eo
me a

i

24

who Lee Dana is?
A Yes,
9 And who's Lae Daria?
A [ee Cana was a fomer head of engineering

for Bertram Yachts, yacht designer.
Q And did you hire him?

A Yes.

9 End for what purpose did you hire him?

A To render an opinion as to whether we had
4 ond faith basis to believe that our product hed
been splashed,

Q Tf zou could look at Eehibit "eo. 12 in the
book there. Have you seen this letter before?

A Yas,

Q Has Mr. Cana provided you arty other
reports or letters at all relating te his opinions?

A lo.

Q He refers to a digital examination that
om 4 very unique feature in the way the chine

3 the Lrangition from horveontal to curved. tw
yoy bhdW wheal e's taterriny fo Chee?
rn ! ‘ L bi by ii pelt] i,
Me batals inthe, [NY ist ot ccand cn
fhe: TE WIS Tas Aver TA, Wi
ote
~ 4
Q Would wu ayee thet the sve line on

that foot is different fem re style line on tae

toeepl ate The pe Lotte
Myverpcr se pits OTe ot Me ra Gi aes

te ed as Lon
A Wid, Tos a wtitte teat, et

more Ait Eieal) fs tiscern thea opyb dine an this
pletures Plus The way the boat bs nipningy the water
Lo Three ip over Al peresnt ot the Sheri chrner ut
the bout, so T can't see the tenninutian ot the
style [ite
picture,

QO Well, wuld you agrees that there is te
colortoed style Line gi Hie Pr in |

within thre feet op the toasc am ot this

A Mire)

i) Pen ty a yoogme nbd ant
Fore compe time,

wed ry
: -| my vl
a4 me ! AOR a
‘ wale
Arp ith go, ‘ atthe
: -
: - - ote
Case 2:02-cv-14102-DMM Document 52 Entered on FLSD Docket 07/24/2003 Page 55 of 115
al 218
A The aft most section.

Q That's the style line where the style line
Tes up?

logo is.
Q Have you yourself ever examined a Proline
2? bay?

wo PD et

te Lew BO RS

4 Ina very cursory fashion, yes. { Ro Gurrect,

5 Q When you say that, can you desorite what 5 Q@ Isat that the gust unique feature of tne
6 you did? 6 style line in the Pathfinder?

? A Walked up and looked at it. 7 A Most unique is a subjective issue, 1

3 Q Did you look at the style line? & think you've already talted about the subject of

J A 18s. 9 uniqueness. I think that is one of the design
10 Q Did the style line have the same tet 19 elements that people recognize as a Pathfinder, but
11 upward that the Maverick boat has? ll certainly not the only design element Bnd ahether
12 ho tb, 12 it is the most unique or not is a subjective issue
13 Q So can we agree that the style line of the 13 that T don't think anyone is qualified to give an
14 22 bay is different from the style line of the 14 opinion on.

5 Pathfinder 2290? 5 Q So the Proline ques straight across the
16 LT would say somewhere between five and ten 16 full; ts that correct?
1? prreent of the style Line of the 22 Pathfinder is VV A The Proline has our style Line except
18 different, somewhere berween 95 and 99 percent of 14 where they filled it in with a plug the last 24

19° the style Line 1s absslutely identical to the 19 inches hefore they tank the mld.
“) Pathiinkr, ay Q The troline dasn't heme atty jet upward
‘| Co deat five on tet getoenh ot he chy: jin: Spoogtke the Pathit tek?

Doh bbterents L no The pobite os ile ba Leite
i be last RL ahere the rs bine wa. a! etl whet uss

PIS wo oll a ITN S

Copy uN Lae, mrp TE : 0

3 relay IS PY Ve Nath ls rates *

dootrere, 7 y's SSP ETS] plake on te fooaa Hatin live, : ee! Swe
eet » hstineTive. | thins the etene stp tare of tte

0 hoy tytn Dacula? eo feat was distin ive, PtH he st ripe placed
: Ro Thab bs a dequ fecatden. Pooand eeecut ion of the feat is distinetive. And the
4 Sond why dedoe ue thoose te put yur duper 6 overall desiqn elements work overall ta qyie a
Sour per ited the sbyie Lines Yo distinctive impression that would easily be

hd owe patcar qe there, [think it's aver, eo qeecgniod py The customers ard would curry forth
Ph oocomen Place tepul your bgo, in Hie ail sestian of iL brad ddentity that wale mabe qh susy Tor our
he tat side oD the beat Tha Lo mtigere ctmen, Loo prayit tebe Tdeitii bed an whet ‘ie Lees Were

} 4 Mo Thr aihbinder desiqn wus t draw pitt Tash’ bo be peak

Pho peqdets thew ian tthe ant section sf the buat? lt Amd ab] these tangs jal i Mes

Ih MN [eo rentioied that yet geisell put tn the desi, ser
n eke esti) He TD Lbs Tepe ants the or che ‘ie othe i Spores:
i Sf St] fp thwe fates wte garnet

Ve ie vj myadd yl

vt ! , fe ‘ {

‘ , ' ! ' : {
ru : “r, Vo r
4 whe »
vy: 4 nor “O nT _ “ot were
Case 2:02-cv-14102-DMM Document 52 Entered on FLSD Docket 07/24/2003 Page 56 of 115

SD 650 ee OL

pope
Ler Isr DO

re

I

221

referred to any of these revised changes that were

made to the Pathfinder in any of its advertisements?
A NO.

Q is there any reason why Lt wasn't referred

to?

A There's no advantage to us from a
marketing standpoint in it.

Q Well, your position is that it was a new
and improved version of the original design?

A ot was.

Q There was no marketing advantage to say
you have a new and improved version of the toat?

Bh [t's a marketing decision. And you might
nok concur with my sense of decision making, but it

was @/ decision that we not do that for reasons Chat

T thought were valid.

G Old ary of the catalous or other

oromotional literature that Maverick produced ever
eference or describe any of these revisions that

oeEe Ma: Chat we have been dicoussiny?

th,

reals teen riled

log uN bot

acoelibbot wlth tle bradvet hab yas oc tied,
Toots a trade devs viding,
Shain, Vian tag attorney and T den!
Pe pceht tah. ou i Ls very, very obvious 15
meowhen Pq daa the witep and Tosee what) /
Pelieve is he Tomy teats and [ant Lyipate
Sedipote toms custaers unlil such time |
eam ftudthe dat ana realice that's neta tout
hei qad that's tually a aay wh th
has Sake ver elton) Po itibate cur very
eu siit design all the way through trom

bot + 1 srt y
t pone rig tt ype d cue here,
ce yqe ue
ep Ms
et a, 1 thet ortr on
‘ r ‘
" oy
tt. f \ ‘ te
ih, ot 4 t
t
ut oo “te .
: Ure ry 1

SI em Ww BO Fe

ee
mma i/o

ro

22)

Q What is your understanding as to what that
allegation is?

MR. COOPER: Objection, Calls for a legal
conclusion, This is 4 lay witness, you may ask
him factual questions. Please do, foi até not
supposed to ask him his understanding of the
law.

MP. ELBRECHT: I'm not asking his
understanding of what the law is.

BY MR. ELBRECH?:

Q What is your understanding of your
company’s allegations against my client with regard
to trade dress?

MR. QOOPER: I think you're calling for a
legal conclusion. You're calling for him to
apply the law to the facts. What is the
factual basis for allegations, you're entitled
to do that.

MR. ELBRACHT: Why don't yea make an
apyechion as to the form and well) go on?

MR, OGbee: TUL chante the aderticn: in

Seer TOR appa priate, bop uetve the

teoquve te snriss,
' PORUOIT. Tree ba et
Me, ERPS: Thst's tin
MD TTDI a: l oe
Slate) SR 9 ia Te
a
fin
weet t at tee we yreoons tooeee ™
cha lee et =r < 1 ~
ne Oty B.osenh of trek ;
“Jali in the couerciaim crher than rac
porta. Tip at fash ape Pnat a+

MR CLPRECHT SD Onay. Cat we aye that
treoihy Than op the teat that's teelidd in
Hhe trade dress is the style line of the baat?

MR. COOPER: That's a teqal pinion, I
don't nov = [don't have the eomplaint in
front of me, [ would tiaras te deter te the Leaqul
department on that one, ,

MR ORTRRECHT: Well, Alan, wo havea
Shipulatioa, Dodunth wilt ta ys
fictions int trad: dress --

MR. COOPERS iptom door at the pleadings,
Shab dress claim is tip tag tthe ott

ee lob .
Pip Pen cg

coy ecb Ths pounhittts eet,

a8 t 1 Me ' rete
al ' Ppa .

Me, eG fed
Mont ik od, my

Me Ses on a
Case 2:02-cv-14102-DMM Document 52 Entered on FLSD Docket 07/24/2003 Page 57 of 115

ie a
GO ee a Wi Ro re

225

combinations or colors that Pathfinder mares
available to its customers?

‘les,

Q And do those change from year t9 year?

A Some do, some stay the same.

What colors — have there oeen colors that
be

a=

have been constant from the original design fram ‘98
to the present time?
A Yes.

Q What are those?

A White, fighting lady yellow. Other than
that, [ really would fave to check and sec.

Q fou mentioned that you believe that the
style line is distinct on the Pathfinder. Has there
COST, any press coverage or any articles that have
teen written about the distinctiveness of the
Marerick Pathfinder design that you're aware of?

2 Hot to my bnowledge.

(fas the boat been given any awards for the
Hsbinctiveness of ifs design?

det tomy Unawledye.

fas ph er Ged Lh fo umpanit nis tor

a
oi
: Meee te med
. esp a
Go 1G TELL 2 x
“
mt, L
Ln.
TIS oe wb mrs ea the one th af aleed mr,

covted; calcd me Pg was in tne Prade, And then
mimrcurrent retail activity
Mat sald co that was pe shi idlg an assoclat bon
fetieats my prodict [ite and Proline and the bay bout
Bustos, This a pelore [had best oplishey.
yhoo Mat time pertad are yan ceterrding bo?
AT dai ina cathy TD could protatly
biqure that out, puto realy wast) prepared Lor
This Hestiot, do hada't Mowght abegt df. as soon
wow found out we tad beet ctl aitied, Phere wis o-
walny Pom this same chalet
wert Tad

Hove there ways

Vhepe Wat ad cab} nar

Moatocad Proline is pyridines pcs pe

probe dler test spond rr line tas
Coda bye
wu ior! ie Feat
troy Pee tyler Asana py dine ha
tied Ie pet thats
- mre Sg tere a
' . hascls ‘
Pops) ha. aiatetin Bae Deen
reverts eo the Tishy an

DO Ww ROD

pee
re OO

me
TN

>

cm WW

way Be
Hite qa

236
any specific instances where some persons have been
confused as to the identity of a Proline ta 4
Pathfinder boat?

A fas.

Q What [nowledee do you have?

A Prior to my knowledge of the event, I
received several phone calls and heard from other
people associated with the company who had received
questions as to whether we were private labeling,
tuliding beats for Proline. fullding Pathfinders
and private labeling them as Prolines.

® — énd who made those phone calls to you?

A {think I can remember one call made and I
can't remenber the other ones, But there was this
undercurrent of why are people associating us with
Proline, we don't do anything with Proline.

G@  Whots the deaier you can recall?

A Acealer from Lousiana, 2emty rersaball
(phonetic), Starts with an F and has 2 whole bunch
of vawels in it.

Where 15 tls dealershin?

Med Orleuns

lise

actly did tr. +

pablo pend
renaral i cake

d And whan 4

ae
wa
: Me qiantro reblog re anni ne
27% Pid’ fail Te, 66 abst te. AT,
aes
celine cee tp peligua re Uectlen ca Rl Hen

1 po : ap F

Bt qurty Chis cerivd of Lum tere
This amerourrens of rmunieat lor burning
opeet proyine ak us thal was ntusiny Ala
Donde pe fie tig) Peas ns Tor aching oh.
pectin,

Whe you Say Undercurrent, were theca
[ethers aritten ty Haverioh?

A th,

Bo Were qiy letters writhey to cp ar dealer:
mepressiifp contusion of the ident ty ot the
hathtinder and the Protine?

: thay the

yom

. Loe les bee Gg
SPOUT GA Gein of seat ott

the internet, cmp ot fhe tishing feat plated sites
shere pe pls fad seen tte Prodine, Pathtinder, hal
iedbat. Tat vert

borrgnl forint pave

Tosh, hen

wet ote TED abet that,
, Mh ‘
4 rqt .
nf : _
; ” cate
hat ey
taney i: i
\
wae
uw heel ann ut tal... 1t
coe on .
Case 2:02-cv-14102-DMM Document 52 Entered on FLSD Docket 07/24/2003 Page 58 of 115

me po
ma Os) OO eo

ro
bo

mm pe
m= Ww

on

16

Qo ote researet

calls and general letters of support to go after
Proline’s bad actions.

Q And where did vou receive the letters of
support, from oo who did yoy receive letters of
Support from

A rte and customers.

2 Do you still have those ietters?

RT may, 1 may net.

Q Where would they be if you have them?

A They'd be probably in my office 1f I had
them. [don't think I --

2 vo you recall specifically anyone that
sent you one of those letters?

A ['m trying to rememper. [ remember

Jetting a -- they are simple one liners ike, go gee

1

them, picture of the Proline, this is cull shit, go
get then, rhoof stuff.
4 And these were people that sald that
FrLite | td ae 6 Fathtlanee
" thet: Wer
" i a EK Mt +: fi ILotantes where pegple
i thet pdett ted coulstt

This sort

aval,
. Lane TE TINS.
3
‘ SOS UD a eo hilMer sng relins,
pele fe

: ; 4 oot
Poy teghares any ud
rent oocen bing yeu ort

] os . i
: it) : Veoagiwhen that abl was tae?

|

i
Sorters pr dabby a Little vera jut
ryy f Tyke 4 year tedeachatt a 1 owe

atid Pind ol

Oo Pid you Make any fete t reqardita that
Lt tte aide

, 4

Ay

i) Wald thete: te Wy bestia ta document

Hat photie val]?
AT doubt rt,

ther than cet, ar op ups at Wi;
? il reerye Urey ‘ Dat owe re Laced
ped hale :
: bon : 1 of !
Lote L ' . '
adrian /
fone thet be dere het
"a Yowac dasdife te! --
Doth, bah “>

229

~ Oy Lm  L B

—
> Lo OO

pope
RP 2 Nt ON

. ee A pe pep
~

23)

Maverick?

A lever the origin of a Pathfinder or
Maverick.

9 Or Proline?

A tes, [already spoke to that.

Q You mentioned you had some phone calls
from a dealer Jimmy Fersakali?

A Fersakali, And T recall myself mm
quest loned, what's the deal with you guys making
boats for Proline, people would come to me. We are
not doing anything with Proline. And that would be
the extent of the conversation. And we didn't have
enough knowledge at that time to realize what
Proline had done, so we didn't think anything of it.
Tt waS just another stupid question asred,

Q Do you know if there are any instances
where phone calls were made that were to Maverick to
discuss a Proline oat?

A fou kndd, T chink there were, Pm tring
ta TAME tha, PcaSe UL waS o- It Took a whl:
cat TE ee ne

ty fh gure ait what wes quley on and i (Sy

vy
foron
LTR,
RYE Pi
Tg Tae (ee r
Pele ws at roy
Ltte Pr

Oop abidies, survegn
ery ol any Fathtinder?

Sothy

J You mentioned that
Ugh Tie gas re

you Mideraboad thigh the
abd and whl recat.

: cote Borsa tad set .
HOTS, Pr deat or yan bites
A +
J las PED Gly specif bs cba t:
“yp! phot)
>
tea
eG ' ia
1,
i 3 wpe horde
, a
a, . te tories '
. 1
t . 7.

Case 2:02-cv-14102-DMM Document 52 Entered on FLSD Docket 07/24/2003 Page 59 of 115

— eo
NSO a eke) BR

Se
SOD OO Oot a

me i>

fx

33

Q In regard to your claim against AMH, what
type of investigation was done to --

MR. COOPER: The allegation that the

Proline copled the Pathfinder? Object to that

question to the extent that it calls for any

attorney/client communications or the
disclosure of any work product that may have
been communicated to this witness.

Bi ME. ELEPECHT:

6 Chay. I'm just asking, any investigation
that you or your company did oatside counsel's
advice.

A Once we got the word from one of our
employees who had seen the beat and told us where
ré fad seen it, f dispatched Paul Bllig and Jim
Leffew to that location to make an on-site
instectian,

Q Which employee first saw the boar?

A DLeantt remember. Tt was either -- not
ope of the manarement, it das one of the Tl) odd
ULE:

Ty wes tea yt .

Bf Saitek tN co tefeg nar aril
rv r hee
Dopt
os
coors rime
: ha Tat lh : on Ue
Teel
.
a
pidtty nat
‘Coe
Goa have the photoeragho still
, ! : 1) 't

And did they repert te gon that they tiebd
iy diterenre betwag the thoy ite aim the
Fatntinder ?

sh

eo What dittereny: Ha iy repert?

Ao There Were hardware dittereioai. They
wot teaphanbure, bhatt tarde, They

Cite gted that thes Led oedties: ar style ie at

the tormin they ot dha degrer 4 phe hyd
thoy. , :
teed de NE Pete,
' bee oe
trai lost
Pal
- tet |
poe!
1 What's that:
“eh ee .
n Sain ws - c

We ww BRO FS

‘oT

le

A They didn't “alk to me specifically, so
it's possible I didn't know who it was.

Q Bo you knew when it was Lhat you were
given that information?

Bo oNo, I don't have that infomation.

Q Where was it that the boat was seen?

A In the keys, I believe at a boat
dealership. ,

® — Do you know what dealership?

A There's 4 big dealership in the keys that
1s 2 Proline dealer ard I can't remember -- I want
to say it was called the Italian Fisterman or
something silly like that. It's been there for a
while. Kind of a boat wholesale blow-out place.

Q It was Paul Ellig and Jim Leffew that want
down to check it out?

Ro Yes,

Q What did they tell you?

A They did it.

9 fid the oa] al Ahn thie?

Bo Tip gard ve fae GASH placed,
OLDE My ay as ey ated What:
STE,

RST

5 CPD ALS of visual Insaco iv

aM G4 ah

dite tivn,

Woo tsentt want te bnew anything that yar
abbornes tells ve. Gl yan contact agysne al
Proline?

Rottually, pe.

a het yas that?

A Pope yi] that that gkgs = wat g feat
lefty itepen ein Tumba. fo wail te ag at wa
SUG manh bas ew been UM. Dimebud with tod
Pipdt ctattoas Tomwith first fates, ‘ea!

pled and {ter She Ct bips prom br tone ny
" ‘4 wy Softies hithel wg ak!
‘ht iy hy i
a tog
aos
: cme gay
4... aly '

2M
Case 2:02-cv-14102-DMM Document 52 Entered on FLSD Docket 07/24/2003 Page 60 of 115

4D CO SON UN ne Wa BO FP

wba

pick me up and bring me to their factory and let's
resolve this thing, we'll show you're a good guy.

I informed him we have our own
corporate airplane and have no desire to go to his
factory. I wanted to =xplain my position and qive
him my gentleman, as I called it, give him the
opportunity as a gentleman to understand the
situation, to do the right thing and avoid what will
be certainly costly and embarrassing litigation for
he and his company,

@ And what do you recall Mike Collins or Lee
Kimmel saying?

A Well, they said that they apsolutely,
positively did not splash our boat or build any sort
of copy of cur boat. And said that they could prow
that oy documentation and would I be interested in
seeing that.

) Do you recall anything else that Lee
Rimmel or Mite Collins said?

Labome ask yeu first of all. That,
Statedent that was mide, was it Mike Collins on Ler

av
] 1}
ead
it vio
Pan rem yr eet ore in tha
tale it
Me gen ise OC ifins, [ie peer -- |

batt tele Three erp oan ie Simeh. [ye
meer tied a conversation with either prior to this.

QO Ts there anything that you recal L Mike
Colt sald during Vat coieeration ther than
whab yous abready tel ae’
A Tle,

JTS There anything cise that bas Kum]

ab donia that comers pad
Ste
Wo Pid yaever bye gly ther o nuerit ion
wit thbe Cablinss
. ua at fod
“ boefiett 1!
} ule Teor rot i
Te! te ma] ni :
te
welopyert O pe Bory
i weal iit 4
- o
cote cee So ee

91
£5.

isd

YD OD So On os ND

a ee
co

a) BR Re

OTT eee at PSL

A Once Lee started talking, Mike quit
talking.

Q Oo you recall anything eise that Lee
kunmel said?

A He said that they had met with their
attorneys and they believe they tiave protected
thanselves legally.

Q Have you -- do you recall anything else
that Lee «umel said?

A J'm just trying te nin through this in my
mind, it's teen quite a while. Just general
sLataments to the effect that, you know, that led me
to the believe that they questioned my commitment to
see this through. And to the degree that they would
have ty react. Basically they blew me off ard
fairly disrespectful.

Wat did they say Uhal was diseespect ful
to you? .
2 Th was more basieally the attitude that 1
dons tare the wherewithal to challenge thea on

aepthing.
1 feo

at
oa
2

sod

WereTogh ooh:

ny Wil deal fae merall.

Qo teokoat Behibpr th 15) please,

4 ry,

Qo fe vs recone what this ts!

Uhehah,

0 Wot is Rebubur a 1s?

Ao fet moread dt dust tevertty cb iawhar !

Poppe Thess detter ton fis that
Ee dealers that geowere ables

Wad Py ko Pho be peters

1 i) \ Lt set '
plooe ‘
filj: 1
! ' tr '
m .
; ‘ 1
'
* '
~ — - 4 . TT

Case 2:02-cv-14102-DMM Document 52 Entered on FLSD Docket 07/24/2003 Page 61 of 115

24) 22
1 notice of protection afforded to the Pathfinder 2200 1 it?
2 design and make you ate " possible infringement 2 A Cert tainly, that T did,
3 liability under 1 JSC. 1309, 3 Q and in your letter joi're saying that the
4 Aren't you saying in that letter that 1 marketing of the fathfinder -- of the Parnfinder
5 if they sell the Proline tay boats that they may 5 2200 could subject you to Lability,
6 have some sort of litigation brought by you against 6 What did that mear?
7 them? ] A In retrospect what we have maybe, and 1
8 AT think the letter speaks for itself. 8 could be wrong, but this might be in actuality ue
4 Q Well, is that the message that you wanted 3 rough draft and not the actual letter that was sen
10 to send, if they continued to sell Proline bay boats 1) cat.
1] they would be sued? it MP. SOOPER: Should read Proline.
2 A th. i THE WITHESS: And T think it was corrected
13 Q The second sentence says, Your marketing on the final wording actually sent to the

14 of the Pattifinder 220 could subject you to

5 liacility for infrangerent of Maverick's protected
16 design and subject to monetary damages after receipt
17 of this notice,

me

Proline dealer.
Bf MB. ELBRECHT:

Q The letter that went cut sald your
Marketing of the Proline could subject you to

ee me
~PO On eS Ww

Re ee ee
aD

13 what does that mean? liability for infringement of Maverich's protecned
13 MP. OPER: Tf you can afswer that 9 design?
a ec n a that Sioclusiug ay attorney/eL ent Zt) A That would be my ques, je.
’ Hon “| 0 Sys
Ze ah a ‘ fph.
43 és 2
a A A > m
25 Yul) fa tead re lattes wetue i Shane a 2 “Paha

: “yD oe etna in nk:
a Z Sle ale 2 OTE my Spee ii? corey este
3 Prlire tat violate in, cya th

3 4 erent sy for

: i ‘ ene thE an the tobalers tha
r are ive) pp Pad fee Mete eabca he
1 same pemedies na lable te us ste vl wechaae
so TR, H te pursue te apins' the petal bers aig tip se
4 i me che ga) Meath whet) you Say oo 4 tose] ) a product atten they have boon net itied
if Ao We qre amply qivinpe die, }0 af Uh statist ent

] I Ho fig) you Meat when yh shJied tis HRD MR. Leer HT:
Vo detfer that said that the marketing op the fr line I? Oo When yu ay Me fare dakeges, alt
Vy sitject sai to Tability? Pio felling than thal they ney fave te pay eahtandet
\) Aidt oald EP think the getter 1s cary may Th they cont ia The tr Lites teat:
[hoostesitic and cgecaet by shah the fetter sags If Sd thang Dog tt reed st
In Sethinep tare, toy bess. Its [Innes boy i better |

I Wo hes didyapmun sth nap dd than ith: I rit aoa Mal
: toeiit Psat Piyoiatace : - i! a : .
bee eb a tort tiyh ‘i! i 4 a

int bod tied des '
byt thee ! ol
my eric bl

Ls }haeithtetih at hdaswtd fis : :
4 Udi az J oy o wet 7 - . - 4 7
Case 2:02-cv-14102-DMM Document 52 Entered on FLSD Docket 07/24/2003 Page 62 of 115

245

A tb.

Q Did it occur to you that by writing this
letter that a Proline dealer may make the decision
not to sell any more Protine bay boats?

A I think that for me to speculate on other
people's behavior would be silly. I'm not going to
do that. I didn't do it. We had a certain
requirement as I understand it and as 1 was told by
legal counsel we have to notify everyone involved.

MR. QOOPER: [ don't want you to testify
what counsel told you,

Q Did it ever wecur to you when you were
Signing this letter and sent 1t out to dealers that

it might deter dealers from selling Proline boats?

A well, I think that my nieve hope that upon
notice that people realize that Proline has done
something really awful that they wouid do the right
thing and not continue to sell a Enock-off brand,

0 And that's what you wanted to happen?

Bo Jwold libe to think that pegple would db

tyes right Mila.

HEY Heerent afout

“WM The inher

art

rb
ther,
ME, UObRR: The tad tied corrected
eTS1on. ,

MR. FLBFRA YT: we nave stipulated this
tsa Proline dealer dist?

MR. COPER: [t's a [ist ot
he [etter was ent <= the mailer
wig sent. Toun stabrent this
haler |ist ait this my tea tit ot al!
Prolite deaters, se dautt Low that. Thos pa.

peple Ls whe

isd Prine

Hiatt the baba to sbich the muapler was
at
pe nope
Idk! re :
bat ! : poothoaw g]feet '
uf. 'y
, . Ted. _ ' _
coo 7 :
we 1 174 Zo r r
+ ork

wo ho rs

LO OD on 4

om GW ho Fs

a
cn

correct?

A There's no disagreement about the fact
that T want Proline dealers to quin saliing Proline
boats that are fneck-otfs of our Goat.

Q And we are talking about ic-fuut Uay Ouets
specifically?
A Correct.

Q And that was the purpose of this letter
that was - to the Proline deaiers?

A that's not what I said.

9 many ‘ealers did jou send this letter
T have no idea,

9 Did you receive any rescense to atly of
these letters from any of the Proline dealers?

A Hot to my knowledge, no.

G Show you what is marked as Eehibit te. if.

t

n>

fod that is three-page document. Le you Liew wha
that 1s?

A th.

5 (ry eoeed it, yore ctpany ordi vd
ait Us g
rains
yoaprore sty praise

1 THInk WO Riad out: Balers are brim
ealers thatwe have ch cumin amd there are som
fealers that Just fa en te Vitis Hobe ates Cpal ihe
deglers fecaise [min the idustry so, ob ours,
we pul them on the dist rst ie. ,

Whits the persan tah made The Internet

“
pty?
. fem Spe en nd ea 1
Nyt Ra Sere dhe tet ice did
’ —. ay
! La tteat ob Tah baw itute,
1
“ Tihs aw Tatil,
1 lress bey ey ohh uy ny,
\ t Tote lee She Tarde '] dept
Ad
:
‘ .
‘ f
' oe :
ep
-- ' 4 <Ty -
'
2 £ re
Case 2:02-cv-14102-DMM Document 52 Entered on FLSD Docket 07/24/2003 Page 63 of 115

SP es

\o oO

Me eee a IN

249

Q Did all the letters go cut at the sane

A 1 would suspect that they did, yes.

Q And it's your testinony that Proline had a
list of dealers on the internat prior to January 14,
2002?

A I think -- I don't think I said that.

© You indicated that there was some kind of
web site that the dealers' names were taken from;
correct.

A [ think that the dealers’ names definitely
came from the web site. I don't think I ever said
there was a list of all their dealers on the web
site.

Q and you're talking about the Proline web

A Correct,

Q Oo you bow if there are any other web
sites that were searched in order to obtain dealer
names?

A] dar ther
rata tall iw Peg hee Pte et cite,

be eS LE

Qo abl any obner AL WLEh

Dorking that 1 cust cs Webi, ¢ said [ enex
Tt emp dank, Tur
Co lnd which three?

No Rey at} fad, which] believe that's

Mee baler. Poinvae that bescadge we went dat ther
in the bys, that! Shere we went Chore Lie
Marine, which ison tec. Awd Marine Supply, which
ism hers, Attally, ny f didn't knew Pregaur
Mast in Sat Har ith oll ' Jy wis d dealer that ie
fad in-cremen thet Edtdn't new carried Prolite.

) “ne of Tham you ew dbout and the pes

me TreM@other sauna?

4 Other soar
J fd vata. Wee ya Pee nates dah,
bepier
1
i a Wat . ! vito
Qh i plea 1
hh step thts
Poatowh Gest hs
~ 4 ro ute 1 ~

ON on f= ww Ro re

pepe
wo RI rE oD AO oD +H)

59

have called one of my Pathfinder dealers ana asrad
them if they fad a list of Proline dealers. We
provide cur cRaters with a List of our dealers 30
teey can talk back and forth amongst themselv
T minnt have asked one of cur dealers,
don't recall, but [might have asked them for a
list, as welt. But [don't inow if that helped or
had anything to do with this.

Q Ts this a dealer that toid you there was
problem?

A That would be Sor that sold teats,

9 Which dealer is that?

A Tonly had two that ['m aware of, Jism
Fersalal who we talted anwut already, and the other
oné is Shoreline Marine.

Q 80 you brow which of those two tha® you
recelued that intonation?

Bo oT den't tac that T did receive in,

Buh you may nave recelued Tniomamhicn Eras

oie of those tw?

eL!

5 Tome pe
A Etats fave,
f roo. Spee bp Te ae tes :
v UG pea fee ae ha ide ives
: : i te
eee on
ao StS 4

Date tinacwrs

x Lae
Neat |
Mook

lndicat] that ine
sold, tosy wepe gob oy
Q Other than the fact
Prolines on the suter, do you hrs
speci tie evidence ot last sales?

No Pdagtt pelteye so,

MR. UOPRR: Get ome abate that we ape
SEAL In tp avans c) Teste? eg the basas
+ or ‘ He 1

COUP aukaqes Cai ote taatteg
1
te

cabulith a. Andi ce Blot ths

pean welt spe Howry

Woah overt unberpart 2 iad
oo : '

Sa eet mip,
Vite boa, hoe
sok dab 4 it

elope

. ? 4
wade ,
71 ~ ar

‘ 3 a0 row lla.. 7 lan
Case 2:02-cv-14102-DMM Document 52 Entered on FLSD Docket 07/24/2003 Page 64 of 115

td IND Re

Wo OO I om Un ae

peepee ee pe
Be ww lO eo o>

oo
un

lé

wT eee AD

253

introduced in '98?

MR. QOOPER: Let-me at this point
interject. At this point we have reached an
aqreement. about a protective order but it
hasn't been entered. We would want to
designate this as confidential information that
would only be made available to counsel.
this gentleman can leave the room and we can
put this in a separate portion of the
transcript, he can answer that question to the
evtent he has that infomation.

MP. ELPPECHT: Do you have a final version
of that agreement?

WR. COOPER: [have it on the computer,
pur not with me. I'LL have it printed cut for
tamorrw.

MR. FLEPRACHT: Because T don't
Mr. Arnold -- it's

So if

bray 4 if
his client.

i whe lpen, Ma pratt dedt Vie depeataen pocat
rd be tama ee . ‘ ta
ter "
at t 1 L 4 tr
t os 1 rt
weleey risrpinn or
: 4

ian £ N¥

ster Mad Creep ret gtd "r
wes Sout pa, Wa mp
Te the GV that teu Fou, ae ners t

ioponyp a 4,
pop of UY ister ea
mack the deb oon to eebo tnt
MEL UPR: Can
APHOLL:
(0 Which motes watld Pope raleiny?
Spun sash tedine, ta thas in Mer he
MA OODPRR: Justis us months, Lory t

Sg ivy) amegt the vapber ot

Phe winher aed
ior wtih months?
Wen tty
eases.

A Lables Pdaby Mirch, “pril.
4) thay whet you badd hig Tela,

Rav bop ha that tare, the pt by
t
us pas rend
a " 1 rs
a " itt '
oo
}
. Diehl Lik :
, - yee ,

Bi MR. ARNOLD:

Q Mr. Deal, my name is Glenn Arnold. 1
don't think we have been introduced, [ represent
Blacer, and I'll trj to shorten this up as much a3 [
ean. dnd relic tantly Toyant te, 30 hack to 3 o couple
of responses that you made daring the first part of
the deposition today.

fou had indicated that some time
after the Miami Boat Show, which [think you told us
was February the 15th of 1995, that the demand was
greater than you anticipated and you needed more
capacity and tooling. And during that same series
of questioning you also indicated that ou er
aware of some tooling pronlens which specifically I
Chink you ment loned a crooked sheer i, cme
the boat listing while underway. And there was 4
twist [ believe you said in Loe upper gectlon on tne
dees, Do you recall rhose responses?

Ro fES,

4 vii
MOTE]
bids |p

|

Lol,

Teil se We Th te £4 wt
cole din that 7 ane bette

Soles

yO TEED PR the phils Geriadot Sate at ta

ptt. vl fie {4 On aliect pe Sand gdp by

‘ There was the tek chanite, and there wae
Mee tostit. Tall acheed tt eal He hehity
that ls att Tie ped,

0 That!s what TP the cabt you sad ©
md the ts tty Loytres| the pect I

tay, Pets grt nds gb iss

hier,

hit pm the bite soptiak the boy

deep tnronbeary Toh "beat chow fw Dotti

. pet fee gy vou 1 , . + oy
Oy odie bey, Poi venting, felon
parte dep d fe pe tih pram > nN bop hos
eb eg
. . 1 . , .
’ 1
ny .
. t
'
- '
ro ‘
Jf * ~

A
Case 2:02-cv-14102-DMM Document 52 Entered on FLSD Docket 07/24/2003 Page 65 of 115

7% a2

generally from the time we start two weeks. So that
would be fairly accurate.

Poo

that + was centived t your “palers hich ‘stated tO

l
Z

5 Q Do you have anywhere any evidence whatever 3) them that you tad corrected these complaints?

4 which would reflect_who was actually involved in the A tb.

5 retooling of the revised boat? 5 QO Can you tell me with aly cdeqeee of

6 A Paul Ellig would have that. 6 specific ity any dealer that you talted to about

7 Q Would he have documentation? 7 having « corrected those complaints combined with the
3

wo

A The personnel or of the --

Q Of both, the personnel and the actual
physical work,

A No, he would not have that.

Q Now, [think you also told us that you
don"t have any of those drawings that you mace for

date when you talked with them?

A fo

Q Can you provide any documentation either
written or outside of your testimony which would
support when, where and how your revised Pathfinder
2200 was made public on May the Arh of 1999?

ep
mm Pio
mo

mt oo
int re OS AS

he
to

—
wet
—
wa

if the revised boat? 14 A fan you ask that question ayain?
i A Correct. 15 0 fs, sir. Can you provide any evidence of
16 Q Is there any physical evidence whatsoever 16 whatever nature, other than you or Paul or people
17 argwhere which would show when the revise YP trum your company, who could support the fact that
18 Pathfinder 2200 care into 4 drawing -- on a drawing, 16 jou made public this revised version uf the
19 a statch, a schematic, anyAhing? 19 Pathfinder 2200 on May the dth of 19997
“4h A There arene deseiogs, schematics that “fh A Jodontt ena ifowe de hae any videtice or
AL sess geneoited ao a recult et that eR gt process. Lowe eT may eat ih te , | anh Levit,
: EYLE : Cu tat he Cabs td
Dhl hese cunts Lt VS We
LL falates ape aftat a nyt
ya Lp a ote OG oy SATS,
a4 ‘
1 4 repr.
: : 4. Ot ar
fo ocalsert ° i where
“jy trary Tad : fir
t : : 5 , peeping
Toomerriny gtd ta, bo fntt, i the
8 Q Dy yon enekouho oi ear campany actually * Mo Peay pecall pp What aban he uted
4 part hapated in makin tat cea paplic on Hay tte Bohn pa
1 Ut ot L449? | Soo worked it the iptotpoye
il A Tey il Jo fe jar bea db depag ditterent things --
I. WTAE Sour tps tach WEN reference fe % en pen
Hooothat timer, day) uhete cet the teat <= nevioed Poh mk,
To teat was made pubis in Mag 2 "4b iat would fhe I! wie hoyon
tit ie 2 a person have becd sho was employed boy a mem, : Pot othe
In whe did the mipeting stad poatvthiny ime pied in
I te tathelingeat tot posed bate YS pore tt pes
So Sarat ia i Bo ae
4 it 4 ! '
1 1 he ' ' ,
“ wa ot TaD hee
DARE oo dn! - pil
: ha gla hal - mon apt
LMS fae 1 win >

Case 2:02-cv-14102-DMM Document 52 Entered on FLSD Docket 07/24/2003 Page 66 of 1
26)

Q In these brochures that we have looked at
you have advertised for your company several

wrapped around the transom.

Q And it. does not include that area where if
different mxdels of boats, typical boat comes back and then up aid yoes back to the stern,
manufacturing, an l§-footer and several other ones, or dees that, incu the sntire
All of them had this, for lack of a better word, > boat?
this Z looking line that you have on the side of
your boat, the style line molded into the hull. tid
any of those boats go into production prior to your
creation back in early '9é with that same tye stvie

1

closumference of the

ST eft, Ca) PO PO

& Based on the definition T just gave you,
you know, all of the raised portion would be
included in the style line.

Q Give you this one inferregatory that you

ap OO te ue BR

LO
hw DN

10 Line? 19 were questioned repeatedly about, interrogatory
I! A I think that we have a whole bunch of 1. pumber five.
12 brochures and a whol bunch of pictures and [ think A 183,

13 you're qcing to need to be specific on that.

14 Q fou told us during your testimony today
§ that the style Line’ was the olded portica in the
16 twil. End T think it's really represented by the

was a Specific reference ty the
style line in “thi 3 Eemibit Ye. 3 te Proline. I
Paraqragn C with reference to the change in he
style line says that the reason for the change was

ma pee

mp
Oy OF ae ue

17 different two hones of color in maint, but i] that the original style line contained a cesign
18 vey you said the style Line was the molded 16 flaw
13° gart of the hull; correct? Am [wrong there? 4 A Where are you fw?
5 Mo fee, yale atte ” GT tmon Raabit d, Page d, under change of
2] What te the 6 a W) cn ype fiw
as eo WeEL, Poe te TS S 4
Shooters Prien ut
Sp faa! roe JUD ES Ls "as
ea Cen OS Ve SEP and
ahs

2 Fou
: relies eet age th at andy
4 t 2 ‘ rons thos :
dress! Seon hog fh nny rh “ mi
hoo thetayraphs | thin. tony cme [inti orb Line rocaha ta, aid that veer’? emit dooms
Son at neatdess aikad that Ge aiyie Ties th ' JO ALL cig What exact] y Lethe baste ps
eta, Gapeteelad ihn this bat, Beet te. “ cmphannt Tera tore dress vielati tains
4 t, fia yon remamier Chat: ; fla malin teptd to the style dine, which jar
1 A | epee | that, ho Lawyer teas atid Is the only basis Pop year cman
{I 2 Then the pest part of this parayraph says ChoNPM peard ts trade dresg vied ye boty
D2 the clump, iid Pop worming hat ER ierbgal or, : yn thls won
Lio teats the chat created in othe, prbaneed the ia rot of
Hootie Teck ob the Pulttivter ore wat dias i Mn (his Le det aint ig
[lL batitiable in theaters debe be the atte vine, ‘ee tant ords
[Fh Ard [Me oottased at tag youlpe 3 ut ‘i ripslat vi ”
[othe ngs fle boar ndte mre bat nasi . Yh b ot poly ona .
tht Mine areata to! 7 - Me the rn
i 1 ‘ en ' 1

to rel nod , 4 ’

“hh [inn
Case 2:02-cv-14102-DMM Document 52 Entered on FLSD Docket 07/24/2003 Page 67 of 115

cE te Ca BO

aD

26

on

seams fo me --

MR. ARNOLD: Because I was informed thar
it would be by written stipulation. That was
not provided to me by Ms, Greer and 1 was
informed by Mr. Elbrecht. But that's fine,

I will be glad to re-notice,

MR. COOPER: Well, why don't you do this,
It's silly to spend the money to come down here
and do this again; T mean, if you are reaily
covering areas I quess that are in common with
the trade dress infringement complaint.

MR. ARNOLD: That's exactly what I asked
and where I'm going.

MR, COOPER: Let's see where you're going
and we'll see ie al pre cess we can make.

THE WITNESS: Can [ answer his quest ions
since T'm ont orepated f for 2 di fforent
‘eposition other than the Proline decosit ion?

MR. COOPER: The trade dress infringerent
Claim is esoentlally the came In goth evses,
butt trinh Phat can tain thd

ECL Bates

Cth Tb we

BGM ties tree gen

“ead

rout

oO i
lies net
win Oa wa aay
Tey
cg
Lens,
Typ oa, ° ur
2 uf 4 2°70 us ae
mtg Bae =
fel yer,
, [
! vi ; at.
BRT RRD fhe ty ci atts

ilet alt
vl ia triat it's

ead Mach teed ob the
Ter trae dress intriigeg
nbially identicad,

MR, sine Pment it bed te qo forward oh
AL ng Abscoaery, ven Mit disor ob my
“mint aint Seertol. Cad hare ahat
nay ied.

HR. COUPRRD Weare retuned fa praed
WIN dso ceey bedes ite teas shore thors yrs
Se sues. And ss tal Paha wilaest tas na
Pet iepapeh pote teak hatin

ity i : ort
Hy ti Mme,

i
wpe ' -- 4] '
- : ! { Tey,
1 Tete i
trod de een Me
Pag aa at, '
Meta weft ,
r, . .
Woo aw. ‘ ! |
a whey ‘ 1 7”

—

JO On one Cw RO

<> Me a>

me pe ne
bt res

too

G

MR. ARTOLD: Let me clear something else
up in all fairness to Soott. If he's not
prepared to be vane by me on the basis st
the Blacer lawguit, it's not fair for me fi
proceed cr forme fo p proceet it Vin yuing 1 Le
off midstream and won't have the right. to
revepose hin,

J COOPER: We can adjourn the deposition

read of concluding.

we. BLA’ tus LEAL: We are willing to
stipulate as long as the; are comon areas that
are Sharad with both lawsuits we can move sn.

But when we get outside that general grea, then
we are nok prepared to qo forward today. But
we recognize there ars a lot of commonalities
between the two cases,

ME. APMOLU: i don't want to tread the
sate tercltory, out I'm otting ners hoking ai.
TWO Or ‘ites hears of a deposition whilen is
Fst olny to ae snocendkd if we eb baliny
Thi fie Pha he,

Cea TLE hare dat ica, in tre
Math Prd ites,

MB SHERLOD ith the understanding oy
wel pserve mm; er ti sve Aint
hour amphint,
conplalal today,

Me COOPERS That's Tine, boris

aide

Powe ce Sot the

\ My Mel

Case 2:02-cv-14102-DMM Document 52 Entered on FLSD Docket 07/24/2003 Page 68 of 115

AO OO om OT Be Le IS

soit

On ae Ck ty

t

Ro

intrcduction of the original design, Maverick
substantially revised the original design during the
spring of 1999.
thw, a little while ago when I was

asking you about ary infernation akout testing and
all of that, you referred to that testing in your
complaint in Paragraph 105, and this is after the .
February 15th boat show. What testing specifically
and who did it is the question?

A Well, I think that my understanding of the
verbiage that you just read, which sounds identical

to the verblage that we disoussed earlier today,

discusses the fact we came up with an original
design, we brought it to the Miami Boat Show. The
Lesting that we are talking about and the
observations and the things that led us to the

refesinn happened over the course of the build “9

and rattet im of that ae ¥sign. And it i
nO. Spe ifivally Jamed in the period petween Ine
Ham Bat. “a8 and thi: fey sign ub the brat,

O  teabing with pair Sataba dealer

- Dol ital 4
aly
ay ey polit Le !
‘ " we :
paeep ocuted ty com) inh pedro teat

\ Hohe wasn! Ppp dey ds that 4
epe bp ifilan pla

A Tes,

Q Naw, did you coutact famuna and ash thes,

tod another performance tect on
Pat hilimder 2d?

A hee

iy Whe do fh herpowith 3 “ra, a

Seabed gh thigh tear gh 7

Yat Tee

Mita
AP batt bnew gba cher adic dot that test

Big tical iy iidete Ge Chern belt atin
hpi
‘ Iw tet ghey vylle
! wy
Meola |
mo
ft
pe Ee ey
i . - ' SOUTAS!
t

69

no

> CO I Gr te GO RO Fe

219

Etibit No. 1.
BE MR. ARMOLP:

Q Would you mind Locking at thar E-hicit to
Land tell mc if you're fanliiar with those Lypes ol
bulletins trom ‘amaha.

A 198, tis is a fatafia marine performance
bulletin.

9 and that was sent 5
in Texas?

A fours testifying to that, i'm not.

Q  I'masking yu, it's got a dealer's name
on the rotten, deesn't it?

A Mh, it does not.

4 What is the date

A January of '99.

Q January the 25th of 1999?

A That's what it says, yeah.

Q afd that photograph that's on that test

ipon, Hlacte: Erhabat Nol 1 matrkedia

one of jour deaiers

of that. resh palieati in?

tulletin iene in the same, is it not, on all che
OLE Ob fealty What a Paha about
: Vode
nM 1.7
: EE alfibalivn add
PE a RW an TEAR man ie thse
tt arr os
ee prea) feet aed a

Pe aidan chewerl fi he fet,
Vode Barsraph idl the testing Ghat ts
tebetrad te pere does nob include festina such as

HIS bie by Sat

‘ Corres t
oo deat Pypecot testing esoet py dr incniie!
fh Pareyrath Dah
a Pn toe na,
4 wo . otlaat hid A . . ae
4 ew, dag tre owitie reper whedl § none) A
ery Pope tite vad tldte that qt oe aed
heed roetoretcect the beg
Meats dt ovbat id,
at wee taal | poabailaie?
(Poors 1 yl :
het ‘ a t,
ree !
Case 2:02-cv-14102-DMM Document 52 Entered on FLSD Docket 07/24/2003 Page 69 of
213

eA te OD

wo oo

not
Qh dee Ga

[

(

Q Is that side mark all the way down the

A Tt is evactly what it a8 if is.

Q fees it insluae the cack end of the boat,
that's not what this says in lie?

A Yes, it is.

Q In Paragraph 199 -- well, this complaint
goes on to say you first introduced your boat to the
public on May the 4th of 1599. Paragraph 109 says
it defines splashing. And then 110 says upon
infomaticn believes Blacer solashed the revised
design portion of the Pathfinder 2259 V-hull boat in
the process of creating its 2200 Blacer Bay.

What 1s the basis tor that

A We were told by various oalers that
Rlazer had splasned us,

Q What dealers?
A feglers I thine privarily in the Loulsiana
and Teas tare I
ah Jun Cale any p rnet te ng?
roth g Litem cg ino oan boy

tet

oo ge GY SS ey
a Suey

ri
\ is , ed .
at r ai w pb bee vd petl Lod
fern ft the Parktinder, lot to dma vtid
valtte hominy that Flaten oplashadl
AE think in the opti wos They
Sidhe the resised perticg of the Pubhiinder which
Pg ‘aeussed aterm wa towed
Yo ape ven sbivping they ocd hte sear ant ire
hit:
Potoink that that ga: the istent ob the
Ff batt fase te tte cut otats aoe hafbat the
tone t mba waa!
edother tra Psp round toa,
teat " uy ’ a tie
Het pod -
boy 1 i
bole z
1 , te
‘ ea vai t -

Z

Ge Bore ID woo A

eee
a

AO Re ee

wid

ma

ON On 4 Car Ba Re

em on

we

i>

a be GAD Pe

A I'm sure 1 was.

you?

ht have b Deen Boat Shaft in eee)

L Tt might, Rave been 4 rap,
Q Who at Boat Stutt?
A Probably Jimmy fers
spoke anout before
Q And he fold you personally?
A [belt

called me.
9 Is that
A Cprrect.,
9 And Art
splashed?

Art Wright?

Wright told you you nad beer

Q
9

A fas,

G Had you at that time lunied at 4
treat?

* tm

“a LPae

c va Aa to Try aod Noa
Tat?

“ oo wh Tv re . A “*
eome

2 sll,

LOSSY "
Peto nas,
I :

hooolitedhey Matite.

Gere are Tey yt op?
Ao They are in Stuart, |

Mount Hogston Marine. baweor Marine,
Tamafid, who's few out of Guslness.

Q 0 Sbeerbcn ds whe didi you talk te
Markos feta?

Rr anor tember ‘ye dri lpie
how fp feet hob batile Tor tags
eur,

) meu diy Wa

! rot ny

‘ i ih
hoe
4 i pitta,
t L
" :
- geo 4 7 Qo Tabet

al Lab

akali, the same guy we

ce te did. He was one of them.
very quickly became very evident that something was
up. Plus we have a representative of the compari

that operates in tha’ marret area and he seen it and

lacer

Think probubl;
Lake Partes

115

oi
Case 2:02-cv-14102-DMM Document 52 Entered on FLSD Docket 07/24/2003 Page 70 of 115

KO BO

ho oe
Sr

design or not.

Q@ Who's that expert?

A I don't recall the person's name, T think
that's in the recurd.

Q nave you ceusived any written
correspondence from him?

A tes,

Q Weil, we'll shortly get inte the process
of production, T assume jcu can provide that to me.
More than one expert or just the one?

A We only hired one independent expert.

9 Qid he arite 3 report to ja?
A

A {es

Q dnd whan did that report teil you?
2 That ou Stiasted our orcduct.

= What did he tell you in that regard’
A

T don't have the report in front of me,
afd I've only glanced ab it so [don't want to get
ING Spe eles, but yneraliy that sumo Lt up.

MP APDLD: Tim assuming that by irtue

Posar tectiscsy curlier pedal cy ty ear
wed lites Bose ate Poly ther
tah ae Doe footy
falta?
—- t 41 areed cr ¢ t an
3 Tage ne 4 ae
r ‘
ME te roon thos sedis,
Dad! rl
. : Tents ht : ype
Cat ji Dod Gary the best imuny Dron 9s
ho Tis hry,

ty yo "yp hot yy 1 Yes qnswor tho quest jo ti?
Me Ober: tetin.
Be MR ARMAL:
@ bel te ré-ask the question ind aitteren!

bet Ge Tas at

nts Mbt Usbite hab wad creme cmbabet
Jad out ot the water aed say there qaes 4
PUR EN ur Ste Lite?
Be tokEE: Tontre vy Ini the word anja
; Lyd , pony ley te
ret hay a ts spn :
Me PE tet omany hye bet
: :
" “40
Matt '

ZT

ep
Pe dt a DO at

t

2

— a
an we uD

aN

Q toute in the process of working that up?
A Correct.
9 bnd T
(OU mene Hse Snags: correct?
MS. TI~DRM: Thar miaht nn fae 9

AS i a
possible vine ts come back again and maybe
we can coordinate that.

MR. APMOLD: That's what [ thought.
Bf MR. ARNOLD:

0 Ds you have any recollection specificall:

of what the ee report told you were the
similarities in thé ull?

A th,

) — As to Pathfinder on the second count that
jou filed, this trade dress infringement count,
Paragraph 117 talks about the distinctive features
of the Pathtinder 2250 ‘itll pay poet when was
manufactured ty Maverick is the style Line. And,
ayalt, we fave talked apout that style line,
it was escrited and defined in the: first.
beeps

fp Sota he

Sot, up

Ahat the ittett op thes pete raggbhory os
Fiat jou can lient ery ihe fubibiader push py i
hyde dine Palcan leat iny the wht inder by
ether things, but st any portion er that style
[tte ds so dshine he that weg cate dent ity itu
barht inder,

a Tarte tat Us}about the ent ipe athe
Tine?
luk

Ao joan tead the pat find at te

heed sor patito der unt i dh gets ta the sp ae
Digi Ges hap lepe toatoor Pretisets La
hat tin ity ty tet ther 4
Phar t ty .
Moog, _
ee

nd T would have the opportunity to depose

T thint.

4

272
Case 2:02-cv-14102-DMM Document 52 Entered on FLSD Docket 07/24/2003 Page 71 of 115
4] 2H

A Tt appears to be a Slacer Bay boat.

Q Blazer Bay 2200?

A It says -- there's a logo that says 2? --
something 20 on it. [can't read it, but it is a
partial photograph of 4 boat that has -- I teliewe
it says Blazer Bay. Part of the letters are blocted
by the uprights of the trailer.

MR. ARNOLD: Let me make a ccemsite,

mhitut to. 3 and th. d.

(Whereupon, Estibit No. 3 and

Q Polat it out ard circle it and mark it.

A Well, again, it's shot at a very odd angle
necause it's going away, Put my gut telis me the
style ling is identical all the way to 4 certain
gaint at ‘ time the style line was changed.

Q Mr. Deal, are you aware of the measirement
differences between where the style lines are
located on the two coats?

A We fave not had a chance Le examine your
boat.

Q fy just told me a few minutes ago that
you have evamined one?

A That [I've seen one.

) I thought you told me you had an evpert
svamine 1L?

On Be ww TN

wa cm

Rh es Oe te ROD
a

Beehstout No. 4d omarkecdis

BY MR, APNOLD:

he
SD

r

r

9 Mr. Deal, nae you nad an opportunity to
look at tne additional two esricits, No. 3 and No
4?

Cn te GD
pe
CA a= OO RO or

me
an
ho
a

A fps,

2 feat, 15 thal you in the prohoyraph?

V f)  feah, that's me, Oy those three picturas 1 Q Did te make 4 comparison as to those style
18 portray a Blazer Bay 2207 18 lines you're talking about?

1 Ao Again, you trem, fo canth definitively say 1b AT think we asked him whether we were
ay atts a Rlaver bay én, cut Uh appears to tea 2) splashed) or oot and he Suid) yes, is wel Oblate,
¢] 0 blaver sa} boat, flo Aw) te ianeda repent, widen Ddon't eral] the
Beh vad tect ct hap ities OTe, Th F Beees eh,
gh SLA LIA ue Bhated 1 é
Wor he ay 70s “4 on,
“3 rs 20 I

we nna

i ‘ se ‘ heey ere: ene Tr yer corks

2 Pa8he bP alien of ot : alse, ha"'S 4 Mest “LE

i a i ‘ yan 3

: weabelbet ly oat ur h P Hoagie te we ly

5 ee rt r alt i et tat, ster anep se oo" nin

h pea t Ise

I myn roa lg pated fal : MR. GoerRS That's iy the ase | hal!

2 Coprect, a destyt infringedient count. The trade diss

1 woo Delmas hinq tout tie Bhiser bay 0 4 inte ingement count is only Limited ta the style
Wo Ween one wakd soy es, Tatts a Pathfindy, i) line,

Ho aahing LL Er MR. ARIAL:

| Ao Well, the che tine Pre atyling, the ° Qo Again, tell me i those Caps:
L§oosheer, the consoie, the verdll boeken the prods Je ooevhdbits, ry lead, tied bub slail hard
i Wo hes Pee sheet ce that's tran sheer bar Po identi) tepneatn fh Bas Trade dress
(yey calan't past out ates minutes a dpop ssp vi A The wiry hese fetus ited

Iho wonder the Sleds Traight erat sta In date terib aes doth t fet cristblet

| ie oT the ph ta Dow, AmL TD thine ats ther moat
Is Spe ap has ds eoodtantiaiy

13 iSs ‘ ‘ 1 ae we

“ \ : reytect \ ‘ ve tS :
' : ado! i ul of
me Lae g {
_ : Tan! : ‘ mht Ten
t nf oE mou 1 ate - meri ht on y mo, .
- : .- '
Case 2:02-cv-14102-DMM Document 52 Entered on FLSD Docket 07/24/2003 Page 72 of 115

ws ote eo DO

Ma OD

different?
A I don't think that's what J said.
Q Well, the question was ee fon Lo point

wblch shows
bot rade

out anything on those
that it's 4 substantially
dress.

three phe Lograghs HS
y identiea) avert

MB. COOPER: fou want to rephrase?

Maverick trade dress is lifery to cause

contusion, mistake or deception as che source,

and thus constitute trade dress infringement.

Barause the first part of that cut of that

context 1s mis]eating,
BY MR. ARNOLD:

Q Mr. feal, can you point out anything in
inesé three photographs which would show a
sasally identical reproduction of Maverick's
trade dress sty jo ]ine?

hot wad argue that in totaliny thet the
style Line satisties that eauirerent.

Y  ihar are: in total iy?

wee ludiing

RG Prnb phat tte ot yt tent
laf if ' ‘
foe OU aS ote
: Poyob al Nl oe 1

hits aleu '
“
QO And that Bbniary 1) ia dite, dees that
relate Pathe revised nalb eign tur the fathirinder
hye
A Yes, ts my apidet ct andite,
Od s Dok the oli registration, boat
at Hut, plegse, fees that regiahyb hg couep <=
Tin dake rast a eetid ta bad att,
Jock dh the ah ur y
! our
ah, Snr, Chis ball reqisted ion
beat dhe ori yy festie
ed ' Me ay
: it we " Ptr thy,
: ' ot, yu
1 Lt My te Ary
waa
~ aor

285

~~  rh a = GO Ro re

oo
sD 4e) OO

28h

three photographs, how is the public not likely to
be confused?

A I didn't say they couldn't

MR. COOPER: You're mischaractericing nis

rast mony,

Q ‘Tell me

A ['ye told you, I've told you three or four

MR. ERNOLD:

MR. COOPER:
quickly as To can.

That's all I have.
I'll try to do this as

Rell. ERAMINAT Doti

BY MR. COOPER:

Q Mr. Deal, in response to one of

Elerecht's questions he asked you whether the
shop drawings for the revised Pathfinder 2290 hull
design had teen discarded. co you recall that?

R fes.
9 Ts 1h ceimon practice to been those shes.

drawings?
‘ .
BOK.
f te bee ong fee elie eee.
fas TOCE: Basu LoD dee aD ad ott
Te Srenys [au ry nds this ntiy rig
4 they
Ceterrlien ce Dehiblp Ue lak la eee
Z FSISDOINT TD OSL Oy a
T2 rar nee Time pervert cote

48 Feomary, Hao acd april, L499 iy cesrenss
LE WE, AT
tag
Waid Vai bok Case ab Sania ba
TPS,

QW And turn to the rns, The cover peters

Pospeciticatluns, yeu see: that?
A Yes,
(ho ape These Tech beal apechifubicns the
Tape used In mahal ectardig a vessel nab | designe
A the
I Are thes BTL So Sper rican pons tal
uirbet ing Pps?
ho fed
Joo Rind weripir pel Ths tered ohh
pod th Rte meicit a ay 0 The berk
ry My wibre refoa Te . XK Votre
' o mo
' ° Med ! : i.
meu 7 poy ing
J toh
" t 1 - '
Case 2:02-cv-14102-DMM Document 52 Entered on FLSD Docket 07/24/2003 Page 73 of 115
289 99)

Q What model is that?

A 2200 tunnel.

Q It's aT; is that correct?
A fas,

Maverick's Ezhibit Ho. 1 a photograph of an
individual appearing to examine a Proline boat.
And, unfortunately, I don't have copies, but you're
free to look at it.
Mr. Deal, do you recognise what's

Shown in Evhibit No. 1?

A Yes.

Q What is that, please?

A That is Paul Ellig measuring -- pictures
of Paul -- this is 2 picture of Paul measuring a
Proline 22 bay beat.
2? Q Boas the Proline 22 bay boat shown in
13 Evhibit No. 1 show a style line and coloration?
14 A ‘fes, it dees.

Voy tank if:
Thank you, lous testified in Cespohse Lu

one of Mr. nnold! $ questions that the style line
was defined in Paragraph 106 of the answer in the
counterclaim -- which I am going to read to you as
soon as I can find it -- the revised design included
modification of the style line which is the slightly
raised portion of the exterior of the hull that
extends from the sheer Line to the first indentation
of the hull.

as) ON Te La TR
CD SON a
KD

me
bo oO Ae

Do you recall a question about that?

~JOON Be Ns

iB @ hat color is thar’ A fes.
16 A [t's dark olue. Q I'd Like you please to leok at -- first,
7 %  &nd is that the -- sy the style line is 17 ck@s thal deseribe the vertical dimension of the
16 comprised of the dark blue vortion shawn on Edmbit 18 style Line?
19 ie. V Y EL tes, I tAlieve so.
m A That is cae, 2h) 9 Med directing ga attention bo eral ae
J] Thank. bunt Ny place (tere: jul {) 0 BARI. 1, du jon see the part ahere you have
SioleT Reha be th. Weald ea tach plea onder OOS dnt bged In tan wall
Lf de ibahiohs ales tuitery Ruth ve the Lertenatd a 5
foo, leva s ileus toy ot e Sms of tat there's a tidus
i x
. & i wn a rhe - oes,
eo LSE Bonn WAL Go ULE SEES é VTS 1h jour testimony that Ehese tae ste
bey PO LSS a cntusinghy sumlar?
MRL: Biet hotte foam,
Gad Mah ce i se way ap nng Ue Ades, IOS My Leshinuny thal they an,
4 Fret doth teats n ho dn beige headin?
Ropegt Th omornitate aber Th qetar Lay : A 1S,
4 0 hat Mrs leat, Ei qauep yun te . Mi. ELERECHT: Object tothe tom iets
4 Lak tar pages So tooimtbarisdteat Glaser Eby 4 just take a break for a minute,
JO Nea, and Praline 2 Me J) kescanpiny tat i GWhetenpen, TE the ge anh
Tho these Pout aps orlered In differnt ditecth ts ul Be COOPER: No Mere Mesh bons FE ebacs
ie opat hing Het dishiseli a chk doat ur brite! ttt tat,
[4 that the style dine as tied it in I BR BUBRSIT: past tia a cout
Pro Reha Te 0 oo abit sh gle Line showin i Ble C heatitiati a
IS Blaer relebit te, 2! Log MS LER EPPS
Ir A [ts the refuethiti ft tte mal, Jr. Boo dnomepd te thet grates Boost iths ty,
I? Vo The dkte pert coe Lopart Oty ay tetened? te tele bye oy thy
m tthe tLe ny rt : pod. iat :
i MMe taht hie! a mt ‘
host ued cde
rt Le wD ina ' '
intend mde -
ts ' Vitete ast '
-~ - + +
Case 2:02-cv-14102-DMM Document 52 Entered on FLSD Docket 07/24/2003 Page 74 of 115

ww) DO

4D UO eo ae

10

23

@ and what are the differences?

A The style Line doesn't go up here. but
other than that, if is the sare.

Q The Z@ portion as Mr. Arnold reterred to it
is not present in this style }ine?

A Correct. Other than that all other
aspects of the style line appear to be the same.

) and is it your testimony that 2 the
portion of the Maverick or the Pathfinder style line

is inconsequential?

BT think that if is just one element of
that style ine. I'don't think it's -- certainly I
think it adds to the look of the boat, but I don't
think it is certainly the entire essence of the
style ilne nor does ifs ansence or presence change
the overall lool. of the style Line to the point that
cecple don't see comonality there.

[k's your testimony that the style line as
depicted in Eaubit th, 1 is substantially the same
ithe sre Line on the bathfinder?

BoP think tat fron what Dye been told by
Doe fee tie Miah fade So tea tefienh strat it .

“otal lal the caffe,

ri
baht
i43
ante abe oe
. whore nar jt
v po ney !
rong owls { te
nigh aid, ds
we
= sy
: .: Terrie
1 1 Teta Potty TED aad.
tr -- 8 aaa + noite yf bre
yt PenTuar ' Le aa eh

reyital app hlan: 12
ME. ELBREOWT:

Spi PEE MA

. .
Mats all,
OLEAN Dat Bt peo a

me > poe
ho Re SOs) Ta OD

mo Re
t= uo

roy pe
Nn

1

298

A I believe they -- I believe that they were
taken down. fou can see he's measuring with a tape
measure, 50 they are not going to be terribly
accurate. And we aiways understood that we would
naad to make 3 detalloc examination instead uf a
drive-by run on a dealership. So it's always been
our intent to get extremely accurate numbers.

Q You were asked by your counsel about
echibit (Vd 045, and you stated that was a
registration for the original design?

A | believe that's correct.

Q — Th® photographs that are attached, you
can't state whether or not any of those photographs
were frem the original design or the revised desian?

A ite have covered that adnauseam.

MR. COOPER: Asked and answered.

) fou can't say they are?

A We fave discussed this five, siz, Seven,
eight times. And T said that the photographs were
fh of the quality for me to be able to make that

eb rome Ve
yleminel Loh.

45 4 Tey

Le

WITME . Ma WANE: AML:

ohh be UE RAL THE

Ssh

‘chete M. Young
ecouusissiON ¢ 90101467 EXPIRES
rit?

“ang INSURANCE, INC
Py TROY FANN
BOWLED MH

Case 2:02-cv-14102-DMM

re Re

IO On oe DP

wk

Os o

25)

NUTARIAL Che TIFICATE

STATE UF FLORIDA '

[, MICHELE M. YOUNG, P.P.R., and Notary
Public rer tne State ot Florida at Larye, du hereby cerrify
that To teported the depusition of bP. Seont Deal, 4 witness
sailed uy the defendant, an the above-snyled cauged that ties
foregoing pages, numbered 1} througn 299 inclusive,
tom Patute a tense record of thee tehamoeny of sard wittiecn..
Pocurtherc cech aby Pak foam mot an at hoaruery ur
Sunol ot any of the parties, mor financially interested an
a Alfies

POWTER WBEPEOP, Do have hececuttis cet my

hand aod Off tieral Seat oinm nthe City of Fort Bierce, County at

fe re, ates Gf Flocada, thay chth dig vf March, 7u0,

Michele M. Young
" USSION € 00101467 EXPIRES
April 28, 2006

LeaneD FHRU TROY FAIN INSURANCE, INC,

ot hone ti hod Sot gp teh Wey ce dor haat pe

mom mo SS Ww Bmore

eee
~—1 HO eS OH POP

mS
sO LO

same fo be true sand

with

any correst tans

eta,

Document 52. Entered on FLSD Docket 07/24/2003 Page 75 of 115

990

ann

io have read the abuve and fatreyoiny and find

Saotn ated

eure ch to the

nored oon the

{,
putea!
Vara

beat

of my kuowleaye

Etiata

Sheet

ribed Betare me this,

te

wath dt pe

PHTee Wr

appended

“he
Case 2:02-cv-14102-DMM Document 52 Entered on FLSD Docket 07/24/2003

roe
To Te > ha re

Ss CD

In Re:

301
EFPATA SHEET
Maverick vo Ame tican
poe ddduce. v
PR onl 1 ENTEY CHANGES MERE:
Line News Peads, Should Pead  Feaoon tor change

Page 76 of 115
Case 2:02-cv-14102-DMM_ Document 52 Entered on FLSD Docket 07/24/2003 Page 77 of 115

t 191/16 192/16 193/12 193/13 2460/8 240/12 2471/4 245/24
be4a/1lb 195/21 196/13 1947/9 2387/4 2867/5 29S/5
‘Ol 372/16 L97/17 20079 201/3 202/14 1503 5/19
‘02 37/5 202/18 203/17 203/21 206/20 |15th 254/19 256/15 268/23
‘84. 9/19 G/1Y 207/14 207/24 209/13 209/16 2639/8
"8S 9/19 10/13 294/16 AIZ/720 PUIS14 215/21 2186/4 16 3/18 2AG/IT 246/25
‘860 4/h 216/14 2224/4 2224/9 224/14 1703/5 3/13 15/17 24172
'87  #K/b ZEST 22TL5 2278 227/05 18 the, §/25 82/29 RSA BI/3
"92 21/18 2ET/LG 229/11 229/15 2259/25 3/7 B3/l2 B8/14 137/12
"94 21/17 21/18 230/20 230/21 231/23 231/25 |18~footer 261/4
97) 17/24 21/17 233/2 233/19 234/11 235/20 180) 234/20
‘98 17/24 18/2 24/1 40/17 236/12 238/8 239/6 240/24 19 3/21 116/29 116/22 113/82
41/23 44/3 44/17 49/14 242/4 242/21 243/45 247/12 129/58 129/9 288/5 2995/5
58/15 61/22 64/5 64/5 249/7 249/25 251/73 253/18 1947) 12/8
211/11 225/7 253/1 255/2 2956/7 2597/8 257/16 25GL1% 1982 4/41
261/9 Z6N/11 261/23 264/2)] 2659/] 1984) 6/19 19/) 3
99) 49/11 49/15 50/2 50/16 POT/TG 2PHT/19 2IIELI PISA 1985) 6/%
53/16 58/18 59/1 59/14 6O/2 276/24 260/19 2861/2 28173 1987) &B/'
61/5 61/21 67/14 71/19 2381/5 283/14 283/15 ZRT/1 5 1989 19/73
123/24 124/10 124/12 124/14 2839/9 289/10 289/17 29/8 1997) 71/4
Pse/1l4 129/74 129/27 LARS) 2990/9 290/16 2941/1 291/14 1998 fl/h jus/44 36h IZ Bar,
V42/1 21/11 28571 25575 292/16 293/12 293/24 2594/1 41/1$ 44/21 48/14 456
255/60 250/77 256/15 259/14 295/45 299/95 300/95 3017/5 S4/11 SAS? SB/S 81/2 65/19
Poe 27OATS BULLET 0 65/21 o5/244 Ishi i4/e,
_ . E4/1 Hos wasp BOLE
00 2759/6 BOSITI BOSSY GU/9 IOS14 Bf e
= V/V BSL as Te e/a LIfe 00049 Yas ly 9}/16 S2/IG 104/16 Tues de
Pav dts Lae piste Led, pss 0049 3/4 3/4 tas d's TUs', lOV/24 V2e/f 4 V5us ed bods 3
bifte Last teeta bart pase Pal ya bah h sr FSi BY Ys 1999 Asef] Nfs ls) te RTS?
we boot les ve le Pele fofle Tae pa ase yd Case 4 Fas ri ee et pe ey
ae ft Ziv lypow fe raf ville BAG A ah Ye OLE By oe PY HES La ee bt taf bh ogee tte Fy
ry d 14 tea 4! ae aS te tat fe SP ag / I pay 4c tor bee dopa { lay st
trad I i i tie thee ae Yooagiey tes, seh] baye |: a | | PP oat,
tbe ay ydeda pee poyasy 7 tative tA lal yy Za fy eva boop os plaid
id oa lg i to Werle Evert lash iu tidy ZL AzA 7G Joan Joye
te bordered 4 : rood ae VITA Leek Ped eb bee Li ZY 4 774 re! : neu
rte | gy vt roby bevy beg! 1 “a yeah eos gy 7 ‘ - oy
i ae p | rod lacteh beg Pay le jae ty] yap
. | 1- ‘ lo) fe 404 ay pov tf
oye i sb wag 2
be | bode ‘ 0049'S 8H 20 ‘ ! Peay
} 1 ! 0056 1 Do. rooa toe be Gwe sole fost ,
i ia ! bolses bated fae leva by 200 Jolei’
res pa Fat i i td Peay [eae Pete eu duds 2000 bryos ot |
| cod : te] Jed peedes a Tet | hee ph fog be bp tore}

4 : ‘ Jre 10 PP po bead] Pole ede ! bois
bed Ponte j roe 1c} Pee gy Peds? fhe dt Listy di Pie Po ger De pp ee,
‘yds 1] bode ‘ or | Dae 8 pa hbo a i, | bate p pasos A ha fay

{ 4 voy pope | m/s Sey fo ae fa 200) rvs “4 SOF EY
HL se ep ta at Pond hte has o1 hah uo han Pe Ps
ee Pe FEE dp ce pp can ey O02 tse telly tefl WIIG Jule t une] Pyare
Way ty teas | te fares palta ses 02-14102-cV b/4 yar ew, 4 PbS 2 foe ae yy

Poe Sp Tp bebe bliorte dbpedes ary 4 2002 8° | pes bt pes
Phil. tbh dbeodl deb be tba 03 ae 2003 Pep dover do db ee ge pn
Pheerda bop epee Pope ob bots de foe bebe ef a]

Ltesg db ltt | low ds fy ” 2004 |i

pore eo para fo bo pos } _ 2070 ‘

Jats. foe doug meds | Jad 1 fro 2 | | 14 21 photog jas. i!
Dabo bt. gy ] | latin b 100 i ‘ Td Il). ] Prac ta jee Pore yy de, i
Pafe] 4 yop pts | Io 105 vires ] rebe Fey 14 SP pe fee Gy : youl
Pas de laa ppord. Ido | oe yt vat a4

id ili etd rg ty ! 106 cos 210-A !

Pde bbe 4h soy ‘ 109 211

1} \ rat 1 ,o4f i 11 toy it ' 1 [2110 '

{ it | rood Phoy ba Lote 22 : \

bor ond : us 1 ‘ 1 110 | }> , I l 4 ‘
te ! ’ 117 \ : ‘

te | | 1 12 | :

| ! \ ‘ 13 IL ‘ : ' :
1. \ 4 1309 ' 4

: to 4 1350 ilo:

‘ ! 14 t t

Case 2:02-cv-14102-DMM Document 52 Entered on FLSD Docket 07/24/2003 Page 78 of 115

2° 2117/7 absence 288/23 233/15
5070 i/i7 absolutely 25/24 198/24
22-foot 15/21 48/22 61/18 5b 1903/6 LL0/4 146/16 217/19 237/13
246/5 ° 6 acceptable 122/17 131/li
2200 26/18 49/15 50/24 56/7 accepted 227/24
S7/15 5K/4 59/2 60/5 62/22 60 84/22 260/1 access 214/10 413/10
65/14 64/23 67/93 67/18 7 accommodate © //7
68/16 69/13 T1I/11 72/2 accommodating 49/4
F2/V) F349 TAA T5738 FEL 772-464-2664 1/24 accompanied 1464/2 164/149
75/17 76/7 76/11 76/22 8 accomplished 200/272
77/23 TB/18 84/7 84/8 35/16 accuracy 1/4/14
85/19 86/11 86/11 86/15 B0's 20/6 accurate 6/22 20/20 45/193
86/16 86/21 86/22 86/25 82 1239/7) 48/20 68/8 86/7] 93/5 LL4/15
36/25 87/19 87/20 88/3 88/4 {[82B 139/76 142/18 201/19 201/25 202/3
88/6 88/21 89/2 89/2 89/8 9 2L2/5 2827/2 2294/4 29as7
49/11 469/14 89/17 89/20 accurately 1667/9 236/72
89/24 GOS1 9073 ¥2/18 G3/4 J9O 4216/8 217/13 achieved 201/10
96/2 101/18 104/14 1109/5 90's 20/71 422/58 22/19 42/20 Jacross 1LI/IU 218/15 2e3/1
119/13 122/%3 123/65 123/12 95 217/18 24 3/%
VZs3/in Les/LV 124/21 lza/2i [999 13977 act 65/4 71/19 71/20 76/2)
L2G418 VAS/LB LAS/Z2 AZUS22 VR PI/)3 Vos 4s 20e/) vauriy
127/10 127/11 127/17 127/17 243/23 VAM 2 ZAA/ 22 ZbO/ 2?
1258/3 1128/3 128/11 128/11 AIA 1/17 Z79/1 7
pense YZ8ses Lees 12925 abandoned 194/22 194/24 acted 2736/z-4
132/22 105/22 Laz/zd leH/8 LOo/T 105/13 action [0/14 H4/%5 70/7)
13/4 164/25 2ob/14 vozs 14 ability 96/15 1957/6 202/25 IU2/Z0 169/19 BASKT VANS ZA
volsis ziZ/l0 aly le Plesa fable 19/74 42/i1 UO/5 100/68 Taya yyy
PVTAYN VALS PALL A odes, 195/)'%% VOntel Vei/l6 14671! lacetions 775i /
Pueblo POI iB vous ls eons la d LOO/i4 bOGs/1 2 Lets 70 VOT? 4S lactive u/s fen
ese l db ve fe 2ELSLL vb ede Lid/ VTS LE Ala) 2 ales actively prot
Prue da ew | Pint pte ily Pus lt) 2d ee POTS ZY activities Coat,
mete ee eh Sy ay fa about U/}e Hej ni ya ee | activity =f) °
wie eg nsf wee Le tele EY ela Phen tess actual oft) ee Eas
bord baby Lp ae ph base bo2ate 292) Pes pao ws
2200-V Lt ys cil cefie 4-"1% laetuality
225 he ee (48s dactually vie bie Ve 43
23 te bead bly bleep 747) thee Ae ELST Ay par eg bad a
2300 +; vale pach ds beutha baet lt 204 boyy
24 i 1 Pied Vet Geel db Poyeevyy qe or
25 ea | oy vt | vy f sel | ved! Ae seb eh | be ol
Jae! Mos do Pde ols bates PF yt Se Le Te ee] | rey '
bee otd pde tte 14 ppc’ ci! , add big
253 teen mart ey PLA Las] Lt ladded 4/73
25th wd seed shee ge cay bate ce bused 1: oe,
26 1 borg dd | meee Lab edt baer partes red b poe 4 Pog |
26th sep ba at Peto Phd oe Fite ds Plies. antl
QT aA ee ee pap dee be bebe bee dd Leer tl faddition bee diets
py betede PLES Dd bites late DI Vides dpc Dobe step
27th oes! PyeePe Fates Peete fhe th ladditional out lists
28 Ie des booed Phd Poet y dy Pete Petts eshe da
286 4.1! Pea? Ts Lorre Pee peed additions °].-1' myn
29 Ae LPGSIR lass lated 4 Pere ds Leet) beet bef be Popo peg
292 ; Pfte? yr pease oy paps l bed] address . oof )
295 on peye R ESOCEL Tete Tl i laddressed °°)" |
3 Pied Pet Ub brett Pee addresses mo!
~ - Pet be be pie dees Obed] addressing [°°
BO Leaner d dete ye paper? mre Pe fare Pe eT Vadds ed
bor Pyar ys wls ya! ! Jia adjourn. ts .
30037 MRD Pty te oo | ADJOURNED
Blooded shes cate thts SERED SOME T  eeey Es adjust 15 tit 4
: fe taka Ad ote] eyatiooap ope tabs Pea [ig
32 rol Je. ie Tee's peodt admission - Poot bE
32501 (da mer Pp gt pbs admits
34 1s 1! pry 8p Tadmatted
34237 2 vB Meas Hr st adnauseam.. ;
134950 | 1 ce de ' ia medi
4 . chs advantage
advertised
45 he Ve rs ‘ -- Jladvertisement
4th i oto thovos : | ‘ oa ' 4 advertisements
a x olG ons above [f° ta Lda i
met _ 7 advertising... ho
5 above-styled advice '

50 .«. !
Case 2:02-cv-14102-DMM Document 52. Entered on FLSD Docket 07/24/2003 Page 79 of 115

127/25

1238/20

130/20

113/1 120/19 124/11 126/1%

131/3

A
advise 219/12 210/15
aesthetic 31/7 31/23 34/7

L3l/4 132/73

132/17 132/17

34/16 102/4 122/38 157/9
16S/12 1e9/17 170/3 1710/4
aesthetically 122/11 1272/24
170/7

aesthetics 30/73 178/15
affect 103/10 103/14 103/20
104/1 104/7 104/93 1568/6
158/10 160/5 186/3 186/20

1387/5 144/14 194/17 194/21
194/22 195/2 204/18

affected 111/8 111/9 111/13
111/13 161/15 171/7 171/79
195/19 195/20 200/11 203/6

affects 1935/4

affiliated 3/7

affirmative 1451/il

afforded /741/1

aft 146/22 160/24 165/15

197/23 218/1 219/11 219/14
214/148
after 9/14 33/138 34/19 344/20
BULNG ADVE ANS AVS 5 ASS
AG/t “Os 99/727 Y24/1)
balsle? VAAL LOY OZ 229/ |
Zsebe, PAVIA 2PAAS PAS
Poort tte ge feiy seovh fo ayy yy
again ihe dep vl edn ates
earl Ped sdf) style asd
Gary Py 6 tse 5
1 ye 1d gee oy 1, fyy
! ei, tyse db thas tS Jeles
l- li leufgd Peis db 1iosls
1+ cs Tle red safie
ta 1 PZ LG a eae:
i pioost Pe oteoueg la bene |
I i Pa | if des Poet stg
in pre | te, be elas dd
, f , | af 1 ' yd
' Lede da ! i; 4
against L}ore ] eo let
Jt, cia ft qi Slay
ropa el A Pe], rirt fe
agency 81/0! Hae os LT) it
aggressive orl Ufsle CNS/]
ns
ago l//1i lesser hk |e7Fe' yr
Pao p dd Poabe er PRPs abe
Sap te tay ee be tate |
Pee ea Pp ee ae yt
agree Jo ' 1? Jofds Feel
Pope thd FA VY Fhe
fepse TS pase d Payee pie
Pot, do bt Abt db tt dee dae
Pole do oleate eho ds Jeo pe
| 14 poe tds uw 4 i
agreed [out itt bt dees
a is
agreement pool i ' 1
ahead — ie ') te’ ,
air [ier .
airplane =f] 4 0 tho: : i
ALAN - Sp ees |
all Spo, Aosio de de
1 Iaobo gs Pye
1 ’ L yr 1
: ' \

140/10 149/14 152/6 154/18
156/15 1660/18 161/22 163/23
166/24 169/22 1790/9 170/24
L7L/1 L?7isa bel se LIS
IVL/20 116/11 1Lé2/%9 Je4/10
LB4/15 190/19 1939/0 264/17
205/13 205/20 207/59 207/8
207/21 2098/22 210/8 214/16
220/14 220/17 223/16 236/24
237/20 239/23 244/17 247/14
2439/1 249/13 249/22 255/19
296/%3 256/25 257/23 257/25
259/22 259/25 260/21 2617/5
262/71 4264/7 2P66/2 2PBT/1)
269/6 270/20 271/73 2741/4
273/1 273/22 2862/4 244/21
283/22 284/59 284/23 2486/9

2Z9OIL5 2EGLE 290/68

allegation 222/2 233/32
ZO7/17 273/15

allegations (1/3 2742/12
222/11

allow '‘',///7

allowed Zi/7vt

almost 7%7/7',

along 37/1) s4/5 Lv 3/1

alphabetical |] 47/1".

already [0/185 30/7 4tf\%
Sheed hs GAY yt Sty 24
ele als Li oh 4 1 Porta te
Pept ayy fia ae fs fata '
P42 1Oee ls loa Loyd)
Pome de, Las [Oo plat)
bees |e Jae he Pdued! role
Peobe ey Vee SG phy sro. ea
bey yd taGgét, paler bao lt
bers Pad) lady doe aes]
Alarm ees e df wage 2 eae da
‘ Peo. eG :
elA, | 272

also /] buf] ne 44
posse Tlf ey deed pe gd fea
Sys toss Phy oe byes }oba|
Poe th fered be oe | ru
Pr uree Ps drs Liar du parisien
PEP Pd Perse ey ei ew be
PUD POA PA 2s] ee |

although Liitfir

always $/P 4] Pousti, prs
SVTAL Sods

am lus; dd bbe, bai pedis t
Poas da [asad aad cab eb
SO p/p

ambiguous rei

amend 0) 601)

amended 21:1 /.'1

AMERICAN Pee peu rode.
Code ae aetna 1]

AMH Soy RE Pa

Among [1/0 i”

amongst hare]

amount fo I! otod i

amounts |} i:

analytical ‘| !

angle me ey be
tbe! etd i

pad \ 1 , ot

nase

misf bots

Angler 7/15
angles 95/5 167/17 167/15
La2/1%4 199/68 1939/11
annotated 68/25 267/7
annual 41/6
another 120/25 129/10 141/13
La5/25 Lea/is 227/20 239715
ZILFIO 2RO/LI 280/19
answer 5/22 23/13 30/2]
SL/1R 32/10 33/5 42/4 42/7
es/li 64/147 65/9 65/16 66/4
68/11 76/16 76/19 77/8 77/9
81/8 62/719 Bl/17 vert)
93/10 199/24 1LO5/17 1057/2
1N9/14 199/22 116/6 117/21
123/24 125/13 V3L/R 131/15
134/271 2394/27 1395/10 141/i%
1432/4 14374 1956/8 158/15
59/15 159/15 1660/1 166/14
163/12 163/125 1IN/22 LYRIS}
1si/9 lal/1L lees ts arses
197/16 199/13 204/79 208S%3
ZOG/VT 242/\% 232/19 2ALS/L 4
214/24 20271 2g Zan li
2EEL2 2POEVI2A ZI af 2S!
answered Z!///1 45/15 @5/%
laf y 98/8 GAA S/T fees
fogfe boys}. (aise Jars y
Pos /b PoMs be Losec Pl les
pete Ved hag lee don goad
4GFV2 taste dt dade
Ped’ 19 4oaf EG thee ys ade |
answering i! 3/1]:
answers Moy 4
anterior [37:2
anticipate “7 ..'! phos
anticipated (9 °-/ ¢ ‘
antidotal
Pep yty
antidotally ‘!.%
any pdm ge ’
Lae pases bah bors
Peet Pah fay ee | hte ‘
peed sfyt ' 1 | ! |
“y, rey Pb a be ‘
vide Saf eg med a ut ’ . |
SEs dt beep pe
Pisco dase Qa d Udit.
SPP fede Pte is tte

WFP ees dt te Jos
PYF? dae | Pat

Case 2:02-cv-14102-DMM_ Document 52 Entered on FLSD Docket 07/24/2003 Page 80 of 115

A
anybody 73/9 193/10 2549/23
275/19 276/3
anymore 137/1
anyone 14/3 22/14 102/15
124/6 162/58 162/11 133/19
293/23 207/17 208/16 218/13
229/12 23IH/8 2349/25 2671/4
anything 9/22 20/3 29/22
30/5 34/14 36/4 66/13 90/21
94/9 101/15 120/24 133/2
133/7 134/2 135/20 1590/6
155/11 155/24 156/17 178/14
186/18 135/4 197/17 202/8
ZUK/15 4213/9 224/22 226/16
Z30/11 230/14 234/20 236/7
2371/18 231/24 2358/3 2358/8
238/21 239/9 239/13 239/23
Z250/% 250/23 257/19 259/1
PASSA 259/1E 2RIS 24 2RZ/24
2533/9 283/11 264/12 2857/4
259/14 294/22
anytime 2:/16 86/24 1777/5
anyway 63/22 —
anywhere 75/13 48/13 14/1%
2OGLB ZOIL SS 2OTAL IE 295A
apologize [8l/¥ }o94d/2%
apparent (f'/4 ‘t/6 144/71
Pdde2 bites |
apparently | /.'/%
appeal ['17/4
appealing (/.//"
appear iil lv assis deisel
pede do phe uae
appearance (),//74 dell’,
APPEARANCES ry
appearing 7" 4-"
appears ia ede de rel
peg pie tee Jl te ay bates
pile bey/ee | ghur ace bate is
loon te oa, sola vs
pele tor Loar do bber bh aba/ta
Dobe Pree ta ded if
con le 1
appended
application JHsl/ [eect ow
Pore be tO, Pd Peete pt
pare ry TES EES
PAS ty MALO] Ha pte a A Yd
aie ate yb POs ts Pee ds
Peay du doles Uatsot tates
Peto fata Per bb bese
Ls Vote dite pud ft lee,
[rue Pade pO pees]? t July)
post pods a ee ey
yh Whit Pe DA Plsgy
Mere AP AD ed ed, fle |s
Mod an
applications La] Wier say
apply | yo mop loosas t
so toro d. pj
tedden, Joona |g
to, Ie
appreciate BG
appropriate See yy , |
‘ . Sop Tb ee DL die be
approximately ‘
at hada,
approximation
April
architect Bee |

archive 47/7

area 4/15 16/15 55/75 Ses lu
147/3 147/25 153/14 156/23
168/14 175/73 1176/5 1388/4
192/8 2900/2 292/5 202/23
2662/2 266/13 274/12?

areas 7/)1 423/18 44/19 4%/20
1345/6 1L36/1 167/73 167/23
167/24 167/25 1168/2 1os/2

175/1 175/29 181/12 235/2

265/19 266/11 267/15
aren't 131/11 185/24 241/4
Acguably 19/17
argue 73/14 285/18
arms 11/3
ARNOLD 2/9 2/9 2/20 253/18

254/272 2794/4
Arnold's 2845/3 230/6
around 11/9 16/15 38/15

95/190 154/1 182/9 200/2

206/83 2622/1 263/17 Yaar,
2391/5
arrive 1933/1%
Art g/idfild 2i4/in 2s ts
articles 7275/15
as S13 S/4 6/4 9/19 P4714
16/6 16/9 Jes/17 lesets Pfs
ZIL2ZS PES A BIL 4173
S147 4 64/4 44/15 Susi
te ee VU th AGS EO Veo ae fitst,
VsaflO As/l) GI) 54s den
GAZ 6 Uufe File USS td
SOALG USP ha Gee“ e ag, 4/7
erie Pye, eM ee
ool lt oe el 4 eas? apd ge)
Tie t Far lO PAsen Fae,
Pay ZO VPA TAS 2A UGS
Dee et te Pa a Sa eS,
mie Pikes afg ales
mid ay fe pes
loss i “yb tf ta
mo tbe rales
plaéle i rye Ley sy
Pope | |. bot ge
Poe yi tees pho pe ie le frat
Padre fab fog fae ter pan |
peel db Pdaydd) bles dad tpt. da
Pies dT? tdevio dey ter totes
Peek ES PU SAE Lode edhe dt
Peto Tah feh pant dese
Perea Jeti? Lars liye dg?
Pease Pes Pras paced a
Pose da pads Pue opi pa oh,
Pacis THs ta Toye td
Pav) db peasy de psa be foe
Jovae ts Pt ey Pa aide pt
hh GOP ag Soa tts
asda Paar ts te Pte ta |
Pave tbe Ab ye ey dds
Pa a pte PPP pe
| 1
au soil “yi
“y oo a
bere dos pee ‘ 1 |
| i ! 1 1
i ! I |
' ' io Ii \
eo] ne
i

286/10 286/11 287/29 2468/2
288/25 2390/8 290/9 291/13
Z9Z/1V I 2935/4 295/18 2392/26
294/23 296/8

aside 39/4 141/21 149/21
291/12

ask S/1%9 31/720 42/242 43/14
347% 45/11 45/14 59/6 az/l)
63/21 64/20 61/2 bB1/4 671/20
73/19 82/20 84/14 86/14
102/23 103/12 105/24 112/11
115/17 118/15 121/2 125/14
131/16 132/31 132/10 135/1%
141/12 142/19 143/71 145/10
147/18 159/14 161/22 162/16
168/19 1/0/17 1890/20 1AL/S
1894/6 197/190 198/19 295/16
ZIO/14 213/17 213/25 Z1lb/t
ZAPATA LE2ZLGH ZPALYV 241/729
240/24 2755/9 258/14 ZILA
L64f 4 Jaf z'

asked 14/15 ell 32/5 was%s
68/9 LNO0/Z1 106/20 1O07/Z'5,
LOB/13 LOG/! Lids? Lad/a
142/60 VAR s/24 Loa st Toasts,
lease) Jalsa 2aes iy eens’,
ZOOL TG PAGL Bans li 2UNs |
POOLS POOLE ZOE PAUSE YY
PEGA LA Vie fd pif | i Pee dite
Dire, g ee he a PG 1s
Aadss 2OT/ La

asking (4/1)! fiefs teed odes,
Pat liy Pale dcr ey goose,
Los fe Pod de pete
tide 8 Ge dee ia 4
Pel /?) Lalvley fete vey tee
p434s pee fe Teri
yds PYLE R an stp
24ST “Aree LEO bre!
ce get Ph l ep ty fre eee
AAR Fe a hpi aad

asks cert ages

aspect Ji77') fat vl ieee
Leder) bate pr cage

aspects oy as
Pigs] Peds bebe tyes
[foe rey gy

assemble 4!

assemblible ‘J /.:

assembly f/ii dato

asset bos 4

assigned i')/ 7

assist 0/1]

assistant Tyee pa]

associated /'7% |? |

associating 007 /':

association mats

assume Pe ob das Ghd
hryy kh Pot yd pte dog.
Pabep et pasa fe toi
: i+ '

assuming 14 bre |e tot
rath gy ' hi Is
Peet

assumption '
boa g fle 1
ifs . bee

assurance

asymmetrical '

asymmetries .

asymmetry 4

Case 2:02-cv-14102-DMM Document 52 Entered on FLSD Docket 07/24/2003 Page 81 of 115

AB attest 267/20 13/2 13/7 13/13 14/1 14/4
attitude 234/14 14/8 14/19 14/25 15/6 15/94
at 11/23 11/22 11/25 12/25 attorney 1/20 7/6/15 77/11 15/21 15/725 16/5 16/6 16/%
19/4 22/11 23/1 24/15 24/25 162/7 213/16 213/23 223/8 16/12 16/18 16/21 16/24
25/15 26/7 26/19 29/1 29/3 233/6 236/5 236/38 241/20 17/2 17/6 17/10 17/15 15/4
24/24 34/9 36/1 36/14 39/7 297/12 12/9 15/12 19/4 19/5 Lass
39/19 40/14 41/14 42/3 attorneys 155/10 162/12 La/29 14/21 19/25 40/14
42/12 42/14 42/21 42/24 2387/6 29/18 20/19 20/227 2DI/1S
43/7 44/2? 49/3 45/17 46/19 attractive 20/1 31/16 34/153 21/24 23/3 23/15 23/\%
47/16 48/3 48/17 50/21 authority 2964/7 23/21 26/25 27/11 27/24
51/19 69/4 60/12 60/25 61/5 fauthorization 59/2 29/10 29/2) 29/23 30/6
61/7 61/13 62/2 65/19 71/9 authorized 76/21 163/17 39/10 30/15 30/24 31/8
72/18 72/21 75/6 75/8 77/12 javailable 47/8 128/2 128/23 31/24 34/8 34/17 35/25 36/4
79/3 79/17 83/7 63/11 B4/15 128/24 155/19 156/4 225/2 36/25 43/17 62/22 65/18
86/5 86/7 86/23 86/24 87/18 244/7 252/18 253/7 65/21 67/9 69/13 69/16
83/9 89/8 90/25 91/6 92/14 Avenger 14/16 97/17 97/22 TA/VL 72/2 T2/1) 73/4 73/8
95/3 95/6 97/12 98/12 98/19 ZEDNSAN 2ENLIA POLY PS/10G FO/LE Tesi deft
99/7 99/12 99/17 99/20 average (25/15 125/20 77/24 76/18 35/23 GI/19
1090/1 100/12 100/18 1012/1 avoid 7237/8 1N4/6 LOA/T theft LEu/t
Loy/2 101/8 1061/11 102/1 avoided 64/8 1895/21 1917/1 192/13 192/724
1G475 106/25 106/25 1907/1) awards 22')/]3 L4s/23 L44/4) JuGsea Lars yg
107/21) 198/43 1086/5 109/73 aware 50/7 77/12 140/25 LOG/2 206/14 206/24 2OT/ 1S
1609/4 109/14 169/725 114/2 153/17 153/18 160/15 1643/4 ZO07T/15 207/18 2IS/IO FID/14A
LiG/g 117/25 1168/3 Leis? les/lb les/le l6a/11 lta/te 215/22 ZLG/AY Z21lis/ ls ZALES ED
1227/14 123/13 V23/16 V25/15 L91/13 2VVA2ZL BAUS LI Bee ZVI 3 ZIISIA 22s 2AOSE I
lY6/20 V2bS22 1128/1 128/22 231/16 232/73 2417/2 250/15 PALL PALSANG 2ASS/ A PAGS
129/19 13074 s1/% Lars] ZUOAS II PRY / 6 PIGS FIVGS VL 4 ZENS PTAs 1
Pad / bans he ses [ase awareness %///{', SALF\ 2nlle cits eats bes
Ls9/et LAs? Vaal 14a es, away Jl/) blest, 24s Aes | 28h se eel se | et f a Dae ye
ite/? bade sd lode toe, awful BAYS Tt Lean foal siggy yb | cp fs
bored Lets ti Tnosel teste fe — Bayside /'/ 7+,
Leds tat fas lade et, fel ta be Uf ll Geeky Lee ny fit
Peattla bis/ti ters lize 24 pack c/a tele ioe le les Peed dbs, yusy qa | 1
! prey Ey | PE? Lege 2g Pde Lad bets ZLA IP LET PVE DY Vl? “]
fey yt Daas roar ha ah cape eos? ty ha S721 hes win ZH LS AeA | “oye
lee tl) fo tor ae tale le )43/ 4 tU/4 1 fo 8! tf Sak Poe, pile yy ley be 44 io
pty ye Veh Buys POV, 12/] \ LLAS Nhe “tf ld } 74 i '
Ziv, pt APP el Bag 2! KEL OO Ball Seely ii dont, 2] j ; rey
as ehrre, ellen LIL 25 Bifeliig Ly es a Bey ee, ‘ [ts fobs 2 | ryt ;
a Poteet vl ade py bdede, ee itt ; ee | a4 , rey bb ei JA, gee te gy iy
cities ney Pint fl 2s} fest lh abe fo BLY eS pros ; yyy
a1 \ 4 : oye, , oo: 1 4 2 a stan ray peut r 1 ‘ tye fp]
Z 2 tae | aye? rd] [lve Lroeds talyie 34d iy Apel west sae el
: ' 4 tae hues Peaeed 145] Ply oda ee eg FY] ptatee el Done |
Je] re I Sed tae do be | 4 yri Peseta fase baat yr yea, rode foe |
‘ ! i Nop dba Pius pipe de Peas et [ote de pipes Pay ty Pore ed : 1
roti cada | | 5 ree do Pons jin of} PULA ede sl Ploy ch diose.d t) “tor de
. i er a | SUF SL OL ee tbe ard Pbfeou pases Tbe ba bbe de
Phy Ty 4 TPP SPP bea Pf see Pe oS etd Poosv yh Peas. eo qed pe | '
par Py pa era yy Chae) tes tet oe te Loree be dst fe Poh doe pony
CPAP FD PIGS J ot ZO CEUTA EAA Le Pa fee bay? Pease pte yd pate der pan
PE PH CROFT A PRL ALA ORO Te PP gt pay, ban/ 24 LP th se Paber [ape qe
heap Ap re poe ey Pa] backed /1':/.' Palisa | ae] perdu tae
EL Yt ete yee ps dg background 3/1) //] 1 ent. Lda. | Plast fd bdea pad |
Patra ead a ea oa se 1 | dae Phat db dbo dye. phe Vd
Sab Fare gs bad os]. 1 tard Tse] oe Oy pda Toa ed Pa dite
attached may ni Zl tae de eo La Poesy] paar ge qt | } fi!
Pas a fata ROT EAD balance bi7 ds lia, [iets dtr boda ie dt
booty dep ebd Torey Ppa 3 barge Jielu larld bafta leod | Pedi gts pe Pope baye
Pl fed bo ttos db feasts ledsty based Pafyh pee pas [os Pore Tt dae be de et dan
je Pode eh fae Pp pede cs fates Pte. dd Pleo! pee Pak pe reeds
i Pop Pete fo be be Ped dtd TT a, Toga pee he FE LPP. bd gd
Porgy: treed do ded, los ‘ basic ] ' ‘ Jee fe "| boi
mat, | mrs, ‘yogo basically bee] i . ' I: Poids | Hoy
attachment oa SY : so de P| : roti ' oy
sr Gh Fagg ad kod |. fpasis ee pte fa mood | a poe en Pee ty ta,
fove . Jad Lo. 1 me i. nd pon boa boy Poot ts bore
attempt : pol Fy a ty a "Jot te pore oe
oda : Bass | ' dete, rio a] |
attempted ut te no roe ! .
atten , oO ee Day tts Geo ote ut pepe
attention po Fe ol : Peo. bd Lt } ‘

Case 2:02-cv-14102-DMM Document 52 Entered on FLSD Docket 07/24/2003 Page 82 of 115

B belief 231/12
believe 13/15 i7/1 21i/zZz2
Beach 1/15 5/10 25/15 31/7 31/22 34/77 34/16
beam 89/13 129/3 35/21 36/12 346/16 39/3 39/6
became 60/2 77/12 163/8 39/11 41/14 42/16 45/14
L70/3 170/4 254/145 274/10 47/19 47/23 52/158 59/17
because 11/5 12/24 20/24 61/6 41/25 64/6 64/4 56/23
25/19 37/25 45/16 46/24 66/24 I7T/195 78/29 K1I/IS
56/20 60/19 68/14 70/8 77/1 22fa AI/19 BIST) as/4a Bo/o
84/10 85/14 BIY7T 90/12 89/12 89/15 93/8 95/7 97/11
91/13 98/25 106/7 106/9 97/12 102/24 117/16 1122/5
114/15 118/78 119/1 123/9 122/16 129/25 130/19 139/12
123/19 124/79 124/17 126/15 139/13 142/23 143/8 144/6
136/22 137/8 139/5 142/93 145/20 154/3 158/22 162/5
142/11 148/2 149/11 150/18 166/2 166/16 167/19 174/7
150/19 156/17 158/15 159/16 176/13 177/2 179/17 1a8AL/2
160/25 163/721 172/6 179/13 181/16 183/22 190/77 198/18
162/24 188/18 1846/22 1389/8 PLL? 214/10 214/22 225/11
1839/18 189/21 191/25 198/23 223/20 225/13 227/4 2248/1
194/24 200/8 201/11 204/10 231/1 231/24 232/2 2734/7
2U5/12 2O5/1 4 205/14 219/20 2384/6 238/13 239/71 240/14
230/20 244/6 2488/8 251/7 248/12 248/19 2591/6 252/19
253/17 256/21 265/2 282/3 252/14 254/17 274/%4 2817/5
23/17 244/21) 2245/1) 299/19 29A/1 294/10 294/11
become 12/9 40/7 42/8 163/11 |believes 273/11
becomes /411/ below 45/14 127/26 165/4
becoming [0/77 Benito '4/)4
been ‘'/3 I7/14 [e/14 tase Bertram /14/',
paslty ztisis ess 2s YOs besides fefl', | thf
Pat 2 a fe Be Ps vas His) West 7) fq elit tus ds
ole le nah ldots Fleet Loo/to VA lt Leds eset
BKi/J te Va) 29g 1G ss better ¢5/!) j1//% Ghfet U2, 47
pogeda dae PY payee se fluc ta lent] LiGr i i. fayes Loa ls
fhe tl bare tengld basse Lbog de, Voe be Vaes yd veal iy
Paecrn yp tag ig 4 2 oldie between i1-' liv / ltveg lure
Pas? teddy teolvi!l telsl% ; y Jarl
Lire Vee la parce fads de ! /
creas 4 fez verdes OAS? we /
cot thy 4 eovge sp So tf] Le hee vty 4 bel |
cierey raed vil PY) ese Je, lear ef Leif Ladys
eet ft, Me eee Lu ees la tous} IGG/]* bees, Joes
Daehn ' Dor haete : . cheats edb
veda d's as! oP a ey ede 4 wep wpa i lee Zan dd foes ye
i val ede gt 2 dee | weap bt es ‘ads
sep cede dd dase ets? Beyond 17/-.
‘. Pete te te pa Sede big } Sop tee | Vida
rele |e re] Pye wiper bigger {ifs [use
JT] de modo Paola [8 Tpinding 6/11
He sea i i7.! tpirth [oe 4
Pete rl ay ss birthed |.'/11
before ‘|. ‘i/m vst 377} bit ol/l laos, |
Soft onl Qo ones 4s ese ohd/lu Ipblack Peep 7oo
PPP wae? peop es | 4 BLAXYLL-DEAN ved
a Pee a dad fs BLAZER [7 Of/ td dvd. dsl:
prs oh bape ppt ba elas) Vole fia add dy bs avd’
a. I. ia Phe po ed Te de, ta OP scree ty Jaa dt
PAV EOS Seed 2 EAZ ED peas oy Pep Paes pee bo bei
mae td ee PP teed ee pet
began oe [.’ pet a ade mee dD ta ee, wee a
weet tot ned haoye
begin Pip ety Ids | Med tos
Beginning °° Mota al a Joa |
begins | ‘ ‘ ved} |
begun Joeeli '%! '
behalf Pico ' : ot
behavior 1 blew ‘ \
behind i blocked . =: >
being Ju i 1d 1 [blow-out i ot]
se, : : | so | blue Pho db hg my
’ le \ ! 1 blueprint io
! 1} pet : tea biunter ii ¢
: ' 1 1 ! board

168/19 168/20 168/24 169/73
169/6 1469/7 169/9 169/24
1796/2 170/32 170/12 1171/1
L71/20 172/22 173/4 V73/1h1

173/15 173/19 174/2 174/12
174/23 2175/5 L7G/14 1777/2
1593/8 183/iy Lyb/ la
boards 19/1%
boating “‘4/% 2/8 1LO/]1
boats 6/14 o/15 6/19 6/20
8/23 Tf) 2/2 742 7/24 1/12
7/25 8/3 3/5 8/23 8/25 9/)
10/10 16/12 J1/75 12/78 12/11
12/22 12/25 13/7 14/6 14/1%
$4725 14/25 15/2 15/73 1LS/%
L5/10 15/25 Les. 16/ he
164/21] 16/24 17/9 17/1)
lS/11 18/15 19/4 1975 LO/13
139/17 14/158 14/71 19/28
POLL POLE ZEST P2LYY
259/15 gh/t vesle 21/2)
21/24 26/24 2942 29 24h Z|
39/6 49/190 SO/12 30715
SN/ 20 30424 UAL shied sere
“ZAI 34/48 34/17 APS 1t
AGI AAS2 AALS AAS def)
tastes Ae/el aes sg daser
“l/s Ulf Upea Gb “dif }
Nbr ba Goa lr Soak le wtie 14
pA TS wee rife yt
mye boyd th aps UT) ate dy
vif ey we doote ety eye Pe
ape doy J. pot) use paul
! | “yd Spas
boars ey des lpi
Liaé roGe eh Ly \
bases dey bate |
iting 74 Page \ '
a [ose i odrdel 4
1? id pe bebo tte Zt " ;
, yore Sti fas ‘ oo
told Peo eee Jd ma
poe i pee dy ey
i } i Ld 1 boot.
eat tl ua ep te |
‘das “| hago : thee af vag oaks
hay abe d
body te bat
bolder Tet
bolts (:1/!'
book [1/3 tive} baci
odd dt
books ples
boot sods
borrow boas ot
both os Ti tis | bdo {
Py bye dee pyre tp tees
Porter Pepe Pd ep if
1 1 4 PL) dep db oe
Poa pop to Pao iy.
Pdocte bbe * te tod
fod rod Mm pope |
1 \ Looe , ‘
2 : , ' i
bottom sp
Boulevard
bow loss Jd
box t
Boy ‘ i

Case 2:02-cv-14102-DMM Document 52 Entered on FI SD Docket

1/24/2003 Page 83 of 115

B

brands
bravo
break

2392/95
brief
bring

35/13
broad

3/20 3

T9/16

119/11
121/16
128/1%

84/209
261/12
brought
162/1
241/6

buddy

Buffet

build
[5/9 |

24 e |

115/15

brochure

6/18

139/6 1393/7
24/18 63/18 71/6
170/18 220/21

220/23

22/21 24/14
192/25 237/1
197/9

3/7 3/8 3/9 3/11
/21 3/22 4/19 4/12

Z4/ 16

4/16 12/2 12/6 12/14 79/11

32/11 82/18 85/8

253/23

113/13

1237/3

lla/1%
l27/23

121/16
1285/4

brochures

bubbling
246/285

ZL5/11 21o/2l
42/2 42/11
119/93 120/13 261/1

61/23 86/15 19/23
145/15 IV1/13
7269/14
2L6/ 4
236725
Aaf3
la/le yafset
U/L a vost

eater ats

Lust
eles

19/22

2007/6

1/4

ote fas

bef LG i

Vos das

Gye sd i

Bletp loner Vier ei bonfns

Lae fe foe de |

Loe fA
buildable <i//-
builder os
builders rote dat Loe
building |. ‘°" |

Pafvle

Dap ee Mea ae Fy

Poof it

Li] 4

Pee, fib ey tod nyt wen]

Sipe debe

fou fos ,
builds peg dd
built Jere de, Peer Fo]

de,

Te

Bullet fee,

bullet-pointed | '/.

bulletin (| 3 [0¢0.% a
Pivye ts .

bulletins ute

bunch Poe rat " '
vdeo] ett ml ‘ t

burgundy |:

busier os

business por fae | ted

yore he

40/25 41/15 41/29 44/24 45/14 46/17 46/3 48/9 49/14
45/5 45/18 16/25 48/29 56/18 S7T/1i9 19/4 63/128
49/17 53/6 $4/1 54/22 56/4 63/20 63/24 64/17 65/9 65773
57/16 57/17 59/17 61/15 68/11 73/14 74/14 74/29
£5/10 66/25 67/15 67/24 74/21 75/21 75/24 76/3
638/14 72/15 73/14 75/21 TE/L6 T7/R TTB 19/4 T4725
83/20 93/13 96/772 B7/)1 RO/5 BOL SIG BA/TO BELG
192/22 196/25 196/25 LIi/1s YIL9 GOSIL9 GO/70 91/6 BIST 1
119/24 120/14 lP4/1) leaseo SI/Y2 OLS Guha oe / te
127/24 130/1 130/25 135/121 92/14 93/18 96/9 99/6 99/9
136/43 136/25 138/12 149/13 99/16 LOL/1 LOls/s 103/12
140/18 141/25 143/16 144/11 1064/1 104/79 105/19 105/25
144/14 145/8 145/16 147/5 1O7/3 107/53 197/10 107/21
147/13 148/3 148/15 1509/6 1199/4 11173 111/15 112/11
159/19 151/14 153/78 153/17 112/18 113/74 116/21 118/15
Lob4/2Z20 LbS/1L7 1597/6 157/729 21/2 L21/7 Ve2s/ls 123/18
162/77 lod/13 1lo64d/16 165/14 L23/727 VAAL JPG/1 4 25/14
LV1/74 171/24 Llz/lio Vesti VA5/27 Lees 4 326/21 L27/ 9
1174/6 L74/21 1LI5/2% 176/25 129/7 129/17 130/3 1340/4
LVi/t Li7/13 1278/5 179/24 131/16 141/20 1434/6 134/27
180/275 181/190 LK e2 1871714 135/% Tt50/19 bauFlS Lao“is
190/72 1960/3 191/24 192/15 135/227 336/12 Jius 1? 1 4e/ 1?
193/27 194/22 196/6 1197/7 136/19 V3R/e L5B/12 1 tes 2s
197/83 1799/6 200/19 270N0/]7 149/241 144/10 fav/ls laesin
200/1% 2O1/% 202/27) 204/z 143/74 143/74 JAs/1z2 144/04
ZO4/11 29 214/27 212/1% 146/17 147/41 Jalsa bars
ZIZL 24 ZYALZZ 2VGL19 218/10 P4a/1) L517! boas ls TAOS Le
ZUG ZENSVA AANA ATTY Peis di Phi Zt’ lesflo teas le
PA2BEZ PAGTAA BINS EO Pass 1 led/e led/e4 Louse Lal sth
Pula VF AO 2a Ve le ss Piis di [tar ity bese la beadet
Oddo 45a spe LOGE esl Plas) bebe ey Peed | fee
PUPAL AULA 254A Pah eb! LIfe ee {dee ef pe dat, fares}
' APL Be ft a veel | ied Lage se Path pet ys
Pf, Zeyh Pde Zany 1] baeyg ]as i } od
eLop A Lele og uretig ss Padeee [3 ‘ pols
S20 2aEE 4 vay Lbaype fs ! fice
Zistly gags ds bof yt ei ye af pies
24 lo Lets pores \ bea o4
eh ate feu PPh fae eeay it Badge
Yee ge, roe dbo ge 444
“Lars | Poke et bi sey ZO
moet | ey . oe,
call fueye Pee et Pqoe ts Lab et yet \ rae dea
oer, a w]e os Pete, edd , ‘ vere :
rtlee 24h 7 id sie dt nye yt ee] tan,
PaaS Pee yas iF ! ! Pos we
called |:i |. slr pode cid r4 ' Ide Ply.
sept, Peay Pe Pin ade | 4 ; , i ‘, mays!
ae a ee Pe a | ye tb foe ey PL teat pe
Pudfe SAOF 4 CUO 4 P Peas? eos SO sabe Boe ep a ft
Pie La ads ay] | tee T | Mya ya,
calling ear Ose Leer LA ode
Cee can't Ge tete Tad Aa \ |
calls Pores da pies bts]? ‘aed wi Sd tie fds | oss :
pad oo pays eb tp eee bryde dur fers. Go purer | Jury fos
hoe ay | ssa fa |e Jorg pope Juras oc pd.
yids ALS LP eae rye] to 4 1 i. 4
hay beach t t Pete yer ta
came olf] assy dy fet fae de, Pie ct Pte d Poe ta panos
met Pye da bay ds flood PV) beep di ode ddbtis tbat
il” Me Pe red, PEE DT} gd Poe Pda tLe
my, yy ‘ i noe | tote. da “Looted. ad del
camera oi | ! Pyopeovs Yo.
Camino { ! ! | |
can so ys ' .
! 1 tot i ' |
14 rt it . ‘ 1 l '
[a js 1 boa |
1 i. d ] ii !
1° a4 i
: cannot

Case 2:02-cv-14102-DMM Document 52 Entered on FLSD Docket 07/24/2003 Page 84 of 115

95/6 95/8 99/12 95/18 93/7
39/10 106/38 100/20 101/3

Cc
cap 1132/5
capacity 50/5 89/22 1259/3

254/12 260/38

Cape 54/12 102/95

capture 198/23

carbon 5/18

care 2719/75

carried 251/12

carry 220/10

case 1/3 38/5 83/19 102/24
126/9 126/10 129/25 1239/2
132/2 139/19 140/21 187/16
199/22 230/22 2399/3 390/%
3017/3

eases 1472/10 189/2 1a9/2

L9G/18 Ly9/19 205/20 2h6/1le

Cat 87/1) 397/25 20/29
260/24
catalog 47/17 BY/E4 BPI)
catalogs 2/]/17
catching [42/3
categories [29/4
category 120/19 144/14
cause 27/9/17 4B4A/\% 2745/8
ZBULAS PITY
caused './)] 4
cavlar /'/1%
cell Pag 4 one
center lieo du pbary eo taaye
CEO 2aL ep ys 1
certain PL bee ba baer
Lbs) tte eb bay ey ev da
ZV fe td
certainly shiek te Gon ay
Ves le lage fauel gaat}
TOV, 6 Deep te Yet Loe Ee
legend bares] | ] jlo vate
Pur se FY et ty ere ¥
certainty (leon inl on bears
CERTIFICATE Stee! “|
certified ft
certify fet po! rie]
chair lly
challenge wey
chance Lop dts
change ‘) =) i’ ]i it trou
Mae pe ak Pa eee pooh]
shof pal gts ft at eo |e pet]
eye hee fF ty te [a tay
Pas 4s JOSEP Frys cs Juay da
Pththom Tbe pL bass Pde
P)di ee dd beh theo tle det
Pho dh dbo pb ae yp aey
Pheer a Pbde de da. bape
Pad Vite des Piety pha g
Pores Pha per pte! Pole dt
Wty dete dpe bons
Poet p fade Ppa pi betel
lr Peto dest bb pas ota
tot Sofa ge ORE re Gen
Pou Py patho | ot ,
pon td 14
ri | | ] mt
| ! . ls ‘
| moa ' ‘
he Plo oder, meg ps
! ] rea] ] } ‘
| i
changed

161/13 114/74 122/25 152/10
152/16 155/17 155/18 1596/5
156/6 157/8 169/16 175/2

178/39 178/18 178/19 144/10
LAS/17 1as/l2 lRay Ly lans 7
1383/11 196/14 196/17 149/12
2427/5

changes 4/% 4/6 4/7 4/8 4/9
19/13 49/14 49/17 S7/)
58/14 58/23 B0/1 80/4 80/6
89/23 AL/3 S1/6 81/13 81/16
B1/19 62/7 82/8 85/9 57/6
B7I/9 BIS1LS B7/18 82/56 93/3
93/6 97/1] 98/18 104/17
106/13 1908/20 110/145 110/17
LTE/10 113/16 118/11 L18/13
118/20 119/72 119/6 122/2
122/7 130/16 130/20 13171
Lel/3 L34/4 L3e/d) Leesa
132/14 133/14 123/19 1354/7?
135/16 136/13 136/14 36/17
136/20 Lda/e2% 1AG/25 [A/a
149/290 153/159 196/11 156/1%
IS6/18 T57I/1 boas 1us/ Le
IG8/ 1H LOO] “Ole L5as¢
I60/1] laes74 todeve lenses
Peat Peds lelsvt teus i}
lee /dy leased! letee eo leaee,
Prose LGfe dd Lelie vl / da
Ligh Vee pba ie pase
tege dl Lavi atari fb Ady)
PAs pad ye La? Pee,
Dieses Plat] ad ivariea Plier)
bebe {bafe EG PQ peek ts
Phase Psy? raf la] if
Leif 2) ved, lan? ishsals
Leaste 3 foe Vinten. Laas ’s
1% Lior. poe la
balevege Laeea Lode] Pot |
u,b vo | ed eh myst,
yt port 2G pha, bye
era Zee TI type SP ta
eye] ef ae be te Pd ae be
rede p Pap eget gant,
ayy

changing Behe Le Late ba ty ed
beast poate sea

characteristics ‘'o9/') J 1
Lni/ és

charge ji): ' oa aha
Saryld faelt Hoh doe |

Charles Payee Fae TY

cheap ~~). 1+

check Ue lo ted oe de
edi da

chief «0st

chine bo UF pte yp dd |
Pea chs pep gs
1! i por dt
1" | i }' 1°
I ' ro tis
is \ ' [el
le 1 | I
[Ls I.
|. i l. ’ |
1 . 1 1

choice

choices
choose
chosen
Chris
circle
circled
circling
circumference

eae
4 ILS OD

219/64
Zlz/e2
2650/3
174/1
264/

circumstances
cite 13/4
192/22
city 253/
civil

2

c
?

2844/4

claimed
claiming
205/16
Za s/Z\s
claims
2671/7)
clarification
clarify (7//7
Laws
1/6, 4%

Z2d/

"ALE

classify (i//

Ose?

clean
clear

toy

156/15
Z44/7

260/74

4
1

4

13/6

PRES

299722

L47/.l

Phe fy

2059/2
31/6

297/14

2
>

194/11
264AL2 PTS/9

t

lynsey?

beuedoa buns

ei bs

elie?

clearer «3 1°

client
Chek Fle bie
Climan
close «= '’i;
closed ~'. i+
coach .- +.
coaching |.::
Coast /'1/j!
Coastal
cockpit |)
Cod eG
code i. sd
codes
coffee “urd
Coincides
collected
Collins J:.:
oa} jos 3 fe
“4A
color
lites bl
Phe 4 fo Te
Pete pe ed
coloration
colored 1
coloring

peo tt
I 2 ott

colorized I

colors
column t!
combination
combinations
combine
combined
come

comes
comfortable

ZILA

Va/

raf bos,
bdshe
ely d
V4nse4

bet begs

2344/3

183 3/

1

V/s

Lue
sy

Z4EPt ] 5

ZO9/1%9

l%

Loos;

ZIS/13

: i ¢
wf 49

2

/\

Case 2:02-cv-14102-DMM Document 52 Entered on FLSD Docket 07/24/2003 Page 85 of 115

Cc

comfortably
coming
comment
142/6 157/
L61/1 Leée/
254/24
comments
commitment
committed
common
248/6 251/
266/23 267
commonalitie
commonality
293/17
communicate

communicatio
Z2AN/22 77%
communicatio
2433/6 241/

19/7 97/4
123/14 183
LGN/1 4 Va8,
Pin, fea ete,
company
woe | J at / a |
Lyre iat |

pate oy fa

baie be 1 td
Pages
Ae big a8

oy

Zed,

Saas,
Ze fy

cored]

comparative
compare’ .'

Je i,

Sek tg tt,

comparing

comparison
tay df

competitions
competitors
complaining
complaint :.
Vides fod
iofa
pute
Seb se

Sul Ty te

vite

a]

Oye yt is
complaints
bp ha

complete
Joae
completed i
rE en
ls i
completely
\

vw

z
composite

nome!
compl

compound

176/74

communicated

companies 4%.

V/s,

Pip h pe be |

company's le

compared |-..:

aye
competent ho

See en

Sb fe bss aa!

complex | °

135/13

41/22 131/19 280/14
61/24 1338/9

141/12
6 15/7/22 160/12
19° 167/171 189/19

1AN/15
238/13

66/24
29/20 219/11 219/12

12 265/10

/16 286/19

s 266/15
8/19 207/4

266/11

127/25

233/58
n Profle 208/20
/ 4
ns
21
a}
‘sie
AV
12?
L734

bf
lore a |

ere |

TIAL 208/15

4/1 Tas de
ST/\6 YR84/6
lial / 7? 191416
lon/e4 4 Pons,
Coes 4
rf dy]
fips 2]

or

lr}

meds

ry Peasy tls

Lote

1 ate

Jota cd
Nyy

PiU vw bef yd

lade

eye

Poe yee

36/13
comprehensive 247
comprised 239/18
computer

253/14
concept

£23
ZLZ0/15
concerning
Z278/4
concerns
concert
concise
concluding
conclusion
159/77
Z22/\%
conclusions 1[9%/)
concur 722)/14
conditions 146/27]
conference
confident 2712/7]
confidential 25%/
conform |57/1';
conforming
confuse 111/41
confused 776,//
Cth 2aGS?
confuses 74/4
confusing 3774/1
confusingly
confusion

2e, $0/4

gO% 2
ye ¢ A
2509/4

192/5
170/9
202/16
266/%
43/16
159/17 187

stot

eR E La eae aS

ZO a sd
connection
conservative
consider 23d

“bites

ee gs

consideration 7i 7/%

considered ele!
considering :4/-«.

consistent
teed Loader te

[sep e pea de ra

console tvs
firs par cm ay gs
consolidate lL.
consolidated tee
ele t da
consolidation
constant 05/7/
constitute Vue
construe mts

consult sey doa!

consumer pee |

consumers

contact poral, y

contain ue
contained

hyo] '
contains
contend |: 4

' a
contention . |
contents
context

l vot , * \
contexts
continue i'

tt : :

continued

/i3

47/6 47/9 47/16

12/11 12/77 vires

36/10 2104

yp ty hoy
ati 2

65/5 139/17
1220 22274

9

TRESS

236/13

6

loe/7),
1o2/ 1%
2HAL2 |)

veal

24l/d7

refit

slips

continues 215/724
continuing 70/15
147/290 205/193
conversation
230/25
2439/8
conversations
converted
converting
cooler 20/2
COOPER 2/2

coordinate 2738/7
copied 17/12 j2/15
153/13 143/15 191/4
191/10 Lea/22 L97/
206/24 PIFIT 212/10
2235/6 2AM 220/27
2335/4
copies
129/17
ZEIT 5
copy
79/21
165/17
773/14
ZEIT
copyright
HOF? FAs
P21 bese footy
copyrights a
corner
ind Ze Lae ei
2USL C8
Corp
corporate Seg
corporation (-', !}
corporations <<":
correct ee pe G

per fis et ry tote,

ZA1/2 236/18
2359/10 249/14

ZOLLS
“OSLG

2/21

Lous}
164/190

1429/45

83/3 44/19
iVA/ 11 Lasse
Zabi lt) PETS?

copa.
oes i

us spky

bpp ee pla

flee

corrected

i :
correcting
correction '
corrections
correspondence 1
cost
costly
couch

2g4/ 16

Lal

1

eps} leds

74/3

16e7/16

13/75 20/14 uss
HAS?

at

TASV2

163/22 239/12

236/21
“dass,

ZUaEV

“yy
Llal/%
2906/2)
Zn?
24 9/1%

t Q te
12a / 1G

12/6
B8/2%
9/14
LIS ZY

ZEIT L 2]

Has 4
i

Case 2:02-cv-14102-DMM Document 52 Entered on FLSD Docket 07/24/2003 Page 86 of 115

c custody 47/15 249/13 249/24 2590/1 250/2
customer 416/%3 51/3 94/18 2590/4 259/73 2590/5 250/25
could 13/13 24/7 34/3 43/6 1245/1 1136/7 150/17 178/4% 251/17 258/2 2796/9 273/16
48/16 51/12 53/5 57/17 173/17 273/18 273/19 275/23 27672
65/12 69/22 69424 79/17 customers 51/4 51/10 52/15 dealers' 2493/9 249/11
B0/11 88/11 32/23 108/15 SS/1R 45/23 61/9 89/17 dealership 226/27) 4id/x
108/24 119/10 L1L9Y/1o leo/2} 2409S TO 220/190 223/12 225/27 Z34L9 244/10 ZaG/EL Zale
133/19 135/25 1356/1 L3n/2 Ze 9fe dealing [27/13 ld//ls feu77i
V40/20 1595/9 165/22 169/27 cut rifli s5/3 4V/16 4lszu dealt 2864/5
166/4 166/19 174/11 175/24 47/21 133/79 167/73 190/17 decades 127/11 12/23
177/12 179/13 187/713 187/14 Jeuts 1909/15 December 6/45 46/22
193/11 200/20 201/21 202/6 CYNTHIA 2/3 deception 235/%
202/20 211/79 214/12 227/12 D decide 17/14 72/19 73/5 "5/2
237/15 241/14 242/5 242/8 decided 17/25 18/1 26/1%
242/17 243/2 243/13 243/14 damages 741/16 7243/4 243/19 72/1 72/25 F5/9
256/7 258/17 244/20 PAA/IL2 252/13 ZTI/2? \aecision 17/16 LISA) J7/ 22
couldn't 60/16 206/72 209/15 271Af4 205/14 20/146 22/24 35/27
229/22 283/15 283/16 246/% Dana 2714/1 214/323 2147/4 38/3 SOs L2 Si/eo 71/10
counsel 76/15 76/18 77/6 214/15 TIS) TISL8 FSS LS 26/6
78/14 786/15 105/18 oes) Dana's 714/23 162/25 221/1% 221/14 BAIS IS
163/14 Le3 7/72 2O5/25 ZALS%Y dargal 1°/1% 245/39 254/25 20578 Z2UG/ 1 |
2Z4AS/YL 2538/7 26422 ZEAL ZZ dark 249/16 2469/15 291/2 deck [1/13 16/8 J7/12 38/22
264/23 2394/8 296/58 297/13 date 1/14 17/17 17/1% 22/17 34/24 40/7 AG/A AGS, SALVA
counsel's £23/11 23512 2444 25/19 25/15 25/16 59/13 SSf2A GesShl oif's
count 271/24 2245/24 2Has) ZOLA AGS? AGSI 4 AGSVG BIALO Bast 91S Jel fda
ZIBIITA ZIBS/NG 2PIBSZO ZUG Ee? Vell? aAr/1i AI/ 18 AT/21 G1/18 Lda /T I Please sg Lae
Zlsafes PRA LASS Ali et Als e, ABs dl BE/24E Piast Vif to Ll haset eas le
counterclaim 7/4/33 /0.!// BA/10 B47) Crs) a ls h decked U/', if 4 GEL GS be
284 eats LYSE Feel db fe ft th das ea decking /[///i ffU/4 gprs,
countercomplaint «ti. fs Tels tele t}oa tebe tlt beqel PPPS Lg ba be |
Pod See fy pre le bef da Ivl/ is | 45 rllrv27 2! lee) Idecks [5/15
counts “’/l1/77 4ny CES zee Lee eae LY decrease forges
COUNTY 7 46,/ 4 pip wala le carpe ZIV faa pg Andy decreasing [o')/¢/
couple “die') fary | v4 vata wit deem ¢/’" 7°
Pad. ede elie Gg 13 dated 414/43 deeper f//77 !e,) latin
cred) t dates /:,71] | Is ge]? 2b/d 23 ig ye i 4
course 44/15 45 °° titers Dawson Ue defect [JJ 7.) []ivia iGs
Pos dh EGR La de, pi day i... i trod Plaelt bbasie vata:
eles isi hd aah hy Joye 0 |] defective ‘T.
court i/] Jf: ’ days CP wei | defects !|-.'%
cover “t/li ntti we pc -. 4 defendant {2:35 +s 303i
ol ‘ : a dead Los tf ry 4 / ; Aeon “ ’ ‘ ‘
coverage ee |, deadrise [7+:-,° PAte aris Pat od
covered (7, -1 ii: | c deal Lege he fea he dy if | af de ‘ |
e coe "yasy yoy. wef pra FE Sa Pls pe | eyo pe fos {4 '
covering jit oe. te Pia, Foy [ofr flags poh ye bog poe y i
covers isdn Pte | i ‘ wee shoot Ps ode ree ts Web yoae bod tee fy
craft of). Tevtd ict) Fs} ade bor ade | oy P/U 2 pee ta posted [tie
Ete b a hes ble Seria Neb day, Cals sats
created J/o/)u Joti vete ds os] fn mal Pee eas ey defer ooJ/flu
Pret Lk aye eed dealer “ey ist’ laicll lls". ldefine pee ee Ppt
creates HA/20 }i/te dade de Tbe db? dls s POPA EG uti e is
creating MPa pa Peep bt de Leb bat ta defined het do fay 4 hed
ereation nls? PEs det pie Pa de Spe ed od PAF Pade Lg
eritical “ol a mejor cap eds pi as Tee TS defines ‘ pel
crooked Npeo role od ota, weds Pada, COP. PR atl definitely aol
Pose ba Tid? pede s do phy 3 Chef] 8 et ed Ed 1 I] definition pat ‘
1} mob asd dda Ppa de is T]he Spe pa | 14 definitive {3 My
Pla eb Lb seb Dae der [ote ; yk dod bard boda des definitively poy
PLSAER Laie de Pde de den Wage bp yd degree «© !° :.-il 1}
Deere) Pues Pe fe do on Coton 4 ' Pies fap ee Td bY
io] inne pt fo ! may dt dealer's ==: |' fate,
Sh ak ‘ dealers reo tt a) 4 degreed :-:
crookedness ‘| |; : bi od 44 be ' degrees '
cropped ’ : 14 . i Del
cross Lu, Lou 1 ! | Delaware
Soe ed | ‘ i a ! i deliver i
crude [11 |: : : : : delivering
current [!2 | \ i 14 rot : Idemand ' mo
cursory 1 ' to, i ‘ va .
curve 4 Lot ! ‘ i i : | I demolding
curved Pye : demonstratable
curves 1 demonstrate

Case 2:02-cv-14102-DMM Document 52 Entered on FLSD Docket 07/24/2003 Page 87 of 115

D

department 22/21 52/23 53/11
86/2 86/4 208/3 2098/6
224/11

departments 42/16

dependable 17/%

depends 24/3 103/24 ZU%/z22

depict 91/24 100/43 [77/7]
173/3 189/12 2068/10

depicted 89/8 20/18 90/6

98/20 39/19 108/21 117/24
119/8 125/18 127/9 1254/22

38/3 133/19 140/23 142/15
143/13 174/25 182/38 195/23
ZU5/13 209/11 216/20 292/19
293/19 .

depictions 142/1%

depicts 2480/25

depose 277//%

deposition fle fll 27s
BS5/11 94/9 253/19 255/24
2954/7 265/18 265/156 266/4
ZEST PIGS POILE

derivatives 17/72/14

descended /|441/%

describe #/71) //4 19/4 JH8/149
GALL Vise asf VI ele
Pvest Peas tte peas elisa
Zebej or zee ye

described ay Fw pt ny
ta FPP pres tr pape gd pvales
Poche bier] ae te 4%

describes f/f out.

describing |!"/7:

description ‘GW: JF “147.
Vhs

descriptive if7’/|'

design (sis teve Gaol ber ls
Ppp a oe LL eee i oe
7 , 1 r fig t ; fy |

bog pou ' 2

Pep p tea Poa) fet
« Poh toned od ‘ J
t! | sot ft |

i . Tote te | +. |
mote ds iy Mii, 4 A i!
fied ry pe} boo.
Prey g teed bee
Per] lo Pass fos fh Ti
PGS) FP Fe ls Pease Pree |],

Pie oy Pas ye RZ Gob ay
BES) RTA Ed eed
rer pa ote bh borate da Padow
Papeete dude y td paged beaded:
Pod Ts padestu dadess dated
Pate Tae pe bates pert?
lus de pase, dave 4 du ‘
Pos oy pave Tides TEE
Plies eo db db tbe ete tite dd
fpoud ba Pata dey yore be i
Ped Pope bed i 4 ‘
| me ade Pete
! | Pap ota ! ! '
: bo iy:

My 2d ba u ‘

14 debe der dd vt :
1] mou | Plo de gd {i
it | ‘ bios |
! peor be! \

156/16 159/4 159/22 159/24
163/4 164/19 Loes22 167/9
163/4 1609/5 171/13 171/22
172/11 180/17 1890/22 L81/7
141/19 182/19 1893/8 187/16
146/12 188/14 194/16 194/22

Lodfed boise 19t/25 1945/6
193/20 198/22 2ON/ER 2OOs/ ZA
BOOKIE COLA Gl /a ZOL/sa

20179 201/18 2093/3 2093/4
Z20O/17 297/18 209/3 209/6
209/19 209/11 2109/8 210/13
219/16 211/74 211/58 211/14
211/15 218/%9 218/11 219/13
219/24 220/38 220/15 220/16
220/18 220/109 220/25 22/9
2734 Vb ZAGAT POLAT 225/20

ZESFAS LAL 2 PAIS IG ZALZSNG
243/49 243/19 243/22 256/16
256/16 262/17 262/25 2648/11

2HB6A 22 2697/1
264/185 272/19
Z77/) 279/1 2797)
26Af a ABOVE 289/74
YRI/ IB 2PBIL ZZ ZALES
24009 ZIIAIVG 294/14

ZOAL ZIT PUL?
designate /',:/ +
designated U['%/t
designates
designed

a ‘ yd : pa
Pi, wt Are bh ges ue fa

LO6L ZL)

269/14

Zn if Z
24afl2

Z19% 22
Z3i/
ZARB

Z9ATIA4

bei ty

Myo ise |

Iho LUb ge,
Poa ory

designer /!}47'.

designing

designs “irr 7.34
Pepe Fae pe ae SP ey
bive ed phe

desire

desired ::... 1:5, pod
pete de

destroyed side

detail fer} Jpuure

detailed pays,

details ‘Ul/i' [oa/la fa
efor

deter Toe dd

determination
Pe debe [RIT/ |:

determine lou, :
Pours fo pe ad.
SAP a |

determined ©‘! | ‘il.’

develop Jl’. tido fev d lied

developed tae

developing

development Ts pedis fot
myo dan a

deviation l

dictate [°:

dictated Jos Bop
sponds

did

paoor tt “ it

Parse,

hyper]
Pera? fos Pardee
Phot

Pde yt

49/19 49/18 51/17 58/7
539/11 69/12 63/19 66/3 71/9
71/19 72/19 73/5 75/2 76/26
76/25 T1/3 BI/9 BI/15 94/4
94/7 94/16 104/19 195/12
106/45 1906/8 1186/25 119/73
IZO7) 24/15 124/17 124/is
IZE/VE Laas 4 LSE 1G 52/3
bogs l43/b 153/84 LSK/S
196/11 162/1 162/3 162/717

162/11 162/17 162/20 1463/7
163/11 164/4 172/25 174/18
L77/6 LUT/LIL LTR / Ze LISS e
179/6 179/3 179/14 179/17
179/19 179/25 1381/2 1Al/a4

VAASIV 4 YRE72 190/85 19079
La4d/15 134/20 195/14 J sa/e
19%/3 200/12 ZOl/I1 7 20d/ 1)
294/25 2PNG/19 BLO/1L2 219/15
PIO/17 210/18 2214/6 2214/8
ZA 2!]5 ZLILG 2VT/ 6 PVT AG
Zl'3/5 ZL9FL7T ALOSVK 2IG/ 22
ZLAO0/2 22N/17 226/23 2279/3
229/74 Z23I/190 253/11 244/418
24d ZAIN PO 2LAlee BAG;
PSULVO 23&GLIA Za fl 2an A
PAGE PETIA fae dh 2 aash dy
ZAaelG PALS A LALLA VAP CE,
ZNAPYA PAGAL E ZAVALA et
eye a Fahy eto a | 1 | phe 4
ZILA ZAATs bas “yas
PPIs ets sd earls edt
Ghd ZR Aa Fd ey
“ ie ‘ i : t
PATS 2p el eile | s
Zee lt. gears '
4 rr? ed ! |
reel?
didn't eh] ‘
si 7 | bef, ate] ha |
Lo4 . . ft 4 | 1 } 4
pode fy vy 4 '
Ped‘de the bbs tog
tel fs yee | i ’
eta yg 4 ' 1
MeV aah RP |
"Pde de td ee ! "
differ [4// [lee te oo
differed onl jee] 7 |
difference [let oth pat
woflS Poss oo? Tiel td |
Pbdesd bused dts es pothot
Poor) lita, Pott. i]
blosee tape hi Pye ad
pba ba Pee gp dee bo dee at
beled Ptr boop ope pe dt
brsy de, Pete Ta bran 4 1]
at iy bay :
differences ma
vee PO a de to id
rode

“Wyo fot 4 Pad ead
toads ‘
t

‘

different
teeta |
1ois
| vo]

Case 2:02-cv-14102-DMM Document 52 Entered on FLSD Docket 07/24/2003 Page 88 of 115

distortion

146/725 147/4

123/20 1565/3

LIO/L Laesa 3

180/25 201/7
214/18

digits 120/92

179/15 184/27
196/16 Lya7/1h

L72/l2 264/13

144/68 240se

directions /1%4]

ZPGSZL CELA?
disagree /*/?
disagreement

Japa a ler,

eT ee

17 fo) [oa fas
vt

discussion

Pace ct peas’

Pree pats
eb 4
display vil
disrespectful
distance
distinct mo |
distinction ‘|

' }-

ts ! ua I

distinctiveness

distort
distorted

digital 212/25

direct 2/19 5/

directly 48/75

discussions [tities
dispatched <4i/ |i:

displayed oi

dissimilar '3."?

distinctive |

D

differentiate 73/11 73/15
74/14

differentiates 11/2

differently 4143/5 88/19

{55/10 171/24

typ ey
Sf AGF LE

2903/24 216/64

dimension 185/14 2930/17
dimensional 55/21
dimensions 37/13 178/93
195/290 194/14

% 168/16
264/14

directed 2214/16
directing 2431/25)
direction 94/2 34/4 94/7

/t 4

eI es

, yen se Peis
AGP AAG
discarded “471
discarding “ueeoe

discern J[::/i 3!

’

POOL 4 FA Ls

feitde ] ‘yt

VON 9A 1G

difficult %5/7 GA/72 Luss?

213/4 213/14

disclosing @«.. | %

vai arid
disclosure <:%+/
discoloration 14,
discovery (to/ 3 Ul le 1]

discuss vi | Ie
discussed ‘srs ' ' ‘
yy fo4] popu tae ilvyed?
| rood te Edt Dd de
Pet, 4 vty fs. cals ty
Psp. 4 jy o4d ity oy yt “|
Pe P poe F pe re Lr eye de
discusses  i§.: |?
discussing o[-.) inte

ny
PQ GQ) 4s fot

Pale TO Vb

distortions 2f)

g/4

136/190 144/10

distorts 137/10 137/13

distributed 177/79

DISTRICT 1/1 T/L

document 25/2) 45/136 %39/i4
52/3 82/19 62/16 69/14
Tifes Fafel ‘2/20 Y2Z/22
211729 231/13 246/18 2594/1

documentation 2404/13 237/16
257/7 258/10

documents 293/22 2565/25

does 6/15 8/25 17/58 30/21
39/2M% 41/5 45/12 46/5 47/4
48/23 T5/7 BOS4 BO/E 41/2
B1/14 #5712 85/19 89/10
H9/1L0 Bash s BY/1G Balls
BY/Z2 RYL2ZS GOAT GH 95/20
TOI/I2 LG2/8 193/19 VG38/13
lo3/2 154/6 11l4/4 f1s/4
Libsm JAL9/19 Lidgfeag en
121/18 L2l/22 130/16 30/12
13/1] 39/11 139/1% 41/24
153/79 154/74 15AS2 boars
lunse leis 4 bers bef) 9
rye PueseQG Leif paae,
2ONS EY PAL SLA AYES Pall?
PES A Pall dh 2 IA hued}

PE ah re ae pea date cir
ere yA Ped vag lt ears
eoyly se,

doesn't Defi ane gy tee
ps Phaydo fldets Py‘ede

Ye bade, Leva ven?
vedi pil east. pore
roe |

doing “levl 774i ow
Paya ta peta S az tie yh fd]

Dolphin j'': le.

dontt Pend ats | |
! boy te Led pia eget peda
pe eae A Pe 7 ds

rT) gts do desl 4 | ‘
1 pif yo pity 1]
"de. ada, fray fe fae Coa ee
mes ony ee ue SL J on PG
mf PP poh eae | eg, oI
fhe dt. fash Pets Fy le bier]
Pes ety dia wae yd ad qoutes |
ais |oule)? cse/4 | tyr | at, f oa
teaf tor Toast, Juey | haar |
baer] tloe st cies db tid’
Ph doch Py dbe ta babe Died
Pde eye Placa ppb poate g
Votes Pep to debe dea dt don
Pode db tee 8 TP tae te ba, 4
Perere ) Dp ada td debe bora pot
Pde ob dab te pbk pte tbe
[ff Potties dhe ope ‘ |
peed vob det date ou de :
Leer Pt dese Pd dee tbe fats
In Pere da |
i Pho fold \
i le o|s 1
bos | | ‘ wou

t Jd

226/16 227/12 229/11 230/23
231/24 232/2 232/19 233/24
2234/5 235/38 2356/7 238/20
2339/7 241/22 245/19 247/15
2438/23 249/7 249/12 256/6
29907 250/18 250/74 451/27
22710 IPN272Q 253/17 ZUas?
ZOTUS VS 25B/20 25R/Z1 2OR/S eI
Z29°9/7 260/12 260/16 260/23
2657 26/17 267/4 268/13
271/15 275/3 277/3 277/17
277/18 282/21 285/2 289/73
243/12 293/13 293/17

done 465/16 37/7 38/6 43/16
49/20 52/6 57/6 60/22 60/2 %
T1/18 74/10 78/2 RS/L Bess
36/9 14/19 Liss l l2as/i9
123/19 $3d/12 145/25 1467/7
155/4 155/77 15%/4 159/24
S6/11 157/75 167/75 17175
L?ve/1 i Las) 174/20 1174/2)
Ll5s/23 168/16 189/25 1907/4
1990/4 202/68 2113/9 230/744
2327/4 2437/8 2433/2 245/16
ZI1V/16 Z21ese

doubt #13/4 [57/70 lads}
ZBL IA ZOOS IM 2 tls lt ZA

Douglas (/:

down [JI/19 ets le Ute tae
Phe f ee Pao ep ge ey dL ade ie.
CEAING 2aAP LE PULL FA DY
Beit PREG) share oa ict,
ealiy

dozen oe! h oe oe,

draft strlo [srs vive tt

Zoek hak eS
feria l fipeg rd 14
ra | ye | : .
Sb eG Le Ad 1 | :
eal | pee [gee a!
fy Ghee yur
drafts fins VU eli eh, fied. |
VE ay A Ge
draw [aeeh 7b at
drawing aed ‘ ‘
PE yg Fe yt roe
Sag a a ge |
Te asa ty yaa | uy cou dee
Tyr da s/7 le abs poe curd
Meth Vids yd Phare a ds
BFL
drawings o4/ 0% Cyl tase
TPS ad tad ade te pt a,
ata ate ] wae 4 ’ S400
Pace eae poet | GLa. do dae
Jos! ; hp yan ‘| Ju bree |
"h/ ed 4 fhe ory ote art reer |
ring, TH) vt 4
drawn Jes pa Vt '
dress i 1 |
| 4 :
Too | “hdd 1]
bon ede dd ' | !
+ 4 ' 4
14
. le
dressing .:.
drew vod 8 io. of !
drilling Co
drink :

drive

Case 2:02-cv-14102-DMM Document 52 Entered on FLSD Docket 07/24/2003 Page 89 of 115

D elaborate 43/22 establish 2327/23
ELBRECHT 2/6 2/19 2/22 34/3 festablished 79/16 131/21
drive-by 294/6 2695/5 2387/2 259/15 288/20 establishing 131/34
droop 143/15 143/29 143/21 Elbrecht's 236/15 esthetically 39/29
143/25 144/3 144/15 elected 51/24 1596/9 198/2 estimate 211/6
dryer 1132/4 element 194/12 1Ll2/iz 1593/4 jestuarine 7/16
DSD &#/11 8/13 LO9/22 1B1/1ia Bias 11 2247/2 even [1277/25 l6l/t l/5/e2)
due 140/24 ASSL 176/1 144/19 184/21 145/18
duly 5/3 296/% elements i7i/;s 154/13 205/29] 186/17 220/12 231/5 236/14
duplicate 51/12 218/10 219/25 220/72 220/848 252/23 267/11
during 21/24 55/16 58/19 224/21 266/23 283/25 event 41/19 118/25 226/6
538/23 63/18 128/22 148/19 elevation 67/7 eventually 35/7 116/19
201/10 2268/2 236/20 239/10 elicit 74/17 227/16 2356/10
239/14 254/6 254/12 254/25 felicits 74/14 ever %/11 11/17 12/12 1zZ4/2
261/14 269/2 287/23 eligible 1964/7? 124/7 201/6 217/2 220/25
duties 6/4 66/10 eliminate 178/1]% 221/0K 225/22 2339/7 235/16
DVH 3/3 3/4 63/4 70/5 72/19 JEllig 27/24 23/14 23/19 239/25 ZAS/I2 249/12 ZEdsz
TO/6 75/13 76/12 78/18 24/21 2415 34/290 34/72 every 437/13 66/25 115/10
78/24 79/3 79/7 84/8 B3/z2 34/24 GA/2% 36/3 40/1 SA/I1A 152/29 169/15 1943/3 zG1/4
BA/2 B4/H BS/B BGE/20 88/2 53/15 SH/TY 94/5 95/276 291/5 201/12 YOUT/SI 223/15
BA/PN BOLD INLD BV /1 91/29 lO@sis lle/s2 ll6/9 loses2h averyone 24'5,/%
BALA GALA ADS LOD | L72/18 Leu/3 le4/i14 187/13 everything 37/1) 4 50/19 94/24
197/15 Y14/4 1E7/14 121/21 187/15 1990/6 207/16 2046/1 190/13 196/1%9 196/71 152/22
29/0) Veu/12 161/25 162/74 233/15 23/15 Z57/GH 264s % ZUZSA2 2V441 256/14 2ubsie
lees‘ leez/1e les/lt leaf i else 43/15 $O/12 19/3 2U/3 2544/5
164/245 Leufl seas 2944/4 ZOINA 30/5 44714 UBS TBS evidence [7¢/16 “228/14 2ae/ 1
dynamics  71,',/74 VAL PH/IG T50/6 194/10 ZAPATA PALL AS LOLS YUL ES
E ZOE LE PUN A LG PATS EO 2a tele PGAL2 Loh s calls Louete\
oe _ CUA Cae aah bp east, PIL A PEALE AGRE ean sats
e-mails ) | Pahl ey ype reef oe br eles Pd thy

each iif bated Liye LAr ed eer dra, evident J JlJ7/is led,15 Louse dn

Pig PAT pap te be embarrassing <- \// eed/iy
curs, embrace <j,.’] exact J/o)i liv;
earlier [of vw «4 Shs employed 4'.-° 1", exactly (/'1/
pe Te Lt employee /4;/15 banfs. AlLer yas
Wate Poa po Sab sure employees 47-°/! 1) ehsv% Aah lt FURL vee
oe “od re a FG enabled ands et a ie
Plivin aivyis Pao. >a ie*ss21 lencompass pare es examination ~“'i3 42.00 2.73
cee dole eh lets de Via yy encounter <7? Zee Ley pba d
io Peo tatoor past fo obege]s end | of Ze | vidoe Ae weed wee dy ba
‘ ep tr we Ee | ended Jf - [dse4 bpaeede, LO a ea be roa PG
‘ borce ae 9 Yogbec,
early :/ | |: ee edd ends 73/7 ¢1 examine J2CS} fo. li thas de
: Ste ML bong engineer ovr it ni da vite ee Fe Lo ye a se LY,
Hor GG mo fod ea pay dt roy eye Pl der Flr .
red Yee G8 engineered . |: / examined (]'/' 0 Cane ttn |
easier ee] dtl tb pda tk engineering ‘"/-4 “/7lu Cll tl fexample sf 18
Pfte dP pees Pha pay enhanced Te AE] 4 ate | axamples {| 6) Joya fae
easiest [|:..- enough oesh li Piast sade ds exceeds) [6 1, /].
easily td, enter Pi J 2a AOE Ha, except Pale] otaéy fod ot] ag dt
East on entered (')3/'. Chase a apse
easy 97; 1) entertainment J1/ [i exception |.°/1/)
economically 11/1 entire «ie Pfay weed excess 0/1 /1.'
economics [1/1] 3 te Ar bh Poe Py Gs [a ete tb. lexcluda [soso
edge lo! [ids d bidet) lldee saa dd exclusive led
P}c.e entirely (i664 fa/o4) exclusively 00 8 i dao]
edition Je of fall ds entitled oot / sede du aa,
education syd antity J! | Excuse loot Jit thoes
educational '', J") entry [+t " Pavan tay 4
effect [ith Pier Juracs envelope tober ps wid executed 1), 4 id. |!
Poe ptt ra Pee cr pot det Bhd thee ea dt Pg VL ee bb
Jos ot ate fa tee td dept hayes execution wre dey dt, Pog
effected | \ equal
effectively SA Le dae equity oF : executive - nF |
effects i: : equivalent : exhibit wo
effort ' vod Errata ‘ us ert . Foes me |
efforts .-+ ° | : , Li I) ooa de |
eight — fe ot te ryote especially Do, : ot
eighteen Sod ob bet ESQUIRE : ‘ . ' ye e boe gb dg
either me ryt vt ' ‘ : i
toa tea tod essence mG poe EG i
. : : essentially : : ‘ . mo, : Lo,
! . .

Case 2:02-cv-14102- DMM Document 52 Entered on FLSD Docket 07/24/2003 Page 90 of 115

E family 12/7 Liri2 13/17 13/22 79/6 34/14 91/3 99/9
far 27/25 50/% 170/25 Ll2/3 190/9 107738 108/10 123/17
exhibits ‘%/1 4/1 11/22 fashion 136/7 217/4 2237/3 124/2 141/73 144/21 156/1
138/15 139/20 1490/23 142/17 |favor 32/24 L6él/22 171/13 196/16 193/17
168/13 281/14 284/13 faxed 7259/4 206/16 233/18 236/15 227/29
exist §7/14 144/48 208/13 feasible 1195/4 2549/6 260/15 260/17 262/23
298420 258/21 feature ids/le 135/21 194/143] 268/16 271/34 272/22 2734/8
existed 149/5 Pwa719 2ZlIA/ 19 ZLB Bhs 2) LIBLLZ9 2Z8S/LL 290/12 290/16
existence 10/18 221/179 fish is/i) 13/14 13/18 15/25
existing 20/1) 30/15 30/25 features 14/7 15/5 19/25 Ls7/9
31/24 34/8 36/27 37/1 37/8 26/2 26/21 31/6 31/21 34/15 [Fisherman 234/12
37/23 38/1 85/25 89/2 89/5 1139/2] fishing 6/209 6/23 7/1 7/19
expect 32/17 244/13 119/24 1290/2 120/46 L20/7 12/10 16/25 44/11 223/14
expected 56/24 (26/9 120/12 126/15 122/72A fit 74/24 178/16 178/23
expeditious 37/25 127/16 L27/1L7 127/20 178/156 1799/2 179/7 179/13 179/1
expense 7252/5 192/22 198/14 198/18 198/19 212/12
expensive 122/14 lz2/15 ZLZ3420 2831/4 FURIE 2RAL YS five 1é/il 49/12 25/13 Busi
Liisi February 50/2 60/11 44/11 20/21 21S 43979 G27 25 98/6
experience %9/6 10/1 61/22 65/2 12/16 F2f23 141% SA/VN 99/18 1990/4 1990/14
expert J3/lz 131/14 145/48 T5/}4 48/25 86/19 LO5/3 102/19 132/14 141/76 1152/7
ZIGh23 2ZEEL A ALEAVI PEI YY Poe/ie beard Leavy te bso/Z) loe/ts Poesls [ols 7 laa s/s
eaeila ZUd/19 2oULIS 256/15 268/24 23/9 2ZOT/ I 2iT/ 1b Zil/el
expert's 27/5/11) 209/86 287/35 2RT/6 2388/2 ZH2Z/11 299/25 294/18
explain J! /% 44/9 49/109 BI/G) Boos 4 ZoOhs, fix 51/42 S4/25 GA/24 94/%
PRE/a Tld/io This t’ thes? feedback dd/l/7 49/73 44/11 34/11
Plas )e psf 2stst, 2AGs4 feel 78/2) 0/16 37/14 32/14] fixed 57/7)
explains |1'//3 lsus|y fixture 95 /',
explanatory 7/1/15) feeling 7/!/) 2udste flange 4/8 [///)6 Lii/ii
explicit Vass da feet [i/i/f Ii/7l lesson PPM Ee LPTs Vs Rss bday
expressed «=: . sais 4 fellow ¢../ pine pote tre pe bry
expressing «75/11 felt 20044 45/7 anf ls brah ls lias le ltaseo | ade
extends velar eyo iy «4:7, |Persakali ete EL wees Pefh a jas de lbs 4 pees
extent Jif fete fov ty. de ete ah A yp Lb ES, beuf ga loushsa palsies bal eae
ey few ph 2 pee Pp athe we Paeo]e GaP spt bate 8
exterior J'. 0 ) cy eoehe e hee ge Ln PAZ Panty beta pal dba bs
esl} fiber !',/j~ flat J,¢7i%
external ({iv'7i fiberglass <«'7) * -i5 (35-43 |flats V7.4 0 0) Use ors
extra 9: 4 Pee Pe gt cas re py ey tt
extremely 7) 77 (38). field (Jo) wr lee, pe fi Ter be Epa fp fe tay
eye ities fighting -.'. 1! piven ft Pot ee Tee EG
F figure Pace to ela, be vets le ! pee a Verto be
: oe Lt - tp ble, :
facilitate poe Hop eae ts file (tolt) - dese vere Seb tae Pt pay pode rt,
facilitated pte de filed itr} late e th de tee? seg Pt fe AT eta te
Jer us fel, ts bade, ee ee pp ee |
fact so rota de i) dfales lade 3 ned te sled oats
bet ad Ea ahd failing stu lich s Ture d be ed
Patt pa bee bb et pate] st lege ] flaw Jill. Jia) Vite aid
Pebed fat da Gaede det Veggie Peer Phase p Esovbd tua gs
PEE Ee ae PP ae, filled (l/eed CURR Pee Pade deb pee te,
eho aye |e ree at | final ior ce Jae to deed, de raed
factory ft ered aca PPV Ae Le Sa E FLORIDA !}/1 it leila ded
Pap ay kr, finally Ilo cals i fed Fre anh ban,
facts [ss financially carey 4 ote bt ge Ly a
factual Sot dF find 34 Jy pec pasa, ered pgs
fail lort Pers ga fade bo ab see tha ds focus oe OT |
fair Lave Pee hy ER ka et] ora, | follow [sks 4
Phe Gb ae Dee ded finding «.° 1°. followed | | i
Pes pap pee boa fine «Jo buon do flaca following ‘J «fo 3 45
Petet cere pe cade ports ds Pah be ae qa Pa a |
i ' tl finish Poet doe Edda follows (<j
faired 1[ Pop ya pork fan peered pele, foot = 3'.! 5
fairing it'll} rere’ de finished “4 Sir forecast i
fairly : poy dh pas first | - Pe foregoing © ji me
1 . ve mE ye fg i iy Foi : . m4 forget so
: | So, tog form se fea] ‘
fairness pote Sots hee, | . EE, io , i Is 1
faith Lo rouse ft | Vyode ta i \ beet obo ' te
fall : i | ro 1! itor d Poa Vy Pood gd
falls sot t is ey
familiar ot . i :
: : formal <« ii
format pot
L _

Case 2:02-cv-14102-DMM Document 52 Entered on FLSD Docket 07/24/2003 Page 91 of 115

F

former 7214/4

forms 47/4

formulating 252/12

Fort 1/24 36/14 39/15 85/5
296/10 2397/16

forth 34/11 los/il 229/19
250/74

forum 3/19

forums 228/25

forward 104/3 143/16 144/15
TAB/10 137/23 266/14 267/19
267/23 ‘

found 125/19 227/15

foundation 131/9 131/22

four 1091/8 107/4 31/14
166/23 1865/3 185/11 2O%s15
264/95 2826/7

fraction 102/12

frame 24/13 195/14

framed 7',/%

FREDERICK //f,

free 25/10 20/4 FI i Aisi
ZI/1V3 Sts Ia Laelia lee /1%
Let 79 [ods ed Less 4 Laas e
Leaf? lease peasy qd Liase
Vryfe Vad d Lado dy Fil sed
biases Vial Liar yd pas dy
Peseta biases bey sO Ese 4
Pete ty pote ed | ii be 4
taaeg he fo Pov ‘ |

front «4/: ‘ sore
P4io : ' IG

rYuel wee Les

fulfill pee de

function rhode Vary
feu. dd

functional 1 a
Pealogt laces

functionality (§:: !

further @/ 4 !4 at

future _

G

gallons ‘

gave wee pho bd, '
Wass ' “ee

geared i' 13

geez rates |e

gelcoat Jluriti | tie
Poh pe get pa

gelcoated | '''' +

general Py td Pat aba pad
"aR par et mort poy
Pbhooe bade. GR odd Pooptepe st 4
oa | tae d | moe |

generalities )o

generally =! Probie tS
it ie. Jee Thode oped
Te ye dob ged,
| i 7 rbot og lo]
fous : \ | “4

generated ' yt

generations

genesis :

gentleman

geographic

geographical

geographically

get

293/25

£0/14 20/15 23/23 35/12

36/24 42/11 44/9 44/12
46/17 63/20 74/158 98/12
135/2 138/11 138/11 138/13
1439/1) 163/23 139/47 294/15
213/10 229/15 2239/01 2an/ 2g
Z4YR/T 252/14 2596/7) 2he/ 13
PHL 2795/4 2776 2Tis ls
294/)
gets 7239/15
getting 40/18 49/23 S1/2
9A/TS 229/19
give 5/24 19/7 45/76 SU/z23
69/7 88/25 94/4 4A/7T LD3/25
124/27 1433/7 1346/9 Leese
LIGS25 LI6/22 Li6/24 Lasse
L977) 2043/6 2111/6 218/13
Z20/8 23VI19 2STLS AAT fa
244/4 251/16 255/13 2E2/9
given “/11L 25/14 80/44 Fish
122/22 125/24 126/139 12/13
L34/21 1493/7 143/11 L6ev/i7
ZAG/19 2344/1 242 / 2)
gives 123/11 137/% 202/10
2GPALO 24h 4
giving 243°/149
glad (8/70 7b /E
glanced 4///15
glasses 1! / |?lsry
GLENN
global ‘
L igo i/ de sl, dooadsos
Mae ‘yrs d
Hed soled.
bias , t 474 | thee]
brody ', Zio you
la . 4 her 4
ede “y4 ce caf bai
ce bod Aeote ved, 1 pel
eae yd 2 dat ' , va
oa “ roa de 7% , |
a! ‘ 14 ree Pots ]
1
goes | peo. Ddoode
{va Pa oa fee di Le
he da Sfp he 1 |
going ‘|; Ay]ose tn | ’
Sue pa pate teed (oe
Hq sera dy | Hef Fy ga et
Base) ed be eh does a aay
Uist bass Fae tts Pye
Py Fay rey H 1?
soe ud tebe day ca ets Pore dt
Phos T)d & Pieter pre
bog bra | Sa pte ys
bedow dated Patel pated
ls SD pee Ey Yd kee be
1G Po oPasicotl ts Pe dda ta
14 Ie odd Peo ote qd doa tel. tt
bee] POP TP bt ba vb
bio poee Las Lord me ae
iy i ! | ' ! 1
. or 1 :
i Ia
‘ od,
good i
Ju i 1
got : 1 : i
4 yooh pepo?
I

Government 2/10
grab 141/23
gradually 157/22
graduated 4/17
grass 41/4
gray 126/10
great 149/727 174/19 2907/4
greater ‘1/4 56/13 56/20
UB/\ 162/6 254/11
green 156/727
GREER 74/3 92/13 265/4
grew 10/5
grinded 1545/1
grinder 37/29
grinding 119/19 157/9 157/24
ground 23/24
grounds 35/73 43/1! 44/14
VA/)G@ GOST LBI/22 223/24
grow (4/7)
Guard 415/214
guess 47/5 30/6 AD/2 ALS?
LZ0/17 122/13 239/22 242/20
242/24 2HS/IO 269/25
guides dd/iG 44/1) 44/11
Gulf 1%/1)
gunwale 14/)] 14/14 16/1%
Polls 2EfL a 24s 4s VALS AS
P41 /274 169s) eal sles
gunwales [:./|-
gut ris
guy eI RAYE NAS | tide
vei | ice
guys |--/ 1! }olal/d
eae ZY , /
H
had ‘ 1] | Loo wate
% ( : 1
Ze,7 li 4 1 ryote 4d,
soogs ; ref] dee
i 1 ‘4 : 1! ,
: bo] : rot
mod TOP |p tet cd
‘ ey op nd ee ngs
: ‘ Tye Fay py ae
ais my Jobo tay ftafoc
bude meld et Lada ot Dea
five | Tones [eee bl pbbe ds
Pha bleeds Ppereo py]
{dove tote passe pas dy
fal Pola, Pod Par
Pig th pa Pee Pet
Jia de J » [| dee ba hid.
Nay oy de pd hese dos ‘dese goa
made re PP heyy be ga
[-beocd }-] lar ot preset mrt
la ry my hy
oy roy tae fg tubs
roid Py ortae ds re
\ to. ‘ '
ro] i pet | I
4 hor | Lo!
1 is ne
i ' |
tote pos .
4 I. ij } j
hadn't
half my med
halfway
hand

Case 2:

-cV-14102-DMM Document 52 Entered on ELSD Docket

1124/2003 Page 92 of 115

H

handle
handled
handy
hang
happen
2456/7
happened

6
21

Lo

42/13 147/3
160/8 259/25
8/24

9/25

S477 2049/4 2ASSVS

35/4 $6771 39/15

50/15 61/22 148/20 143/22

50/24 150/25 156/7 156/14
211/2 269/17
happening 231/21
happens 93/24 152/23
hard 63/14 144/2 203/6
hardware 235/15 235/16
235/16
Harvey £4/4/%
has 7/24 11/21 12/9 12/12
12/19 15/23 29/6 4374 43/%
45/18 46/% 47/15 65/8 Hlins
BO/1 65/4 1102/4 119/12
19/2) 1Z2/2 Leas? w2r/ 1?
178/13 728/13 144/1% 14177%
147/16 TU2/20 Lelsi els)
1610/15 bods ]s Ji fs lavfad
lea/s lh 6f% LBA ZY [RUS 1A
Pol fds lav fle VsA shy danse
Lou? Lash roast vues,
whee ey ye yy Sia charg?
Pl Fi wer dy i ted
eee La re Er La ee 7 | eed
v o7t ot ds le | pg
Zell et 2 Pte gy lous
“atin si | ve
hasn't v3.4 7, %)
haven't 14 Lo f4ecl pala
Jens . yey bes id
ey she pt ea Ley
having 14
P7Gr\, be, ] ae paledy
i i { v4
Perse | opfae ts | rrr
he J] I’. | .
~ } Ios i id.
ren bon, ' i
me boo ef me poe nnd
wep tty och ty te, 8 fap.
Pad/t' Pber td Pha. dt Tiare
bbls [ty Phase yt bast Pye da
"Phe bof] ‘ a Ns
pry) ‘Iy7) ! Le
eed te a Jul guety
odie rae {tl hor di] hae
fad td none a Tyree ta}
ele | eed | | Tye
vfs el i ra yay
J, | a ! mo [ty
he's there 4d og] yore gal
Boe pe dae bab td) baie dt
Padooto ote No EG tl |
obo. da a 1 ‘ ‘to
head Pope Py
Sa, 1 i 4
[}oo i
head-on : 1 \
headache i
hear ’ oo
heard ‘tol te
heavily Ve
height to
held |. 1.

1290/19 127/16 133/1 137/5

help 1148/4 1383/6 160/38
178/22 179/15 265/24

helped 2536/7

helps 132/1

her 32/7 71/16

HERB 2/6

here 29/17 29/24 33/]2 10/18
45/165 55/2 64/4 64/2) 66/16
HB/VT AG/R TIPS E22 ARLE
89/9 91/10 102/20 110/12
119/18 119/723 1209/4 1209/5

1338/6 1490/2 147/6 147/14
164/13 169/15 169/21 177/19
185/16 187/74 192/1 290/11
200/23 211/16 212/4 2212/6
Z235/11 244/16 2591/1 2517/9
ZQI/10 251/24 263/5 4265/8
266/18 267/4 270/22 276/21)
Z293/2 295/1 299/75 3300/5
sis
hereby 296/7 2597/7
hereinafter %/%3 67/19
hereto 7295/4
hereunto 2497/15
hesitant 1°7/14
Hewes 3/7) 8/25 [0/14 10/14
lusey \Vose4 VAs 15
hey 71%/7%
high J[ed/ fi3/la thas de
lint e Jeter s PUA |
high-profile pase
high-quality i4/°%
higher (Uis/vs afr}
highly <«le/ia
Highway 1/°-!
him if es 464 de Vi
ays | i iy rote ey sk
aft, 4 nie Maoh jy abs
adel dog el se ge 8,
pes | Puce Late dd bg ee
bell it Polat} bbe ed
hase PY da bbe. gt ionty
‘Lae bats luv go
, l. ! AF ok,
blag Py tae Lb ye
vas |
HIN 1
hire m/l “bbe ob yee
hired v/s 4 2 /I/ |)
his 21/7) O4F fi fata / tb]
mest po ese Pb tee ep ee]
tts | 4 ee Dp tis pao ts
Pause Pade dl 2) le tbe tre
we ne | SPP rads ya
ode, Moret th de oy ah ebay
CPV ds ped a Zh
history ve] Pach 4
hits aye
holder ! °° 4
HOLDINGS | I> ‘| !
honest 1
honestly ! ‘
ie .
hook i
hope ! : | |
Hopefully °° 1 |
horizontal M4
horror at
horsepower. :
hour-and-a-half

hours 138/12 143/14 153/20
i3l/l 266/139 Zigsa
house 15/3
Houston 276/38 276/i7
how 6/7 6/21 7/4 190/71 10/21
LI/1L1 17/8 {k/25 19/14
19/14 24/3 26/6 27/21 407)
30/18 32/17 44/25 56/15
BTA 3P/ 4A S7/ i stfo 87/11
AT/V4 38/17 43/7 44/23
46/16 48/7 48/13 48/14
43/20 54/5 54/7 57/13 57/22
75/15 81/7 84/8 34/24 91/1e
94/11 95/18 103/23 103/25
112/6 112/722 114/6 115/24
123/22 143/10 145/14 149/14
IVO/R VIG/1G LI6/I9 LIE/23
164/24 1660/5 LRV/11 lB /23
188/21 188/11 190/2 1492/2
193/11 193/13 196/7 1928/9
ZO1/11 207/24 209/24 “2O8/)
210/85 211/32 244/22 234/24
246/11 24R/1LI 250725 2UD/ LI
206% 4 2OBING 258/42 ZIEL3
278/25, ZRE SI
However }4#)]/14
HPX FU /1d 1/1 ba
huge [7/7/14
Huh ba f/ 2's
hull PLUS): Lees cea tee
sis VELV YT EG Le Gb a GL |
ea Popo ta he footer ta 5
tells Ave ey dere Leet Vs
Pf 4 toy le Vy. ’
Poe Pare Gy 1 Pasa
pee] gael { ) tos
pits? hyoy § eg
whit w/o ahoia aay i
VL Gee a fetes
reyes » 4 n , rie
qe le hes] ~ /)
: . 1 . a ade 7
ili a! field pias da Pp) ae.
thor ds ae bt pn Pegf qos
| sd . | \ Leary
Jotays 14 . Pade pd
Paden fas Paes i pass
Pdeejo ops Piet od fp eeg ds
pedo cia pees | hop fay pa J date 4
Pia Ph ae Ph bff pt pateesy
Peat Paes To Psa bh yo boded
pobeh dob e da psdes lade ed
Pease da te ot dodes "oy :
dha, Meee dd : 1 24
[say de ob’ hoteyhay nif de
ebe dt oe] ' wee] poe td
POE Pe Yl poe des tas
‘y ba ly? wide
i , ye | el ay tt
hate yt so Ta,
hulls bet fee by )
fie da
hundreds
hypothetical bal rod |
i I
hypothetically
|hypotheticals |
*
I'd .
I'll i 1 yet

Case 2:02-cv-14102-DMM Document 52 Entered on FLSD Docket 07/24/2003 Page 93 of 115

I

5/17 9/138 11/9 11/19
13/11 14/19 17/16
21/21 24/19 30/22
32/23 39/8
d1/15 daft
SA/l7 uS/ 14
SITS SI/1E COSLS
62/25 63/21

65/4 67/5
63/7 69/8
73/24 74/10 74/23
76/13 77/13 89/16

I'm
13/2
290/16
32/4
49/14
G36

51/16
Sa/8
62/5
64/13 64/23
67/20

76/1

34/9 4Q/17

SI

68/13 68/128
73/9 73/10 73/19

31/7 31/9

82/20 83/14 87/22 88/14
90/16 92/21 92/9) 96/24
96/25 97/41 99/4 1N0/15
192/23 105/18 195/21 105/22
1907/8 106/13 110/23 114/%
119/25 116/72 119/23 120/3
V20/% VISA Legs l24/2%
V27/22 V2AIf24 129/13 130/22
130/24 131/4 131/12 131/19
1432/1 132/75 tse/4 lees lh
Lst/le Lasley Lass75 144/05
L46/1e J 36/45 Lal flo Lass lt
Lsafly 1ta/be baosin Jade 7
bili’ V4e/ be Vie cet, These,
ae Ldi/le tbsee tins
\' Piaaed sd Pte ts
ba Pts h fee Ope bie ba
bone Pep forry Lae ye Jey yey
boar et oly 4 ote | be la
Peas! Yet
Pe cr bau ae, iced pugs
Pedi Lae) laa bp pase
i ws Yase7z dd t
Parse] perp tos pa Lo
Joerg 4 ] Padi ta
ep ; : fo Piode
ayly 1 ‘de 1 | fo | 1
sip 4 eg 4 > dd wer]
; ber ae bg sos bat
\" To : :
s Meta EY ’ is Li
rte Phe | roo de
‘ A, Pa vf dt fate | oto
PEG fae Pe eee, 4a |
CMTS LF OMA A sfe
I've Ll hp a fede Ped ed
bist ed Po dey pte] } ooo
aa eye Py ea pare i
Pou yom Tbay ?e Phy oh poay
Poh y er pea ey pede db pens)
Loy dt, bare co foutee a
mys ue I fens to
woe ' i so ‘ |
Pray ; ba ’
ae > yey
idea start dete Jos
pepo payed} ty reorde
identical mi b Poo. dt] ‘
Pere bo pee or yt nbd
fo ' 1
' it \ i Jit ‘

identifiable
o ; ,
identification
! . ue : il.
: tt 1

identified

identifies 2934/23
identify 34/15 47/12 121/2
126/21 235/15 135/22 146/21

142/14 143/12
240/16 247/23 2
ZRF LO

identifying 1145/4
identity 220/11 426/27 “2K/11
if d/is S/2s of12 LI/19
11/22 12/3 12/20 12/24 20/%
20/22 21/9 23/10 23/11
25/13 28/18 31/18 32/10
$2/11 22/20 32/22 34/
33/10 33/19 34/3 34/13 3s7/%
43/6 43/7 45/14 47/12 1972
53/14 54/2% S77) 58/24
60124 GI/V2 G22 GE/10 Hash
64/11 65/25 67/3 67/4 GI/4
67/2) 723/23 76/14 76/16
TI/8 77/23 81/7 82/19 83/14
1/8 du/4 BU/L9 Be/L BB/1
9O/19 GOSL9 90/29 91/79
92/14 92/24 96/10 99/22
102/15 102/186 108/21 Losses
199/24 1i2/14 Viase2a Vlas lo
LYV/2A Shes 3 Vie/1 3s Lids i
Pratl pls/eo plas Veh /se-
ieAsy VPA) Vedas baer
lays Laas) Laser Very
Pen lp pak lea peat pa bye,
Pdivit tdaets Liszé2d Laie
fdef]e taded Paty ls bbe
liard! Looe fio biee Vast
Pee bop det [ero ad rote |
tier dA Lab GG broyes sy
PES Leaded) be tet. be
rete dao ials, “ by ye yy
budéeers daders ba P4tey
Jree ly ptage rer [oat a,
ris Pare d db pase der eee
page e 2g eile bp ee |
has pit} ! ! Phat de
PEE OY Pe ded goa cae]
ares | man? eae Mle.
Phofa tpi] che ET LG
pat hay, Say ’
eae |e ar?
‘oar dd ‘dp th thee ot | ‘aay )
mee tt ve /s td vege de ots
PELE Pear ae A SO
wil Pa as PL ss, OF ot
PRR OW PRAL U abs | ha |
II ‘
dllegible arc vee Lise ts
Pe fe
illustration a |
amage ll}! dedi Pedi de
bene eda eb de bet
Jrrnce th bea ta
imagine <2 3s ft) 14 |
imitate . - 1
impact Joi. let he
Sado Io |
impacts = - }
impedes i¢; i:
implemented i-:
implications bees bodes
impossible : tt ’ 1
ie . Deg i
Jee be Gg
impression

improper

146/17 223/22
BO/7 2830/8

improve
improved
169/17 178/15
221/79 221/12
improvement 17
2092/5
in-house
inability
inaccurate
inasmuch
INC 1/83 1/23
inch
297/13
inches

167s
202

206/11 207/15
incident 741)/]
include 26/72

201/13

2172/7 2737/4
included

Z2N6/17 Z224/6

bO/ 14

2/19

22/10

LS
7/4

64/14
206/15 206/25

B9/13 89/19
192/12 1112/6 174/21

216/

196/18
Z00/

187/38 190/9
196/14

1643/4
29 2900/2)

144/3

2007/9

192/12
Z0 4/45
19

16/12 162/23

2506/4

Log//

224/21 2602/2 262/4

133/41
2620/5

272/10 277/14 29079

includes
272119

including
Larv/ 13
Zar er

inclusive

incomplete’ /.,,
feel y', Veyh fs

inconsequential
sate yy

14/1)
LOSS?
vaGhel

incorporated
incorporating
incorrect

ZH/ 14

Zoe fe

fy
2b |

z

:

ey dita

incorrectly (47-.

increase ‘,. ii

r

increased rods

indentation ede

independent i...’

CA a Bie
independently
hy ed
INDEX . he
Indian !
indicate te
Paar ts [age f
ast,
indicated
e171 1
Plesdt |
eee fe |
Peder Peprod
Pogo po |
maf Lae
indicates «|
br tay

|
mos
i

Joye

indacating ''-/:.

fouted.
indication lou
individual ‘

a Locus

individually
industry

fen Ta
infinitely
information

Vins)

2OLVO

labs?

dOS%
6 PIG ?A

Case 2:02-cv-14102-DMM Document 52 Entered on FLSD Docket 07/24/2003 Page 94 of 115

I 77/16 85/8 126/17 126/18 253/18 261/16 265/8 2656/4
133/25 134/1 135/2 163/23 260/22 26//6 267/8 219/12
informed 237/3 2655/2 265/5 179/21 202/16 212/12 212/18 ZT1/5 251/20 2892/2 2827/3
infringed 264/2 213/15 220/16 224/13 224/14 284/20 2853/5 287/11 289/16
infringement 223/25 241/2 Z50/17 257/18 261/7 261/8 2990/3 291/16 2927/5 2977/22
Z41/15 242/18 2443/3 243/18 2795/4 2717/8 277/19 292128 292/25 293/12 294/15
ZEG/YL 265/19 265/22 2647/8 introduced 253/1 2554/3 2174/8 | 293/22 2294/6
2638/1 2638/17 278/15 279/22 introduction 2659/1] 287/71 Italian 234/17
234/24 PRA/R PRASS BOAESIO invalid 69/21 709/? item 64/5 Lz0/2 in3/s 224/6
inherent 50/8 inventory 113/3 119/5 items 120/15 137/21 141/5
initial 24/4 24/5 25/4 29/22 jinvestigation 2233/2 233/10 163/20 169/22
33/7 38/8 39/3 39/6 39/9 251/23 its 15/23 93/6 146/21 162/9
52/5 58/6 60/5 60/14 61/23 invited 264/24 1583/4 219/12 210/15 214/24
61/25 240/7 invoice 45/10 47/17 47/18 221/2 225/2 225/20 244/1¢
initialed 290/22 47/20 47/22 47/23 273/13 293/15
initially 252/22 involved 14/16 22/11 51/17 itself 111/29 3143/12 211/18
initials 66/4 147/19 147/22 1480/1 1884/4 244/6 245/49 2207/3 241K 2ISSS
L75/5 25UT/4 259/16 Ivey 260/3 “vi/S
input 61/45 involvement 176/20 J
inside 2388/1 involving 5/138
inspection 7143/1! irregularities 20/4 Jaceby 44/43
inspections 234/725 irregularity °5/24 jammed 2659/14
instances 19/2 226/1] 423/21 |lirrelevant 196/24 January Z4K/?4 7249/0 ZIO/ Le
230/16 231/22 isn't 67/17 69/14 104/22 ZIU/AL EI 2llse'
instead 37/74 45/21 44/1) L42/2 1511/5 163/290 2O5/12 Jet IdA/G ZVISIVD ZVBS YG
Pealy ZIVLS 2ILRSS 2RASL 3 Z19/18 .
instructing J95/1l8 141/17 issue 97/1 O2/43 Vii/e Vil /s jjets LO4/5 elass
instructions Pifa firs 3 PRISE) Le 4d? Liss ee Shas foam 66/4 86/4 Test bs/',
intellectually <1 ‘/12 PUGLEY, AVGLS VL BS TE PASS Ae LHI/YA Vee sli Vals dy ies y
intend sef dh Lately rear li 20S 4 lisse 24t/ 1 4ade its
intended [urns/7. !. issued /¢7/ 7) Jimmy 355/35 viens ye west,
Photo els. s issues ‘U/ie jerls lease ELATS, ZED sp lt Lhe,
intending fn ff 484 “Arla GAZ $4 Sav dt, uaieis 2b A LS
intends <§i:/i! aie Bay ed ee hee Ge le eb ants oh
intensive te | ola pie eae A ds) i bes gs John (7.1
intent (7/! 45 0) Vis pie |G gee, PP baer fae et joining ‘0. °
Jere beet bbe et Vee Lt prem cis fber glaze t Zab Vi, joints fie ii'
bed lpy [eee Jad ef ib a gas tt judicial V7;
Poe ed Zale does te ldo eoecte tiets fhe fey aye be S July 49/i% dled bis ayes
Pb beet ed os Pees lbp te deed tei iv Fists. Givys Gdle«
Arvo pagel Ly LoS 2 Yofas July? Vale lever ul ie,
intentional : ' if Pe, just 24 ee tb ae Ls
intentionally [40 i3 Jules! PUY gah yh eee pa eae Pees Ghat eae Po bee ed
interchangeably |: °° ' cot ASA Sed | YG : ser eg beth das den .
interconnected |: °° pees Ey spe Pate pote Yep fae be Te pt ae ud
interest J tit pie! ay | Bae Fy ae ee ft AE ee EP FY LG
interested sida yobs reas Po dese tA pd ty | myo RES AL he | hee Pb cae Pd
interesting fee, Poe d FAS LQ fuse rode S47 | Pussy fies TP pares Pbbobe
interior yrebey SE ee ea pe de fd ed plese TL seb dae Laas de
interject 01/4 Borda wae sb ep eae sp uae bop adee bad foo ddetde tapens
internet '/)Jo ths de coe) ] Potyeh Tae ea pues a pars 3 PEP/VO Les bit etd Lee ed
PAR, PAB SA es 10 Sasi? Poors Jor se Jae ye pons ya Peas tO Litt) det bet ds i}
ye, P28 fap ha Pere fee dap. fan fae pd oped Pape pote !
interposed Pas] Play d Ubdy ds bdo Pd ies Pose} dat. Joo dtsehe sd me pt
interpret ‘l] 9. ° Pou bd bade Pate Lars PPO TT batt gk bt bee be
interrogate «=i6' [0% I? Peas da Pade pate po past CPOE eae pt ee te yn
interrogation +/7 7%) Jari Paap ae bp Pp aas e par ad Tan Ppt pie Spier pe pee
Code eb Ste [dtee Pete Tater faa pe Bobs ChE Ls bet \
interrogatories J!) ' | é/-: Pqdoet bbe da Pad bo dada ud Sade Ow de bl a a
Piogech Pte pay dt fy] tofott |! Pd. J [tite fob aes Juels eo | aed] ' 4
bse be bei tae du be do bees beth po rep h ade
interrogatory ' ee TY fora t Polit a ted ' K
wep eee Pre] bead od ! | | ' - -
pang Pua hy gee be de lo | ' ' K-E-N-N-E-R-
Paco dbo pdb ote ibs 1! Ponr jo] ' keel .
he ! hyd tt my ots pope, 8 be ee fore, pote © bo be
| | J “ij i] bey
| | ' ' uw i, \ ' 1 ’ 1 jou | loa 13 :
oe ‘ fo | | [+ i 14 | 1 ls ‘
wo \ : ; 1 |
intimate ta : i i! i
into ! : ae : :
: !

Case 2:02-cv-14102-DMM Document 52 Entered on FLSD Docket 07/24/2003 Page 95 of 115

K

keels 1396/24 136/25 197/15

206/5

keep 47/5 134/19 266/20
236/1%

Kenner 3/7 11/17 11/20 12/1
12/6 12/7 12/8 12/12 12/14
L2/1l6 12/19 12/743 [377 1La/e

13/11 13/12 13/17 13/18
19/11 .

Kenner's 14/1

Kevin 276/16

Key 251/6

Keys 234/7 234/10 251/8

Kim 45/15 248/12

Kimmel 236/17 237/12 237/19

237/22 2317/23 238/4 238/%

238/25 239/7 239/13 239/20
234/22
kind 73/4 $7/13 13'/%4% L3rs to
148/13 149/76 197/79 208/14
234/14 236/15 239/1 243/7
ZASf 4 LAGS
king 145/16
knew 4127/1) 271/27 2?2IIZ\
POLS. 2OISIS
knock-off 745 /1%
knock-offs /414,/-1
know pote de TELE beve
bép i Loe ba bee bad ote ds
PYF ya rte yor bok] eae dy
vue] ) ft reo:
dite og i phy Ilys
aes ' t ’ }psu¢ 1 :
Virdee Jetia Gly da fer gt
oe | Pye ug ey de , I>
Meet alt ly wlyya ate
iy ficke Fl, a4 feed
17 | el, lf ty f
pra d, ree ale | nae
be mre dep eye!
a q|e |e boda out Lo '
‘ ] ae! ' ‘log?
4 | sot {oat rose
mel | Mee doa 1d ls
ee te bey fas Phoqe 1]
Pato) pekep Pars Po dec
Pboeee Tbe se ble coo bd) te
Phdveo Player t Pid ob bla ees
bbe that a Pyeth Lpaacs
Plestbe Ele Zt? Pp tera debe
Lobes Pods de dre loth f
Peder diye ye deb bot 4
Powe} odo} pte ty pace gt
Petes Tareq) bay 8 [fies ds
bused d Psdeds budgie Thee.
lt, [tas | |! | fas ‘
yet Pets ets fasts Pee ps
fev LT foie boda | |
beet ogy pe} i {
| Peo} fe pb bod !
Poa Pb baat yaa i
Js l Poa Jed |
moot 1 1 ‘| : i
, 4 Je Lops |
‘ fot Poros doo} i
4 on voodoo (
‘ pos bi!) ) i

208/13 208/18 208/21 209/17
2i1/3 211/939 211/13 211/20
212/14 213/25 214/21 220/25
224/9 224/22 227/12 229/21
229/22 239/16 230/19 230/23

Z231/6 232/22 233/22 233/74
233725 2447/2 2434/3 234/%
230% 2 236/71) 236/24 23B/1V2
2Baasd PAGLIE BAT/IS 2439/5
248/71 248/17 248/22 249/18
250/7 250/16 250/18 256/22
250/24 251/1 251/7 251/10
251/12 253/17 258/20 258/21
258/22 258/25 259/38 260/11
260/14 260/16 260/18 262/7
268/13 271/15 271/18 271/24
272/2 PISS S ZIGS/B 281/19

knowing 14/1%

knowledge 13/22 116/16
168/14 175/23 189/16 189/22
22/4 212/825 2250/18 225/21
229/24 226/75 226/65 230/13
246/16 294/25 2968/2

known 247 /i2

knows 99/70 171/15

L

labeling 476/%9 %2tL/))

labor ''./35 “//1)

labored «+.//4

laboriously "1,17 Hyvsu4

lack eared ALT FL at, Gee le

ete it tne tt AS Ube SS Lae el
leu ey 4ele,

lady o4')/1i

lake

language Yan. fo,

large ‘«7/]% TOU Patios

Cod yy Raf ya woah eS ey

LOSS Vile

late Pfu, pordes

later Pas yqQoutowd
Pads de ae hoy bbs

latter Pied fost sos
stot? 1

Lauderdale

law 65/4 [Ose Oe ep egy
mee day

lawsuit oe oe bd de
hts) ids 4

lawsuits

lawyer oo c/)) Sede da

lay olf bo ate dah |
SP aed

layman's Pl ara

layperson baa. fdr a

lead pare | Papoobe.

lean t : i

leap fou Sb, soto

learn :

learning i°

least fect foi tt iy
rae | Pyhoie

leave |.

lectures bod

led : : tad

ow 1

Lee

237/11 237/18 237/21 237/23

253/141 238/%3 238/9 2358725
239/79 239/13 239/19 239/22

Leffew 66/3 78/7 78/10 79/5
161/24 162/4 187/15 233/146
244/15

Leffew's 66/4

left 9/18 24/15 253/19
233/22

left-hand 215/21 288/19
253/23

legal 62/10 65/5 65/11 1159/7

159/17 187/22 222/33 2eusits
224/38 224/10 243/7 2145/4

legally 2345/7)
length 89/10 95/2 112/93
L29/72 157/19 1384/9 197/15
lens 37/5 13f/i4 l4z/u
142/12 143/18
less 29/8 B?/\1 Vel/y itis?
186/16 Z2ll/?) 245/146
lesson 21/2
let 5/19 19/16 33/22 44/3
QO/11 49/4 Gl/le u4/20
B3/10 BESTA BBS 2 93/9
SHBAIZ LL6E/4E%9 1P0/241 1217)
Pesflb leash dears 1 tus dan
se la b4i/3 thal ee tris ds
L4%/ 5 LG0/e7 tees doy Liasdy
PHOS? bade yt porte be pty to
ZUGF LE ZL 482 cA tt Ai he,
eed Bape wd a eG
241 la COLE eae tl oe ate
Zee pei aby vibe af ?
Zbaha gla dh “
let's vires) tle fitae
Legh 2 4 Ve pe ee eG
joes ey Yoh 2 ue
SHTP LD Praeae
letter try te
file aye cere btw tL GY
Lote pe we bebe 14 ia.’ * ide:
ZAG Pa 4p ae yp eos dee.
SUL) 2a len phooee rio
bee per a gt de ped
J dah lb adie dt Phode 2b]
STO 2d ep ae Ze y
Pye de Lb bie bes,
SIV tat]
letters Jie Sota oe tg
TMF] Pa hap gt
PLYEEA SPAY Oy Et yn.
ya | Tp,
liability 4) ‘ bro? my
"YOST pa ep | Jie da
lids yoe yn
lift Peas rr dea
“flighting J:: ' i:
like be eS eho de. ot |
heed add of. toe |
ny , ut Hoy 1 '
1 ‘ i | 1 |! !
| | l !
Phos da dt |
Is i 16 i 4
a, ] : 1 t 1
liked “youa ybod
likely io i.
limit

lamitations

Case 2:02-cv-14102-DMM Document 52 Entered on FLSD Docket 07/24/2003 Page 96 of 115

L 36/1 84/15 115/2 115/11
131/2 186/11 Zi7/7 22/1/23
limited 94/3 157/6 176/20 261/1 274/19 274/22
284/9 looking 31/3 31/8 48/3 48/17
Lindsey 276/5 276/15 276/16 SL/7 72/18 72/21 75/6 83/7
linear 1499/4 199/5 83/11 58/3 69/8 90/25 91/6
liners 2259/15 BBf19 S977 S/l2 99/16
lines 20/11 24/25 30/2 30/4 49/24) 1959/1 100/18 101/)1
SH/15 GIS SISK GT/YR LLb5/2 !ol/y LOl/sS 1Gi/tt 106/25
125/8 125/17 125/22 127/9 107/11 1907/21 108/5 109/73
137/10 137/13 146/19 2892/7 103/74 109/25 114/72 117/25
282/18 284/2 284/18 232/3 118/3 119/11 123/13 123/16
292/19 126/20 126/22 123/19 1360/4
list 3/18 47/11 47/15 52/12 132/13 134/5 138/23 139/23
54/2 60/15 39/5 91/19 140/2 146/74 160/15 164/78
20/12 158/22 231/20 247/1 L6d/23 164/25 172/20 173/56
247/35 247/10 247/14 2ai/ta 140/290 180/2% T85/2 191/16
ZAT/LVA 247/16 247/19 247/29 ZISSI9D 2611/6 266/148 270/74
247/22 247/24 248/9 2497/5 looks 36/2 45/9 62/17 78/21
249/13 250/42 250/73 250/71 79/16 79/21 82/13 44/16
listed [78/79 J4)/5 298/10 liv/tzg Lls/le Leos) lais3
250/25 123/17 125/15 145/14 165/106
Listen 171/11? 165/12 192/16 223/21 27/0/25
listing ‘Gl/ll S27/19 G2/)11 loose 714/71
3/18 4/24 SASL 254/146 lest 25) /20 25H 1/25 2BO2/%
POEL 2527/7)
literature 47/7 25/22 84/25 Plot 2/27 YYA/ I 4 PREIS
Pl6/275 Yles7d bloss leae) Louisiana J3:/71 “8/3 228/18
Perse, PUARS AL POSE FAL IS PIAA ZEAL A
litigation o/lr f7lis feisty low bute Lob IG
Cait as PALS Slee Pa ae st low-profile Z46/|4 43/145
little Joo" dy’ Gilde vict ey bs
Vale, fats bode ete begat lowered i':¢/9 [5 :/J) 7 loa,
Zale? toy pa jecac’s
verde 4 fy LUCIE Laer | Fe bo eae |
LLP -: lunch 2 1°./1%
loaded ot Lyshon 77/1
ocate aide sia tote}
voce ° 1.7 boars pat M
Popa made ae godf Peg, pie ye
location seer Las i Zt ge te [ity “2004 237s rie eh srr
locations see 1 - ak :
locator Pere ‘ } 4 AVP ay ha ae
logo | Ps otis foley ie Jp ae i |
oye . pee dot yee Foot v4 tet se, req ae] 4
eh tego hte ble fda bee dd bes la bes] |
ere de ape 4 "4 ‘ riot ys | ‘ae |
logoed mer ds pe bP eer See Poe Bee
logos mee pe Sy diode | lease
long off [h/t felis et Phe yh mE Lid fe eG Fb eh ne]
Bye do Loe Abs Late p be. Aye se FEAT VISE EL ie le fase
OES AL ode | EPP este ys mary ROS ZY BLS PT MDa dt
TAP ae OP Et Heodae nif) ob Hoo Se ey os
longer Jif i jeer il is ! Meeps ad st poate d's
puny GTS pe Pee | Sted tae
longitudinally bony da ’ bebLosy | my fx cae yee]
LONNIE odo eyeoray PF Lage) t divas dn
look Ji o3 Il: Pigg bot Pode de Pade gps Perso fur dae ds
Pee ae ae AE AL bre ds Poe ow Eda bbe be pba eg?
pre des dpe pay db pe, pes 1 ij Todd ae td Tb eb pe,
me Sop bed ta bie di bbe de hte pot
pe PP tet Lo Poh bio oto los
Lot bobo |, tte . 1 roe dora i [a : !
Lj ot peed bert tp be 14 bby i 1 |
| ms jot] 1 oie ! : ! 1:
Pde [ty y : i bop 1d i I
it Jd ‘fos iv! | 1 ‘| 1 |
Pe ds pod : i i ' Te ,
Dob do tte] ad lout t i I:
te vod, ‘ ! yey .
_ . qa 1 ! ' 1
reo be cho oat 1
looked !

176/23 1784/1 179/1 179/6
179/24 180/7 180/78 150/13

134/24 (84/7 185/17 185/14
158/19 1583/6 189/%9 169/14

1960/5 191/22 194/15 195/11
136/24 146/12 198/11 198/146
198/424 199/35 204/25 2045/5

ZO5/% 207/21 208/10 208/17
208/65 203/13 204/16 209/21
211/74 211/15 211/25 212/17

212/19 212/24 219/22 z2il/z
221/20 223/15 226/12 226/13
228/23 228/24 230/17 2231/6
237/21 248/10 248/17 253/77
PO4LE 254/25 2559/8 255/25

296/14 PST/1 4 2ORL/1 4 BORSA
PERL2ZP POBIN BGA 2TG/Z1
Z2BT/LA LYST EL
magazine 7/1%
mail 231/73
mailed /458//4/7
mailer 74//12 247/14,
maintain 47//4
make 4/25, 10/4 10/21 25/1¢
PHILS GIS 1A Ses A2 Ves ZA
SA/160 34725 43/15 49/19
149/17 GO/14A Los LE Asda
SALE Godse Seri Gb
NaLee alles asl a Fy ea
Per yt, FAr yy 'A bas phen
ad ys BIA LOQ es 1 ay |
phy Poel] Ptrred pie
P13/d5 Plush bite dé pdorte
Peete tee gop. ey bad
Pads by dbase! lazer gd
Puede, Lebar yay ae
Tedd ly rer | vd i
1 Peet pie if 4 3
| Joaevt jet } Nouey
parryi dora/y lo 4 Wag
yrity zivd fst ~ 1
cote | oe: eaujegy |
“qlee Voy 4 4 yee ast |
re | Nass ide ]
rst yt sys
makes }q/ Perdoode | \
plas | | Joe! !
rosy baer ey ad
age ea
making Vos ds Paes Ser ds
ga ay ee es, 'y/e
PYAR VODs 2 flee, Titer td
Pao edo Pda es pte dt 2 bate ba
Tey feof Z ft Pah at forties
more Poo pre yok tpi te eda
eye a yt fg
man Page Pt dee | 2
management IJ | vo |
manifested PPiol 4a 1]
manner Phat hp fe pp ets
Phowda hn
manufacture I: M4
Bet oy '
manufactured iola
manufacturer Ps my ,
manufacturers
manufactures
manufacturing
4 :

Case 2:02-cv-14102-DMM Document 52 Entered on FLSD Docket 07/24/2003 Page 97 of 115

M 216/4 217/11 221/18 225/17 282/11 282/14 283/9 284/12
228/68 230/41 2360/3 230/17 254/11) 284/20 285/23 2286/6
many 12/15 12/16 12/20 19/5 267/12 267/21 267/22 208/19 291/25 294/20 296/38 2596/8
19/75 19/12 19/12 19/13 268/21 269/1 278/18 284/24 298/14
19/14 34/25 44/23 48/13 2865/5 2859/8 265/25 287/22 mean 11/5 [8/19 27/18 36/148
48/14 49/22 54/7 57/13 59/5 293/%9 299/2 300/2 301/72 30/71 31/13 24/8 27/8 46/17
Tb4/6 147/38 184/74 2038/5 Maverick's 35/22 ‘%2/\1 AT/ZY U9S/ hi GSD GLAD 107/35
207/24 209/186 211/73 219/24 241/15 242/18 243/33 243/18 TE7/® 139/11 1439/11 1490/7
246/11 250/75 PR4as?eI 24A/LA 2HE/LE 2Eo/sh 144/35 148/17 iLbe/le LoB/3
March 1/14 46/22 46/23 46/23}max 89/25 167/%3 175/24 176/24 182/23
66/6 130/15 255712 255/15 maximum 1279/4 184/13 1385/13 186/l6 189/25
2388/2 296/10 297/17 may 32/21 46/21 46/23 78/3 196/5 208/19 209/8 299/25
margin 177/13 78/3 82/15 92/19 93/7 GE/2 Z11/6 213/3 241/18 2127/6
marine 1/8 1/20 66/16 77/14 97/2 99/22 124/24 124/10 243/9 243/11 243/17 265/9
156/25 221/23 250/15 251/9 124/12 124/13 139/18 1546/1 207/19
2951/9 251/11 4270/7 276/5 199/16 1399/19 2909/2 Z20%4/% meaning 65/6 65/4 67/7]
Z1o/8 2716/8 216/15 276/17 209/16 210/5 7II/IS PIL 22 P1I/ 16,
mark 32/24 L/d/15 |75/4 212/4 217/24 222/4 22:3/% meaningful / 3/17
2195/3 269/25 273/1 282/1 229/8 233/7 241/5 244/6 meaningless | 37/4
248775) 244/13 2495/3 247/14 250/1% meanings 1|87/7'
marked 44/75 45/4 45/77 69/181 250/21) 250/24 2586/15 2UR/\ 9 lmeans [9/15 Jol /8 Liss dd
T1/43 62/71 83/1 116/19 258/21 2548/21 258/235 259/% 2902/17 264/13
121/71 129/13 134/14 174/13 2599/9 259/14 273/9 282/22 meant 36/71] 141/16 l48/43
IVs LISS) LIS / 1d Lis ys 252/22 148/245 Lod/1li 2415/1
LIG/t% V?GH/s5 191/718 4195/6 maybe Z0/)2 74/18 81/7% 86/4 [measure 207/74 7594/5
215/65 ZARSIT PATSLA 2645/18 BIIV2 OT/\2 99/6, Loa s 6 measured 704/720 205/24 294/\
PROSA 2PROLPGR PROS YY 2HI/IY Pdr/ 1 Voes9 2LeAS I Pv alse POALSZ 2OASEL 245/%
market [l/l bo/% (5/4 bash iy vas i vie syd dese, measurement 74//+,
vos 20% 274 2-2 2OF 24 404 F Ime G/I BS Z 4/4 4/1 Los measurements [145/77 1/1
Safad ta, ete Sih) tie sist. hosed Tide TGS Pde fae iI PP pap hah yt ay petal
Sderot bad eb Lye 8 boyd easel 2OP et wei es measuring f/4 vias llr erie
peta ye be parre yale yy Phe bd ster ets 4725 61 215 mechanical 2): //[+,
) The fu 2! glee bh aed Safer thy oe tde de fmeet vals]?
| ) yoy pathy | lorie it ree tG Wyte Toe. b dae ts meeting Jorollorivty dic.
la ' ; thy 2 aft, olele ado ede st nts rifd f Fives leg he der dt
Pate ge hi ea gee 2 ide ys Bee Ltn se Eee el nese eve gale Vd es te, ds
marketed J i7 i Uyili S944 was 8b et PUA YT, way Td SE a A sae bo Pads
Cae Bape rer eas pe eS Ln meetings jj-' dle. ++
marketing apis bere ghee ae gy sd ZV ae he Lae at meets [ors 7 4
Plot e ew Go Foe ele ty eyelids Vere St ye fon Lipa |) Ey member i4 4
Zui be ede ed Adeeb ease ilaye blerba lliste teied memory oof '. tele:
pe | Bede eee Pr Fe ae Pepe! : pedo meMmoS yi
mo eh ya ke Me | Pete yes busy da Laois Lear ie Jmention Jiechi ite
matching Joie Palo po pare] a Laver doe boue cee mentioned 2h 7) : :
material «. prec fee dante pos pre) jy rEp Laaé de fad fed | cyt !
)o Pod bay [Jue da Pyle qd Poo Pdle tl?) ftdledy ‘Ta aye oe far eG
hoa pop dur ed pit pecs he Phos) PEL Pade eb bd ey ds Poe ea Nag a te pte! ]
lo Popoetet da ee dh bass yd Pbeeed bless d ddte tl bbe t Nae los fda, ft | ‘a4 \
peed lu, Poe Pp Ti bak) lar sheep oa yy }?
materials f/f |g vast PPest4 Pee po ded cat Tee [te lee | Phebe beep Ltt pve
Phe Lot Abs Lites de be ee Jee SEH Lets] ts bee ety da, | Josie di bof re |i tt
matter fu/%9 /s/qe [ousoo Lftet PPP PO Loe pas SO A EY Pt ty
Pate a Phe pa ty tae) Ped ode dap ode Tete bh tad tt sad. i! / i j ‘
, 14 bad, bl dade tk Lege hahaha, Joye ty
Matthews 81/.': [eoa, pags My paar se fora | message ‘|| }
matured eT | fotos forge Po Use fu faa pos messages °'.)°]
MAVERICK Pehon hone Pp one ts Mb sa be One ba tee met mae,
wd Pon we oe a DP ga dd ob de bah de de metal o'') |?
hoa far Pa ee fae, Pe Te da Sat Pe pe Pa ppt tte / fmethod oi
fea faye} ods SN obde a Vd, Ser ha ty Ey etd methodology Pie lo
ly Pace Pd oder bdo bbe s Part tye tad, sad] ‘ Miami Past Hos, loo
14 Sty Pe be Gy ue ! ! : it roto Lod
1 l ‘ , | i i : '
‘ , hoy odio ‘ Jeet Jd | t 1 ’
Pi EE Td i. : | ‘ LI j : Michele
moo TT | roo ty . 4 ty . i \ ' ' .
J doo de dd socal pe ge pe mid '
“Lone f! Hoe, ve] rit | Pd : ty
Vyoces poo buss  ]s rete heed he, nos : middle == /'
poe be Pde rh bo pot. not rol . poor yt midstream
! , ot : i mo, . . might
a + 1 " . to . : . oe | 1
Pog I - i
- -- 4

Case 2:02-cv-14102-DMM Document 52 Entered on FLSD Docket. 07/24/2003 Page 98 of 115

M 70/19 73/20 74/22 380/11 267/11 267/11 2654/7 2769/19
BO/15 87/6 94/73 BF/I1 37/12 252/35 2384/1! 264/22 287/11
Mike 2236/16 236/24 2357/11 97/12 102/%9 113/13 122/19 2392/5 294/25 296/49 297/15
237/19 237/21 237/24 238/1 138/12 152/13 155/39 166/23 298/2
238/24 2339/6 239/939 239/17 170/3 176974 170/6 170/10 myself 13/11 22/13 92/1%
mind 22/3 23/7 125/10 145/11] 177/73 183/75 135/18 165/18 57/9 206/14 2127/15 2439/8
219/25 2720/2 238/11 279/74 199/12 193/11 193/24 Loos 2364148
mine 34/7 187/% 199/79 2111/1 211/77 2111/7 N
Minute 69/8 292/49 PYR/1 212/12) 21C/E 219/12
minutes 220/22 257/24 263/18] 238/19 243/16 2345/4 254/11 naked 113/25
282/11 263/15 264/4 276/2 276/19 277/19 name 5/7 5/8 12/8 14/24
minutia 184/4 190/3 292/11 292/24 26/14 26/17 26/19 216/23
Mirage 15/14 15/15 15/17 morning 35/16 1689/21 2599/7 Z219/2 2139/3 2594/2 26073
mirror 51/7 51/é 2793/1 2690/5 270/12 273/21 274/2
Mischaracterizes 195/93 most 22/12 29/21) 36/19 42/% 2176/1 276/12 2777%
1905/15 94/24 135/12 1490/4 1865/8 names 19/7 436/15 249/%
Mischaracterizing 105/21) 188/190 218/) 4218/5 218/79 PABIVY PASI BAG/2A PSV
24/4 218/12 narrowed 155/13
misdirected 231/23 mostly 11/12 National 77/i4
mislead 105/20 2454/20 motions 1%1/25 nature 9/22 137/14 157/15
misleading 77/% J4/1i) 285/12 Jmotor 235/25 2591/7 Loi f2) Voeseu Addy al le6a/e2',
missing 127/24. Mount 276/48 1396/6 1196/6 258/16 2467/22
misstates 223/24 mounted 26/1%3 ]41/23 neat 36/7
mistake 59/274 124/% 125/13 mouth 25/16 necessarily [4/23 |Lé/t>
242/23 2B5S9 move 37/11 33/2 34/2 157/72) 46/15 AI/2Z5 65/8 IRs
mistakes !174/1% Vo2/22 222/243 POHE/V2 PL9/K L4Ad/2G VAST LEAs eG
misunderstood /77/7/)!7/ moved 7f)7/% need ‘'/47 43/245 4se Lest]
mixed [2/1] Je/}d vo/ti Mr 4/19 ZIAD PAPI PIE? NEAL tafe, BELAY VOL e, Lis
model IU/12 40/274 ANs24 AIS) PAV vas li easel aes 4443 Pouoftsy Latele bauset. Pde
al thy do dl/ee dae dn ahi AU BAL te AA AA AA poet Lb pape da ba ae bee pate
do, ci to. le bos ted dae des wef 4 ALP FS Pesta Jiu le Mobs lit vu thet, eae,
Pee pe Cab ee Tore fab eet buns, fee se d ters a pig ys needed PUL PUP ete ey
Oe 8 poe bey aL Les Phay lsu se laste bh tiie da ITD ee LAA ee i Ete |
i! ea Thee db thas thes Zusth ead ly ela grins pie ye vide td
I. eee Pee ba SF pba al Leb Zs og eth es | i gt, t+ iv [needs Pa Zt date
tlart ref he Yee dy Ly hf la 2 gery negative wl t lie bby
les ft | / bags yp peer ty Pees pa igs Poy r et ein!
besee tees h The Puede erqe it vee 1) negligible +: ‘| os
pete | i myob ees | easly PING Pe aD my Losier
bey | ) Ce GE eta TO a7 ny neighborhood
eat aa sae | Ms eer lt eG sy neither i'9)//',
models pote gt Ufo much : : : nest
|i. noe feb we da 8 Lleida based db Gel Zl tansy] never Pe) pl) beet tbe ty
modification por dot bn Se Te Pete pe yt, pre Foe pee, Peete fetes y Leet a pees
Jos Port foes ae fa Sbore pe th be poeta db fa 2 ss pee pe a ety |e
modifications so] Pete? muddy ‘1-1 % Ske ad
Jerrod pre ft fan. ite suse]. [multi-colored [1.7 4 new : poet a tage phe |
modified aera Pode. lo)’. multiple ‘o/s te lietse Sia PL teh te aes sop ete
Pete) dt te bh died Sod pat fe must ee Pho odtadol cy dere fp pero pa
Joti fps MGA EP se 2 abe} MV o4s/ [der du dpeeba bles) t bur be
modify tefl oloaary? MVI lore Poa pe Poss gt Petey pee |
mold hat da Case AR N/T OO my eR TET 14s) 1 a7) pas de CO AY A pas
ae] ot get Pa tes tA TS fete Pd py ta ee, pa ep
ep Fete ey Pe Ps Sep tab ot atn ae Pup 4 ae next ee My A gaa PP 8d
ttle | Lbs d tye bbaeqe AAS or Yay EP Yb ep ae ty tia] yu Vee Pp oey fee td
Podoof dP ebo ps pets byes ob dy ed Spt Fe Potae [oa des be ay dP ye FP pede
PEA tha Aa Vey eye copay ot pina’ s pede jes tev de Jot passe fo prety
molded ted oT Code dt Sab ER pera ty bebe re Pda ep pp foot foae ok, ype) oe sed dota :
molds Ped tS ep a Fab yesh ye Pity. dot, Ge poe th Pade) 6 dnace [ote phe ti
tae | Patue) dba ct pPbae) [pret nicely pt Eta,
monetary Vtode, 2 dtedoodeots Pde | lao \' nieve \ i!
ya Moo dd if | |‘ wt i night 1]
money ep Pa as Jove pone poate ae Pe nine
month pathofes tee ge fae fd ict | | 1! 2. td 1. [NMA
Parole boas Poe ty de Pods ' Nohody
months ' pee atts pra) ' boven, nod
Sy Pa She be tb ba 2 bok. . non-compound «5° |
more: | Poo pe ds ra : none :
i Pesos ye Ed pet uot PE ‘ mor +: ie. mo,
Ls Lo] Soe ep ed, m4 ot : oo North :
‘ pe . , . Soe ct Sa : NOTARIAL ‘ I
i 4 tots . Poa | bo ae Notary
\ i : .

Case 2:02-cv-14102-DMM Document 52 Entered on FLSD Docket 07/24/2003 Page 99 of 115

N obligation 244/21 262/39 263/4 263/5 267/5
obligations 240/14 268/13 2790/9 2790/20 2790/24

note 70/3 74/13 observation 134/4 Z74/9 275/25 277/10 277/10

noted 55/16 56/6 63/23 observations 115/8 269/16 277/11 280/17 242/12 282/13
145/17 188/4 195/25 235/19 ebserved 115/9 233/10 284/275 225/25 286/14
2983/3 obtain 247/24 245874 2AG/14 2548/3 2990/6 293/11

notes 231/159 obtained 247/25 ones <i/1 Sif l/luo w6/ 14

nothing 207/12°207/14 444/16 jobvious 22%3/9 L79/ 1 207/799 211/16 2ee/1a4
244/16 obviously 459/19 58/195 1G1/7 21/4 .

notice 213/17 240/14 241/1 124/17 161/16 161/13 161/729 Jonly 15/2 24/12 42/14 63/20

241/17 243/10 244/4 245/16 173/20 173/22 173/24 196/15 [| 82/6 120/14 134/17 166/20
264/15 264/21 264/21 264/25 | 200/19 208/19 213/19 216/23 183/2 183/9 2092/5 211/20

noticeable 147/3 232/22 245/24 Z11/21 2186/11 224/2 22476
notification 260/19 eccupants 7/18 244/5 250/13 2593/7 Z264/10
notified 244/49 occupation 6/1 2T/25 201/11 271/18 BBALG
notify 245/93 eccur 245/72 245/12 opened 7444/14
notwithstanding 257/22 eccurred 148/16, operate 17/75
284/23 odd 155/11 233/20 2b2/z operated 14/24
now 14/3 14/2 39/4 48/3 S3/lfoddly 24/22 operates 147//h 474/12
53/12 55/19 61/7 66/5 82/7 off 13/9 19/722 2373 23/% operating 147/1}1
BEI GZ th cats ls 447% 119/01 23/25 G7/L9 38/190 SAS operation «o/h G54 UG/2)
LAr/\ Y29/L5 141/12 144/10 57/18 99/15 1113/4 115/12 lse2/4 lalss
163/7 4113/7 224/23 242/25 33/9 157/13 167/4 177/21 operations %1/77
ZOU 2UU/1G 2O0/ 15 2O7T/12 Li6/4 Zlisvo ZILIA LY 2Z3B/1 operator /|//',
262/19 2HS/16 264/17 2469/4 263772 2660/6 opinion 211//5 “O/10 las)
2ZINIV/9 ZIL/s2Z) 2tes le 212/14) Jeff-the-record 7/1]// 1134/6, I4ZHs 4 VOO/ A oR s4A Lal)
ZIELe 299/G 0076 SOLE ZH3/74 Vises dn COAL PIAL Zles lad eeasn
nullable /11/ offer [n//11 237s 7t) EVA IN, EN hed Z),
number 1.2/7 {27/16 UO/ 1? offered 45/3 “vi4irt opinions 7) 1/15,
Vos len Gave Veet i Vee office 71/15 38./)4 dosis, opportunity [077 ). fui?
Vee Tuts Jarrad sts aust, leita Ges, avs ha fefet Ball Zlivla iis Cher ge aL EL
Be bee rt pe Pd ae hee, beilet, 22 9F Pl ete LE opposed ve5i iter} oluss
see 4 Le tae ge Pei ty officer o/2 4/', opposite [7'.). (ivrel
Pye Pd fo, pepe be foray OFFICIAL woe’ et] optimal peo ft
peed dia eb at Lan offshore Fs of frei Lal, joption io i pases Lae.
Poet der Ptge gd baie tls pany a? Zettel, options !e. 0 leu. be peut s
} fee paar ey G qb louase often lars: Jass P25 pA LAB ei Liters
Pore S gee TE Vi pe pees? Oh Pry ey Pe, pe phe ry
! ’ fh ty | : Okay 98.69 Livei Jie 4t lade. jor pie tM re ee
] Pabire betes bee y Te bee be tte Sat bee he, pores far a fae a vay. :
Tonge] base h pate | {aa/]? Goats Sif Ty AG A eh de 1 1 eo :
Vea pt ‘¢ ] Yt a fat 2 1 | t 4
numbered pu ! | eee yty bearer 7) 4 ‘ {i,23 I's Vl touc | he 4 Jee,
numbers Pee Fo Po at ds we Get wae bre ea Lg wae ee pads, dao Pode 4 pe doubert
bee booge of  gpa dea cro4 bas’, [Oklahoma | 3° 1- ford PE TE ey
Pde ot Pprebio da Pa sory old Peep tas Pod dt pie pb ab Be Se be]
nuts (| j-1° Po4/6 [ae t. Pee Fda tba sd rei Pots Poa yp Pye \
NW a Pad ld scree s Piro "fas '
on-site oii: |e say bt te ve
oO oo once Ie Garou Jie eed epi Foor foes
O'Connor ep b P4af |e [alps fe 4 age a ea | [oe er parbr los
oath Fir lo das | one S28 Ce tt ae a] Porta fae yt ct]
object EE es es Yat] 4] Ido Pe, 4 li Ju rode |
ede bP toes donee] Pas bys Noe} fi Ube toate Pp war |S pa? Lo pale | ,
Pet g gop da, Papve Pay Oe bay tho | tafe orl sti! 1 yoitd
pigs ta 14 it pithy Lae, } of 4. ja , pepo ypoF Plow. po ‘ J
Ve SARE pte eb tae fad bys Po a we, ifr Paced pare foaled fats
Ss ade ret oe Pt ap ep pad pole plop aie td
objecting beg ere] ] ose mea Eto td bet. gd fd protpesteac uy ts
objection of + 7] fu ays) Phoe bd Phir dl dive dd bbe td redo 14 ble oP olde
‘, Rp Pa boar | Loe 1 | 14 Pooh ba de at
eV ' | a | ttl Lo bod | woot ad Vi
por td | rf bantu aloe \ | | Ie Joe deor foods
me Fae Pore l 1) 1 | a] ' , Lode
12 ba. Td ‘ li : : ' l bea
| il | boa iv 1 ! Pobog | hoa P14
pedel i: : | Pod] | roy Lo i | 44 \ \
beef Vd Ed bac ys vs bi
| bes Proto 1 bron | : 11 ' :
! ‘ ud : : 1 1

objections es porto : Loo : : 2!

oO

erder 45/12 45/18 45/21
46/12 46/13 46/16 46/17
46/21 46/23 46/24 47/1

67/25 LI3/15 145/24 2359/2
249/19 253/4

orders 3/12 46/19 47/2 A%/Zz3

organization 78/4 199/146
239/23 239/5

oriented 291/11

erigin 223/23 229/25 230/2
231/18 232/5 232/39

eriginal 24/38 38/15 50/24
52/8 54/11 56/6 60/17 67/9

67/10 G1/18 67/22 69/12
69/15 70/23 V1/1 Vlfz2 80/1
BU/9 60/13 80/24 80/24 31/6
81/12 82/21 83/3 83/7 83/21
83/22 84/25 BO/19 B5/15

BO/19 82/190 TOT/1LY Woah
104/20 JO68/17 LOT/2 LOT/23
1909/5 110/14 111/21 111/722
Piel l YV2/05 FYO/19 PELs ys
1164/5 $L16/14 L27z/e 134/20
134/78 V45/274 YV4n/ 140/)
140/% 140/14 t41/%9 1477)
P4Ad/24 LIGA LAB sd LARS E?
149/27 Lasfet Lol/tt! iussed
Pods Vl iG post athe
Pols tae ie dh boda pede t's
betas 4d bon fa fat reds de
Peper ad eA abo deny le
Logg et fp otey pave fey /
Poon oy wd yj )
Zul Yep vite | 44 i ryl 4d
Zoryr gy “4ULeyt agi ye cya fe
AGE Cee Y 2oy 4 Poe gee
Jiytiy. lis: | . .
eee year ae, boot oe /
eorge Pepe “ 7 , 4
/ Spode tet ho arg
PEVAPR Gp etd ray
i 4 [nos | Peed
shores ‘Eg doe td ] '
“bg,
originally (or! Jel.
Pay jo hype ta 7
originals Perec Ed pod t
Jt’ |
Orleans J.'t)/.’"'
other Pafdt) Pasta foeeons
Pree pe tt tae tp fae
Mes FP ete ae Ps ate te aay dt
SEf dh bed hd th ee
nibs yrs Pe tea a Eb tea Jn
as / nif tee du ads dk
RP, CU HR oe . yf 24
Qeay fa fhe Tf, cbe yd a? ! apy tt
POosyso Tp 48 totes te dn
posed Poe fee foce Pty fot!
ppd ed todas rotate | | ’
[ts Per] i 1° Pith. Li!
Pee Ftd bet. td de. ! [red
Jove ep ryt |
porter fot te M4 I!
boa boty i! ! |: |
fv | Prods los l
ls peboter dog boys |
bos biol | 1: rope \
th 1 ‘ ! 14 |
| ‘ , joey

200/1 200/11 203/24 206/6
206/14 206/20 296/23 206/24
207/16 2068/1 210/4 211/16
211/18 214/15 2290/2 221/17

224/%3 224/21 225/11 226/17
226/14 231/16 231/17 235/20
233/10 239/16 239/19 2459/5

2438/4 2468/4 249/14 249/83
POO/1A 21/14 253/15
252/6 252/20 258/16 261/4
265/18 270/21 275/18 275/23
279/1 280/9 293/3 2935/6
Z93/6

eo FF
Oe F:

others 193/24 275/24
ought 54/24
our 4/19 20/10 22/9 25/9

26/16 36/14 39/19 40/14
49/14 41/1 41/18 41/1%
41/20 46/2 SO/14 S1/22 S8/%
59/22 61/24 66/21 68/24
VOSA TIS) 19/186 10278
106/939 117/5 123/20 1546/15
196/22 183/11 183/13 1La7/10
199/20 197/25 1oasrl i ses

293/74 ZO6/1RB 206/21 2064/22
ZOB/ZV 2Y2Z/LI 212/18 212720

ZIPSAL ZIAD 21642 ANTS
ZIBALY 2IGSSIO PAOSII Ze alls
PP EPA PEI Pals 244s ds
2AUse ZU sb pair oadf da
PLIST BAGS PAA AL 24a
CU h tt PG 6 CF OOS PU Lead
226 2 I LS AT ee de
Piel, aad st

Publi ed bent 8
:

ours "ah ae

Aare 4

pie yd Jotde Tobe.

213/23

ourselves Lois.
out Peel Josie ds, ayy
LLfE Pup der Aus le eye Gas
| nde thas
1 st qa
1: de y | sn]
Pas pety Thee ye
Jetie de $b aate, fesp ea ari gre
OPP Ata gu ise 134 Jar]o
Ordgp ge eo dh lt, wv tine | vad sey
Pode da Sao s od Ce La as de
Phere Sb ay Lt be
PVs le CAST 2 As I as
ee sh dD tye de afer fi se
Pil Pe fas pe RES ORL |
Bate bo oe er hs SND pb as |
AGS EL CRS Pb ae
outlined Jiu’ | Pale od [tates
outside ae Dt as Pigs
Pear de peed ‘sa | 5 i
hae 1] mie | 4
oval bles |e ad
over y Pe Dt te pa ats ,
me dos ep don
Pcqoies rd lis roof |
iiaod. a] Jeo:
v s | mr]
overall | '
overlap
overly ‘| \ ’
own ! ] li ‘
so t
t 4
owned |

ownership

Case 2:02-cv-14102-DMM__Document 52__Entered on FLSD Docket 07/24/2003 Page 100 of 115

PB

package 31/145 124/24

pad 37/19 200/5

page 2/18 12/3 63/2 63/8
63/16 63/71 63/22 74/10
63/12 84/6 BA/Y BOS 91/4
91/18 GI/EB SI/Z0 42s)
BPAY 92/15 Bes i 82/24
98/6 98/14 G8/19 1909/2

199/18 1O1/1 i07/izg 107/14
1908/3 108/5 1038/6 108/7

198/79 1608/10 198/11 108/11
1938/14 108/14 199/73 109/11
114/%3 121/12 161/4 161/19
161/14 161/14 Vissi 215/03
ZEALAND 2RR/VI 2499/6 GOOLE
sO1/6

pages 79/12 932/15 %27/2%
215/18 297/15

paint “«%!/1/

painted 45/15 “rela

paper 144/%

paperwork  o«ubhi 3

paragraph EU/) hfe 64!)
B9/11 FO/Y Tor} fOF2 |
Z2OPIVE PAS eA ZIGL 2 2He/ VL,
ZOPL 2 PAE EV FEAL IL AERA? |
2OGLT vba fi, She FV ye bese li
ZIGh sd wb ary taeda, 2 ba fee

Zrdf/ bao eaye t
parameter /”');, +
parameters «1:7:
parcel poe oS
parent i,

parenthesis ied tn
Park i
Part (oft Lefer fae il ate ie
Peet bag ey Cae fon Cea dd
at a Ae ee td Za
Pte pan ep fae epee [dees
, ’ . . port . forts. 4]
potter Pue ere Lee eb ben ete
Led le | Je pba ees bbe eye
Joell tae | la, \
phe | boots 1] Poot
Te] pe te ed] tie |
ha] oe ‘ tl has | mr |
[dos
partial map

Partially J. '11
participate yard
participated Pe dak
ede tye Pah pee ots ;
JAbe yd
participation ‘337. '"'

pro
iosees

PA piety Le dee Pd
particular 0 Ji Cro tn,
aE EP ee bao bead

parties maT 4

parts Pee ee
bey

past

pastels

Pathfinder

io. bon ou

Case 2:02-cv-14102-DMM Document 52 Entered on FLSD Docket 07/24/2003 Page 101 of 115

P

=

2260/10

pay 244/13

Pc 48/11
PCs) 448/12
pecking 2359/2
pending 227/2

Pensacola //!!

154/16 91/5
ZIR/ILO 22H
PAB 229 IR

PIISIIL 2S V

Zrifs?

percent ¢/ln es
Yyle el
perception

perfect ©] /°

perform .':3/ 1

Peper tages
Pern Lede bs
Pots 4 Jott tay
edd fdus
performed Jo,
perhaps ye
period .|,.'|

Pore yt, fee yd
Prise pote da
PBA Aen
person 41. 7/0 5
Pots tu beady ft
Passe bo Shay ps
person's yh

personality

personally vd]
Td

personnel

pertaining
perturbance
phone ‘vas
ay Ee pt
fe, ops
phonetic = '
bel de te
photo tod
photograph
. | :

persons [iit i'.

i

penetrate 720/19

Paul 74/4 35/13
39/4 39/12 40/1
S671) G4/2 9474
102/15 116/2 116/9 162/19
184/14 187/14 187/15 1930/6
233/15 234/15 257/6 258/16
2389/9 289/10 289/196

paying 38/2 63/13

1
1

5 4

people 7/19 12/14
21/29 22/22 27/23
E2Z/\9 BES Y9%

4

Lars]
2226/5 APRS
72921 240

perfectly 7/72’

raf dbo debaset

permitted Past

fHAS OL 2s

people's /1| 35,1:
perceiving ‘.]/%)

2

Gle la Gd/l fies

performance tet

Loyd?

jn

Pils 2AVA 6 ZAGS LE

2!

bed’

my

:

personal 1] 347.'.’

tpvt

Pathfinder's 203/11
Pathfinders 44/20 48/14
48/22 125/20 136/24 154/14

/13

:
5
45 95 /

201/20

19/743
51/6
r1G/sy

ZLOL%

eis

afr.

1:

7 ne
/1 39/6
c

/1u
20)

©
/i0)

1
|

a/ di

7T9/\1 80/18 382/18 83/6 83/8
33/12 84/10 85/7 65/14
35/16 83/1 83/2 84/8 44/17
83/18 96/25 91/7 92/5 YB/T
98/20 99/13 99/14 99/17
99/19 99/20 99/22 1LODS)
LO1/2 101/78 10/2) loss ee
108/24 114/44 117/11 Liv/ty
lvls Vivy/le Livse29 Lisv/es
117/25 121/73 125/24 1133/5
133/6 133/13 133/15 133/17
133/18 133/24 134/4 134/5
134/84 134/11 135/23 135/14
135/21 139/22 136/5 136/11
136/13 136/15 136/20 137/17
142/11 143/17 147/13 747/17
1161/1 161/58 1682/1 tHAas4
172/23 173/2 173/18 174/68
180/18 191/16 215/10 270/1%
272/3 280/24 2231/5 281/16
223/17 2408/2) 2459/1 26/1
294/75,

photographs 79/2 41/3 54/14
9G76 IL 9 leet rds POOLS
V9G/2 VOG/1S LON/19 1OB/eS
LOV/19 LOT/22 L077 22 LOBs 15
lG8/12Z JOK/s Ia [oust lias
WW4f 5 VGG/4 VIGTA VASE
PL a/4 Liesl y Lisle thas
Phos) Vue dl leurs leer it

Deu feG Peas id Pesky dae ets
Lil/e laesys V4 i pas ats
lieve therelo laavd ad bd 1
Phe Zl lees t peered | \
red/le bode d torr wt
bed/22 Gausdl 1a5/5 Leos
Laon, ie. » ohne, ae

af] bee hb oye viode 7
beta pede le Jefe dd level
bet f iy ety Pa dias day
rede liad ledge ldo bays,
Pe u : Lt 1
fa tho vers ty Payal 4 : 4
beret Lalor bene bi aes 1d
baleen Vole eh puree [tre
tye} fyi eee Arp ay d ‘ ‘

yd va tty rey 1
ed oe | med ede |
“ad ta she ig

photography [Ji/8 JJ) po
Peele Pee fle eos dee i de
Peaf dn leds a pode te Ter d
Poel de Paty td beret)

Phrase 77. / | /i: "4

‘ 1

physical eer ya yy ta ty et la,

physically
heya SUSE Gp. i a ae dak
Pahe ts Pabst tbe a piers
Pes, cp ctr bored eds

pick soe |

picture POT deh ee det
Pose pepo ha pp tes

pictures berth. 3 ‘ :
Poe, . ty pat

piece 116/22 116/24 144/5
24/14

Pierce 1/24 36/
296/10 297/16
pinstripe 23/13

PITTMAN 2/2
place |/1i7 28/1

ZAG? |

14

l

44/14
PLafle Z2V9/¥L 234/14

placed 283/13 id7/ic

Placement 2259/6
places 2153/4

plaintiff 1/6 2/2 67/3

10/5 10/7 264/23
Plaintiff's 4/17 224/17

292/16
plan 44/12
plans 26/4 224/

Zt)

Plantation 41/15

plastic 735/16

plate 3/25 131/
L31/e2

platform 16,/.2')

play 17/7;

Plazeo 7/l/7+

9

pleadings /7/1/!'
Please (./7/ 3/2),

Vf fasta Pas]

PRA E Bes yt, ae leg :
Ploy! lege, [atti t ay
a Pf?

pot at

2 tye
Srp

“Ne ae,
pleasing !. + (1
pled «i'l, ‘
Plug fh. % 4-2
wef To ae yh] ota,
pee ag,

bodgvas thi wt

/

/

ten oy Coa
pie 4y Ga Ur,

bse? :
Pylet dae’ le
OA Pa a td
eT eg
oe] hoe
Sad Pay
a das
pointed :i.-ji)
poling ![°)
poor Pure [dt

Ped obaoded oda

popping

port [tooo lit

Dh. Lot ge
portion
l-

portions

258 4/

Zurn!

69/12

Zz

bils2z2

2
3

Case 2:02-cv-14102-DMM Document 52 Entered on FLSD Docket 07/24/2003 Page 102 of 115

P

portray
position
positive

204/17

possible

possibly

postmark
potential

practice

precisely
206/17
preclude
predate
predated
predicate

prefer |
prefers

premature
prepare
prepared

Dee Fld

presence
present

podlse 4
boae es
Zags
presented
president
pipe]
Hive 1]
press

pretty

pryaed

previous

primarily
Princeton

printed

prior '

privilege

probable

Ha/veu [|
|

122/10 231/18

pose 131/20

6/7

positively
possession
76/6 90/22 146/13
241/2 278/6

SU/14

17/5

154/13 221/8 2371/5
41/16
198/13 158/14 2035/13

[7/) 5

3/9

66/4

160/5 237/14
235/9

193/21 234/2
85/24
99/18 162/18
post 17/11

24/21 25/16

B4/12
pounds 49/17

286/19

pre-marked

P1218 248

1)

44/24

13/3
}3/1%

13]

predominantly
preexisting :

nf |

lusv/ ty

preliminary ‘77

t
we

[22

/14
if \'y

efP ore

tf7e td

:

‘yo

Vofis

Tae da 4s

,

'

¢

Pete

Pie ee Lind
ye

presenting

2
4

ye

|

price [s/

Peon deo
booth ce
| eed
Peo td
,o3
private

!

Ll!

by

ios
1%

t

oe

presentation
Woo.
1]

ft

4

rede

le

Lye.

fps

Lous
vi]

a!

art

principle's
ay |

piobably = -

prints IJlel/.'!

probability [:>

122/20

B87 20

Leo

156/14

Lo2/7?
204/%

90/148

i94/7 194/7 196/18 11/1
211/10 227/12 223/10 231/7
274/68

248/25 2595/21 269/25
276/71
probative 68/1

problem 14/14 51/13 52/2
S2/11 55/164 SS/17 SEs
S6f/12 SHf22 YAS 1s 94/158
aa/1l4 Ul l/k Lilsio ldai/sa

149/74 151/2 171/21 172/7

1589/1 190/22 250/10

problems 50/8 50/13 50/23

51/1 51/15 91/22 92/16
$3/149 53/22 53/23 54/19
58/24 61/19 116/73 164/15
L/2/3 2090/8 254/14

procedure ‘5/1

proceed 33/15 [63/1 746/%

266/% 267/14 268/79
proceeded 38/22
proceeds 1'1/1

process %35/% 37/21] 744/24

55/14 55/17 60/21 78/5
4

Te/L1 145/15 1456/1

1514/6 V51/8 VIS 3 VERS 26

199/16 201/190 2134/1) 2

las]

Lusi)

PIAL IA 214/21 2502S E2 22)

eisf ls BVI BIS |
produce SVs 14 das

produced /1/') 71/11 24/c7

bdesen Villy (hist 4 ie
PUIG ZIEVSLG 4rd laedee
Zine]
producing Jif i%7 Jide,
product [04 sev ii fae
Zed 59% 4 Vues e tele
Porte ph} oy PGs }a Los
Pea yyy fey ‘
Leafy plete pet las j
see pega | ? te
cert be crate cert pace
Pie yy An ae is 1/
production «02 disr geet
Pee} dah do pene thf fart
povew Petre [ oe pase ey eg ted
aa |) eve] ae
productive ‘ilecu
products Theo Pte Lede.
professionals has 1.
profile Jifsoder [oof',
[sesh fis P| pa ey fo paar
brn tar fora ter doep or poste
babe de bobs. s dode de. dad
Pose pate pa
profiles Perry
program Pepa a
programs Phe
progress os |‘
project at |
Proline pode be pe der Go]
tea ed I: ou
poy pte | :
I Ju | ! : ' oho
| | l ! [a
‘ | i |

233/4 234/11) 235/11 234/%

236/16 240/715 240/15 240721

240/21 241/75 241/10 2427)
242/14 242/17 243/2 24%4/6
243/12 244/3 244/5 244/14
244/20 244/74 2AG/A PANSY

L

245/14 245/16 2abs/ ee 2A ES

ads 3 246/45 21/9 24ers ls
216/25 PAP LIG 2AT/i a 24,
2AT/29 ZATI22 24R/2 2AB/S
2418/7 248/19 249/4 249/15

1

249/22 249/24 250/2 251/12
2Ol/21 262/14 264/27 245/18

267/21 2648/5 287/11 2ats2g

288/17 289/2 289/11 229/12
290/720 2ZIV/IO 2927S 1R 2OD/14

Proline's 274/27 DRO/16,

Prolines Y7i./l}) 2504/4 2ULS

prominently 7/12

promotion 1271/3

promotional 85/"% sU//3
PLa/dad levy ll ledes lease
27/19 22s.

pronounced i 1/ %

proof 7410/7

proper 16///7/

properly ade]. GUAM Lis ly

proportions ‘1/. 4

protected J Ul/le Jis/ 4

protection «7° 1%
Peleg [tpt eg |

protective oe]

prototype Se te pt

auf Po yee:

Zbae gy vd 2a,
vtde.

prototypes -<""%.
prove :
provide [--'} “: |

fase dt

, Cok S lft

provided Pat .
Pea) bbe be te ee |

provides phe, pa. be. |
bane es

public |/'- DE .
Naas oad Povo p ott ad od

Ve did ee Sot ete booby te

wis Te ae fa, Fey Jab | a

Pode de bt bth bp pte
PVU4 Pd Ld. tt ae pg
TE aed ‘ . att

publication «=! [s: yoriy tee
ag

published ' 1 '
Log ©] : Lo. t re

publishes \
pull
purchase
i :
purely
purpose be

4

?

Case 2:02-cv-14102-DMM_ Document 52 Entered on FLSD Docket 07/24/2003 Page 103 of 115

P 265/16 286/15 2867/2 287/5 rebuild 59/1
2864/4 266/18 285/720 z2E8/22 recall 29/5 23/3 4y¥/17? 54716
purposes 22/10 126/7 129/19 2390/6 292/11 24/22 55/2 55/6 55/290 56/4
130/1 131/13 138/16 140/9 quick 767/7 56/9 359/16 87/4 1453/1%
154/25 156/22 168/23 164/25 [quickly 57/7 274/10 286/11 L93/1S 2L2/7 P2ESVT 279/42
199/24 199/25 202/21 299/22 |qait 1605/1 238/1 2746/3 Z30/8 236/12 246/20 246s 2:
POVIZ 3 28RA/VA 291/% quite 4/4 54/1e 212/22 ZSTISVL 287/18 257/24 256s 5
pursue 77/1/ 244/8 2Z38/ VL BIG ZSBSR 238729 2419/9 PABS]
put 20/18 2PR/D 22/2 19/4 quote 12/7 12/414 GIs TG/1e 29070 ZO4VALS 256/24 7hUse
56/1 63/6 144/4 147/18 1903/5 240/25 2590/8 269/23 2771/3 252/21
147/22 154/16 154/17 165/4 R 236/17 28774 2879/6 288/20
170/21 175/4 189/18 210/10 290/14
219/8 219/19 219/11 220/15 radar 227/) receipt 241/16
Z20/16 248/9 253/94 rail 16/16 55/5 55/93 56/17 receive 2253/3 2229/4 246/14
putting 291/12 141/23 182/5 ZOOL
vailed 55/12 55/14 received 57/15 452/15 GA/2
Q railing 76/14 29/10 29/18 TOL T2722 15/14 TBLES
ac 127/23 rails 16/16 27/19 ZE6f) 226/83 ZERBL 25 2OG/A7
qualified 218/13 raise 37/14 250/19 AOOF Ze ZIT,
quality 51/24 53/10 1l2z/i4 raised 47/10 153/9 153/11 receives (UON/1/
Le4/190 b35/s 164/12 164/16 Te a/12 T0044 L6a/ 7 laasa receiving 41 /%
166/%9 ]66/11 174/74 177/19 183/435 4761/22 261/24 267/11 recess L/0/) 3 220/73
160/15 180/24 161/12 192/5 272/21) 290/11 reciting 1:514/1)'
LUZ/19 294/29 ran 19/5 Soles recognition /35//77
quantify 32/14 204/10 261/24 frare 19/7 recognizable [())/',
quarter 174/721 rather [0/12 15/11 recognize /1+/jh ills ti
question /)}2 14/70 th/2) re GOST Pasty shose aol yy lease Ves LG ve isl pe they
Sh f 7 beh se FA 44d NP 44/4 Jre-ask ¥/%/ 1) PIGS Zee i 2A A ea,
tahoe l shy sdf tifa Ae, re-notice “+,'./¢, recognized yee ds
Ga la ath ba ees se te 2 do as 2 ') fee-straighten ['ii-! recognizes :
el Ld nibh Bas 2G Ae] reached 7',;/ 3 Recognizing «= 1! /j")
GU oe Aye BGs) | one To uated Treact 775.1% recollection <«{/13 Jas
oh Ly nt ey ir Le Gy reaction ieasv Zz) ade di laser) Zige tg eine}
Pyar sy ee le CP tf aS ae bg ete da recommend bar UM
Perey Pod Fafa “lee dA read fliin, G4/ i t4s/in 432547) [record Fl sf. tee ese, dot,
bef yh Pipe ep ep me la a Le, Poe gd opr GO i eee et, oe ids bee yg bars
4 ye pd el, aie | riot 4 ff 4 ° 1 pop Gy
4 Lio tr fe ae Sia | ‘ 4 nots it ay Ht ! i+ i ht .
' sae le ples, uy af PL ty, se iy aos ‘ bald | i 4 a Vy
, : yay 1 fos ‘ Ii State hE 4 : GVEA Pte ne é :
boo ete TG pert. rr dese 12 SP Pea | tee Pear de records (7°) “ ) 1 fb «er ol:
tt Pye eer ‘ ‘ Lot Sob - as. recovery 4:
Pope ee Ph yy bese cy | ati? Che de eed nile et sie le lped 7d pe reto
Joi bal/d Padoet qed pt ses pg speeds 1] redepose
iad Jad Pop td pate Pedy, edd dt te | redesign sat ‘ fo
Pate fee gq dae sa Pdie se Gdb vt He Pb ae PP sd Lae PQ rae |
Lei Aya d ee Vd i!) Ve Se Pe ae ater ead ta, EEE Te Le ge Rs
Pde fF Pay | Pde Pd ode xreadily les JTddeoi ltd redesigned Pdette fF]
Pu pe bp err ppt ptease reading «tt. Jy 4 redesigning 0165:
Phase Pod Poof Pua pa pio pt Reads 2 t/i, 2hyilfe, Ad ee, ReDirect Pe TY
Peo} pasted pode pa Pee ys ready [bh tl nf to reduce §|.°.")
Pfoetts PiOoset Thiet Tiled? reality 35/14 reducing ~t':° J+
Peep brag Pee pads realization a | refair | ''1):
Pape paosde tee] bat f] realize AL A ate Po oa le bypefaired los lio dee ds
Pedy Pye da pede pre | realized ‘lilo es Jeter] Jor
Obese cays y] se Td ase 1 Treally ee! Seo fle is lyefairing Joe Is ls
fire ]oy Thee dia af mes yy WY. db Vite hp poe Gd dee pea te pba
woe da ate ls hoot dd 1 Pade ye bree ppb oe | ety refer yeh oe : 1 |
Nar pad Phage dt ‘ id. yes lads Pie} oft Joe] meee SP |
pas hay/ | 4 od Peseta Pade a] ‘ped be reference 4 ho re,
4 mae dt Ja, I. 1 bs Pope Fforest heed
questioned sty Ve SE ar hab pa ’ pF yt deere dd Pepe te yg
[rete at reanswer Jo I md a rood
questioning fad ' -ftrear J): ! 1] referenced pore fe '
etog? reason mn , ' : : 1
questions |: i Sas : : : be, : references .- it
. eet bd be : to s | to de So , po fe
hoop fate Poe a i otd l Por pe : . i ! referred
belo# Lthede de. to. bop ee ee, wood
: sob ey a bee 4 ! : a :
pond : tat mot reasons te . ve}
! : ! ’ referring
[

Case 2:02-cv-14102-DMM Document 52 Entered on FLSD Docket 07/24/2003 Page 104 of 115

removal 102/209 110/18

remove 237/12 i11/5 212/19

R

refers 114/13 139/14 214/18
288/7

refine 39/24

reflect %/3/13 33/10 123/11

1432/22 147/1% 168/17 187/246
211/14 254/22 2517/4
reflected 44/!146 54/15 256/21
reflects 46/25 59/19 72/14
124/1 144/14
refresh 75/8
regard 56/6 69/20 93/17
175/9 181/23 183/58 186/17
189/4 222/12 233/1 264/9

264/11 268/7 274/25 277/16
292/16

regarding 42/3 42/6 52/16
54/8 56/17 61/9 129/72
208/16 228/19 231/10 231/17
Z2321% 2PGALEB ZILLA ZAODS
236/274

register 71/10 72/2 72/\1
TIAL Pts VOL. T04 ISAT
THLE FIL AE VIZ 2% BRIA
105/727 104/74 Louse LOoSrle
1lO6/'% Lon/1O LOom/1 1 1OG/ 1%
buns

registered |j'i./1',

registering ‘hy 1

registration +,./7+ ri | doves
Puede Peeve Pep ye Ce yy
aye Pee hoy tas be ye, ia
Geer beg Je 24 Lee
Pelee sei A easy ie
eae Lt ead si Zale tg cde s
registrations ($J/1)60 ‘i '
Loaf Tiassa
relate pod fibre hs
related sd 7.4: :
LAbce dh fede eh be Slay bans
repo or bey yt bd
Lf]. Povey]
bot, Pert. dos bo
[ote Pode ee ii ’
oy eae ded
relating pera gon hope td
‘Pde de sass
relation Peds dbo pte!
Pde la
relationship [1/0 (het
Poe ep dbelo
relationships !1°.'!
relative Je/lovesti ole t4
fect pou set} pao. dt pede da
Peddie pe be a
relevance 3/ fs nas
relevancy 161/11
relied MiSs
reluctantly “51?
remaining «str:
remains Peep ts
remedies yb a
remember poe so 4
i ped pa EE]
\ oh ye 1)
i 1] od) :
1] 1 olde [ts | Is
‘ ! \ sot ‘ 1
1
remind “4

212/20

removed 37/1% 3

1903/2 110/21 157/12

render 214/%
?

rep 2/i2 2794/4

repair (57/9 157/24 1598/3
1oes4

repaired 1159/3

repeat 176/25

repeated 1592/5

repeatedly 1954/1] 2467/19

rephrase 6/20) 14/29 68/12
90/22 135/18 151/25 2865/7

reply 79/4

report 435/10 245/14 246/

QTT/VA 2EISLA 2TIsVI
282/21

reported 2497/8
reporter 1/7) 459/2%
REPORTERS 1/23
reports 214/14
represent ji°/)> liae/s lea/e4i
18542 2245/9 2OALS
representations | 31/!/)
representative 7/:1/i]
represented 76,/% [40/17
P14] bene ds Lids et eed sds
ae ft
representing 1/1!
represents J//!i/ | i724
pid,
repricing #1747!
reproduction 6+) 14 7%
requested ‘7/;
require  “i'./?
required [rl aly 4
Dete pet bg we Ze rtae
requirement
Pers ite patie Veg
requirements bet 1G
reschedule -=.t/!?
research Jif tu [oe I.
wo,
resembled | :/.'
reserve bios t]

Sede Pte PP a ea
reshaped) [7):i/1/ |
resistance [11/1
resolution Jess leds

pee
resolve °°?!
respect | 3]/

typ be
respective bores
responded [.¢/° |. +
response [oo los Jltos.

Pee Pp pote fot dbee id ce]

fig

responses vs i | Sopa te

responsible '

rest he oT! ‘
restate . j
restoration

restrict |

result oo... tek

resulted
retail

2090/5

276/24 276/25

]

276/14

retailers 244/5 244/383
retool l45//
retooled 47/5 144/4
retooling 255/16 255/17
255/18 255/24 257/5
retrospect 42/74 43/1
returned ‘
revealed
Revert
reviewed
reviewing
revised 92/158 93/4 1097/2
197/24 1099/6 19/15 Lizsly
122/4 123/23 124/3 124/86

QA2L)

Lav /7
86/9
85/25

124/13 124/16 124/16 137/18
L3v/14 V47/21 J40/6 149714
P44724 146/19 Yass ds LAg/e
LOL/2% WS2/1 153/25 154/68
154/15 1955/7 155/14 US fee
55/25 156/14 [5773 161/78
Inol/1)] i6%/4 lous lau/ey
Lol/7 1ee/le laa/a Loss le
194/16 196/2 Y9I/THR POLS) 2
L£N G42 ZOG/ 1 Zhe 2Zyasn
ZIG/1 4 2IG/IG FILS IA Pets)
Pow LUI A EL BOTA A eis |
ZOBPILA 204710 eloaf ts eos)?
gf 4 PELL IO Ziel ly eh tr
POAT 4 EGS LE Pi  h eiy e
PEK a ea Pe Pe ate aay}
revision Ppa s
revisions !-1/1|! toad
reworded Zils
ride pee ee
ridge “10. 4) 74,7

ridges ([nifa%
right iv/% j.-1!

pate Gorda Vise ey

é ‘, ti, 7 v)oor

oe? " tied id
sas yt, Ve Po ya i?e
toa did i 1 Piorog
J }2o] ’ ioe
oye Joa days {.,! aod 1
| alue (ies J pat ,
oe de Ba od Jo booed
yay eR yo head : hod de
Pert se. sinh y f

raght- fore |
right-hand hE]

rigidity $J3'/

Ringling ///

Rio Uli

River 1/14

road Paya

room 810/24] tke ae ds
Phy]

rough Podyor fp ', i
mba

rougher ,

roughly «+! |.

rounded Pq. 44

rounder pad

rub :

rudimentary

Rudy

rule uo Pe :
a 1

ruler

rules

runo: : J)

Case 2:02-cv-14102-DMM Document 52 Entered on FLSD Docket 07/24/2003 Page 105 of 115

R

running 42/17 128/12 129/12
186/3 186/21 186/24 2093/5
203/14 203/14 293/17 203/20
203/25 204/6 204/18 2190/2

2160/7

runs 202/24
Ss
S-curve 147/4
said 20/5 20/3 20/12 20/17
23/11 23/22 27/5 35/18
35/21 36/2 36/21 53/25
54/13 55/9 97/8 S?7/11 58/17
54/17 61/76 61/11 61/20
61/22 70/9 7FO/1L1 73/4 75/19
84/7 B4/%9 BA/1L? sl/L3 46/15
97/5 1908/3 108/17 111/12
111/18 111/18 113/10 125/%3
lyn/19 P4d7i L42/14 14s /e9
146/24 148/2%3 149/1 51/4
1593/17 1594/24 157/20 157/21
PeGltO Teas le Yeas? LIL /1s
171/23 (89/8 196/22 19175,
Jal/% POlsIA ZILIA Bess
ZAELV IE 22IL NK AZT AL 221/22
peshb vars ln asl el sds i
Pals -YTs | 4 24tAIE 4 ats
eid, ee Dt te Pp As
Zire lor Aver lad buys 24s se |
Pye wy eed yesh pig
cdee bor ebat to ebaele oh les
yogis |e ph Sarl
? vas abet. 2rd toi
Zdtt ie Abe PRLS sdf ds
pry el
sale bald
sales rope afb 2h en
Zo! ‘ woop. ‘ ey. 7)
same i Popes le 4 % 407
baie ms 1 v4 !
1] 4 te | 44
| ott ie dt 1
pA ve TE ae] Poet na
ble. blbee Filo taded.
plore. Ebert btge se ote
Poet play Pooe do] aebett
he Hop ba pa Pte mods ,
Pdo4y) bad lt bade teh Tide bs
Pilve Pbk Pfdbet dy pfs, da
Leis de Lior Peo] Lihyda
fs Per Pot day PR te] Ped
Pah! pole Pubes dt pared
my ft) 1, t (he. | “tle lo
Hy pa PP pe Pie gu
aU Poo tines preys bar]
ade] ret ete tye bs
My ‘ yy yy fy ' "eae |
eh! ’ I sas 4 t I]
Sampson Tet
San < it
sanded
sanding pee Poe ghee i
Sarasota
satisfactorily rere]
satisfactory pueda
satisfies meth uty fos
satisfy , id '
Saw .
say oe ro |

16/1 19/241 20/8 20/13 21/23
23/4 23/729 24/1 40/13 49/725
44/11 45/29 477290 47721
2/22 54/15 56/14 57/16
57/25 71/18 85/12 85/13
65/19 99/20 1194/2 113/715
119720 126/74 Lelse4 pass)
Lil/2 1377/6 144/22 AAS Ss
LAV/IG Lalor Lars Taree o
52/3 153/74 155/79 156/2
169/721 1lV1L/2 171/24 172/25
174/79 177/10 178/725 1865/2
185/% 145/13 189/15 1599/11
192/24 197/43 201/71 293/13
204/11 205/73 206/723 207/13
209/7 2IO/25 211/10 2137%
2La/ 14 ZIT PITS PLE 2%
ZZVU/LL Beadle Beas) Zed?
2349/2) 244/22 236/14 238/17
243/9 2A4/I2 2471/19 249/25
ZOALZO AOA Basa 271s LS
261/145 ZHAO ZRS/1E ZBL YS
294/11 295/1
saying iv/r| is%/ie i 46/2
AGS VGOGF 4 VIGsS2Z Visa
P9274) 2ZEISIVA ZALSA LAPS 5
PEt LA AGI PIGSY Faas
says -)./)% 45/1? Vfl io ae fe]
OAS ual lyfe e bales Fey
‘ ] ’ ue ad i at , } iy ar f | r,
lie bay Qoybif yea ‘yf 3
ted, le: ' t it bio? / i! ‘
fier le det bolede rd Pare
Pee pe pea Spe PEE Sede de,
“ Ye bes A ZG et EAD
bist Pyrola ead} }e]
par ds 44 . fle Peet be
: vy rot] : cee :
Jj j Zits | foe
te 1 : val ! ,
schedule ech Le Pe we
scheduled Poo
schematic vie ]os
schematics dpe
school poate de
scope l.-' 5 Ja/..'| le |
SCOTT Po ee
yt Fa fw as]
scrutiny «l-.':
SEAL o/h oss de
search Yee Lb ase ds
searched (10-1
season op
seasons hee dd
second ./.i ii. io
' : Petts bouts
1, rho jedebe foi Tad , Ju '
ferescce tn ployee bpd
Plt. ] Paar dts Jat de ' '
ty hedet tert te i
il 14 I]
: l
secondary
section Poe bt, os !
i 4d | i
ly
secured

securing

see 74/23 15/12 82/15 84/10
B846/1 9674 LuU/6 LOGs/1LO
1608/22 Llz0/24 1zZi/to 1lzi/ig
121/15 125/16 127/58 L27/9
1238/8 133/15 136/12 136/14

SA/V7 TAl/IY 441/274 142/19
L4g/l4a bLds/25 L4d/la lass
V4A5/7a Liesi7 160/24 LAl/|
1O4/4 154/68 164/14 164/25
165/1 1645/7 165/23 166/4
1660/6 167/18 167/z20 L73/15
173/18 174/1i 174/6 175/21
131/13 192/11 259/138 Z210/3
215/25 216/9 223/10 225/12
238/14 265/14 PAS5/15 2RO/1LG
2AB/R 2B9S74 BID/2] 243/17
2494/2?

seeing 419/%5 4evi/te “2sify

seemed 46/7",

seems 7/,5/|

seen DDL 4a ae Pe ELIZA Gel,
92420 492/22 LA5/22 144/24
166/5 166/14 166/17? T66/17
Led/ leg 4A/1 3 228/15, 228/11
PUSIVA 2AG/1 BATE PD tase,
284ALF POPIA PULL TIT PIAS?
surfs

selected /3/ lores Vi

self-  -3/':

self-evident

self-explanatory Tush
bode sop boas

sell fev gr tear yd /
ert oth ort. Goa] ri?

Aybe dis 2 4ate, ev Ady Pada
eof db 2 AGS is

selling i) i: 3:3

PEG et LE pee | i '
PV pe es eye te

sells pant

semantics Jtire,

send hee or eb ae dod rood

senior pod4

sense Jt ]oti se |
pha | “Lead

sensitivity lei

sent Pie dey cee pe pad.
Spey po pos | pers

the do Obey bi yea bod
Pesth [4 (pf % 4 fe tJ ] tyes

sentence ble ds oo

sentences You AT

separate [Jo Jo) | by
yas cd

series yh os bot t
taba ye ] y

seriously) ii

serva '!. 79 Joss [4 !
Spree Ee]

served oF Jott) “4 ol

serves Puedood:

service ‘.!

set pect de i
' r] 3 © dt.

sets

seven ,

; .

several

severe

shake .od

Case 2:02-cv-14102-DMM Document 52 Entered on FLSD Docket 07/24/2003 Page 106 of 115

S 186/11 186/15 L3ls2z 1392/6
192/65 1959/2) 2595/5 205/73
shaking 2239/25 205/23 211/23 215/53 215/9
shallis 193/18 237/2 246/17 254/939 256/15
shallow 7/9 43/25 128/12 257/17 263/22 269/838 269/14
Z07/5 207/6 269/20 269/24 273/22 286/1%
shallower 7923/1] ZESSIS 2BOs 1S
shape 30/18 86/16 87/20 showcase 41/13
147/11 147/16 showed 69/7 49/16 17/13
shared 266/12 2367/3
sharper 132/19 194/7 showing 100/15 124/43 1127/7
SHAW 2/2 1368/9 138/10
she 171/35 248/19 2485/17 shown 32/3 32/15 81/2 451/23
sheer 4/7 37/4 51/4 52/1 63/238 90/6 92/7 107/11 119/8
56/3 93/17 94/1 94/8 94/13 122/25 124/7 124/21 1237/8
94/21 94/21 94/23 95/2 95/5 129/19 137/16 139/26 147/16
95/9 95/12 95/15 95/18 143/10 19¢/6 DOG/ 43 2NE/S
95/25 96/1 46/6 96/15 YT/1 ZAKI Zl 2PRG/E 2ZRE/L2 ZRO/IR
97/5 97/8 97/18 47/23 38/3 291/14 291/22
98/7 46/16 98/21 49/2 99/7 shows 21/% 48/3 144/7 147/12
gard aah la 44s ee Laos PAOLA
LG0/7 LOO/20 1561/3 1G1/1% sic 7715/7)
191/15 191/19 101/22 102/7 side 26/15 27/1% 29/13 %5/22
WQ8/12 102/17 iGe?/25 105/72 Lén/2% Lanse Veilis |aafs
103/79 194/10 103/14 103/16 34/19) 34/19 1411/8 14174
los/e0 1048/24 104/25 VOAs 3s 40/11 L4b/t3 L4al/i% lal see
104/65 104/% LOA/Y2 108/20 lda/7 14547) 1l4ea/4 ldesa
Piilsv@ Jlifvls tllvee Liss l4 Iuv/)b 1ues7d 1oese7 Les hes
Paes btrsr Palsy pars.) peas These [RUS pine
Pdie de Ldleee baler db tae / da Yloahie 26a ted fe tel 8,
bbor bs Tarte byaiee Laayey Yl als BG EMP ZA
tices Gof) bit eu ptaoviv [sides fv ivl .cf, fo hs
piss poe! lo. Aoiia/e sideways [//i
i : Pd fate te Toa] signed v}!.75 «hi row dasl
le, : goleas pease Significance 4). 411 + L
leas, poigors% PE!) 414 [significant '!, 17
peed pede.d Po.) [signing 7+ Uf]
Plots s os ; rye] Zl eed silly (fn. hi 2aaed AAG
Ci eae vee | pe fg a a Ld san
vate aealoy a | similar ney ral tae
Zalee sled vt wide Boy se Gr et,
sheet co ae : , . “ moa,
tiny dt Le | .! El? pope Gee Lap ob
shipped ji! 1] | fon. a! Sle telly] ois \
shipping i«.i du: [vied pet Phe fai os
shit toe ope da PLS ba tte et nt
shoot fli it ded P44 ded 1? ath ew grey
shop u, bast orl Joos] )gimilarities RG Le ada et
fey Fd simple ..:- 1".
shored ['1/.'1) Simply Jri%! fas eps oda
Shoreline Se Pie tb se Since J.f) Pecle Ta/ld ot
short “oes iu PALE Chet pete be
shorten ‘he single Jfoff Glefte
shortly thay Sir (eof de Cae tt. ds
shot Joi] i debs ited sit Jibs ttt were ty |
Prete dud fbb ate Say dt bes
ep apy Site vient si, “
shots Pos t's SYR pe a pt Vs
should Paes Pde di {-] Peas da de be pe
Pep pi rb a | MLSs sites cae dd Pure [og
Soka ry Tae psd sitting Pio dl bic cae]
Pde 8 fda bd oote | booed Situation (oO ooo td. Eds |
‘| plot das os My 10 Pee]
I six «|: 1 yi
shouldn't Oo hy ‘ '
show \. ; ' size . '
m4 l ne] | I to. 4
! ro fee Jog \ Skeeter
i | pibo ot da sketch toa 1
| ! ! Polos id a
‘ 1 . : sketched
he te sketches ‘ ;

ski 13/10 13/14 13/18
skills 66/13
Skip 85/3
skirmishes 266/21
slightly 19/20 272/20 290/19
slots 47/7)
Slow ¢4%/]4
small 19/9 225/15 235/21
smaller i44/i4
so 5/14 8/23 9/71 12/18
14/19 15/11 17/1 19/3 20/12
26/19 28/21 38/16 39/5
29/11 41/2 42/16 4572 45/14
15/19 46/6 46/18 46/20
49/22 50/12 S)/18 69/12
60/25 62/4 64/6 64/R BO/275
66/13 8/4 BAST 72/16 T2725
76/16 76/18 80/% 82/71
S4/11 A9/12 89715 43/8
93/14 GS/7T 95/9 96/9 99/2
PG9/LA Var se) VGe, ee lO5s¢e2
1oe/1) 111/24 113/15 114/15
117/20 1119/6 119/18 119/726
IZV/AB VA ZS AB EP AA LZ ISA
P4a/V4 128/20 1340/16 1 4es
132/14 143/13 Lsksa Lanse
140/27 1Al/%9 LAG/14 Lawns
Poafla pulse (uae lias}
lef) s tere loess lens ta
Pues eh Peat | 4 deaf for faa
PPO Vee di Lite ed [tl tea
Peet pve ey da Pode te de ;
Lit fay pb eay's mee oPt facts dd
1. 4,04 ios | % . to4 1 4
ras] a ae ito pray eal:
rte wa PIE eels
bynes [ae “lett, 2)
Lee, bea vier in visi
boli, ee gets eet, hay
ee pe 4 rg 44 1 24
4 te Ge dled lv?
pat, cjis ch ae?
od g sot nye
: ft pep bs
ayo4 pple
sold !-] ql/’7t 4 ro
revs 1 mle stb ee Le] fea
wae Poe a te Foes fee
ee LT FL Ae BAP ade pen tte,
ale Vy rye] ‘way | tte],
hen ae spt JOA Le Poe e ] 4
Poe a gies4 Ppa dd peed
baat dee fateh bo pbs tae |
solely @ni/l': Meee ate
some rei rook eGR EE |
los ‘ Pood ie pets
Pye ape Pe Ph pe
hat, q | we hy pt 1 |
‘aed Non ob nl |
lo Qt tae 48] i
Pech h po fuer es
hei! . 1. i
: robo d |g i
Pe dad bed
Lig
2 od .
ut too ey led
: i ‘ I

Case 2:02-cv-14102-DMM Document 52 Entered on FLSD Docket 07/24/2003 Page 107 of 115

s- specificity 149/22 258/65 292/16 237/21 247/13 285/21
specifics 176/22 z266/i2 statements 74/8 167/13
somebody 45/15 53/1 227/6 2717/19 282/22 2338/12 265713
233/22 279/12 ° specs 296/21 states 1/1 7/15 12/6 62/6
somehow 123/21 223/4 2273/4 speculate 125/10 245/% 64/21 67/7 69/41 127/16
2237/5 speculation 61/14 240/25 221/70
someone 24/145 19/2 43/3 speech 23/ static ¢ZU4/24 205/)
227/25 250/11 2747/2 speed 104/4 160/21) Li7/1] stating 1J43/] 1939/1] 4
something 75/6 246/15 24/20 20a/ 4 statistical i 36/4
31/14 42/23 54/19 55/4 spend 2465/8 status 214/19
56/23 77/15 77/16 147/11 spent 2098/7 2754/4 stay 22575
148/15 148/20 149/1 155/20 splash 237/14 275/7 stem 4/3 132/290 188/6 1688/6
156/14 1177/9 177/23 199/17 splashed 12/15 12/1% 97/21 188/79 1968/11 188/17 1837/4
202/3 207/11 2190/3 216/20 Z14/11 217/24 227/10 227/15 1990/9 190/19 190/20 191/72
219/24 234/13 245/17 254/21 234/21 274/11 273/17 273/25 191/12 191/15 191/2% 191/25
266/1 269/24 271/23 273/23 274/17 2759/2 275/% 275/11 3492/8 1192/8 192/12 152/22
Z74/10 26174 2TIG/13 2ID/20 216% 272 PATIL 1943/77 1393/12 1939/13 1993725
sometime %)0/1 /3/2 Visa ZB2I 20 2RBPI2D PBA PASS) 194/16 194/22 194/24 1595/1
121/17 splashing 260/20 2734/19 L35/2 1995/5 1l¥b/6 195/10
sometimes 40/24 107/5 114/16 |jspoke 34/20 56/1zZ lo2/14 195/15 195/19 195/720 195/22
somewhat [1/4 |14//)% 142/38 L62/1% 22075 PPA iT Pons 2oAse 4 ZOVL2G
somewhere 17/74 21/14 24/4 spoken 14/4 239/22 2359/25 step 45/9 35/11 35/74 A0fz2
40/13 ZIV/24 ZAT/IV6G 2ZAT/18 sponsons 235/19 235/22 40/6 43/12 44/6 126/14
Zo s bh ees sponsored 117/14 lef ba Laly 7 204/423 2022/2)
soon 227/14 4'3/% sport ¢!15/]7 stepped 177/11
Sorinson /44/!¢7 spot 42/14 stern [52/71 $%t/7% ISAS
sorry (4/7 49/14 14719 64/7 St spray Les 3 Io4/6 165i l Joust elas
Basle blouse leo, leslie l a sprayed 144/74 Pid
led fa Tell vOlsey eho slo spring (‘li/}e Us/| Taste, STEVEN //+,
Zilae do veauys tt Sed d an pat a tras Gy Moe dy stick (#173
sort See fon fe Tre Pate ces PUGS PE AG Se et ed still Jie 44 tara, 0s
laf ee ret pe ea JPL Paya a pas es carte foe Say GP aryl
PTA DL ee ee, ST cred 2ared vale Pratl es 4iaee lb vba ve fear?
sounds (lo -7 |.) 4) drys stability lie’r CGE L A PE FG LN tee Le
Bea, stabilization rE ie el ba ae ls stipulate =.= :° Pb ous
source vs ' stable [./4! i+. 7! stipulated foo
sources pb eh AY stage -~!4, 75 stipulation ~-i-i3 “rd
south |.-7 dio 7 mes, stand L770 bee) faved ved le
Southeastern ls stds 240d wy vl does ev lie da stone tae).
southern Popo ba standard °««- : pep s/s, stop oi’ fore | 1
space [oo of. lain file plate tbeved pease peuves PUES eb web!
spacy i: |: Poet : Peo stopped i. - eG
speak «= ' ) [eft] ound? Pefege pfeaelau eype i straight (Jou (lot pitta
Cote, : : it standing .)i' 0% eoove gee Peet ya te bd oobs
speaker wes standpoint /-!/' Piles lane | reer bd 7a
speaking /:-° i> J?’ 1). starboard [or 7) [4disn bby tad tel tha |
Va Db bee PEL?) tbdbeeti pds cb tae Jie aye yee bof tas aay
Pedede dod Pe beet ya lousy 4 Lrdes De Pe Past a fe
speaks Tp start ify we at be [a Se da
special j'.'. 2975 48fJodn/] Surll ol/in [straighten oye du ys
specific « Ie oldie flow Pode de ddr se bated ae ds Pore A forged
SPF] ble die tee pk tage dik ots] straightened Plast pp ae
hive), TY CE Hey yp ae yt, started oH ote st ta pit yee Joye feofe ht fs
oe a Pope diab Paty ts POep a Le td bee tk isan forse joa dees fh. Pode
Liter dofeete doe dos dd bars yd SEE ase a ee Pb ek straightening mee ger py acta
Pere dt pepe Papo bre me fd oped bette Lets bl Pade Pht oe poe fp eas
Tp ep ee be Pop te a a straighter oh. [0
ee a ES ens strako §-] i odbedo sl biti
Sade abe Ft ati bt starting Pee POs ga ae Td Potie|s
Sobe) s fee bata dd a foo Pldo¢ strakes Poastootrp dare tae gg
specifically i: /' (1.045 starts rye Pe [ae Spe Pe ed Dt
no lise wb de bt | state — fous Pode 4 Por 8 bed de tay pe bed
Pol be deh Paha fee edd Me Dy yd ded
Pode tr cape spe 1 ol . | ‘ It 1 : toe ‘ i
vod spo te : bes ny tod ‘ Poe! 1. : !
hold me sot Tee ds . 4 ' i ‘ bo : 2 pal
“4 ' it stated : : bed : Lo te,
specifications sot ' ! : moo de Street ‘ : pe
Piet st bobo 4 . . road .ol ol 4 Jstrake
1. ps ; my . “4 stripe
to Ls . ‘ . [Statement . : . Ss stripped. Sb a
: ce pore : : i strong
structure

Case 2:02-cv-14102-DMM Document 52 Entered on FLSD Docket 07/24/2003 Page 108 of 115

Ss
Stuart 41/15 251/11 276/7
stuck 57/23
studies 232/3 232/83
study [114/25 253/16
stuff 275/135 228 / Ga eens \)
229/17 236/15 2545/1 2hus/24
2744/3 2747/5
stupid 239/15
style 4/6 27/16 27/15 28/4
28/4 28/8 28/9 28/10 25/12
26/13 28/15 28/21 28/23
28/24 29/25 40/2 30/4 37/4
191/25 102/72 1109/9 119/13
130/47 VAO/22 ALLS LlLl/3
ll1/5 LIl/9 Lld/il lli/l:
lll/z23 J1ll/24 llv/9 il2/i3
112/16 112/23 113/78 113/11
Li3/l4 Ji3/23 L14/5 114/%
}l4v-i2 1la/la Llav2)s Lio s2
LIS/10 144/21 1257/2 125/88
125/17 125/21 126/74 126/%
Leas le beesee Vers) less
L27/6 132/34 L4ns¢27 3 LV Sts iG
s/f 16 LV AV/i Ltd 1 ts
P4de/1%4 146/27 bas) 1148/8
Pde/be ties le Lieder [aes
blo/ th VASE fate ed Lda se,
Poden Loar ed bated As
Poel rides gy fete Vier 4
Pose. 4# be ey Te, ! obs
Poe set, | boda. Gt ot]
Poa] 4 Peis, poliadsd
Pode td } 7} Poiite. ft
Poe gd bedea bed ‘
Ie, be eae yh a te 1
Petree [tyre : Jf
log L bad v4 ele
fd ‘ pee Shee od
Pee TY 1? op 1 $e
at 1 i : ‘ ; :
1! 4 l “l- :
os ' | “foes pote pa
{bo 4 ict ] ‘ ]
| I : veda
edo oo Posy le |e
eda! I Soe | me
iy ’ ie ror dt mid
my ts 2/7 rear dy cea dt?
tose Cad wife os] os St |
PEAT Oe Le eee PERL LH
Pap. fea hae] ma! hey Sy
my Hay fey wd Jot 4
ve] pet ' ii
PL tye | JP. 0 tad]
fg ne] ‘ 7 eto dos
mn apa | oy Wedd
gtr. Jad ei ‘i vy] 14
stud ‘| I ve ro]
oe fs ‘ lo vay t
oo ]> ’ |. \
styled | '
styling l
subject |
! i | |
Lod . !
L, Vy i |
subjective
Lo

submission 162/93

submitted 107/16 164/%
165/24 1392/7

subscribed 255/14

subsequent 124/190 2349/14

substandard 150/15

substantial iid/li tisrey
}luse Lit?

substantially 67/16 117 /0%
1295/6 PH9/2 284/13 2584/18

2385/5 285/16
287/22 293/19

265/21 245/22
293/23

subtract 21/7

success 14/11 20/11

successes 14/14

successful 13/13 265/73
223/16

successive 7/1/17

such 104/22 1139/2 lod/he
166/11 174/5 192/10 22%/2
P2UINA VIPS]

sued 241/11

sufficient 247/2%
suggests 717/14
sums 2/1 /\%
superior l5z4/',
supplemental %3/1/')
2O7ENG
Supply
support 7795] v7]

BAe s le MU Ve a

ZZ VS
PUYS a 24]

eoyst,

supposed Py fdy Pade ye thaws
leaee sa | fa, 4 see fe

sure of 76 faced felt yey
po ae

Pere] Cate Sobel i tt ny le.

{ bea Ebay da Lib, vs
ey pdb psise |

Doty be baer dh oly. shard

Spurs ed te | rhode ryt

SHEL A

1

oda? | on
surface
surprised [it-.:.
surveys 01° / 4% CU0/H
survived 07:7!
SUSAN o/10 JUf 4h?
suspect ['-1/) 0 [ate'
suspended ree TU
suspicions
sworn (|; 3
edd
symmetrical

Photo ba bed bd dvs

symmet

rlaye

ry po Mp
Ep tp
SY b pth fae oe yd
Peobodao aos Sd

synonymous

T

T-hull ‘ 1
pies Jte ree id yo
bse 1! rae FD le bg
bo: 1

T-huliis

table

take Lt . '

36/8 44/14 46/19 71
133/22 13//1 143/18
1646/3 170/148 194/11
219/25 220/21 235/5
255/18 287/14 2592/9

taken $1770 Gl/2]
LIUAIS LAs/] 1 baes3
in@/19 1698/1 170/19

wy op fae
“bop ed

taking
talk

253/25 2595/2
49/23

21/20 162/21)

/6
146/2
194/11
255/17

89/72

L46/%
Z24A419
5 2ed/2

L71/%

213/5 213/5 234/1 240/3
250/48 Z2IA/ 10
talked 136/14 149/22 170/12
170/24 171/11 218/58 229/24
ZUO/1A P5A/E 2588/8 270/21
ZIGEL 4 2TR/TG
talking 6/17 2Z)-/3 z27/)))
Z21\8 241/19 327/73 39/5
49/17 44/11 54/18 57/5 59/4
aol e Wtf Tafin VAs BES 1S
BAILA BIS2 91/5 96413 LOT/6E
1O7/%9 132/15 L41/4 145/77
P4a/7h) Laosiss ler] lias ie
2YG/)& 2517 2a / 1 7 eR?
LABELS 2 ISLA ZAVBS AN LABS
ZABSES 25GLG 2554 IIL PSU EO
Pe aA N 2A Le eae ll PB a ee
talks PIUs le eas ie,
Tampa /++./| +
tape “34.
technical ©." i:
tell poe de ba pte | vy od
Vo aay yoo4G
bey bos i cn
ie Tye I weg FE, i
ry L a 1 fr
4004) | 4; j ane
pid sf} yori 4 saa!
poh ” yirda jy
ree : ! of) Poet
2 a 1 , : 1 * 1
Jeera db boy la ile i
Pore dal, 4 [tat
pate | rey rate Vs
Je da ds Poe hoe pay
Pyacde rroddbo gd Leda
Peds bio ded ’i dbo bet, te ge fzo]
[ecar, { be fb dee fea yay
Pie poets ) led te pat pas
Pshoe) eo pase gp) pase tb a parsons
Listes | Jaa fy, | rae jos ay }
ra ‘ aq.
Pfc ed | ' Soba ts
iy mo, |. 1] oir da,
Pe oy ety | red p oss ey
dy 1-4 ota
telling [oi hi ‘
tells , MoH] a
ten roy ! Pasta
|
tend
tended
term tot
termed bey 1
terminates ' .
termination tos 4 bert
terms ca! Lo tou
terribly

Case 2:02- “Cv- 14102-DMM Document 52 Entered on FLSD Docket 07/24/2003 Page 109 of 115

T

territory
test 144/13
2741/5 271/5
271/15
testified

Laa
dit

146/]
op A P17
294f wi

testify
148/2

270/11
72/25

123/23
143/72

2793/6

168/710

266/18

270/15
271/10

TI 77

34/10

testifying

vary ey oe
2dr os

1390/1 131/15

166/4 245/16

enn

testimony

Mos/3

132/6 133/25
171/18
253/20 298/11

219/16

3/2

foosis

THOS]
Z261/)
236/%

21/6

292/5
testing 4U4/)7
ZEB/% LEGG

293/58 293/18
Z210/
ZEGL

i 4
Lo
Pode tou delcge ,
ford tree |
li4, ‘ “4
re, 4 r/o
{]7! be! lio
ope 4 mye d | "4 t
todo bea
Nid day mfr] ‘|
it m4 Pe gua '
eae fy pals 14
Thank ‘ PuoFy 4
OMe ! Hoyo ty s|
that's » J 8 tl]
Pie db doe ta ba aes
py poet ' ‘
ot ny
pep ed tor ao
Pde dhe foe yet |
‘oye ma ty
wel L. ai |
eT | mde i
re’ | ie
i hod i
~ | ]
: |
: +

lariu 4

270/19

271/14

Lds/%
1BO/Z4

L34/2

129/23 176/7

32/13
105/22
134/11
2444/4
P200/23
2932/2
Z97/11

Powel Zy
Z59LN%
269/22 2911/2 2917/6 2712/1

fj
they
poise

ied

ZILIA ZIG EU FTA ZY
Texans |#/?4 20/1
Texas loft? laesit

la/ds Los) 8 dae, 4

Hah Uae ty AP be eye

aus 1 OS 1 f etig fos

mb tel td yn a]

te bt potty Pad!

Jdere da poe bow ad
than le fia} {

|. ! +] to

nt 4

o I | t i a
yd ip de tay
at wot faa;
4 i tay ]
‘ ‘ |. ! 1

117/10 117/14 119/7 120/3
123/22 123/25 1244/1 léo/le
128/4 1129/7 129/22 129/25
131/12 131/23 132/2 132/23
134/12 134/13 134/13 134/25
137/16 138/43 1439/5 L39/1%
Ps¢/ly 1490/7 40/21 tdi 7a

142/5

l4¢/21

142/23

L4e/l/

t44/2 1900/7%
151/4 151/14 1
169/12 173/23

ten pa og
Louvr tu ob

af! 5
56/12 166/14
LlJ6/11 177/23

182/20 185/1 186/23 1988/4

1639/5 [8%/15 2

B9/17 143/72

1993/6

1393/7

290/18 201/)

ZOVL25
ZOVS YY
211/21

20A/2
21O/%
Z215/1

195/25
201/11
203/24
211s)
ZISS/Y

"

197/49
201/274
206/15

211420

Yo A21aS2

21/1 219/64
223/13 2237/1,
22/13 227/
246/10 251/6
256/10 256/1
LH049 LZo0/ 12

221122 202724

10/15

Lis/d LY¥/11

L4/25
26/17
28/16
BRL24
449/20
44/14
22/14
54/13
54/22

13/3 14/7 16/8 16/11

21/25

29/16
39/)]
qos)
4A9/}1
54/14
54/13
55/4

ty at
Lf 22s

4224/6
/L
Z51/8

1 2956/1
2H Is/12

2249/4

4 ZAG/ EA
254/271
Z 260/21
LZHIL AG

ZO8/10 2HR/VG ZIDsLE 2INS1S
ZI2/6 ZIAf LG ZI ZEIT
ZEIS ZY 2baAs a ees) 2a Alt
Cua IO PRIA L TL ZRAs? vide?
PHASE PBN reds sd/ 1)
79 fat
their [J3/t3 [5/1i 1 Pia ss
Cio b a ear de GES i ose. dt
lous da baa sy ZV e tase]
epee, etd gy a. ae lo, los
Pola eet ig ods Cay
theirs ©:7/°4
them (/~' oy 14,
“ey. we a3 4 t ey
VY Pde do 44 1 i
Vee, dive ad to ite 4
Be be yas, bry]
1! Peo belo ot 1
pene de Pbied pyar iid
Pa be ty aye ler Ley ye fe day doa
iéle d dole C Aye hob ayrs
Pfibe ot Pte yp bee tg tee |
Jobers | ot Tied et poses poo potas
‘Tde |] n7 li eyes ae] |
mea dee a | hae wee dos
pare My 2S Yy ee ype ped
rye d Sty! “Oe, Gt |
PRL A SH ee tli? a Cele
eile ba] Jes
themselves led, Va Mee fd
ae Pt syiy ey
then Joi Joo fo Josue da
ede fe Gt a ro med
qa, tee ‘, ‘ ‘ falta,
wept tae] aay fo
44 bac oder a. da ye
Abo! qa tev bE bt] mt
Sy yp dt fo i ‘
, Li 1.
st l l :
| | ! i i toa
| i \ l
1
1
i 1
: \

19/12 1

25/17
27/4 27/11 28/11
29/2?

42/2
15/13

12

50/23

52722
54/14

55/6

9/16
26/2

30/4
/\4 4

A7/11
G1/14

2/16
49/6

S47 lu
54/21
55/20 56/5

96/8 56/12 56/19 56/20
92/25 59/3 59/17 69/4 61/12
62/24 63/2 64/1 69/5 70/14
TP2/3 T3R/195 T5/14 76/290 FB/9
89/23 R1/11 44/10 84/14
BE/ZN BE/24 BISIE BIL 22
GA/TI 95/5 35S IA 9s IE 97/11
96/16 IN1/15 TIO/71%3 110/18
112/48 112/12 112/14 112/15
Pi2/22 Lie/ea lisfin Llasel

L16/10
119/24]
LzZ1/13
Lease
len/l7
J 3!

121/
le2/

L1l6/1 4
7
I:
1425/4

Lis/
12s}
i7v3/
YULZ
i4/ 4

4
tas |

as
|e
pois
lei
pear

so tod ‘
fd va !
ai, Is 4
bach
pa fot ee ae ,
bie peor la. t ly
Lived zi ls poy?
1 t ‘hs
1 ! ut
yt rl
|
ayo dos I
Tad et ‘
Se LT aes wa |
Sabet tp bee base
CP Le bee pea ds
PEE NDS Pa hae
SP La ea A ty ths
ty Lae dF \
Lote de. men '
Pasp gore,
rey y! do
there’ s Phoce yey |
Tp a tp edt
Pldeocd Ploed oho
Id Poy opt
lou be boa |
' roy oy
‘ tos to |
: |
thereby
therefore

these t

Jl 114/26
3 1271/13
3 1434/4
21/24
S574
was
As \%

Nas yt,
pe yp sls
Le ls24
ler y pg
Vande
lt, t
corm fa
eben |

ros ls
1 4 brn
‘|
syed
‘ base
pers
boss
Taye ss
nJvdy
fa
4 ht
ofa oe
Jonas
bobei d
Ploda
‘olay
| |
1 1
i
1

Case 2:02-cv-14102-DMM Document 52 Entered on FLSD Docket 07/24/2003 Page 110 of 115

T
they 6/13 6/14 3/18 11/19
12/16 12/20 13/2 18/21
18/23 13/19 19/20 19/24
20/2 20/24 27/1 30/12 35/6
35/7 25/8 43/7 44/4 44/4
44/4 46/20 46/21 47/1 49/149
44/18 SI/A SA/20 Saf ze DOL9
60/8 67/4 67/5 61/6 75/11
82/9 83/20 85/1 39/4 Bost
87/23 88/18 95/10 97/20
98/2 1N4/2 107/22 108/8
198/21 108/22 1liz/24 1209/1
125/5 1259/6 125/17 128/14
1390/19 142/18 143/11 145/72
146/13 1486/4 152/23 152/24
153/74 1543/5 154/18 158/14
154/11 162/19 1644/5 167/18
lo//19 1Le//25 Les/) L68s2
pHaea rts Viesye Vans hi
174/25 176/25 1749/3 lias
P7943 LI9/LT L797 24 1719725
1Bo/8% TBO/IV9 Veli) iets
Lag/)s Jee6/16 Lea7 ld 190/70]
Lelfed Paes oer bass
barf) 1o4fa Vadis t bass
pugs dt farsa basa | passa
PUL 2S eh po we ey ate et,
pie yl hs lo eer gt Gt te |
Prec dr ew beet Ai e foe dae is
| Porte Y pons
eae aye doe ng adel
Ata a te ad } deed ols
} jf . ea, .
wg |: é ot / i mY “4
a ie pg h fF ye may r 1
ws Peds | raced
a4 sale uA coe dt
meee td ay, fp toe pas
Pht ad Hi hits
be i ‘yds
hold ed lok’ 1
Pee de 4
mo , ao '
' fee] va, u teen |
pep te my] yo]
tye ‘rod
they'd [oly ls meta
thing eso ye ort on ee he |
Poor cp [passe bp pers pp ees
PP ep Pr pay [tee pe pees
Se pa ads af mids
SP pte ep tas mrt,
things peo dee i adi
Aye dap ae Pee f hota ys
det Liha eb Pa Pde
Pattie patie pind Pe peo. be
Pare Up dey pie poet ta ef |
SY by pte Pd ds
think ' hoy be | iyoo4
| ! Prog
beds |
vol !
i : 1 . : i
] 1

S7/Le 57/23 S8/17 SB/1T7
29/13 353/14 539/22 60/24
el/1ll 61/20 62/4 52/17
62/21 63/5 64/6 64/19 65/16
65/25 66/8 67/13 67/15
67/24 68/2 69/1 69/21 72/16
T3f4 TS/1E Ta/2d dls bs
PGAL% TTL 3 TAS L TAsZ IR
Pes 7 Tas ye TOLO POF TE SAL
AB/13 90/22 92/3 94/2 1N2/9
192/18 102/20 164/38 106/68

107/74 108/16 198/25 111/12

1143/3 113/19 113/18 114/79
lle/1S LIV/i7 117/723 1237/6
123/23 123/25 124/11 124/23
125/16 125/193 126/1 1277/1?
28/22 131/72 131/70 135/12
137/17 1386/6 142/1% 142/21
143/35 144/1 145/72 145/28
145/15 146/73 146/6 146/%
P44 ie YAGFZ2) LA%/ 25 (51/4
154/274 160/190 161/25 166/1
167/86 166/10 163/21 144/23
Li9/%5 Lei ys Veils lilses
L?4/)7 1776/5 VVI/ 8 VET ZS
Llaste L9Gs2d tROs/24 Laisn
PBE/11 Laer [asf ll lass
Pao ZI Tsas7da laa / 7a tehs day
Puefete Laas eq [ease pai ss
berefoy pas k) padf ia badeed
busty oie be aus doe pansy
" te de, | rye} } Lore, ! 4 woe
nota vouléb 7a yy
rye Zi} » Zaeetyovty
Page die ne ay bee ' Ie
doge FE a atte YY eee ype | mo
Zitéiqe ¥] Poe its] \
fc] tis eb Le ebay 4g ls
Pay YP oe lise 2d Zid Poy
eye la Pea ye Paty 2
Ca YS see) ao og dle i!
lee le dae ldovdle hat
Ee Pe AP a \-
fae Fs fas boot peat | Peo]
pay] ‘yy wp set wa
COL dys mde dts ede |
Tota wily | Tee | oto
el/ |e tilde. fede eA
mst) ee PO tty par has cs
"EAL SE ENA DPS th Pr |!
Sas bah pd gy lds
HEAL SAY Lat Noord
pa dl se | 4 14 raf dd
yay, ]
thinking reba aa? /
ofa
third te! bust tp oacd
thirteen oo ul ’
those 14 | Jas |
od dG ‘ boo
Ped 1 | 1 | J
sae ‘
hort 1 \
td i :
| ‘ ‘ " i
oh, preg t ! ' i . 1
| it . !

446/11 154/16 1596/4 169/17
161/12 162/20 165/4 Los/e2
1938/2 172/14 172/21 17/3/3
1743/3 173/19 174/72 174/11

178/19 180/21 183/13 191/77
P41 /71 19R/2 198/4 198/12
ZOLL9 207/290 201/29 2058/2
2OASR 2OB/IL 212/19 229/14

CAGIV? 2295/4 225/10 226/12
2248/5 228/22 229/7 229/13
229/29 229/24 250/16 250/20
254/18 257/13 258/7 2461/8
2790/5 2795/5 2735/4 251/17
232/17 282/24 2233/1 284/12
2385/4 286/149 PRESIZ BATS

2568/10 294/14
though 55/74 44/4 G9/)2
thought 31/1 41/3 41/4 51/14
31/14 31/15 65/15 VIS]
196/77 145/15 1460/4 219/246
221/16 2AT/LA 26/1 ZLib
232/14
threaten 2435/',
three //27') 20/12 Z29/VE 2ur2)
2iS TE 2V/AVE LOTSA 20S 4
130/7% J84/1 ZOTS IT ZIESLS
POVSA ZOLLG 2b bt ve ars
PEEL La ZRII L I 2RAS VA 25/4
CHGING PRGA L vas?
three-page /“|e/}%
through Saye y AV se Vasa
be/2d Psy oor gs 1d
mth AG ROA Ly pa as
Mele Lee boa a
Ley 6 ehh he a wb as
2 thle eee te wey :
ZENE Zn v4
throughout
thrown ge beat
thus 47 5/)
tie Voda
tied bee
tight 177)
time Lyte dose y \ \ \
Pap eat ly rye rh oy ey ‘
Sa Pe Pee Jee eT)
HPfZ co Abed 4 '
Poe, dt) dese t | ot le
mitig freon de fo tebe bs 14
wl pH tar de yyos 1
Deft PP | cata mee Oa, :
Heys pty 1: low] Pelee t 4
Peper PP Pb dos |. Jos ,
Pad’ d fas ty haa dy patois
buted det fo dete de Pt]
Poe yy ) Ppt
por pee | | Say
hey ' ro]
tee] 1+ | ‘ |
Mayet oe da Mah
. bole
Jf i , |
timeframe ma m4
i 4 ‘ 4
times : ! : 1
ta li ! os ‘
tires
title ‘
today
\ i

Case 2:02-cv-14102-DMM_ Document 52 Entered on FLSD Docket 07/24/2003 Page 111 of 115

T 297/11 298/2 213/22 241/3 244/1 244/21
trueness 181/16 201/18 262/20 272/6 243/22
together 35/12 °40/3 56/1 trusty 147/7 undercurrent 226/15 227,%
119/14 136/2 137/21 170/9 truthful 149/20 227/17 228/3 228/7
178/23 179/3 1739/7 179/15 Truthfully 154/16 underneath 55/24
told 39/25 145/15 233/14 try 41/20 105/20 147/11 undersigned 2936/6
239/11 245/48 245/11 250/79 PONSA COR/14A 2RG/19 understand 5/19 J4/) 3 30/72
254/%9 257/12 261/14 272/44 trying 1/15/19 18/14 20/16 S272] 33/8 33/12 37/10
2713/16 273/24 274/97 PIAL PUPAL 2eLS BNL E2 OLE EM/LA O2/15 LOR/TL Loe/ii
274/16 275/13 275/22 2738/1) 43/14 198/23 120/3 120/8 132/12 148/24 178/1 182/11
282/11 282/14 2837/4 2246/7 149772 150/5 160/20 176/8 188/25 192/13 237/7 245/83
286/7 293/21 189/24 192/18 193/6 197/10 255/24
tomorrow 253/16 2145/14 223/19 229/14 239/19 |understandable 113/19
tones 261/17 232/10 254/20 understanding 13/15 14/11
too 55/15 60/9 209/18 284/21|tunnel 42/24 42/25 43/2 13/4] 37/17 62/11 62/15 65/19
took 29/41 20/25 24/5 60/6 43/4 43/10 43/11 43/18 48/5 81/9 96/20 1543/7 153/28
137/143 154/17 207/24 218/14 AB/19 S7I/19 5T/22 57/24 156/10 TaAG/25 TaN/2) 25/24
230/20 255/21 256/45 256/6 “B/L 64/9 85/15 B95716 BN/1G | 209/23 222/41 22/6 2224/9
tool 255/21 86/12 66/22 87/1 B7/5 87/8 222/11 223/1 243/24 244/1
tooled [2/4 91/13 91/15 99/11 107/6 268/6 269/10 287/11
tooling “4//4 4es th “2r7 Vrs VORLA VLA/IG VAs understands «///:
49/22 50/5 SOfR Daf i 4 GOSLS Ll4/7z2 (19/25 1420/2 1720/6 understood 232/11 24/4
SO/1TT SO/21 SI/12 GTS V7 1420/19 120/16 126/10 126/13 junderway 51/11 254/16 2OT/2,
S724 €O0L20 BALI 20RSG LOGS undoubtedly 14%/i 4
A2lA/18% 254/12 2UASI AE 256S9 turn 311/18 “7/12 135%3/2% uneven 144/14 1e4/17 144/27)
Z00/9 Pons 1G 144/4 162/19 2HRS? Leos 3 LAOS? Las ta Laos?
top 19/5 1as/ee 4sfen val, turns | 14/;% lsd /74 [ans
VEAP BAA A ey, Plas twelve 7!) //% unevenest [e7/% lsl/a
Puede d pues 7h Petre 2on/ la fewast Sls) se voasii unevenness [21/7 |ou/i
fli’. Poe dt pari mbes, two Piet, 2ass safe fap eed lose, f 20)
totality rE AL Lae ty Fee Ls Se sgt Ve Lg dab fey unfortunately 1%. 44 fosase
ZA E PB fa ae ul YA pa ef eb ag Potts
totally =-:-5 lelee . bs FG pL ee ate Ag unique 4/74 faery a,
Lene, ite phasis yaar ts tof] Tob be Lege d ite
toward <7!" not eA ag loszee boseg th.
towards oardfe Jog. . pele I] Leas ba Pie e. laigzee is aaere gd Leda :
trade Ea Be, ebay "Ts Page laibeia bor f Pd peer et ba ee [os
wea 2/9 we et ‘ ! 5 ote | bef} Pans ia reds]
j ode bois Pere Pe Le ea pee] ob laa en 2i “Lae alas toe! i-
7 \ | ! | whoa ys, Mpg ) :
Jee et eth Lt ete we Tas Pele Pag te babe py piney 2a4re,
' pot : ‘ ret fo uniquely
pp ee ea ped os “love b fl i wa ede eee |o+ Juniqueness fia:
mo J ! po gh wtb Lag ea ea ey unit Teele [ete de
trademark bty de noe | apie tet UNITED pf Leys,
traditionally .... two-dimensional a0 4. fF) | units ‘Ls
trailer i+) i) iv lovree f type oll ti fi fe ‘.\University ° |’
eye Poo dei Pa pe a eae Unless ‘14 1.
trailering ‘i'' Sob fb er by aes pay unlike oid) 15
training se ]e 8, Pe vy oa} unquote ['!47.
transcript Jas fer ras, types fb ns ey est [ee yy untal ofl de teed ede |
Sede fe Sed pts Nae Pras SPALL PEE Ye Po
transition oJ4d/01 typical Spo PP ee Jumusual ero a de re |
translate yee foes Tet t up buf, date eo day ot ee da
transom feet Ao Pa da ! typically SNe Pe PHA) pay tet pa PP ftps
Pose, PE Pde) Peer es op ba pa Yt ep a de Pye ds tbat bbe be Tt
aye PR Ue yp ed ry ods Pu baba par ch boa ot
travels [iso Stee Pe fad lol?
tread cen l! uD CERES de he Pep
Treasure ':1 ([1) ugly sap tse fee AP] ap Pap Lda Pt
tremendously !1)° i} Uh-huh | Sed dee te . van tre | “Ty Ed
tried 28 ji) Pee oe der ys a |
trimmed ‘'.- | 3 ultimately pe | upgraded
true feo to . unable |! +: | 1 upon Doe EY i ha
| ' pros : mort | unattractive : oy | !
| ' tos unclear boi upper 171: |
oo moa ae Posies dos uncomfortable pd bs 14 Poa wt Pot Ll
Pade dee fad} Dado. lo. 2a funder [J] ole ft vo |
ig bebe ty ps So, vo po us L uprights my
Pee Et ba pep Lo : Pd bt yt ct /: jupward
toa ‘ : us
1 ; | 1

52 Entered on FLSD Docket 07/24/2003 Page 112 of 115

Case 2:02-Cyv-14102-DMM Document
U vessel 62/7 62/18 62/18
64/16 65/7 69/18 70/8 76/22
use 37/15 37/22 63/1 66/9 159/24 243/22 279/22 284/7
84/21 118/56 114/17 118/721 2886/11
124/18 146/14 169/1 279/25 vice ‘56/5
used 7/7/ //i24 1/21 13/t view 70/13
16/16 Z'/21 44/2 124/16 views la//14 1735/3
143/18 2063/8 2342/20 235/16 violate 244/%
238772 2RR/11 violation 221/24 2423/7 2&A/?
useful 66/14 264/8 264/11
user 1582/6 violations 7223/2
using 27/1 29/18 37/19 97/22|virtually 90/21 175/22
93/2 1979/3 263/10 273/15 virtue 114/25 194/46 207/3
usually 16/5 16/16 66/9 277/20
utilized 36/22 visible 25/14 32/1 113/25
utilizing 59/11 126/12 126/15 167/15 167/25
V 167/25 176/4 177/24 178/%3
1738/6 180/% 180/19 220/13
V-hull 16/19 42/193 42/25 234/16
43/3 4374 43/11 48/5 48/10 visual 234/25
SUF2G 3742) SB/1| Bess Vito PULLS 22
65/24 61/9 67/19 69/13 volumetric 70/23
69/16 41/11 72/2 72/12 13/2 |wowels 226/20 271/27
Vase VOSA TEFL PE Le Te sy
T6Af/1L1 76/22 77/24 16/18 Ww
BO/ 4 Baloe WIA BRI? 44/4 lwalk 119/74
Sys G¢/44 VIALE LIAs2z Walked 7] ///7
Pinfa bluffs tisvle tlosee want [i/ey Vashi Vise Joes
PleZd Tbe /td beosla tenseo 2th e YAS PULL 42 1 ae ZS
Peds dbo bees do tere. to lad. seh le doy ds Gayle aes 14
btn ype ee ew bee fd) site pr set lr thie ress etal «eyes te Jt /e,
V-hulls tay lg Vue e tt fue Sel Pbos es Later
valid [0/5 ! cd Yl oledvie tfle
value «.i-] Peet de pte 2uel ay eget
vanilla-type al Cit ee bb eed be 1?
variables -':" ea gel Zaoui! aft
variant pts “4 4 Pe aE A .,
variation Pot pe, Cea | My ZN Page 7
Variations Liles , fe uy rade | ”
various .o4 | page Al
oi tlie, wanted ee 4 eg |
vast frre ga pees ! por mf
verbal =. ‘4 ty 4 { ‘ / oe Vy
verbally ‘ so | ret db I
verbiage oti: me warranties — ‘/|':
verify ray | 4 warranty bet Fate |,
Vero {fee dis Sr a PY a YR ye
versatile |// edie
version =}. o] Hl washed J['.'.- 16,
soy ya ee yp puus) Lous | Washington .§/1
Pee tp ber as ed Later pata wasn't Jef)! Aurel ols ba fd/s
Poe) Pda /d lass de [dais eased weed Las PROSE PRD
Phebe Pie Pa ey Pats PRR tp eta be pet
Pods [tty do de aed ted bt meee Le bab ELS ‘Leu
Parte fa, fu f b pten ex co 2 4 water Py PEP Ee Efe
verbo p yer Me Per py Pe Poe oe ae pba dd
an be Pedr cate! Peoton fee Paaydb pared
Dios ede bt abe De Dah b La Lane hotles
versions owis/|ii tite rid Si dd ep ae
porate SP ky $i/ | 4
versus Jee, Pod Wave 3:1.
Pde dae NP as waves Joust
vertical Sane] way }- \ '
very I! fo oo | rlidow | bora i
1 Po ode bors - | \ i: rio | ped
. r. i 1 rea ! . ! 1 1 laa L loa 1 tat {
io | Ido I : hyo ! j ! :
| , Pio tbo tbl dee Fy li 4 ' ‘
bed Jace | od : ! '
| far "1 : ' ‘ \ ‘ nod
1 oat oe . 1 1 ya
‘ id : - i a '
4] 1 i

ways 28/16 152/12

we'll 3372 33/3 71/6 42/24
169/1 174/16 1462/7 2137/5
213/19 215/19 222/20 7237/2

247/2 252/15 252/18
266/17 263/25 277/8

265/15

we've 15/7

web 63/19 93/7) 274/25:
PAMSOO 248/29 2453/9 249/12
249/13 249/15 249/18 249/22

week 33/13

weeks 72/17 73/2 255/20

255/21 255/22 2596/4 256/295
257/1

weight $9/16 129/%
welcome 71/5
well 14/49 15/8 26/8 321/18
34/15 36/1 $6/20 40/4 427%
44/8 45/14 54/13 53/16
54/23 55/14 56/1 SK/6 67/13
TOL25 F2/)4 Veéfhla Pas et
74/20 7179/5 82/9 BEO/% 43/20
LO90/15 102/% 104/24 1071/9
1243/6 lenf/d i iv6rh4a lees ly
53/5 135/25 V3r/a tals
144/1] 144/1% 148/19 PO0O/]4
POR/14 1o¢/e¢0 Pussy lesa
M5874 led/ib tersl? lil/s
Lief Vat s ge VAs 4 yi sie
Pld fa phd de tiie eg lps dy
Pee‘) Peasy Lady db baa eg
progr dS Laber boy. y tatu
Pou/ be balsas pees gt bso,
PP SYZT NA Porte Fi de
pore 2) ben ede : L
Paes Pei fa pe ete Ge
etiF ds “2dieas | 1 73
Ld th et Bey i nd
eel fb veya fi ! 4
a . my; a ut 1
went . 1
Sues e SOF eH ate Py fat,
Pleeed Petey ey bhay de fon,
Zev dd Poy pf crh vii a ty href
hey eee yor tye yt i
yas yo dae ype pos
EVES Bil se ee tad
were fh Ji. Loe fae |
Pdf de Peep a foe's ford
PreFie epee fore eh iy |
TAP Oe Pl eb oad Me
AL a a ts
af td tte | i ryt,
lft ry, rf ful teodus
se [fo 44 4 td ary. f iy 14
hat] ys |e ae de vay |
Why ay od Yom by ye ats
eye PI a ha Pose yo 4 1]
Pele AD bbe ds
i Poe bare Gee Ld ods hoa
: tid rooted 1
| - | |
poto Probate dl ods 1
\ "|
1 , ' 1 . |
i | i
1 l wo

Case 2:02-cv-14102-DMM Document 52. Entered on ELSD Docket 07/24/2003 Page 113 of 115

Ww 256/7 2538/12 258/22 262/2 165/4 182/12 184/12 184/13
262/1% 265/13 205/14 267/15 1921/4 197/1 196/2 267/i7
weren't 25/21 57/6 2231/5 276/6 239/17 282/727 289/24 Z208/1 209/19 214/1 219/16
West 5/10 290/21 291/7 226/86 226/12 229/4 233/14
what's 14/22 15/12 16/14 WHEREOF 237/15 234/2 244/838 259/14 257/4
30/273 31/1 32/4 4072 102/2 WHEREUPON 5/1 33/21 63/25 298/17 259/68 259/15 259/16
110/12 116/19 127373 123/73 TO/L T1/7 83/4) 1908/2 113/45 269/79 271/14 wIl/sls 271/15
125/10 126/12 125/4 128/7 115/15 134/24 1IO/19 Lib/e ZUL/18 271/21 271/24 212A?
1246/4 145/11 1468/5 1T50/])2 L7E/10 175/14 LIS/12 L9l/i? 2994/2 2749/5 276/160
55/15 168/12 203/17 204/13 201/23 215/5 220/23 253/19 who's 52/2%3 53/11 85/25
2906/1 207/10 2230/9 235/23 253/23 263/24 2710/2 280/22 214/3 226/17 248/10 276/9
2893/5 281/10 232/10 277/2
whatever 143/7 257/% 258/1 wherewithal 234/24 whoever 240/2
258/16 whether 42/10 48/4 75/21 whole 30/19 55/14 68/12 69/5
whatsoever 257/15 75/24 76/3 79/25 84/13 85/8 123/3 158/24 165/15 165/16
when 8/2 9/20 10/13 14/10 88/10 88/16 91/7 92/1 92/21 212/25 213/4 276/19 2557/5
Ly/Lb 17/12 17/14 17/16 G5422 GOLAN 99/17 1650/7 256/66 2EOV/VI 2PEV/12 271/22
17/20 17/22 li/22z 17/25 LON/19 JOV/2 191/12 106/24 2BT/1V5
15/3 18/4 18/8 18/19 19/24 LOT/1 107/22 109/74 112/84 wholesale 234/14
Z1/23 23/6 23/1] 24/18 23/20 (25/5 125/6 133/719 134/7 whom 247/3 247/11
ZAL 2 PALS G5F4N 452? PeoF Yl L3e/s LaAsfVl VUPsa? whose ‘O1/)5
36/11 36/21 40/11) 44/19 L61/7 161/11 161/14 165/22 why 14/13 37/23 43/22 43/24
44/14 47/290 47/21 48/23 1467/1) 181/6 185/21 189/17 66/16 76/25 17/3 85/13
SOFIE SL f6 ULL PD S2/) GAs hs La9/2% 191/i 196/23 204/% B5/1%9 1G¢/25 Ges) 1onsn
SGf48 SUAVA SGAVA SUsz2 PIAS 2YB/Y1 226/% 23274 116/77 ViB/24 VA2/10 1 44/1%
SOSIZ SoA Sasa Sas e | ZYIELZ! 246/25 282/19 2EESIS 136/21 137/10 150/10 L66/26
A59/6 60/8 61/243 64/8 646/10 ZIAS 13 1757/4 LIa/ 12 Viasets la tsa
easel FLA CFI / VE PIS which //)6 4/18 10/16 11/20 PBh9/10 2OGS2 4 2OnSZ PY 21/21
Phr ba Fy seo Fase, beryn lA/1e based Uns 1O Pas dt PIAS I ve lisis el as de ee dd
baht ye Pap ae PL sth st ele ls cides eed ly abe ds POPP PUPIL AVG Od Pt:
mde doris dh abt dbrr shee | sie szlo aes Poy sy Asta Ail ves] .
ae, ae Lhe lee di, Pee ya psa fase Nae a eee bot wide f4//4 daly le bares
pleted plate, beak e teased mere al AL 6 oS 4 Bp Tf e, bdg/ da
jeg 2 tte h fen pba | Ms ee ht Gls ey ge i} wider IJ1/%, iS/yv/
. peu td ! : wo EEG AI, width rads
tf ‘ yn 5 } 4 4 Poly Pa fie fas se WILKINS ory
rut y ti: tpl tlle “dd ae et 4/1 aer ly, twill “ Z4 ‘ lo 4 ! ‘
| oy ite bo 1 eto ndh 4, tae da] po vel ete Tb PLES LE tee!
' Jou | if bebo deepest pare Piers | 4 Lansio fds py
i ! | ‘ {ode l- Plose Liltys Pafd) [ies Pedy bio bly) peu L
} ‘ elo oplyen Pile te | | Pye sa Least ty [ees dd Par 2h Very) isuf la bala
! Deda Post oe des ; ! i teyot ' : SE et Ds : :
pare ftp op pee De ta gta Paehery fear th Leas] eo tae 14 PEEP RV LOL PA Pe ee
Pobovad ol. ' | ' | fide de | Poidorda og: an vba st
poet a Ft pot pe Jet pin pete so 4 willing J 37) Jarre
| ‘ i ‘ bat. | by be, Jeet Perr pe pier es Jue, (Ad
| Li vite | | Pit pee pp Pees pb wind [ole
pret Ste tt a dad bate da teers Led be beet. wings |it//.' 4
oda a ap ee, Pree bake ag pre, eh pret ta winter [/8 tis de Ut
Lads fac ld she be bases ee CONF Ls ZO eae] GNF] R SGP PON | ois
Sheed aed eae eee mae A ah Ras a Bo fe PGs?
Paes ae PVA hoe OA YR Ye PE Ped wish 25.’/)!
PEN be be EP a on ib ey Pt yy | within et te pe Fe]
ae an Se ee 1a SEP OES one eh 1d PAP IGLOS MES dell
Tree Pea eg a TAT OEE PUR OSES EE] “yay
whenever [ills coos. 43 Set ad Sad, fb Ste Por ee, without oes/o] fe 1!’ fe
where Pf Peppy yore pp ee hee Pea PP pr sey tee VY Pei PALS La pas 4
SP a be ba te PT Pe a ae PU eS Teme da date bt leeds
Pde do Vest d hls db tte ae, Pete fa Cade Pe eee et |! Pere bh Leese ep fae ty bore |
SAD ed edb et tb eed 4 Ste a EA At Pee sa thay pts bp
Teed ee GS ae Pi ey Soe et per ep, witness «= Ji: fod
’ P}oopas. bat nF TE while | mofo da Lt | los 12] I
14 hog eoh pp pd ‘ loca 11d i plod de ,
I. of Jay | i! 4 4 my ' t i
: led id foie! white 1 ! ‘ ! ‘ !
I Poo ‘ 1 sy ‘i J th ots 4
I ls i who ! L Plodd ope? woman t 1 to Ed
' 1] Jo | sot ' won't t “
| | | | | | i mo ' wood |
| ’ ! ! ' : word :
: 1 1 t? : t
: } - ‘ : : wording
ret 4 to. bo . be, cole : thon words ie

Case 2:02-cv-14102-DMM_ Document 52 Entered on ELSD Docket 07/24/2003 Page 114 of 115

230/190 230/11 231/38 231/13
236/17 237/16 2238/14 241/11
242/20 242/24 243/6 244/18
244/20 244/21 244/23 245/6
245/17 245/20 245/20 249743
250/11 253/5 2593/7 255/11
256/19 2597/2 2597/4 2557/6
257/71 257/11 A2A5I/IT Zbes Ld
259/14 459/20 ZEST 26EP2
265/24 266/24 270/4 278/3
279/12 2382/25 233/19 285/15
285/18 288/5 289/22 292/18
294/4

wouldn't

40/25 56/z22

77S

79/20 164/16 179/4 179/5

210/21
wrapped
wraps
Wright

262/ 3

}O4/]

274/14 274/16

write

277/12 299/5

275/18

8/14 8/22 10/3

10/20

11/14

12/16 13/9 Lé/is ié/2o 17/4
L7/7 22/5 22/0 22/25 23/11

23/17 25/2 27/3 27/6 27/14

27/17 29/12 29/15 29/20

30/8 33/20 36/2 36/17 36/17
gf 40/21 Aisa al/? 4esi
42/20 44/23 44/15 44/22
AE/A AE/E 16/6 40/10 47/3
47/14 48/6 49/9 52/18 53/8

53/10 54/21

54/11 66/14 64/22
67/1 67/11 67/16

59/10 60/1 60/
61/3 61/6 61/11 6

2
2

2/4 62/24
66/23
68/6 70/2

300/5

Ww
work 9/8 22/23 22/10 22/11
22/12 22/15 22/23 30/20
35/19 37/16 49/24 493/25
67/3 67/15 64/48 69/12 110/2
Ll3/1? 1486/3 1593/8 STL
L71/%5 172/16 L7A/18 LHA/13
PIL 3ALTG P1399 P2POLR 2 44/7
248/15 257/10 268/19
worked 3/17 22/14 4193/23
49/25 170/9 208/1 210/4
2560/6 260/8 260/10
working 24/6 41/21 55/14
93/14 158/22 269/2 260/4
Z715/)
works 46/19 233/23
world 1493/3 207/2
would 7/4 7/22 11/11 15/11
LY/Z2 is/1 19/21 21/17 22/21
PAE PP? PALA 24444 24LEO
26/14 ZBI PAs 2 31/4 31/15
31/16 32/11 32/12 32/720
GeZLEU EAP IO 4s dd 34/2?
SUF 16 BILS2O 39/1 39/7 39/8
4Q7 i AOl's Als? Av’B ALLS
Avs asl she VASION AGS 1T2
bef li dif Gis Vas le aos
Vor Cel se Sahl Fle BALES
t spe fio fas ', "hh, [a
ee fa te ea | ‘ Tg
to Td | ae]?
ee yb oe TY fied 4
ae, . dy
4 lo; i a tpt
I ! : Che Te Et ce
hay cabs Aooder ae | bas !
Pee Edt \ }otds
ple ove hype th jae, beee
Pyro aba y bane et yfaseu
| : . | bo fy Pp ys
Poe Peep pees]
bog Poe be doy peo!
| probe 1! | Joana de
bs to wa ‘ } bused
Joa é Pag f tae 1 pat. Ji
] 1: pase de pT saey da
las potas Pda) s fuleys
bdo Pde t) 4 bbe wld pdf.
blesses P18, F fans ih PlRks 10
Pb d dls ts dase Las
Pep pated) Peet a pas
Popo ds ifs 4 Pee boss
Peds tt Pease dt Pebis 4 lege
Tee be be bb be Seta beds
le. boda 4 Laks Peat,
Jee Dh bose Le peter Die 1s
Pld pode se pede deb fale ta
Pr Pier Pees tad? ny
1? hops rev Pad. da
hn pee pt | Pode
Pedods voe fee pa pace Tt
Toe] bere jos pooa, foe | id
io Pioobona [es eid Lovo
i : ' i Md log |
iu , | ‘ \ 4
iy 1 . | yt :
| oct vada
i rl
vote
: ‘

sO1/5
writing
250/23
written
G24\%
228/48
POL 4
wrong
CAVE f ee
wrote

Lu4f 24

ZLOL22
22RINO
ZIGAVT
Luss

less]

47/2 210/18
20/18 2/14
ZtI/ 1%
Z2508/)

Ziyi,

Pd) a/ hoe
ZHI

2
Z

2eLs 70
“07/74,

Z45/2

ALL

2250/16
54/1)
44/24

Ve

Jt des'.

yacht
Yachts
Yamaha

artery
Yamaha's

yeah i:

eZ ]tiog.

years
top

yellow
1

yes

Ie

yay]

SO tas

year-and-a-half ode

Pubs la

Vy eo

Pooatrs

T1/13 76/9 76/24 78/12 80/3
Al/1 85/3 87/2 88/7 B9/4
89/12 84/18 BS771 BD/D4
9O/2 GIO 42/5 93/8 YA/IS
95/7 95/21 96/4 97/6 GB/1
99/1 101/23 102/24 104/15
LOo%fee LOas/ lad ihdsel loaves
195/75 Ness LIONS 110/12
L10/16 1li/té L1ll/le 114/14
P1O/7 LVF /iG Lisl/24 Litss/in
V19/20 L207) VeOs2A4 TAs 1a
WL/20 12/227 LaAes 9 lees?)
122/25 124/39 lensed leis?
PPU/I9 V4as/ Leas ives
pea/14 bso/s la bees ie las et
Peuea Lauri beset | pasty
boost fa Go tbl’ ls Life
pds hee boa Ple475 fp aed
loulva | Ao ue fd lo iiss
Ludst Gaea bi ge ds litte,
tora bo Dirt i bene 4
fee f pr lee ler? l pha,
Lfug ee Vp le 17 bev de
Peery PP ele pte [ots
lias ys Deyo Te be Tat
leis gf : Tons :
Lae pos fob Seda Vey tae
faa | recon Pape] dood
[taf ds , , Jorte er boe, .
pos de, Jos ; hoe ' oe |
pi ey te coo int ty P]oto
PL) f-] Pden la/! Pde da
las | fat Cbasd vw digs
pet BT ta
ORS AL ee 2a at |
AAT ade Le ae a
Aga Pea LO ot key hor tay
Abd bet 1 Sy da |
Bb es Sod be Sans ee I!
ede AL ae? tit
be Pty tty ot Fy ed p|.
PY Soy Pa OLE Ts my |
Pye 4 / Pigs
eda, MN Ra Fa af daa
na dak Poh sweet wey
ped al |
' ‘ 1 ‘ ‘ |
' 1 my ito ud ed
4 | 1 1
yesterday mort
yetou. Soa dn
you'd Vy
you'll ye
you're !
. ' 1

Case 2:

-CV-14102-DMM Document

2 Entered on FLSD Docket 07/24/2003 Page 115 of 115

Y

you've 218/54
young 1/21 260/4 296/6

296/16 2397/6 297/21

your 5/7 5/9 5/22 5/24 6/1

6/4 6/12 G/4Y ¥Y/190 13/721
13/21 14/20 14/22 193/14
19/24 20/16 22/3 23/7 25/25
30/21 32/22 32/24 36/4 38/4
56/14 58/11 62/15 63/11
63/22 64/24 68/14 69/20
72/6 72/25 73/16 74/13 7/5/64
76/10 76/21 77/10 78/4 51/9
BS/1 89/7 31/1 93/25 93/9
100724 104/13 1045/3 1905/48
195/24 107/16 107/148 1110/2
l}12/% 1195/8 117/76 118/22
121/86 122/190 122/11 122/22
122/25 123/23 l2o/z20 V27/9
Legs 41710 144/45 1454720
L34/21 140/76 145/16 145/18
L47/18 147/22 155/21 158/148
Léd/271 16277 lees 1) 162/25
164/19 L64/721 166/24 167/1.
Pl / 1! FIGS 2 AVIGSA LAY L4
lad /7 LB8R/A LARS 143/10
bas 7r (Eds Vee des IO
Visi ll sl afl vishlg vias

eto ll ben eee bo eee FV
/ DL OA ah ee YP LUN
Zire porrak porte hoe ase eg
ryt. tert 7. 1 i
Adee ot Lee! jaly 7!
a! it ela ot iar
A, | 4 » Zeal s?
ye! j PL
7 4 fo! és ete la
‘elf he
vs Tod Led
yes, } thos as.
? ‘ hart |
4 , o 4 }
' ! te ‘,
mada de
yourself |: +. - ai Ye

Te py i ya fy

yourselves [:

